Appellate Case: 22-1409   Document: 29-2    Date Filed: 01/23/2023   Page: 1



                              No. 22-01409



          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE TENTH CIRCUIT


                      Alejandro Menocal, et al.,
                                                           Plaintiffs-Appellees,
                                ― v. ―
                          The GEO Group, Inc.,
                                                          Defendant-Appellant.


              On appeal from the United States District Court
for the District of Colorado, No. 1:14-cv-02887 (Hon. John L. Kane)


                      APPELLANT’S APPENDIX
                         VOLUME I OF III



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      Appellate Case: 22-1409   Document: 29-2   Date Filed: 01/23/2023     Page: 2



                                     INDEX
                                    VOLUME I
Docket                            Description                             Appendix Page
Number                                                                        No.

             Civil Case Court Docket, Case No. 1:14-cv-02887-JLK- APP. 1
             MEH

  1          Class Action Complaint for Unpaid Wages and Forced       APP. 12
             Labor, Filed October 22, 2014

  26         Answer of GEO Group to Plaintiff’s Complaint, Filed      APP. 33
             July 20, 2015

 260         Plaintiffs’ Motion for Summary Judgment on               APP. 50
             Defendant’s Affirmative Defense, Filed on April 20,
             2020

 261-8       Performance-Based National Detention Standards 2011, APP. 95
             Filed on April 29, 2020

 261-9       Operations Manual ICE Performance Based National         APP. 160
             Detention Standards (PBNDS), Filed April 29, 2020

261-17       Aurora Ice Processing Center Detainee Handbook,          APP. 225
             Local Supplement, Filed April 29, 2020


                                    VOLUME II
 270         Defendant The GEO Group, Inc.’s Response in           APP. 253
             Opposition to Plaintiffs’ Motion for Summary Judgment
             on Defendant’ Affirmative Defense, Filed June 5, 2020

 284         Defendant The GEO Group, Inc.’s Cross-Motion for         APP. 293
             Summary Judgment, Filed June 25, 2020

 286         Plaintiff’s Reply in Support of Motion for Summary       APP. 322
             Judgment on Defendant’s Affirmative Defense, Filed
             June 26, 2020




                                          ii
   Appellate Case: 22-1409   Document: 29-2   Date Filed: 01/23/2023     Page: 3



Docket                         Description                             Appendix Page
Number                                                                     No.

 298      Plaintiffs’ Response in Opposition to Defendant’s        APP. 438
          Cross-Motion for Summary Judgment on Defendant’s
          Affirmative Defense, filed July 31, 2020

 305      Defendant’s Motion for Summary Judgment, Filed           APP. 491
          August 17, 2020


                                 VOLUME III
 316      Defendant The GEO Group, Inc.’s Reply in Support of      APP. 530
          Its Cross-Motion for Summary Judgment

 336      Plaintiff’s Response in Opposition to Defendant’s        APP. 551
          Motion for Summary Judgment, Filed October 26, 2020

 350      Defendant The GEO Group, Inc.’s Reply in Support of      APP. 635
          Motion for Summary Judgment, Filed November 18,
          2020

 380      Order on the Parties’ Cross Motions for Summary       APP. 717
          Judgment (ECF Nos. 260, 284, & 305) And Defendant’s
          Motions to Dismiss (ECF No. 307) And for
          Decertification of Class (ECF No. 312), Filed October
          18, 2022

 387      Notice of Appeal, Filed November 16, 2022                APP. 793




                                      iii
                       Appellate Case: 22-1409                                        Document: 29-2                               Date Filed: 01/23/2023                                       Page: 4
1/21/23, 2:19 PM                                                                                            CM/ECF - U.S. District Court:cod
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                                                                                                                                                                                   APPEAL,MJ CIV PP,NDISPO,STAYDI,STAYED

                                                                                     U.S. District Court - District of Colorado
                                                                                           District of Colorado (Denver)
                                                                              CIVIL DOCKET FOR CASE #: 1:14-cv-02887-JLK-MEH


 Menocal et al v. The GEO Group, Inc.                                                                                                    Date Filed: 10/22/2014
 Assigned to: Judge John L. Kane                                                                                                         Jury Demand: Defendant
 Referred to: Magistrate Judge Michael E. Hegarty                                                                                        Nature of Suit: 790 Other Labor Litigation
 Case in other court: USCA, 17-01125                                                                                                     Jurisdiction: Federal Question
                     USCA, 17-00701
                     Tenth Circuit, 22-01409
 Cause: 05:704 Labor Litigation


  Date Filed       #    Docket Text
  10/22/2014        1 COMPLAINT CLASS ACTION COMPLAINT FOR UNPAID WAGES AND FORCED LABOR against The GEO Group, Inc. (Filing fee $ 400,Receipt Number 1082-4105561)Attorney Brandt Powers
                      Milstein added to party Olga Alexaklina(pty:pla), Attorney Brandt Powers Milstein added to party Lourdes Argueta(pty:pla), Attorney Brandt Powers Milstein added to party Marcos Brambila(pty:pla),
                      Attorney Brandt Powers Milstein added to party Jesus Gaytan(pty:pla), Attorney Brandt Powers Milstein added to party Hugo Hernandez(pty:pla), Attorney Brandt Powers Milstein added to party
                      Alejandro Menocal(pty:pla), Attorney Brandt Powers Milstein added to party Demetrio Valerga(pty:pla), Attorney Brandt Powers Milstein added to party Dagoberto Vizguerra(pty:pla), Attorney Brandt
                      Powers Milstein added to party Grisel Xahuentitla(pty:pla), filed by Jesus Gaytan, Grisel Xahuentitla, Olga Alexaklina, Demetrio Valerga, Marcos Brambila, Dagoberto Vizguerra, Hugo Hernandez,
                      Alejandro Menocal, Lourdes Argueta. (Attachments: # 1 Civil Cover Sheet, # 2 Summons)(Milstein, Brandt) (Entered: 10/22/2014)
  10/23/2014        2 Case assigned to Magistrate Judge Craig B. Shaffer. Text Only Entry. (jofox ) (Entered: 10/23/2014)
  10/23/2014        3 SUMMONS issued by Clerk. Magistrate Judge Consent Form issued pursuant to Magistrate Judge Pilot Project to Assign Civil Cases to Full Time Magistrate Judges. (Attachments: # 1 Magistrate Judge
                      Consent Form) (jofox ) (Entered: 10/23/2014)
  10/23/2014        4 NOTICE of Entry of Appearance as Counsel for Plaintiffs by Robert Andrew Free on behalf of All Plaintiffs Attorney Robert Andrew Free added to party Olga Alexaklina(pty:pla), Attorney Robert
                      Andrew Free added to party Lourdes Argueta(pty:pla), Attorney Robert Andrew Free added to party Marcos Brambila(pty:pla), Attorney Robert Andrew Free added to party Jesus Gaytan(pty:pla),
                      Attorney Robert Andrew Free added to party Hugo Hernandez(pty:pla), Attorney Robert Andrew Free added to party Alejandro Menocal(pty:pla), Attorney Robert Andrew Free added to party Demetrio
                      Valerga(pty:pla), Attorney Robert Andrew Free added to party Dagoberto Vizguerra(pty:pla), Attorney Robert Andrew Free added to party Grisel Xahuentitla(pty:pla) (Free, Robert) (Entered: 10/23/2014)
  10/28/2014        5 SUMMONS Returned Executed by All Plaintiffs. GEO Group, Inc., The served on 10/24/2014, answer due 11/14/2014. (Milstein, Brandt) (Entered: 10/28/2014)
  10/31/2014        6 NOTICE of Entry of Appearance by David R. DeMuro on behalf of GEO Group, Inc., TheAttorney David R. DeMuro added to party GEO Group, Inc., The(pty:dft) (DeMuro, David) (Entered:
                      10/31/2014)
  10/31/2014        7 MINUTE ORDER setting a Scheduling Conference on 12/19/2014 at 11:00 AM in Courtroom A 402 before Magistrate Judge Craig B. Shaffer. ORDERED that parties shall adhere to the deadlines and
                      instructions as set forth in Preparation for Rule 16(b) Scheduling Conference, located on the court's website under "Judicial Officers." Text Only Entry by Magistrate Judge Craig B. Shaffer on 10/31/14.
                      (cbssec) (Entered: 10/31/2014)
  10/31/2014        8 NOTICE of Entry of Appearance by Shelby Anne Felton on behalf of GEO Group, Inc., TheAttorney Shelby Anne Felton added to party GEO Group, Inc., The(pty:dft) (Felton, Shelby) (Entered:
                      10/31/2014)
  11/14/2014        9 CONSENT to Jurisdiction of Magistrate Judge by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto
                      Vizguerra, Grisel Xahuentitla. (Milstein, Brandt) (Entered: 11/14/2014)
  11/14/2014       10 CASE REASSIGNED pursuant to 9 Consent to Jurisdiction of Magistrate Judge. Consent not achieved. This case is reassigned to Judge John L. Kane. All future pleadings should be designated as 14-cv-
                      02887-JLK-CBS. (Text Only Entry) (nmarb, ) (Entered: 11/14/2014)
  11/14/2014       11 MOTION to Dismiss by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A and B, # 2 Exhibit C and D)(Felton, Shelby) (Entered: 11/14/2014)
  11/17/2014       12 Unopposed MOTION for Extension of Time to File Response/Reply as to 11 MOTION to Dismiss by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez,
                      Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Milstein, Brandt) (Entered: 11/17/2014)
  11/17/2014       13 MINUTE ORDER GRANTING Plaintiffs' Motion to Extend Deadline to Respond to Motion to Dismiss (Doc. 12), which is unopposed. ORDERED that the due date for Plaintiffs' response is extended
                      fourteen days to and including December 19, 2014 by Judge John L. Kane on 11/17/14. Text Only Entry(jhawk, ) (Entered: 11/17/2014)
  11/21/2014       14 MINUTE ORDER vacating the 12/19/14 Scheduling Conference in light of this case being reassigned per doc. # 10 . Text Only Entry by Magistrate Judge Craig B. Shaffer on 11/21/14. (cbssec) (Entered:
                      11/21/2014)
  12/19/2014       15 RESPONSE to 11 MOTION to Dismiss filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto
                      Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)(Milstein, Brandt) (Entered: 12/19/2014)
  12/22/2014       16 Unopposed MOTION for Extension of Time to File Response/Reply as to 11 MOTION to Dismiss by Defendant GEO Group, Inc., The. (Felton, Shelby) (Entered: 12/22/2014)
  12/23/2014       17 ORDER granting 16 Motion for Extension of Time to File Reply. Defendant has up to and including January 16, 2015, to file its reply in support of the Motion to Dismiss, by Judge John L. Kane on
                      12/23/14. Text Only Entry(jlksec) (Entered: 12/23/2014)
  01/16/2015       18 REPLY to Response to 11 MOTION to Dismiss filed by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit E, # 2 Exhibit F)(Felton, Shelby) (Entered: 01/16/2015)
  01/23/2015       19 Unopposed MOTION for Leave to File Sur-reply to 18 Reply to Response to Motion by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro
                      Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Milstein, Brandt) (Entered: 01/23/2015)
  01/27/2015       20 ORDER granting 19 Motion for Leave. Plaintiffs shall file a sur-reply regarding Defendant's McNamara-O'Hara Service Contract Act and Government Contractor defense arguments no later than February
                      17, 2015, by Judge John L. Kane on 01/27/2015. (athom, ) (Entered: 01/27/2015)
  02/17/2015       21 SURREPLY re 11 MOTION to Dismiss filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto
                      Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit)(Milstein, Brandt) (Entered: 02/17/2015)
  03/20/2015       22 NOTICE of Change of Address/Contact Information by Alexander Neville Hood (Hood, Alexander) (Entered: 03/20/2015)
  07/06/2015       23 Memorandum Opinion and ORDER. Plaintiffs' CMWO claims are dismissed, and Defendant's motion is denied with respect to Plaintiffs' TVPA and unjust enrichment claims. Entered by Judge John L.
                      Kane on 07/06/15.(jhawk, ) (Entered: 07/07/2015)
  07/10/2015       24 MINUTE ORDER SETTING SCHEDULING CONFERENCE. This case is set for a Scheduling Conference at 11:00 a.m. on Tuesday, August 11, 2015, in Courtroom A802 on the 8th floor of the Alfred
                      A. Arraj U.S. Courthouse, 901 19th Street, Denver. The parties shall prepare and file a Stipulated Scheduling and Discovery Order on or before Tuesday, August 4, 2015. See instructions for proper
                      formatting of this order in Judge Kane's Pretrial and Trial Procedures Memorandum, available on the court's website at http://www.cod.uscourts.gov/Home.aspx (Select Judge Kane under "Judicial
                      Officers," "Senior Article III Judges"). A form of order is also available on the website, and the parties' proposed Scheduling Order should follow the example provided, which is different from those used
                      by magistrate and other judges of this court. Judge Kane requests that an editable version of the Stipulated Scheduling Order be emailed to chambers as well, at
                      Kane_Chambers@cod.uscourts.gov.Counsel and pro se litigants shall read and strictly adhere to all instructions in the Judges Pretrial and Trial Procedures Memorandum. Particular attention is called to
                      Part III, regarding motions for summary judgment. Entered by Judge John L. Kane on 07/10/15. Text Only Entry (jhawk, ) (Entered: 07/10/2015)
  07/15/2015       25 NOTICE of Entry of Appearance by Charles A. Deacon on behalf of GEO Group, Inc., TheAttorney Charles A. Deacon added to party GEO Group, Inc., The(pty:dft) (Deacon, Charles) (Entered:
                      07/15/2015)
  07/20/2015       26 ANSWER to 1 Complaint,,,, by GEO Group, Inc., The.(Felton, Shelby) (Entered: 07/20/2015)
  07/24/2015       27 NOTICE of Entry of Appearance by Mark Thomas Emery on behalf of GEO Group, Inc., TheAttorney Mark Thomas Emery added to party GEO Group, Inc., The(pty:dft) (Emery, Mark) (Entered:
                      07/24/2015)
  08/04/2015       28 Proposed Scheduling Order by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel
                      Xahuentitla. (Milstein, Brandt) (Entered: 08/04/2015)
  08/04/2015       29 MOTION for Reconsideration re 23 Order on Motion to Dismiss by Defendant GEO Group, Inc., The. (Deacon, Charles) (Entered: 08/04/2015)
  08/11/2015       30 MINUTE ENTRY for Scheduling Conference proceedings held before Judge John L. Kane on 8/11/2015. Scheduling Order NOT approved and signed. Court Reporter: Kara Spitler. (babia) (Entered:
                      08/11/2015)
  08/24/2015       31 MOTION to Strike 29 MOTION for Reconsideration re 23 Order on Motion to Dismiss by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro
                      Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Hood, Alexander) (Entered: 08/24/2015)
  08/24/2015       32 MOTION to Stay PLAINTIFFS' RESPONSE DEADLINE TO DEFENDANT'S MOTION FOR RECONSIDERATION [DOC. 29] PENDING A DECISION ON PLAINTIFFS' MOTION TO STRIKE [DOC.
                      31] by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga. (Hood, Alexander) (Entered: 08/24/2015)


https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?910532825583712-L_1_1-1                                                                                                                                                          1/11
                                                                                                                                                                                                        APP. 1
                 Appellate Case: 22-1409                                           Document: 29-2                               Date Filed: 01/23/2023                                        Page: 5
1/21/23, 2:19 PM                                                                                          CM/ECF - U.S. District Court:cod
  08/26/2015   33 ORDER on Motion for Reconsideration. Defendant's Motion for Reconsideration 29 is DENIED, and Plaintiffs' Motion to Strike the Motion for Reconsideration 31 and Motion to Stay Plaintiffs' Response
                  Deadline 32 are DENIED AS MOOT. Entered by Judge John L. Kane on 08/26/15.(jhawk, ) (Entered: 08/26/2015)
  08/31/2015   34 STIPULATION for Extension of Time for Discovery Responses by Defendant GEO Group, Inc., The. (Felton, Shelby) (Entered: 08/31/2015)
  09/03/2015   35 MINUTE ORDER. The parties are ORDERED to confer and jointly submit a proposed briefing schedule for the Plaintiffs' motion for class certification, as well as a proposed schedule for any discovery
                  on class certification issues to be conducted in connection with that motion, on or before September 11, 2015. The Court will address the balance of the schedule in this case after resolution of Plaintiffs'
                  class certification motion. Entered by Judge John L. Kane on 09/03/15. Text Only Entry (jhawk, ) (Entered: 09/04/2015)
  09/10/2015   36 Joint STATUS REPORT by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel
                  Xahuentitla. (Turner, Andrew) (Entered: 09/10/2015)
  09/11/2015   37 MINUTE ORDER. Pursuant to the parties' Joint Status Report 36 , it is ORDERED that the parties shall have up to and including December 15, 2015 to complete discovery regarding class certification
                  issues. It is further ORDERED that Plaintiffs' Motion for Class Certification will be filed on or before January 11, 2016, Defendant's response will be filed on or before February 11, 2016, and Plaintiffs'
                  reply will be filed on or before February 25, 2016. Entered by Judge John L. Kane on 09/11/15. Text Only Entry (jhawk, ) (Entered: 09/11/2015)
  09/22/2015   38 MOTION for Order to Certifying an Interlocutory Appeal and, MOTION to Stay Litigation Pending Appeal by Defendant GEO Group, Inc., The. (Deacon, Charles) (Entered: 09/22/2015)
  10/13/2015   39 RESPONSE to 38 MOTION for Order to Certifying an Interlocutory Appeal and MOTION to Stay Litigation Pending Appeal filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila,
                  Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Free, Robert) (Entered: 10/13/2015)
  10/21/2015   40 BRIEF in Support of 38 MOTION for Order to Certifying an Interlocutory Appeal and MOTION to Stay Litigation Pending Appeal filed by Defendant GEO Group, Inc., The. (Deacon, Charles) (Entered:
                  10/21/2015)
  11/13/2015   41 Unopposed MOTION for Extension of Time to Complete Class Discovery and Class Certification Briefing by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo
                  Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Milstein, Brandt) (Entered: 11/13/2015)
  11/16/2015   42 MINUTE ORDER. Plaintiffs' Unopposed Motion for Extension of Time 41 is GRANTED. It is ORDERED that the parties shall have up to and including January 26, 2016, to complete discovery
                  regarding class certification issues. It is further ORDERED that Plaintiffs' Motion for Class Certification will be filed on or before February 26, 2016; Defendant's response will be filed on or before March
                  21, 2016; and Plaintiffs' reply will be filed on or before April 7, 2016. Entered by Judge John L. Kane on 11/16/15. Text Only Entry(jhawk, ) (Entered: 11/16/2015)
  02/01/2016   43 NOTICE of Change of Address/Contact Information by Shelby Anne Felton (Felton, Shelby) (Entered: 02/01/2016)
  02/05/2016   44 Stipulated MOTION for Protective Order by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only))(Felton, Shelby) (Entered: 02/05/2016)
  02/08/2016   45 Stipulated Protective Order Concerning Confidential Information re: 44 . Signed by Judge John L. Kane on 02/28/16.(jhawk, ) (Entered: 02/08/2016)
  02/10/2016   46 Unopposed MOTION for Extension of Time to COMPLETE CLASS DISCOVERY AND TO FILE A CLASS CERTIFICATION MOTION by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila,
                  Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Hood, Alexander) (Entered: 02/10/2016)
  02/11/2016   47 MINUTE ORDER. Plaintiffs' Unopposed Motion to Extend Class Discovery and Class Certification Motion Deadline 46 is GRANTED. It is ORDERED that the parties shall have up to and including
                  March 31, 2016, for the taking of a 30 (b)(6) deposition of the defendant. It is further ORDERED that Plaintiffs' Motion for Class Certification will be filed on or before May 6, 2016; Defendant's response
                  will be filed on or before June 1, 2016; and Plaintiffs' reply will be filed on or before June 15, 2016. Entered by Judge John L. Kane on 02/11/16. Text Only Entry(jhawk, ) (Entered: 02/11/2016)
  03/17/2016   48 ORDER on Motion for Interlocutory Appeal. Defendant's Motion for an Interlocutory Appeal (Doc. 38 ) is DENIED and Defendant's request for a stay pending appeal is DENIED AS MOOT. By Judge
                  John L. Kane on 03/17/2016. (athom, ) (Entered: 03/18/2016)
  05/06/2016   49 MOTION to Certify Class UNDER RULE 23(b)(3) AND TO APPOINT CLASS COUNSEL UNDER RULE 23(g) by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo
                  Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Ex. 3 - US DOL Wage Determination, # 2 Ex. 5 - Menocal Dec., # 3 Ex. 6 - Xahuentitla
                  Dec., # 4 Ex. 7 - Argueta Dec., # 5 Ex. 8 - Gaytan Dec., # 6 Ex. 9 - Valerga Dec., # 7 Ex. 10 - Ortiz Dec., # 8 Ex. 11 - Hernandez Dec, # 9 Ex. 12 - Mendoza Dec, # 10 Ex. 17 - Plaintiffs' Counsel Decs.)
                  (Hood, Alexander) (Entered: 05/06/2016)
  05/06/2016   50 UNRESTRICTED DOCUMENT - Level 1-Exhibits to Motion to Certify 49 by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal,
                  Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla.. (Attachments: # 1 Ex. 1 - FRCP 30(b)(6) Dep. of Defendant (Dawn Ceja), # 2 Ex. 2 - Policy and Procedure Manual (#1), # 3 Ex. 4 - Detainee
                  Handbook Local Supp., # 4 Ex. 13 - Policy & Procedure Manual (#2), # 5 Ex. 14 - FRCP 30(b)(6) Dep. of Defendant (Melody Jean Furst), # 6 Ex. 15 - Man Days Billing Report Nov. 2012, # 7 Ex. 16 -
                  Detainee Grievances)(Hood, Alexander) Modified on 5/9/2016 to add text (jhawk, ). Modified on 5/23/2016 unrestricted as no motion to restrict was filed (jhawk, ). (Entered: 05/06/2016)
  06/01/2016   51 RESPONSE to 49 MOTION to Certify Class UNDER RULE 23(b)(3) AND TO APPOINT CLASS COUNSEL UNDER RULE 23(g) filed by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit
                  ICE Aurora Detainee Handbook, # 2 Exhibit PBNDS, # 3 Exhibit ICE National Detainee Handbook, # 4 Exhibit Ceja Declaration, # 5 Exhibit Whyte Decision, # 6 Exhibit VWP Application)(Emery,
                  Mark) (Entered: 06/01/2016)
  06/15/2016   52 REPLY to Response to 49 MOTION to Certify Class UNDER RULE 23(b)(3) AND TO APPOINT CLASS COUNSEL UNDER RULE 23(g) filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos
                  Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Hood, Alexander) (Entered: 06/15/2016)
  10/26/2016   53 Unopposed MOTION to Withdraw as Attorney by Defendant GEO Group, Inc., The. (DeMuro, David) (Entered: 10/26/2016)
  10/26/2016   54 ORDER granting 53 Motion to Withdraw as Attorney. ORDERED that Attorneys Shelby A. Felton and David R. DeMuro, co-counsel of record for the defendant The Geo Group, Inc., are hereby
                  withdrawn as counsel of record for The Geo Group, Inc. ORDERED that the electronic mail notifications to Shelby A. Felton and David R. DeMuro are terminated in this case. Signed by Judge John L.
                  Kane on 10/26/16.(jhawk, ) (Entered: 10/26/2016)
  10/26/2016   55 NOTICE of Entry of Appearance by Dana L. Eismeier on behalf of GEO Group, Inc., TheAttorney Dana L. Eismeier added to party GEO Group, Inc., The(pty:dft) (Eismeier, Dana) (Entered: 10/26/2016)
  02/13/2017   56 NOTICE of Firm Name Change by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel
                  Xahuentitla (Turner, Andrew) (Entered: 02/13/2017)
  02/27/2017   57 ORDER granting 49 Motion to Certify Class and Appointment of Class Counsel. The classes as proposed in the Motion are certified for Representatives' TVPA and unjust enrichment claims. Alejandro
                  Menocal, Marcos Brambila, Grisel Xahuentitla, Hugo Hernandez, Lourdes Argueta, Jesus Gaytan, Olga Alexaklina, Dagoberto Vizguerra, and Demetrio Valerga are named as representatives of the classes.
                  Attorneys Brandt Milstein, Andrew Turner, Andrew Free, Alexander Hood, David Seligman, Andrew Schmidt, and Hans Meyer are appointed as counsel for the classes. To proceed with this case, the
                  parties shall file a revised Proposed Stipulated Scheduling and Discovery Order by March 27, 2017. Signed by Judge John L. Kane on 02/27/17. (jhawk, ) (Entered: 02/27/2017)
  03/14/2017   58 USCA Letter Advising they have docketed permission to appeal pursuant to 28 U.S.C.1292(b) and Fed. R. App. P. 5. USCA Case No 17-701. (Attachments: # 1 Petition for Permission to Appeal Class
                  Certification, # 2 A, # 3 B) (jhawk, ) (Entered: 03/15/2017)
  03/27/2017   59 Joint MOTION for Extension of Time to File Proposed Stipulated Scheduling and Discovery Order by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez,
                  Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Hood, Alexander) (Entered: 03/27/2017)
  03/28/2017   60 ORDER granting 59 Joint Motion for Extension of Time. The parties shall file a revised Proposed Stipulated Scheduling and Discovery Order by March 31, 2017. Ordered by Judge John L. Kane on
                  3/28/2017. Text Only Entry (jlksec) (Entered: 03/28/2017)
  03/31/2017   61 Proposed Scheduling Order (Joint, Stipulated) by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto
                  Vizguerra, Grisel Xahuentitla. (Free, Robert) (Entered: 03/31/2017)
  04/05/2017   62 ORDER on Proposed Scheduling and Discovery Order 61 . The parties are directed to call in jointly at (303) 844-6118 on or before April 13, 2017, to set a date and time for the conference. The Proposed
                  Order indicates that the parties' dispute the effect of the relevant Touhy regulations, 6 C.F.R. 5.41, et seq., on discovery proceedings in this case. Signed by Judge John L. Kane on 04/05/17. (jhawk, )
                  (Entered: 04/05/2017)
  04/11/2017   63 USCA Order. The clerk of this court is directed to open the new appeal once the clerk of the district court notifies this court that the filing fee has been paid. Id. at 5(d)(3). (USCA Case Number 17-701)
                  (jhawk, ) (Entered: 04/12/2017)
  04/12/2017   64 MINUTE ORDER SETTING SCHEDULING CONFERENCE. This case is set for an IN PERSON Scheduling Conference before Judge Kane at 11:00 a.m. on Wednesday, June 7, 2017, in Courtroom
                  A802 on the 8th floor of the Alfred A. Arraj U.S. Courthouse, 901 19th Street, Denver. The court will discuss the Proposed Scheduling and Discovery Order (ECF No. 61) at the hearing. Ordered by Judge
                  John L. Kane on 4/12/2017. Text Only Entry (jlksec) (Entered: 04/12/2017)
  04/14/2017   65 NOTICE OF APPEAL as to 57 Order on Motion to Certify Class, by Defendant GEO Group, Inc., The. (jhawk, ) (Entered: 04/14/2017)
  04/14/2017   66 USCA Appeal Fees received $ 505, receipt number 79387; Full Payment re 65 Notice of Appeal filed by GEO Group, Inc., The. (jhawk, ) (Entered: 04/14/2017)
  04/14/2017   67 LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of the 65 Notice of Appeal filed by GEO Group, Inc., The to the U.S. Court of Appeals. ( Retained Counsel, Fee paid,)
                  (Attachments: # 1 Docket Sheet, # 2 Preliminary Record)(jhawk, ) (Entered: 04/14/2017)
  04/14/2017   68 USCA Case Number 17-1125 for 65 Notice of Appeal filed by GEO Group, Inc., The. (jhawk, ) (Entered: 04/14/2017)
  04/25/2017   69 MOTION to Stay Proceedings Pending Rule 23(f) Review by Defendant GEO Group, Inc., The. (Emery, Mark) (Entered: 04/25/2017)
  04/26/2017   70 TRANSCRIPT ORDER FORM re 65 Notice of Appeal by Defendant GEO Group, Inc., The (Emery, Mark) (Entered: 04/26/2017)
  04/26/2017   71 LETTER TO USCA and all counsel certifying the record is complete as to 65 Notice of Appeal filed by GEO Group, Inc., The. A transcript order form was filed stating that a transcript is not necessary. (
                  Appeal No. 17-01125) Text Only Entry (jhawk, ) (Entered: 04/26/2017)
  04/26/2017   72 MOTION for Protective Order by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A -- DOJ Letter, # 2 Exhibit B -- DOJ Letter, # 3 Exhibit C -- ICE Letter, # 4 Exhibit D -- ICE Letter)
                  (Eismeier, Dana) (Entered: 04/26/2017)
  04/26/2017   73 MOTION to Compel by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla.
                  (Attachments: # 1 Ex. A - Defendant's Disclosures, # 2 Ex. B - Disclosed Documents, # 3 Ex. C - Email from Opposing Counsel, # 4 Ex. D - Defendant's Touhy Correspondence, # 5 Ex. E - Defendant's

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?910532825583712-L_1_1-1                                                                                                                                                           2/11
                                                                                                                                                                                                      APP. 2
                  Appellate Case: 22-1409                                         Document: 29-2                               Date Filed: 01/23/2023                                      Page: 6
1/21/23, 2:19 PM                                                                                        CM/ECF - U.S. District Court:cod
                    Discovery Response, # 6 Ex. F - Supplemental Discovery Response)(Hood, Alexander) (Entered: 04/26/2017)
  05/10/2017    74 RESPONSE to 72 MOTION for Protective Order filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga,
                   Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit)(Milstein, Brandt) (Entered: 05/10/2017)
  05/11/2017    75 Unopposed MOTION for Extension of Time to File Response/Reply as to 73 MOTION to Compel by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A -- Response to Motion to Compel, # 2
                   Exhibit A to Response to Motion to Compel -- Spreadsheet from AUSA)(Eismeier, Dana) (Entered: 05/11/2017)
  05/12/2017    76 MINUTE ORDER GRANTING Doc. 75 , Defendant's Unopposed Motion for Permission to File Response out of Time. Doc. [75-1] is accepted as the Response to the Motion to Compel (Doc. 73 ) and
                   Doc. [75-2] is accepted as Exhibit A to the Response to the Motion to Compel. Entered by Judge John L. Kane on 05/12/17. Text Only Entry (jhawk, ) (Entered: 05/12/2017)
  05/12/2017    77 RESPONSE to 73 MOTION to Compel filed by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A)(jhawk, ) (Entered: 05/12/2017)
  05/16/2017    78 BRIEF in Opposition to 69 MOTION to Stay Proceedings Pending Rule 23(f) Review filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro
                   Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Seligman, David) (Entered: 05/16/2017)
  05/17/2017    79 REPLY to Response to 72 MOTION for Protective Order filed by Defendant GEO Group, Inc., The. (Eismeier, Dana) (Entered: 05/17/2017)
  05/17/2017    80 REPLY to Response to 73 MOTION to Compel filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto
                   Vizguerra, Grisel Xahuentitla. (Milstein, Brandt) (Entered: 05/17/2017)
  05/22/2017    81 Amicus Curiae Brief filed by Shane Cain (jhawk, ) (Entered: 05/22/2017)
  05/30/2017    82 REPLY to Response to 69 MOTION to Stay Proceedings Pending Rule 23(f) Review filed by Defendant GEO Group, Inc., The. (Emery, Mark) (Entered: 05/30/2017)
  06/06/2017    83 MOTION to Withdraw as Attorney Substitute Counsel by Defendant GEO Group, Inc., The. (Ley, Michael) (Entered: 06/06/2017)
  06/06/2017    84 ORDER Granting Plaintiffs' Motion to Compel 73 and Denying Defendant's Motion for Protective Order 72 . Signed by Judge John L. Kane on 06/06/17. (jhawk, ) (Entered: 06/06/2017)
  06/06/2017    85 ORDER Granting in Part and Denying in Part the GEO Group, Inc's Motion to Stay Proceedings Pending Rule 239F0 Review 69 . Specifically, discovery on the class action issues is STAYED, but
                   discovery on the above enumerated issues relating to liability and merits issues shall proceed in accordance with Federal Rule of Civil Procedure 26. Noting GEOs objection to not having been consulted
                   regarding Plaintiffs discovery proposal, the exact number of depositions, requests for production, and interrogatories to be permitted will be addressed at the upcoming scheduling conference on June 7,
                   2016, at 11 a.m. Signed by Judge John L. Kane on 06/06/17. (jhawk, ) (Entered: 06/06/2017)
  06/06/2017    86 MINUTE ORDER GRANTING Motion to Withdraw as Counsel (Doc. 83 ). Given that representation of Defendant will continue through Michael Y. Ley and Dana L. Eismeier of the same law firm, and
                   Charles A. Deacon and Mark Emery of Norton Rose Fulbright US LLP, Attorney Erik Karl Schuessler is authorized to WITHDRAW as counsel. Mr. Schuessler SHALL be REMOVED from future
                   electronic notifications in this case. Entered by Judge John L. Kane on 06/06/17. Text Only Entry (jhawk, ) (Entered: 06/06/2017)
  06/07/2017    87 NOTICE of Entry of Appearance by Juno E. Turner on behalf of All Plaintiffs Attorney Juno E. Turner added to party Olga Alexaklina(pty:pla), Attorney Juno E. Turner added to party Lourdes
                   Argueta(pty:pla), Attorney Juno E. Turner added to party Marcos Brambila(pty:pla), Attorney Juno E. Turner added to party Jesus Gaytan(pty:pla), Attorney Juno E. Turner added to party Hugo
                   Hernandez(pty:pla), Attorney Juno E. Turner added to party Alejandro Menocal(pty:pla), Attorney Juno E. Turner added to party Demetrio Valerga(pty:pla), Attorney Juno E. Turner added to party
                   Dagoberto Vizguerra(pty:pla), Attorney Juno E. Turner added to party Grisel Xahuentitla(pty:pla) (Turner, Juno) (Entered: 06/07/2017)
  06/07/2017    88 MINUTE ORDER. Directing the parties to submit a revised Proposed Stipulated Scheduling Order on or before June 30, 2017. Entered by Judge John L. Kane on 06/07/17. (jhawk, ) (Entered:
                   06/07/2017)
  06/07/2017    89 MINUTE ENTRY for Scheduling Conference proceedings held before Judge John L. Kane on 6/7/2017. Scheduling Order NOT approved. Court Reporter: Julie Thomas. (babia) (Entered: 06/07/2017)
  06/08/2017    90 NOTICE of Entry of Appearance by P. David Lopez on behalf of All Plaintiffs (Lopez, P.) (Entered: 06/08/2017)
  06/14/2017    91 NOTICE of Entry of Appearance by Ashley Kathryn Boothby on behalf of Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga,
                   Dagoberto Vizguerra, Grisel XahuentitlaAttorney Ashley Kathryn Boothby added to party Olga Alexaklina(pty:pla), Attorney Ashley Kathryn Boothby added to party Lourdes Argueta(pty:pla), Attorney
                   Ashley Kathryn Boothby added to party Marcos Brambila(pty:pla), Attorney Ashley Kathryn Boothby added to party Jesus Gaytan(pty:pla), Attorney Ashley Kathryn Boothby added to party Hugo
                   Hernandez(pty:pla), Attorney Ashley Kathryn Boothby added to party Alejandro Menocal(pty:pla), Attorney Ashley Kathryn Boothby added to party Demetrio Valerga(pty:pla), Attorney Ashley Kathryn
                   Boothby added to party Dagoberto Vizguerra(pty:pla), Attorney Ashley Kathryn Boothby added to party Grisel Xahuentitla(pty:pla) (Boothby, Ashley) (Entered: 06/14/2017)
  06/14/2017    92 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES:re: 91 Notice of Entry of Appearance, filed by attorneyAshleyK. Boothby. DO NOT REFILE THE
                   DOCUMENT. Action to take - counsel must submit a change of contact request through the Attorney Services Portal Account pursuant to D.C.COLO.LAttyR 5(c) and 3.5 of the Electronic Case Filing
                   Procedures (Civil cases).(Text Only Entry) (jhawk, ) (Entered: 06/15/2017)
  06/16/2017    93 NOTICE of Entry of Appearance by Elizabeth V. Stork on behalf of All Plaintiffs Attorney Elizabeth V. Stork added to party Olga Alexaklina(pty:pla), Attorney Elizabeth V. Stork added to party Lourdes
                   Argueta(pty:pla), Attorney Elizabeth V. Stork added to party Marcos Brambila(pty:pla), Attorney Elizabeth V. Stork added to party Jesus Gaytan(pty:pla), Attorney Elizabeth V. Stork added to party Hugo
                   Hernandez(pty:pla), Attorney Elizabeth V. Stork added to party Alejandro Menocal(pty:pla), Attorney Elizabeth V. Stork added to party Demetrio Valerga(pty:pla), Attorney Elizabeth V. Stork added to
                   party Dagoberto Vizguerra(pty:pla), Attorney Elizabeth V. Stork added to party Grisel Xahuentitla(pty:pla) (Stork, Elizabeth) (Entered: 06/16/2017)
  06/16/2017    94 NOTICE of Entry of Appearance by Ossai Miazad on behalf of All Plaintiffs Attorney Ossai Miazad added to party Olga Alexaklina(pty:pla), Attorney Ossai Miazad added to party Lourdes
                   Argueta(pty:pla), Attorney Ossai Miazad added to party Marcos Brambila(pty:pla), Attorney Ossai Miazad added to party Jesus Gaytan(pty:pla), Attorney Ossai Miazad added to party Hugo
                   Hernandez(pty:pla), Attorney Ossai Miazad added to party Alejandro Menocal(pty:pla), Attorney Ossai Miazad added to party Demetrio Valerga(pty:pla), Attorney Ossai Miazad added to party Dagoberto
                   Vizguerra(pty:pla), Attorney Ossai Miazad added to party Grisel Xahuentitla(pty:pla) (Miazad, Ossai) (Entered: 06/16/2017)
  06/20/2017    95 TRANSCRIPT of SCHEDULING CONFERENCE held on 6/7/17 before Judge Kane. Pages: 1-8. <br> NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing, each
                   party shall inform the Court, by filing a Notice of Intent to Redact, of the party's intent to redact personal identifiers from the electronic transcript of the court proceeding. If a Notice of Intent
                   to Redact is not filed within the allotted time, this transcript will be made electronically available after 90 days. Please see the Notice of Electronic Availability of Transcripts document at
                   www.cod.uscourts.gov.<br> Transcript may only be viewed at the court public terminal or purchased through the Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on
                   PACER. (Thomas, Julie) (Entered: 06/20/2017)
  06/27/2017    96 WITHDRAWN NOTICE of Intent to Request Redaction by Michael York Ley re 95 Transcript,,, (Ley, Michael) Modified to show WITHDRAWN pursuant to ecf 102 on 7/13/2017 (cthom, ). (Entered:
                   06/27/2017)
  06/27/2017    97 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES:re: 96 Notice of Intent to Request Redaction filed by attorney Dana L. Eismeier. The s/signature did not match
                   the filers name on the account for which the login and password are registered. DO NOT REFILE THE DOCUMENT. Action to take - future documents must be filed pursuant to D.C.COLO.LCivR
                   5.1(a) and 4.3(c) of the Electronic Case Filing Procedures (Civil cases).(Text Only Entry) (cthom, ) (Entered: 06/28/2017)
  06/30/2017    98 Proposed Scheduling Order by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel
                   Xahuentitla. (Hood, Alexander) (Entered: 06/30/2017)
  07/11/2017    99 MOTION to Withdraw Notice of Intent to Request Redaction by Defendant GEO Group, Inc., The. (Eismeier, Dana) (Entered: 07/11/2017)
  07/13/2017   100 Joint MOTION for Extension of Time to submit Stipulated and Proposed Order Concerning Production of Electronically Stored Information by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos
                   Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Turner, Juno) (Entered: 07/13/2017)
  07/13/2017   101 ORDER granting 100 Joint Motion for Extension of Time. The parties will submit to the Court a stipulated ESI Protocol on or before July 28, 2017. Ordered by Judge John L. Kane on 7/13/2017. Text
                   Only Entry (jlksec) (Entered: 07/13/2017)
  07/13/2017   102 ORDER granting 99 Motion to Withdraw Notice of Intent to Request Redaction. The Notice of Intent to Request Redaction 96 is withdrawn. Ordered by Judge John L. Kane on 7/13/2017. Text Only
                   Entry (jlksec) (Entered: 07/13/2017)
  07/14/2017   103 SCHEDULING AND DISCOVERY ORDER by Judge John L. Kane on 7/14/2017. (cthom, ) (Entered: 07/14/2017)
  07/28/2017   104 Second MOTION for Extension of Time to File Proposed Stipulated Scheduling and Discovery Order by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez,
                   Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Turner, Juno) (Entered: 07/28/2017)
  07/28/2017   105 ORDER granting 104 Second Joint Motion for Extension of Time. The parties will submit to the Court a stipulated ESI Protocol on or before August 4, 2017. Ordered by Judge John L. Kane on
                   7/28/2017. Text Only Entry (jlksec) (Entered: 07/28/2017)
  08/04/2017   106 Third MOTION for Extension of Time to submit Stipulated and Proposed Order Concerning Production of Electronically Stored Information by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos
                   Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Turner, Juno) (Entered: 08/04/2017)
  08/04/2017   107 ORDER granting 106 Third Joint Motion for Extension of Time. The parties will submit to the Court a stipulated ESI Protocol on or before August 18, 2017. Ordered by Judge John L. Kane on 8/4/2017.
                   Text Only Entry (jlksec) (Entered: 08/04/2017)
  08/16/2017   108 STIPULATION and Proposed Order Concerning Production of Electronically Stored Information by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez,
                   Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Turner, Juno) (Entered: 08/16/2017)
  08/22/2017   109 STIPULATION AND ORDER Concerning Production of Electronically Stored Information. ORDERED by Judge John L. Kane on 8/22/2017. (cthom, ) (Entered: 08/22/2017)
  09/21/2017   110 Joint MOTION for Order to Entry of Stipulated Order regarding the Disclosure of Privileged Information by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only) [Proposed]
                   Stipulated Order regarding the Disclosure of Privileged Information)(Eismeier, Dana) (Entered: 09/21/2017)
  09/21/2017   111 ORDER denying 110 Motion for Order. The parties Joint Motion for Entry of Stipulated Order Regarding the Disclosure of Privileged Information (ECF No. 110) is DENIED. A judicial act requires some
                   basis, even under Federal Rule of Evidence 502(d). Here, the parties offer none. The motion may be re-filed with some justification for issuance of the order. Ordered by Judge John L. Kane on 9/21/2017.
                   Text Only Entry (jlksec) (Entered: 09/21/2017)


https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?910532825583712-L_1_1-1                                                                                                                                                    3/11
                                                                                                                                                                                                   APP. 3
                  Appellate Case: 22-1409                                          Document: 29-2                               Date Filed: 01/23/2023                                       Page: 7
1/21/23, 2:19 PM                                                                                          CM/ECF - U.S. District Court:cod
  12/18/2017   112 Stipulated MOTION for Extension of Time to Extend Discovery Cut-Off by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Stork, Elizabeth) (Entered: 12/18/2017)
  12/18/2017   113 ORDER Amending Scheduling and Discovery Order. IT IS HEREBY ORDERED the 112 Stipulated Motion and Proposed Order to Extend Discovery Cut-off is GRANTED and Plaintiffs shall respond to
                   GEOs Second Set of Written Discovery on or before January 19, 2018. The discovery cut-off is extended to May 4, 2018. ORDERED by Judge John L. Kane on 12/18/2017. (cthom, ) (Entered:
                   12/19/2017)
  02/09/2018   114 USCA Opinion as to 65 Notice of Appeal filed by GEO Group, Inc., The : (USCA Case No. 17-1125) (This document is not the Mandate) (cthom, ) (Entered: 02/12/2018)
  02/09/2018   115 USCA Judgment as to 65 Notice of Appeal filed by GEO Group, Inc., The : (USCA Case No. 17-1125) (This document is not the Mandate) "We affirm the district court's certification of both classes. We
                   grant theoutstanding motions for leave to file amicus briefs." (cthom, ) (Entered: 02/12/2018)
  02/12/2018   116 MINUTE ORDER In light of the opinion of the Tenth Circuit Court of Appeals, this case is referred to Magistrate Judge Hegarty for him to conduct such conferences and proceedings as he deems
                   appropriate for purposes of settlement. The parties amended Proposed Stipulated Scheduling Order shall be filed on or before March 12, 2018. ORDERED by Judge John L. Kane on 2/12/2018. (cthom, )
                   (Entered: 02/13/2018)
  02/13/2018   117 MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 02/13/2018. Pursuant to the Order of Reference issued by the Honorable John L. Kane, ECF No. 116, on or before 2/16/2018, counsel for
                   the parties shall first teleconference together, then call my chambers at (303) 844-4507 to schedule a Settlement Conference in this case. (mdave, ) (Entered: 02/13/2018)
  02/14/2018   118 NOTICE of Entry of Appearance by Rachel Williams Dempsey on behalf of All Plaintiffs Attorney Rachel Williams Dempsey added to party Olga Alexaklina(pty:pla), Attorney Rachel Williams Dempsey
                   added to party Lourdes Argueta(pty:pla), Attorney Rachel Williams Dempsey added to party Marcos Brambila(pty:pla), Attorney Rachel Williams Dempsey added to party Jesus Gaytan(pty:pla), Attorney
                   Rachel Williams Dempsey added to party Hugo Hernandez(pty:pla), Attorney Rachel Williams Dempsey added to party Alejandro Menocal(pty:pla), Attorney Rachel Williams Dempsey added to party
                   Demetrio Valerga(pty:pla), Attorney Rachel Williams Dempsey added to party Dagoberto Vizguerra(pty:pla), Attorney Rachel Williams Dempsey added to party Grisel Xahuentitla(pty:pla) (Dempsey,
                   Rachel) (Entered: 02/14/2018)
  02/16/2018   119 Unopposed MOTION to Withdraw as Attorney of Record by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga,
                   Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Proposed Order (PDF Only))(Stork, Elizabeth) (Entered: 02/16/2018)
  02/16/2018   120 ORDER granting 119 Unopposed Motion for Withdrawal of Appearance. Elizabeth V. Stork is withdrawn as counsel of record for the Plaintiffs in the above-captioned matter. The clerk is directed to
                   remove Elizabeth V. Stork from the CM/ECF notification system in connection with this case. ORDERED by Judge John L. Kane on 2/16/2018. (cthom, ) (Entered: 02/16/2018)
  02/20/2018   121 MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 02/20/2018. Settlement Conference set for 5/2/2018 10:00 AM in Courtroom A 501 before Magistrate Judge Michael E. Hegarty. (mdave, )
                   (Entered: 02/20/2018)
  03/05/2018   122 ORDER of USCA as to 65 Notice of Appeal filed by GEO Group, Inc., The. (USCA Case No. 17-1125) (cthom, ) (Entered: 03/06/2018)
  03/09/2018   123 Stipulated MOTION for Extension of Time to File Amended Proposed Stipulated Scheduling Order by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez,
                   Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Turner, Juno) (Entered: 03/09/2018)
  03/09/2018   124 ORDER granting 123 Motion for Extension of Time to File Amended Proposed Stipulated Scheduling Order. The deadline to file an Amended Proposed Stipulated Scheduling Order is extended to June 1,
                   2018. Ordered by Judge John L. Kane on 3/9/2018. Text Only Entry (jlksec) (Entered: 03/09/2018)
  03/13/2018   125 MANDATE of USCA as to 115 USCA Order/Opinion/Judgment, 114 USCA Order/Opinion/Judgment, 65 Notice of Appeal filed by GEO Group, Inc., The : (USCA Case No. 17-1125) (cthom, ) (Entered:
                   03/13/2018)
  03/14/2018   126 Unopposed MOTION for Leave to Excuse In-Person Attendance at the Settlement Conference 121 Minute Order by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo
                   Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Milstein, Brandt) (Entered: 03/14/2018)
  03/16/2018   127 MINUTE ORDER granting 126 Plaintiffs Unopposed Motion to Excuse In-person Attendance at the Settlement Conference by Magistrate Judge Michael E. Hegarty on 03/16/2018. (mdave, ) (Entered:
                   03/16/2018)
  05/04/2018   128 MINUTE ENTRY FOR SETTLEMENT for proceedings held before Magistrate Judge Michael E. Hegarty: Settlement Conference was held on 5/2/2018 and no settlement was reached as to any claims in
                   this action. (mdave, ) (Entered: 05/04/2018)
  05/15/2018   129 NOTICE of Change of Address/Contact Information for Plaintiffs' Attorney Alexander Hood by Alexander Neville Hood (Hood, Alexander) (Entered: 05/15/2018)
  05/15/2018   130 NOTICE of Change of Address/Contact Information for Plaintiffs' Attorney David Seligman by David Hollis Seligman (Seligman, David) (Entered: 05/15/2018)
  05/29/2018   131 NOTICE of Change of Address/Contact Information by Rachel Williams Dempsey (Dempsey, Rachel) (Entered: 05/29/2018)
  05/31/2018   132 MINUTE ORDER. The deadline to file an Amended Proposed Stipulated Scheduling Order is extended to Monday, June 18, 2018. Ordered by Judge John L. Kane on 5/31/2018. Text Only Entry (jlksec)
                   (Entered: 05/31/2018)
  06/11/2018   133 Letter from U.S. Supreme Court regarding Petition for Writ of Certiorari re 65 Notice of Appeal ; assigned Supreme Court No. 17-1648 ( Appeal No. 17-1125) (cthom, ) (Entered: 06/11/2018)
  06/18/2018   134 MINUTE ORDER. The deadline to file an Amended Proposed Stipulated Scheduling Order is extended to Monday, July 23, 2018. Ordered by Judge John L. Kane on 6/18/2018. Text Only Entry (jlksec)
                   (Entered: 06/18/2018)
  07/23/2018   135 MINUTE ORDER. The deadline to file an Amended Proposed Stipulated Scheduling Order is extended to Wednesday, August 22, 2018. Ordered by Judge John L. Kane on 7/23/2018. Text Only Entry
                   (jlksec) (Entered: 07/23/2018)
  08/08/2018   136 NOTICE of Change of Address/Contact Information by Andrew Hess Turner (Turner, Andrew) (Entered: 08/08/2018)
  08/16/2018   137 MINUTE ENTRY for proceedings held before Magistrate Judge Michael E. Hegarty. Settlement Conference held on 8/16/2018. FTR: Hegarty (A501). (tsher, ) (Entered: 08/16/2018)
  08/20/2018   138 NOTICE of Entry of Appearance by Elizabeth V. Stork on behalf of Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga,
                   Dagoberto Vizguerra, Grisel Xahuentitla (Stork, Elizabeth) (Entered: 08/20/2018)
  08/22/2018   139 Proposed Scheduling Order by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel
                   Xahuentitla. (Attachments: # 1 Exhibit B)(Turner, Juno) (Entered: 08/22/2018)
  08/24/2018   140 NOTICE of Entry of Appearance for Naomi Beer by Naomi G. Beer on behalf of GEO Group, Inc., TheAttorney Naomi G. Beer added to party GEO Group, Inc., The(pty:dft) (Beer, Naomi) (Entered:
                   08/24/2018)
  08/24/2018   141 NOTICE of Entry of Appearance for David G. Palmer by David G. Palmer on behalf of GEO Group, Inc., TheAttorney David G. Palmer added to party GEO Group, Inc., The(pty:dft) (Palmer, David)
                   (Entered: 08/24/2018)
  08/29/2018   142 MINUTE ORDER. After reviewing the Amended Proposed Stipulated Scheduling Order, I would like to set a Scheduling Conference. Counsel are instructed to call chambers JOINTLY on or before
                   September 12, 2018, to set a date and time for the conference - 303-844-6118. The parties are instructed to refile the Proposed Scheduling Order incorporating Exhibit A dates directly into the order.
                   Ordered by Judge John L. Kane on 8/29/2018. Text Only Entry (jlksec) (Entered: 08/29/2018)
  08/30/2018   143 BRIEF in Support of Defendant's Request for Depositions of Absent Class Members by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A (Roberts Decision), # 2 Exhibit B (Hayter
                   Declaration))(Eismeier, Dana) (Entered: 08/30/2018)
  08/30/2018   144 MOTION for Discovery Order re Plaintiffs' Opposition to Defendants' Request for Depositions of Absent Class Members by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan,
                   Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Affidavit of Juno Turner, # 2 Exhibit A, # 3 Exhibit B, # 4 Certificate of Service)
                   (Turner, Juno) (Entered: 08/30/2018)
  09/06/2018   145 MINUTE ORDER SETTING SCHEDULING CONFERENCE. This case is set for a Scheduling Conference at 10:30 a.m. on Wednesday, October 3, 2018, before Judge John L. Kane in Courtroom A802
                   on the 8th floor of the Alfred A. Arraj U.S. Courthouse, 901 19th Street, Denver, Colorado. Parties wishing to listen in telephonically may call chambers JOINTLY immediately prior to the hearing and the
                   call will be transferred to the courtroom - 303-844-6118. Ordered by Judge John L. Kane on 9/6/2018. Text Only Entry (jlksec) (Entered: 09/06/2018)
  09/11/2018   146 Proposed Scheduling Order by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel
                   Xahuentitla. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Turner, Juno) (Entered: 09/11/2018)
  09/18/2018   147 ORDER denying Defendant's 143 Request to Depose Absent Class Members. ORDERED by Judge John L. Kane on 9/18/2018. (cthom, ) (Entered: 09/18/2018)
  10/01/2018   148 Letter from U.S. Supreme Court regarding Petition for Writ of Certiorari re 65 Notice of Appeal ; assigned Supreme Court No. 17-1648 ( Appeal No. 17-1125) "The petition for a writ of certiorari is
                   denied." (cthom, ) (Entered: 10/02/2018)
  10/03/2018   149 AMENDED STIPULATED SCHEDULING AND DISCOVERY ORDER Stipulated Protective Order due on or before October 31, 2018. The parties' proposed notice and plan for notice to the class shall
                   be submitted on or before October 31, 2018 Deadline to Amend Pleadings: November 19, 2018. Discovery Cut-off: August 21, 2019. Expert disclosures: October 7, 2019. Rebuttal experts: November 22,
                   2019. Dispositive Motion Deadline: March 6, 2020. by Judge John L. Kane on 10/3/2018. (cthom, ) Modified to add dates on 10/3/2018 (cthom, ). (Entered: 10/03/2018)
  10/03/2018   150 MINUTE ENTRY for Scheduling Conference proceedings held before Judge John L. Kane on 10/3/2018. Scheduling Order approved and signed. Court Reporter: Terri Lindblom. (babia) (Entered:
                   10/03/2018)
  10/31/2018   151 Joint STATUS REPORT and Stipulated Motion for Brief Extension by Defendant GEO Group, Inc., The. (Beer, Naomi) Modified to add motion event on 11/1/2018 (cthom, ). (Entered: 10/31/2018)
  11/01/2018   152 ORDER granting 151 Joint Status Report and Stipulated Motion for Brief Extension. The parties shall submit a proposed Rule 502(b) Order and a revised Protective Order on or before November 20,
                   2018. The deadline to submit a proposed Notice Plan is extended such that the Notice Plan is due two weeks after the Court has approved a revised Protective Order. Ordered by Judge John L. Kane on
                   11/1/2018. Text Only Entry (jlksec) (Entered: 11/01/2018)



https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?910532825583712-L_1_1-1                                                                                                                                                       4/11
                                                                                                                                                                                                     APP. 4
                  Appellate Case: 22-1409                                           Document: 29-2                               Date Filed: 01/23/2023                                        Page: 8
1/21/23, 2:19 PM                                                                                           CM/ECF - U.S. District Court:cod
  11/12/2018   153 NOTICE of Entry of Appearance by Adam Levin Koshkin on behalf of Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga,
                   Dagoberto Vizguerra, Grisel XahuentitlaAttorney Adam Levin Koshkin added to party Olga Alexaklina(pty:pla), Attorney Adam Levin Koshkin added to party Lourdes Argueta(pty:pla), Attorney Adam
                   Levin Koshkin added to party Marcos Brambila(pty:pla), Attorney Adam Levin Koshkin added to party Jesus Gaytan(pty:pla), Attorney Adam Levin Koshkin added to party Hugo Hernandez(pty:pla),
                   Attorney Adam Levin Koshkin added to party Alejandro Menocal(pty:pla), Attorney Adam Levin Koshkin added to party Demetrio Valerga(pty:pla), Attorney Adam Levin Koshkin added to party
                   Dagoberto Vizguerra(pty:pla), Attorney Adam Levin Koshkin added to party Grisel Xahuentitla(pty:pla) (Koshkin, Adam) (Entered: 11/12/2018)
  11/20/2018   154 AMENDED Joint Motion for Entry of Stipulated Order Regarding the Disclosure of Privileged Information Pursuant to FRE 502(d) by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A)
                   (Beer, Naomi) Modified to correct title and add motion event on 11/21/2018 (cthom, ). (Entered: 11/20/2018)
  11/20/2018   155 Stipulated Motion for Entry of Proposed Amended Protective Order by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit Amended Stipulated Protective Order Concerning Confidential
                   Information)(Beer, Naomi) Modified to correct title and add motion event on 11/21/2018 (cthom, ). (Entered: 11/20/2018)
  11/26/2018   156 STIPULATED ORDER Regarding the Disclosure of Privileged Information by Judge John L. Kane on 11/26/2018. (cthom, ) (Entered: 11/26/2018)
  11/26/2018   157 AMENDED STIPULATED PROTECTIVE ORDER Concerning Confidential Information. ORDERED by Judge John L. Kane on 11/26/2018. (cthom, ) (Entered: 11/26/2018)
  12/10/2018   158 Joint MOTION for Extension of Time to submit a proposed Notice Plan by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Turner, Juno) (Entered: 12/10/2018)
  12/11/2018   159 ORDER granting 158 Motion for Extension of Time. The deadline to submit a proposed Notice Plan is extended to January 11, 2019. Ordered by Judge John L. Kane on 12/11/2018. Text Only Entry
                   (jlksec) (Entered: 12/11/2018)
  12/17/2018   160 Unopposed MOTION to Withdraw as Attorney by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only))(Deacon, Charles) (Entered: 12/17/2018)
  12/18/2018   161 ORDER granting 160 Unopposed Motion to Withdraw as Attorney. Charles A. Deacon and Mark Emery of the firm of Norton Rose Fulbright US LLP are withdrawn as counsel of record for the
                   Defendant. ORDERED by Judge John L. Kane on 12/18/2018. (cthom, ) (Entered: 12/18/2018)
  01/11/2019   162 Joint MOTION for Issuance of Plaintiffs' Class Notice Distribution Plan by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit A - Class Notice, # 2 Exhibit B - Sample Radio Advertisement Script, # 3 Exhibit C - Sample Online Advertisement Text, # 4
                   Exhibit D - Proposed Press Release)(Turner, Juno) (Entered: 01/11/2019)
  01/14/2019   163 ORDER Approving Plaintiffs' Class Notice Plan by Judge John L. Kane on 1/14/2019. (Attachments: # 1 Class Notice, # 2 Radio Advertisement Script, # 3 Online Advertisement Text, # 4 Press Release)
                   (cthom, ) (Entered: 01/14/2019)
  03/12/2019   164 NOTICE of Entry of Appearance by Valerie Eifert Brown on behalf of GEO Group, Inc., TheAttorney Valerie Eifert Brown added to party GEO Group, Inc., The(pty:dft) (Brown, Valerie) (Entered:
                   03/12/2019)
  03/12/2019   165 MOTION to Withdraw as Attorney of Record by Defendant GEO Group, Inc., The. (Beer, Naomi) (Entered: 03/12/2019)
  03/13/2019   166 ORDER granting 165 Motion to Withdraw as Attorney. David G. Palmer and Naomi G. Beer of the firm of Greenberg Traurig, LLP are withdrawn as counsel of record for the Defendant in the above-
                   captioned matter. Scott A. Schipma is not an attorney of record in the case. ORDERED by Judge John L. Kane on 3/13/2019. (cthom, ) (Entered: 03/13/2019)
  03/14/2019   167 NOTICE of Entry of Appearance by Carolyn Patrice Short on behalf of GEO Group, Inc., TheAttorney Carolyn Patrice Short added to party GEO Group, Inc., The(pty:dft) (Short, Carolyn) (Entered:
                   03/14/2019)
  03/18/2019   168 WITHDRAWN MOTION to Compel by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra,
                   Grisel Xahuentitla. (Attachments: # 1 Affidavit of Juno Turner, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11
                   Exhibit J, # 12 Exhibit K, # 13 Exhibit L, # 14 Exhibit M, # 15 Exhibit O)(Turner, Juno) Modified to show withdrawn pursuant to 175 Order on 4/3/2019 (cthom, ). (Entered: 03/18/2019)
  03/18/2019   169 (RESTRICTED DOCUMENT - Level 1) Exhibits by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto
                   Vizguerra, Grisel Xahuentitla.. (Attachments: # 1 Exhibit N)(Turner, Juno) Modified to add title on 3/19/2019 (cthom, ). (Entered: 03/18/2019)
  03/20/2019   170 MINUTE ORDER re: 168 Defendant is DIRECTED to file a Response to Plaintiffs' Motion to Compel on or before April 2, 2019. Additionally, the parties are DIRECTED to call chambers JOINTLY at
                   (303) 844-6118 on or before March 26, 2019, to set a date and time for a hearing on the motion. Available dates for the hearing are April 8th, 9th, or 11th. In-person attendance by at least one attorney for
                   each side is required. Ordered by Judge John L. Kane on 3/20/2019. Text Only Entry (jlksec) (Entered: 03/20/2019)
  03/22/2019   171 MINUTE ORDER re: 168 MOTION to Compel. A Motion Hearing is set for Tuesday, April 9, 2019, at 10:30 AM before Judge John L. Kane in Courtroom A802 of the Alfred A. Arraj U.S. Courthouse,
                   901 19th Street, Denver, Colorado. Ordered by Judge John L. Kane on 3/22/2019. Text Only Entry (jlksec) (Entered: 03/22/2019)
  04/01/2019   172 MOTION for Leave to Restrict by Defendant GEO Group, Inc., The. (Eismeier, Dana) (Entered: 04/01/2019)
  04/02/2019   173 ORDER granting 172 Motion for Leave to Restrict. ORDERED by Judge John L. Kane on 4/2/2019. (cthom, ) (Entered: 04/02/2019)
  04/02/2019   174 STIPULATION re 168 MOTION to Compel by Defendant GEO Group, Inc., The. (Short, Carolyn) (Entered: 04/02/2019)
  04/03/2019   175 ORDER Regarding Plaintiffs' 168 Motion to Compel and 174 Stipulation of Plaintiffs' Motion to Compel Discovery. The 174 Stipulation is construed as a Motion to Withdraw the 168 Motion to Compel
                   and is GRANTED. Plaintiffs' Motion to Compel is WITHDRAWN without prejudice to refile, and the Motion Hearing set for April 9, 2019, at 10:30 a.m. is VACATED. ORDERED by Judge John L.
                   Kane on 4/3/2019. (cthom, ) (Entered: 04/03/2019)
  04/04/2019   176 NOTICE of Entry of Appearance by Stacy Delayne Blank on behalf of GEO Group, Inc., TheAttorney Stacy Delayne Blank added to party GEO Group, Inc., The(pty:dft) (Blank, Stacy) (Entered:
                   04/04/2019)
  04/26/2019   177 MOTION to Withdraw Affirmative Defense No. 20 by Defendant GEO Group, Inc., The. (Short, Carolyn) (Entered: 04/26/2019)
  04/29/2019   178 ORDER granting 177 Unopposed Motion to Withdraw an Affirmative Defense Stated in Defendant's Answer. ORDERED by Judge John L. Kane on 4/29/2019.(cthom, ) (Entered: 04/29/2019)
  05/16/2019   179 NOTICE of Change of Address/Contact Information and Change of Firm by Juno E. Turner (Turner, Juno) (Entered: 05/16/2019)
  05/30/2019   180 NOTICE of Entry of Appearance by Michael J. Scimone on behalf of Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga,
                   Dagoberto Vizguerra, Grisel XahuentitlaAttorney Michael J. Scimone added to party Olga Alexaklina(pty:pla), Attorney Michael J. Scimone added to party Lourdes Argueta(pty:pla), Attorney Michael J.
                   Scimone added to party Marcos Brambila(pty:pla), Attorney Michael J. Scimone added to party Jesus Gaytan(pty:pla), Attorney Michael J. Scimone added to party Hugo Hernandez(pty:pla), Attorney
                   Michael J. Scimone added to party Alejandro Menocal(pty:pla), Attorney Michael J. Scimone added to party Demetrio Valerga(pty:pla), Attorney Michael J. Scimone added to party Dagoberto
                   Vizguerra(pty:pla), Attorney Michael J. Scimone added to party Grisel Xahuentitla(pty:pla) (Scimone, Michael) (Entered: 05/30/2019)
  05/30/2019   181 MOTION to Compel 30(b)(6) Deposition and Videotaped Inspection by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Affidavit of Michael Scimone, # 2 Affidavit of Alexander Hood, # 3 Index of Exhibits, # 4 Exhibit A, # 5 Exhibit B, # 6 Exhibit C, # 7
                   Exhibit D, # 8 Exhibit E, # 9 Exhibit F, # 10 Exhibit G, # 11 Exhibit H, # 12 Exhibit I, # 13 Exhibit J, # 14 Exhibit K, # 15 Exhibit L, # 16 Exhibit M, # 17 Exhibit N, # 18 Exhibit O, # 19 Exhibit P, # 20
                   Exhibit Q, # 21 Exhibit R, # 22 Proposed Order (PDF Only))(Scimone, Michael) (Entered: 05/30/2019)
  06/11/2019   182 NOTICE of Entry of Appearance by Patrick J. McCabe on behalf of GEO Group, Inc., TheAttorney Patrick J. McCabe added to party GEO Group, Inc., The(pty:dft) (McCabe, Patrick) (Entered:
                   06/11/2019)
  06/13/2019   183 MOTION to Withdraw as Attorney Ashley K. Boothby by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto
                   Vizguerra, Grisel Xahuentitla. (Turner, Andrew) (Entered: 06/13/2019)
  06/14/2019   184 ORDER granting 183 Motion to Withdraw as Attorney Ashley Kathryn Boothby. ORDERED by Judge John L. Kane on 6/14/2019.(cthom, ) (Entered: 06/14/2019)
  06/18/2019   185 Unopposed MOTION to Amend/Correct/Modify 163 Order on Motion for Issuance by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal,
                   Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Proposed Order (PDF Only), # 2 Affidavit of Michael Scimone, # 3 Affidavit of Anna Joseph, # 4 Affidavit of Nicole
                   Ramos, # 5 Affidavit of Nan Schivone, # 6 Affidavit of Scott Simpson)(Scimone, Michael) (Entered: 06/18/2019)
  06/20/2019   186 ORDER granting Plaintiffs' 185 Unopposed Motion to Amend Notice Plan. No later than July 22, 2019, Plaintiffs shall distribute notice to the class as ordered for a ninety (90) day period. ORDERED by
                   Judge John L. Kane on 6/20/2019.(cthom, ) (Entered: 06/20/2019)
  06/20/2019   187 BRIEF in Opposition to 181 MOTION to Compel 30(b)(6) Deposition and Videotaped Inspection filed by Defendant GEO Group, Inc., The. (Attachments: # 1 Affidavit of Dawn Ceja, # 2 Affidavit of
                   Valerie Brown, # 3 Exhibit Index of Exhibits, # 4 Exhibit A, # 5 Exhibit B, # 6 Exhibit C, # 7 Exhibit D, # 8 Exhibit E, # 9 Exhibit F, # 10 Exhibit G, # 11 Exhibit I)(Short, Carolyn) (Entered: 06/20/2019)
  06/20/2019   188 NOTICE of Filing of Exhibit by Defendant GEO Group, Inc., The. (Short, Carolyn) Modified to add text pursuant to 191 Order on 6/28/2019 (cthom, ). (Entered: 06/20/2019)
  06/20/2019   189 (RESTRICTED DOCUMENT - Level 1) Exhibit H to 187 Brief in Opposition by Defendant GEO Group, Inc., The.. (Short, Carolyn) Modified to add title on 6/21/2019 (cthom, ). (Entered: 06/20/2019)
  06/27/2019   190 MOTION for Leave to Restrict by Defendant GEO Group, Inc., The. (Short, Carolyn) (Entered: 06/27/2019)
  06/28/2019   191 ORDER Granting 190 Motion for Leave to Restrict and Directing the Clerk to terminate 188 Motion and modify the text to read "Notice of Filing of Exhibit." ORDERED by Judge John L. Kane on
                   6/28/2019.(cthom, ) (Entered: 06/28/2019)
  07/03/2019   192 REPLY to Response to 181 MOTION to Compel 30(b)(6) Deposition and Videotaped Inspection filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez,
                   Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Affidavit of Michael Scimone, # 2 Exhibit A, # 3 Exhibit B)(Scimone, Michael) (Entered: 07/03/2019)
  07/11/2019   193 MOTION for Leave to File Surreply to 181 MOTION to Compel 30(b)(6) Deposition and Videotaped Inspection by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A)(Short, Carolyn)
                   (Entered: 07/11/2019)
  07/11/2019   194 DECLARATION of Valerie Brown regarding MOTION for Leave to File Surreply to 181 MOTION to Compel 30(b)(6) Deposition and Videotaped Inspection 193 by Defendant GEO Group, Inc., The.
                   (Short, Carolyn) (Entered: 07/11/2019)

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?910532825583712-L_1_1-1                                                                                                                                                            5/11
                                                                                                                                                                                                       APP. 5
                  Appellate Case: 22-1409                                         Document: 29-2                              Date Filed: 01/23/2023                                      Page: 9
1/21/23, 2:19 PM                                                                                        CM/ECF - U.S. District Court:cod
  07/19/2019   195 Stipulated MOTION for Extension of Time to Provide Class Notice by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Proposed Order (PDF Only))(Stork, Elizabeth) (Entered: 07/19/2019)
  07/19/2019   196 ORDER granting 195 Stipulated Motion to Extend the Notice Deadline. No later than August 21, 2019, Plaintiffs shall distribute notice to the class according to the 186 Class Notice Plan approved by the
                   Court. ORDERED by Judge John L. Kane on 7/19/2019.(cthom, ) (Entered: 07/19/2019)
  07/29/2019   197 Joint MOTION to Extend Discovery Deadlines by Defendant GEO Group, Inc., The. (Short, Carolyn) Modified on 7/30/2019 to edit title. (sphil, ). (Entered: 07/29/2019)
  07/30/2019   198 ORDER granting 197 Joint Motion to Extend Discovery Deadlines. AMENDED STIPULATED SCHEDULING AND DISCOVERY ORDER. The Discovery Cut-off is extended to October 21, 2019;
                   expert disclosures are due November 21, 2019; rebuttal experts disclosures due January 6, 2020; expert witness depositions due by February 7, 2020; and Dispositive Motion Deadline is extended to April
                   20, 2020. Ordered by Judge John L. Kane on 7/30/2019. Text Only Entry(jlksec) (Entered: 07/30/2019)
  08/01/2019   199 NOTICE of Entry of Appearance by Colin Louis Barnacle on behalf of GEO Group, Inc., TheAttorney Colin Louis Barnacle added to party GEO Group, Inc., The(pty:dft) (Barnacle, Colin) (Entered:
                   08/01/2019)
  08/01/2019   200 NOTICE of Entry of Appearance by Christopher John Eby on behalf of GEO Group, Inc., TheAttorney Christopher John Eby added to party GEO Group, Inc., The(pty:dft) (Eby, Christopher) (Entered:
                   08/01/2019)
  08/01/2019   201 NOTICE of Entry of Appearance by Ashley Elizabeth Calhoun on behalf of GEO Group, Inc., TheAttorney Ashley Elizabeth Calhoun added to party GEO Group, Inc., The(pty:dft) (Calhoun, Ashley)
                   (Entered: 08/01/2019)
  08/01/2019   202 MOTION to Withdraw as Attorney by Defendant GEO Group, Inc., The. (Short, Carolyn) (Entered: 08/01/2019)
  08/01/2019   203 MINUTE ORDER. Pursuant to D.C.COLO.LAttyR 5(b), any attorney wanting to withdraw from a case who has already made an appearance must do so by filing a Motion to Withdraw as Counsel,
                   electronically ("s/") signed, using his/her own ecf account. However, having received and reviewed Ms. Short's Motion to Withdraw Appearance 202 and under the circumstances presented, it is
                   ORDERED that the Motion is GRANTED. Carolyn Short, Valerie Brown, Patrick McCabe and Stacy Blank of Holland & Knight LLP are authorized to WITHDRAW as counsel. They shall be removed
                   from future electronic notifications in this case. ORDERED by Judge John L. Kane on 8/1/20109. Text Only Entry(sphil, ) (Entered: 08/01/2019)
  08/20/2019   204 Stipulated MOTION for Extension of Time to Provide Class Notice by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Proposed Order (PDF Only))(Scimone, Michael) (Entered: 08/20/2019)
  08/20/2019   205 ORDER by Judge John L. Kane on 8/20/2019, re: 204 Plaintiffs' Stipulated Motion to Extend the Class Notice Deadline is GRANTED and ORDERS as follows: No later than October 21, 2019,
                   Plaintiffs shall distribute notice to the class according to the Class Notice Plan approved by the Court (ECF No. 186). (sphil, ) (Entered: 08/20/2019)
  09/10/2019   206 Supplemental Brief in further support to 181 MOTION to Compel 30(b)(6) Deposition and Videotaped Inspection of Filing of Supplemental Brief in Further Support by Plaintiffs Olga Alexaklina,
                   Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla (Attachments: # 1 Affidavit of Michael Scimone, # 2
                   Exhibit A)(Scimone, Michael) Modified on 9/19/2019 to edit document title. (sphil, ). (Entered: 09/10/2019)
  09/24/2019   207 Third MOTION to Compel Production of Documents and Enforce This Courts Prior Order by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro
                   Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 09/24/2019)
  09/24/2019   208 DECLARATION of Michael J. Scimone regarding Third MOTION to Compel Production of Documents and Enforce This Courts Prior Order 207 by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos
                   Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)
                   (Scimone, Michael) (Entered: 09/24/2019)
  09/24/2019   209 MINUTE ORDER by Judge John L. Kane on 9/24/2019. Upon review of Plaintiffs' Supplemental Brief in Further Support of Motion to Compel (Doc. 206) and Plaintiffs' Motion to Compel Production of
                   Documents and Enforce this Courts Prior Order (Doc. 207), I find Responses from Defendant The GEO Group, Inc. are necessary. Consequently, GEO is DIRECTED to file a Supplemental Response to
                   Plaintiffs' Supplemental Brief (Doc. 206) and a Response to Plaintiffs newest Motion to Compel (Doc. 207) on or before October 1, 2019. The expedited timeline is dictated by the impending
                   depositions. Text Only Entry. (sphil, ) Modified on 9/24/2019 to edit text. (sphil, ). (Entered: 09/24/2019)
  10/01/2019   210 RESPONSE to 206 Notice (Other), by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A - ICE Correspondence)(Barnacle, Colin) (Entered: 10/01/2019)
  10/01/2019   211 RESPONSE to 207 Third MOTION to Compel Production of Documents and Enforce This Courts Prior Order filed by Defendant GEO Group, Inc., The. (Barnacle, Colin) (Entered: 10/01/2019)
  10/02/2019   212 REPLY to Response to 207 Third MOTION to Compel Production of Documents and Enforce This Courts Prior Order and Reply to Response to 206 Notice. filed by Plaintiffs Olga Alexaklina, Lourdes
                   Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 10/02/2019)
  10/02/2019   213 DECLARATION of Michael J. Scimone regarding Reply to Response to Motion, 212 by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro
                   Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit A)(Scimone, Michael) (Entered: 10/02/2019)
  10/02/2019   214 AMENDED ORDER OF REFERENCE TO MAGISTRATE JUDGE. Pursuant to 28 U.S.C. §636(b) (1)(A) and (B) and Fed.R.Civ.P. 72(a), United States Magistrate Judge Michael Hegarty is designated
                   to conduct proceedings in this civil action as follows: Conduct such status conferences and issue such orders necessary for compliance with the scheduling order, including amendments or modifications of
                   the scheduling order upon a showing of good cause; Convene such settlement conferences and direct related procedures as may facilitate resolution of this case; Hear and determine pretrial matters,
                   including discovery and other non-dispositive motions; Refer the case to a special master, if necessary, by Judge John L. Kane on 10/2/2019. (evana, ) (Entered: 10/02/2019)
  10/02/2019   215 MEMORANDUM regarding 181 MOTION to Compel 30(b)(6) Deposition and Videotaped Inspection filed by Lourdes Argueta, Demetrio Valerga, Dagoberto Vizguerra, Olga Alexaklina, Hugo
                   Hernandez, Marcos Brambila, Alejandro Menocal, Grisel Xahuentitla, Jesus Gaytan, 207 Third MOTION to Compel Production of Documents and Enforce This Courts Prior Order filed by Lourdes
                   Argueta, Demetrio Valerga, Dagoberto Vizguerra, Olga Alexaklina, Marcos Brambila, Hugo Hernandez, Grisel Xahuentitla, Alejandro Menocal, Jesus Gaytan, 193 MOTION for Leave to File Surreply to
                   181 MOTION to Compel 30(b)(6) Deposition and Videotaped Inspection filed by GEO Group, Inc. Motions referred to Magistrate Judge Michael E. Hegarty by Judge John L. Kane on 10/2/2019. Text
                   Only Entry (jlksec) (Entered: 10/02/2019)
  10/03/2019   216 MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 10/3/2019 denying without prejudice 181 Motion to Compel 30(b)(6) Deposition and Videotaped Inspection and 207 Motion to Compel
                   Production of Documents and Enforce This Courts Prior Order. 193 Motion for Leave to File Surreply is granted in part and denied in part. (tsher, ) (Entered: 10/03/2019)
  10/08/2019   217 Stipulated MOTION for Extension of Time to Complete Discovery by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 10/08/2019)
  10/08/2019   218 MEMORANDUM regarding 217 Stipulated MOTION for Extension of Time to Complete Discovery filed by Lourdes Argueta, Demetrio Valerga, Dagoberto Vizguerra, Olga Alexaklina, Hugo Hernandez,
                   Marcos Brambila, Alejandro Menocal, Grisel Xahuentitla, Jesus Gaytan. Motions referred to Magistrate Judge Michael E. Hegarty by Judge John L. Kane on 10/8/2019. Text Only Entry (jlksec) (Entered:
                   10/08/2019)
  10/09/2019   219 MINUTE ORDER granting 217 Motion to Extend Discovery Deadlines File by Magistrate Judge Michael E. Hegarty on 10/9/2019. Designation due by 12/23/2019. Discovery due by 11/21/2019.
                   Designation of Rebuttal Experts due 2/6/2020(tsher, ) (Entered: 10/09/2019)
  10/11/2019   220 Joint STATUS REPORT by Defendant GEO Group, Inc., The. (Barnacle, Colin) (Entered: 10/11/2019)
  10/15/2019   221 Set Hearing: Informal Discovery Conference set for 10/18/2019 10:30 AM in Courtroom A 501 before Magistrate Judge Michael E. Hegarty pursuant to 216 Minute Order. Text Only Entry. (tsher, )
                   (Entered: 10/15/2019)
  10/16/2019   222 NOTICE of Entry of Appearance by Melissa Louise Cizmorris on behalf of GEO Group, Inc., TheAttorney Melissa Louise Cizmorris added to party GEO Group, Inc., The(pty:dft) (Cizmorris, Melissa)
                   (Entered: 10/16/2019)
  10/16/2019   223 NOTICE of Entry of Appearance by Allison N. Angel on behalf of GEO Group, Inc., TheAttorney Allison N. Angel added to party GEO Group, Inc., The(pty:dft) (Angel, Allison) (Entered: 10/16/2019)
  10/17/2019   224 MOTION for Leave to Appear Juno Turner by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto
                   Vizguerra, Grisel Xahuentitla. (Turner, Juno) (Entered: 10/17/2019)
  10/17/2019   225 MEMORANDUM regarding 224 MOTION for Leave to Appear Juno Turner filed by Lourdes Argueta, Demetrio Valerga, Dagoberto Vizguerra, Olga Alexaklina, Hugo Hernandez, Marcos Brambila,
                   Alejandro Menocal, Grisel Xahuentitla, Jesus Gaytan. Motions referred to Magistrate Judge Michael E. Hegarty by Judge John L. Kane on 10/17/2019. Text Only Entry (jlksec) (Entered: 10/17/2019)
  10/18/2019   226 ORDER granting 224 Unopposed Motion for Leave to Appear. Juno Turner of Towards Justice is permitted to join the discovery conference on October 18, 2019, by telephone and shall do so by calling
                   Judge Hegarty's chambers at 303-844-4507 by 10:30 a.m. ORDERED by Magistrate Judge Michael E. Hegarty on 10/18/2019. Text Only Entry. (cthom, ) (Entered: 10/18/2019)
  10/18/2019   227 COURTROOM MINUTES for proceedings held before Magistrate Judge Michael E. Hegarty: Discovery Hearing held on 10/18/2019.FTR: A501. (cthom, ) (Entered: 10/18/2019)
  11/13/2019   228 STIPULATION Regarding Depositions of Trial Witnesses by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga,
                   Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 11/13/2019)
  12/06/2019   229 Stipulated MOTION for Extension of Time to Complete Expert Discovery by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 12/06/2019)
  12/09/2019   230 MEMORANDUM regarding 229 Stipulated MOTION for Extension of Time to Complete Expert Discovery filed by Lourdes Argueta, Demetrio Valerga, Dagoberto Vizguerra, Olga Alexaklina, Hugo
                   Hernandez, Marcos Brambila, Alejandro Menocal, Grisel Xahuentitla, Jesus Gaytan. Motions referred to Magistrate Judge Michael E. Hegarty, by Judge John L. Kane on 12/9/2019. Text Only Entry
                   (jlksec) (Entered: 12/09/2019)
  12/09/2019   231 MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 12/9/2019 granting 229 Stipulated Motion to Extend Expert Discovery Deadlines. Initial Expert Disclosures Deadline due
                   2/14/2020.Rebuttal Expert Disclosures Deadline due 3/30/2020.Expert Witness Depositions Deadline due 4/20/2020. (jgonz, ) (Entered: 12/09/2019)
  12/19/2019   232 MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 12/19/2019. Discovery Conference set for 1/21/2020 01:30 PM in Courtroom A 501 before Magistrate Judge Michael E. Hegarty. (tsher, )
                   (Entered: 12/19/2019)
  12/31/2019   233 TRANSCRIPT of Discovery Conference held on October 18, 2019 before Magistrate Judge Hegarty. Pages: 1-99.
                   NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the party's intent to redact

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?910532825583712-L_1_1-1                                                                                                                                                   6/11
                                                                                                                                                                                                  APP. 6
                Appellate Case: 22-1409                                          Document: 29-2                               Date Filed: 01/23/2023                                       Page: 10
1/21/23, 2:19 PM                                                                                         CM/ECF - U.S. District Court:cod
                     personal identifiers from the electronic transcript of the court proceeding. If a Notice of Intent to Redact is not filed within the allotted time, this transcript will be made electronically available
                     after 90 days. Please see the Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                     Transcript may only be viewed at the court public terminal or purchased through the Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER. (Patterson Transcription
                     Company, ) (Entered: 12/31/2019)
  01/10/2020   234 Unopposed MOTION to Withdraw as Attorney by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto
                   Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Proposed Order (PDF Only))(Stork, Elizabeth) (Entered: 01/10/2020)
  01/13/2020   235 ORDER Granting 234 the Unopposed Motion for Withdrawal of Appearance of Elizabeth V. Stork. The Court hereby orders that Elizabeth V. Stork is withdrawn as counsel of record for the Plaintiffs in
                   the above-captioned matter. Ms. Stork shall be removed from future electronic notifications in this case, by Judge John L. Kane on 1/10/2020.(evana, ) (Entered: 01/13/2020)
  01/21/2020   236 COURTROOM MINUTES for proceedings held before Magistrate Judge Michael E. Hegarty: Discovery Hearing held on 1/21/2020. FTR: A1002. (cthom, ) (Entered: 01/21/2020)
  02/04/2020   237 TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS held on 01/21/2020 before Magistrate Judge Hegarty. Pages: 1-38. Prepared by: AB Court Reporting & Video, Inc..
                   NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the party's intent to redact
                   personal identifiers from the electronic transcript of the court proceeding. If a Notice of Intent to Redact is not filed within the allotted time, this transcript will be made electronically available
                   after 90 days. Please see the Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                   Transcript may only be viewed at the court public terminal or purchased through the Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER. (AB Court Reporting &
                   Video, Inc., ) (Entered: 02/04/2020)
  02/10/2020   238 NOTICE of Entry of Appearance by Adrienne Scheffey on behalf of GEO Group, Inc., TheAttorney Adrienne Scheffey added to party GEO Group, Inc., The(pty:dft) (Scheffey, Adrienne) (Entered:
                   02/10/2020)
  02/11/2020   239 NOTICE of Entry of Appearance by Brianne Michelle Power on behalf of All Plaintiffs Attorney Brianne Michelle Power added to party Olga Alexaklina(pty:pla), Attorney Brianne Michelle Power added
                   to party Lourdes Argueta(pty:pla), Attorney Brianne Michelle Power added to party Marcos Brambila(pty:pla), Attorney Brianne Michelle Power added to party Jesus Gaytan(pty:pla), Attorney Brianne
                   Michelle Power added to party Hugo Hernandez(pty:pla), Attorney Brianne Michelle Power added to party Alejandro Menocal(pty:pla), Attorney Brianne Michelle Power added to party Demetrio
                   Valerga(pty:pla), Attorney Brianne Michelle Power added to party Dagoberto Vizguerra(pty:pla), Attorney Brianne Michelle Power added to party Grisel Xahuentitla(pty:pla) (Power, Brianne) (Entered:
                   02/11/2020)
  02/13/2020   240 MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 2/13/2020. Discovery Conference set for 2/18/2020 01:00 PM in Courtroom A 501 before Magistrate Judge Michael E. Hegarty. (tsher, )
                   (Entered: 02/13/2020)
  02/14/2020   241 Stipulated MOTION for Extension of Time to Complete Expert Discovery by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 02/14/2020)
  02/14/2020   242 MEMORANDUM regarding 241 Stipulated MOTION for Extension of Time to Complete Expert Discovery filed by Lourdes Argueta, Demetrio Valerga, Dagoberto Vizguerra, Olga Alexaklina, Hugo
                   Hernandez, Marcos Brambila, Alejandro Menocal, Grisel Xahuentitla, Jesus Gaytan. Motions referred to Magistrate Judge Michael E. Hegarty by Judge John L. Kane on 02/14/2020. Text Only Entry
                   (jlksec) (Entered: 02/14/2020)
  02/18/2020   243 COURTROOM MINUTES for proceedings held before Magistrate Judge Michael E. Hegarty: Discovery Hearing held on 2/18/2020. 241 Stipulated MOTION for Extension of Time to Complete Expert
                   Discovery is GRANTED. FTR: A501. (cthom, ) (Entered: 02/18/2020)
  02/24/2020   244 MOTION to Withdraw as Attorney (Allison N. Angel) by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only))(Barnacle, Colin) (Entered: 02/24/2020)
  02/24/2020   245 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES: re: 244 MOTION for Withdrawal of Attorney Allison N. Angel filed by Attorney Colin Barnacle. The document
                   is filed incorrectly. REFILE THE DOCUMENT. Action to take - The attorney Allison N. Angel must file a Motion to Withdraw on her own from this case, not another attorney from the same law firm.
                   (Text Only Entry) (evana, ) (Entered: 02/24/2020)
  02/24/2020   246 MOTION to Withdraw as Attorney by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only))(Angel, Allison) (Entered: 02/24/2020)
  02/24/2020   247 ORDER THIS MATTER comes before the Court on the Defendant's Motion for Withdrawal of Attorney Allison N. Angel (ECF No. 246 ). The Motion is GRANTED.The Court orders that Allison N.
                   Angel shall be removed as counsel of record for Defendant and shall be removed from future electronic notifications in this case. The Motion filed on her behalf earlier today is MOOTED (ECF No. 244 ).
                   Ms. Angel is advised to update her contact information through the Attorney Services Portal, by Judge John L. Kane on 2/24/2020.(evana, ) (Entered: 02/25/2020)
  03/10/2020   248 MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 3/10/2020. Settlement Conference set for 3/31/2020 10:30 AM in Courtroom A 501 before Magistrate Judge Michael E. Hegarty. (tsher, )
                   (Entered: 03/11/2020)
  03/18/2020   249 Stipulated MOTION for Extension of Time to File Dispositive Motions, Complete Discovery and Designate Experts by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only))
                   (Barnacle, Colin) (Entered: 03/18/2020)
  03/18/2020   250 ORDER Granting 249 Stipulated Motion for Extension of Deadlines. The Parties shall file dispositive motions on or before May 20, 2020; complete discovery by May 20, 2020; designate affirmative
                   experts by April 20, 2020, and designate rebuttal experts by June 3, 2020. By Judge John L. Kane on 03/18/2020. (rvill, ) (Entered: 03/18/2020)
  03/24/2020   251 Unopposed MOTION for Leave to Excuse In-Person Appearance at Settlement Conference 248 Minute Order by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo
                   Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 03/24/2020)
  03/24/2020   252 MEMORANDUM regarding 251 Unopposed MOTION for Leave to Excuse In-Person Appearance at Settlement Conference 248 Minute Order filed by Lourdes Argueta, Demetrio Valerga, Dagoberto
                   Vizguerra, Olga Alexaklina, Hugo Hernandez, Marcos Brambila, Alejandro Menocal, Grisel Xahuentitla, Jesus Gaytan. Motions referred to Magistrate Judge Michael E. Hegarty by Judge John L. Kane on
                   3/24/2020. Text Only Entry (jlksec) (Entered: 03/24/2020)
  03/26/2020   253 MINUTE ORDER granting 251 Motion for Leave to Excuse In-Person Appearance at Settlement Conference, by Magistrate Judge Michael E. Hegarty on 3/26/2020.(tsher, ) (Entered: 03/26/2020)
  04/02/2020   254 MINUTE ENTRY for proceedings held before Magistrate Judge Michael E. Hegarty: Settlement Conference held on 3/31/2020. (cthom, ) Modified to correct date on 4/3/2020 (cthom, ). (Entered:
                   04/03/2020)
  04/07/2020   255 MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 4/7/2020. Status Conference set for 4/8/2020 02:00 PM in Courtroom A 501 before Magistrate Judge Michael E. Hegarty. (tsher, ) (Entered:
                   04/07/2020)
  04/08/2020   256 Stipulated MOTION for Extension of Time to Complete Expert Discovery by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 04/08/2020)
  04/08/2020   257 MEMORANDUM regarding 256 Stipulated MOTION for Extension of Time to Complete Expert Discovery filed by Lourdes Argueta, Demetrio Valerga, Dagoberto Vizguerra, Olga Alexaklina, Hugo
                   Hernandez, Marcos Brambila, Alejandro Menocal, Grisel Xahuentitla, Jesus Gaytan. Motions referred to Magistrate Judge Michael E. Hegarty by Judge John L. Kane on 4/8/2020. Text Only Entry (jlksec)
                   (Entered: 04/08/2020)
  04/08/2020   258 COURTROOM MINUTES for proceedings held before Magistrate Judge Michael E. Hegarty: Status Conference held on 4/8/2020. FTR: A501. (cthom, ) (Entered: 04/08/2020)
  04/08/2020   259 MINUTE ORDER granting 256 Motion to Extend Expert Discovery Deadlines by Magistrate Judge Michael E. Hegarty on 4/8/2020. Designation of Affirmative Experts due 5/4/2020. Designation of
                   Rebuttal Experts due 6/17/2020. (tsher, ) (Entered: 04/08/2020)
  04/29/2020   260 MOTION for Summary Judgment as to Defendant's Affirmative Defense by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 04/29/2020)
  04/29/2020   261 DECLARATION of Michael J. Scimone regarding MOTION for Summary Judgment as to Defendant's Affirmative Defense 260 by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus
                   Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Index of Exhibits, # 2 Exhibit A, # 3 Exhibit E, # 4 Exhibit F, # 5 Exhibit I, #
                   6 Exhibit J, # 7 Exhibit K, # 8 Exhibit L, # 9 Exhibit M, # 10 Exhibit N, # 11 Exhibit O, # 12 Exhibit P, # 13 Exhibit Q, # 14 Exhibit R, # 15 Exhibit S, # 16 Exhibit T, # 17 Exhibit W, # 18 Exhibit BB, #
                   19 Exhibit CC)(Scimone, Michael) (Entered: 04/29/2020)
  04/29/2020   262 RESTRICTED DOCUMENT - Level 1: EXHIBITS to the 261 Declaration of Michael J. Simone by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez,
                   Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla.. (Attachments: # 1 Index of Exhibits, # 2 Exhibit B, # 3 Exhibit B.1, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit G, # 7
                   Exhibit H, # 8 Exhibit U, # 9 Exhibit V, # 10 Exhibit X, # 11 Exhibit Y, # 12 Exhibit Z, # 13 Exhibit AA)(Scimone, Michael) (Modified on 4/30/2020 edited to add link to 261 and title of the documents)
                   (evana, ). (Modified on 6/15/2020 Unrestricted as no motion for leave to restrict was filed)(evana). Modified on 10/19/2020 to Re-Restrict pursuant to the ]334] Order(evana, ). (Entered: 04/29/2020)
  05/14/2020   263 Stipulated MOTION for Extension of Time to File Dispositive Motions and Complete Discovery by Defendant GEO Group, Inc., The. (Barnacle, Colin) (Entered: 05/14/2020)
  05/14/2020   264 MEMORANDUM regarding 263 Stipulated MOTION for Extension of Time to File Dispositive Motions and Complete Discovery filed by The GEO Group, Inc. Motions referred to Magistrate Judge
                   Michael E. Hegarty by Judge John L. Kane on 05/14/2020. Text Only Entry (jlksec) (Entered: 05/14/2020)
  05/15/2020   265 Joint MOTION for Extension of Time to File Dispositive Motions and Complete Discovery by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro
                   Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit Corrected Stipulation)(Scimone, Michael) (Entered: 05/15/2020)
  05/15/2020   266 MEMORANDUM regarding 265 Joint MOTION for Extension of Time to File Dispositive Motions and Complete Discovery filed by Lourdes Argueta, Demetrio Valerga, Dagoberto Vizguerra, Olga
                   Alexaklina, Hugo Hernandez, Marcos Brambila, Alejandro Menocal, Grisel Xahuentitla, Jesus Gaytan. Motions referred to Magistrate Judge Michael E. Hegarty by Judge John L. Kane on 05/15/2020.
                   Text Only Entry (jlksec) (Entered: 05/15/2020)
  05/18/2020   267 MINUTE ORDER, by Magistrate Judge Michael E. Hegarty on 5/18/2020. For good cause shown, the parties Corrected Stipulated Motion for Extension of Deadlines1 [filed May 15, 2020; ECF 265 ] is
                   granted. The governing Amended Stipulated Scheduling and Discovery Order (ECF 198) is modified as follows:Fact/expert discovery cutoff: July 31, 2020 Dispositive motions deadline: July 31, 2020. In
                   addition, Defendant shall file a response to Plaintiffs' pending motion for summary judgment on or before June 5, 2020, and Plaintiffs may file a reply in support of the motion on or before June 26, 2020.
                   In light of this order, the original Stipulated Motion for Extension of Deadlines [filed May 14, 2020; ECF 263 ] is denied as moot. (apesa, ) (Entered: 05/18/2020)
  05/28/2020   268 MOTION to Withdraw as Attorney by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only))(Calhoun, Ashley) (Entered: 05/28/2020)


https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?910532825583712-L_1_1-1                                                                                                                                                      7/11
                                                                                                                                                                                                    APP. 7
                Appellate Case: 22-1409                                           Document: 29-2                                Date Filed: 01/23/2023                                       Page: 11
1/21/23, 2:19 PM                                                                                           CM/ECF - U.S. District Court:cod
  05/28/2020   269 ORDER Granting 268 Motion to Withdraw as Attorney. Attorney Ashley Elizabeth Calhoun shall be removed as counsel of record for Defendant, by Judge John L. Kane on 5/28/2020.(evana, ) (Entered:
                   05/28/2020)
  06/05/2020   270 RESPONSE to 260 MOTION for Summary Judgment as to Defendant's Affirmative Defense filed by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 06/05/2020)
  06/05/2020   271 DECLARATION of Adrienne Scheffey regarding Response to Motion 270 by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit J, # 6
                   Exhibit K, # 7 Exhibit M, # 8 Exhibit N, # 9 Exhibit O, # 10 Exhibit P, # 11 Exhibit Q, # 12 Exhibit R)(Scheffey, Adrienne) (Entered: 06/05/2020)
  06/05/2020   272 MOTION for Leave to Restrict by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 06/05/2020)
  06/05/2020   273 RESTRICTED DOCUMENT - Level 1: Declaration of Adrienne Scheffey in Support of Defendant The GEO Group, Inc., 120 Response in Opposition to Plaintiff's Motion for Summary Judgment on
                   Defendant's Affirmative Defense by Defendant GEO Group, Inc., The.. (Attachments: # 1 Exhibit E, # 2 Exhibit F, # 3 Exhibit G, # 4 Exhibit H, # 5 Exhibit I, # 6 Exhibit L)(Scheffey, Adrienne) (Modified
                   on 6/8/2020 edited to add the name of the Document filed)(evana, ). (Entered: 06/05/2020)
  06/10/2020   274 Emergency MOTION for Writ of Habeas Corpus ad testificandum by Plaintiff Hugo Hernandez. (Attachments: # 1 Proposed Order (PDF Only) Granting Motion and Issuing Writ)(Free, Robert) (Entered:
                   06/10/2020)
  06/11/2020   275 ORDER Granting 274 Plaintiffs' Emergency Motion for Writ of Habeas Corpus Ad Testificandum to Produce Plaintiff Hugo Hernandez Ceren for Live Testimony Prior to Removal, by Judge John L. Kane
                   on 6/11/2020.(evana, ) (Entered: 06/11/2020)
  06/11/2020   276 WRIT of Habeas Corpus Ad Testificandum issued. This Writ is issued upon Order of the United States District Court for the District of Colorado. I hereby command that you produce the material witness,
                   detainee Hugo Hernandez Ceren, A-073-956-722, for live, videotaped deposition testimony prior to effectuating his removal from the United States to El Salvador. (evana, ) (Entered: 06/11/2020)
  06/15/2020   277 ORDER THIS MATTER, coming before the Court upon Defendant's Motion to Restrict (ECF No. 272 ), and being fully advised in the premises, IT IS HEREBY ORDERED that the Motion to Restrict
                   (ECF No. 272 ) is GRANTED. The Clerk is hereby directed to place Exhibits E, F, G, H, I and L (ECF No. 273 ) under Restriction Level 1 pursuant toD.C.COLO.LCivR 7.2, limiting access thereto to the
                   Parties and the Court, by Judge John L. Kane on 6/15/2020.(evana, ) (Entered: 06/15/2020)
  06/17/2020   278 TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS held on 02/18/2020 before Magistrate Judge Hegarty. Pages: 1-23. Prepared by: AB Litigation Services.
                   NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the party's intent to redact
                   personal identifiers from the electronic transcript of the court proceeding. If a Notice of Intent to Redact is not filed within the allotted time, this transcript will be made electronically available
                   after 90 days. Please see the Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                   Transcript may only be viewed at the court public terminal or purchased through the Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER. (AB Court Reporting &
                   Video, Inc., ) (Entered: 06/17/2020)
  06/23/2020   279 Emergency MOTION to Amend/Correct/Modify 276 Writ Issued, by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit Ex 1- Amd Notice of Deposition, # 2 Exhibit Ex 2 - Jafek Email)(Turner, Andrew) (Entered: 06/23/2020)
  06/23/2020   280 ORDER Granting 279 Plaintiffs' Emergency Motion to Amend Writ of Habeas Corpus Ad Testificandum. The Writ of Habeas Corpus Ad Testificandum issued June 11, 2020, commanding United States
                   Immigration and Customs Enforcement (ICE), Acting ICE Director Matthew Albence, ICE Louisiana Field Office Director Diane Witte, and any other custodian of detainee and named Plaintiff in this
                   case Hugo Hernandez Ceren, A 073-956-722, to produce him for live, remote, deposition testimony by videotape prior to effectuating his removal to El Salvador is AMENDED to require that Mr.
                   Hernandez Ceren be permitted to give his testimony in court-appropriate civilian attire, specifically a coat, shirt, and tie, by Judge John L. Kane on 6/23/2020.(evana, ) (Entered: 06/23/2020)
  06/23/2020   281 MOTION for Reconsideration re 280 Order on Motion to Amend/Correct/Modify,,, and Response to ECF No. 279 by Interested Party U.S. Immigration and Customs Enforcement. (Attachments: # 1
                   Reaves Decl., # 2 Lovett v. Cole decision)(Jafek, Timothy) (Entered: 06/23/2020)
  06/23/2020   282 RESPONSE to 281 MOTION for Reconsideration re 280 Order on Motion to Amend/Correct/Modify,,, and Response to ECF No. 279 filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos
                   Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit Ex 1 - Jafek Email, # 2 Exhibit Ex 2 - Turner Email)
                   (Turner, Andrew) (Entered: 06/23/2020)
  06/23/2020   283 ORDER Denying 281 ICE's Motion to Reconsider Amendment of the Writ of Habeas Corpus Ad Testificandum, by Judge John L. Kane on 6/23/2020.(evana, ) (Entered: 06/23/2020)
  06/25/2020   284 Cross MOTION for Summary Judgment by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 06/25/2020)
  06/25/2020   285 DECLARATION of Adrienne Scheffey regarding Cross MOTION for Summary Judgment 284 by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A)(Scheffey, Adrienne) (Entered:
                   06/25/2020)
  06/26/2020   286 REPLY to Response to 260 MOTION for Summary Judgment as to Defendant's Affirmative Defense filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo
                   Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 06/26/2020)
  06/26/2020   287 DECLARATION of Michael J. Scimone regarding Reply to Response to Motion, 286 by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro
                   Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Index of Exhibits, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit
                   8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17)(Scimone, Michael) (Entered: 06/26/2020)
  06/26/2020   288 Notice of Filing of Exhibit 1 to 287 the Declaration of Michael Scimone in Support of Plaintiffs' Reply in Support of Motion for Summary Judgment by Plaintiffs Olga Alexaklina, Lourdes Argueta,
                   Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla.. RESTRICTED (Attachments: # 1 Exhibit 1)(Scimone, Michael)
                   (Modified on 6/30/2020 edited to add the title of the document filed)(evana, ). Modified on 7/29/2020 to un-restrict as no motion to restrict was filed.(sphil, ). Modified on 7/29/2020 (sphil, ). (Modified on
                   10/19/2020 Re-Restricted pursuant to the 334 Order)(evana, ). (Entered: 06/26/2020)
  06/29/2020   289 NOTICE re 281 MOTION for Reconsideration re 280 Order on Motion to Amend/Correct/Modify,,, and Response to ECF No. 279 by Interested Party U.S. Immigration and Customs Enforcement (Jafek,
                   Timothy) (Entered: 06/29/2020)
  07/01/2020   290 NOTICE of Entry of Appearance by Matthew Fritz-Mauer on behalf of Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga,
                   Dagoberto Vizguerra, Grisel XahuentitlaAttorney Matthew Fritz-Mauer added to party Olga Alexaklina(pty:pla), Attorney Matthew Fritz-Mauer added to party Lourdes Argueta(pty:pla), Attorney
                   Matthew Fritz-Mauer added to party Marcos Brambila(pty:pla), Attorney Matthew Fritz-Mauer added to party Jesus Gaytan(pty:pla), Attorney Matthew Fritz-Mauer added to party Hugo
                   Hernandez(pty:pla), Attorney Matthew Fritz-Mauer added to party Alejandro Menocal(pty:pla), Attorney Matthew Fritz-Mauer added to party Demetrio Valerga(pty:pla), Attorney Matthew Fritz-Mauer
                   added to party Dagoberto Vizguerra(pty:pla), Attorney Matthew Fritz-Mauer added to party Grisel Xahuentitla(pty:pla) (Fritz-Mauer, Matthew) (Entered: 07/01/2020)
  07/08/2020   291 NOTICE of Supplemental Authorities re: 286 Reply to Response to Motion, 270 Response to Motion, 260 MOTION for Summary Judgment as to Defendant's Affirmative Defense by Defendant GEO
                   Group, Inc., The (Attachments: # 1 Exhibit A)(Barnacle, Colin) (Entered: 07/08/2020)
  07/13/2020   292 Stipulated MOTION for Extension of Time to Complete Discovery by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 07/13/2020)
  07/13/2020   293 ORDER granting 292 Stipulated Motion for Extension of Deadlines. The fact/expert discovery cutoff deadline is extended to August 14, 2020; however, the parties may file discovery-related motions
                   regarding third-party discovery from ICE. The Dispositive Motions deadline is extended to August 17, 2020. In addition, Plaintiffs' Response to GEO's Cross Motion for Summary Judgment 284 is due
                   July 31, 2020, and the Reply, if any, is due August 21, 2020. Defendant shall file decertification motions on or before September 28, 2020. Ordered by Judge John L. Kane on 07/13/2020. Text Only
                   Entry(jlksec) (Entered: 07/13/2020)
  07/24/2020   294 RESPONSE to 291 Notice of Supplemental Authorities, by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga,
                   Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 07/24/2020)
  07/24/2020   295 DECLARATION of Michael J. Scimone regarding Response, 294 by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 07/24/2020)
  07/24/2020   296 RESTRICTED DOCUMENT - Level 1: EXHIBIT to 295 Declaration of Michael J. Simone to 294 Plaintiff's Response by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan,
                   Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla.. (Attachments: # 1 Exhibit A)(Scimone, Michael) (Modified on 7/31/2020 edited to add the title of the
                   document filed)(evana, ). (Entered: 07/24/2020)
  07/24/2020   297 NOTICE of Supplemental Authorities Second Notice of Supplemental Authority re: 294 Response, 270 Response to Motion, 291 Notice of Supplemental Authorities, by Defendant GEO Group, Inc., The
                   (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Scheffey, Adrienne) (Entered: 07/24/2020)
  07/31/2020   298 RESPONSE to 284 Cross MOTION for Summary Judgment filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 07/31/2020)
  07/31/2020   299 DECLARATION of Michael J. Scimone regarding Response to Motion, 298 by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal,
                   Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 5)(Scimone, Michael) (Entered: 07/31/2020)
  07/31/2020   300 RESTRICTED DOCUMENT - Level 1: EXHIBIT to the 299 Declaration of Michael J. Simone by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez,
                   Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla.. (Attachments: # 1 Exhibit 4)(Scimone, Michael) (Modified on 8/3/2020 edited to add the title of the document)(evana, ).
                   (Entered: 07/31/2020)
  08/07/2020   301 MOTION for Order to Authorize the Jury to View the Aurora ICE Processing Center by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro
                   Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 08/07/2020)
  08/07/2020   302 DECLARATION of Michael J. Scimone regarding MOTION for Order to Authorize the Jury to View the Aurora ICE Processing Center 301 by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos
                   Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 08/07/2020)
  08/07/2020   303 DECLARATION of Rachel Dempsey regarding MOTION for Order to Authorize the Jury to View the Aurora ICE Processing Center 301 by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos
                   Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 08/07/2020)
  08/07/2020   304 RESTRICTED DOCUMENT - Level 1: Notice of Filing EXHIBIT to the Declaration of Rachel Dempsey in Support of Plaintiff's Motion for Jury view 303 as Restricted Document. by Plaintiffs Olga
                   Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla.. (Attachments: # 1 Exhibit 1, Transcript

https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?910532825583712-L_1_1-1                                                                                                                                                         8/11
                                                                                                                                                                                                       APP. 8
                Appellate Case: 22-1409                                             Document: 29-2                                 Date Filed: 01/23/2023                                         Page: 12
1/21/23, 2:19 PM                                                                                             CM/ECF - U.S. District Court:cod
                     of Video Deposition)(Scimone, Michael) (Modified on 8/10/2020 edited the text to add the title of the document filed)(evana, ). (Entered: 08/07/2020)
  08/17/2020   305 MOTION for Summary Judgment by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 08/17/2020)
  08/17/2020   306 DECLARATION of Adrienne Scheffey regarding MOTION for Summary Judgment 305 by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A, # 2 Exhibit C, # 3 Exhibit D, # 4 Exhibit E, # 5
                   Exhibit F, # 6 Exhibit G, # 7 Exhibit H, # 8 Exhibit I, # 9 Exhibit J, # 10 Exhibit L, # 11 Exhibit M, # 12 Exhibit N, # 13 Exhibit O, # 14 Exhibit P, # 15 Exhibit Q)(Scheffey, Adrienne) (Entered:
                   08/17/2020)
  08/17/2020   307 MOTION to Dismiss for Failure to Join Required Party by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 08/17/2020)
  08/17/2020   308 DECLARATION of Adrienne Scheffey regarding MOTION to Dismiss for Failure to Join Required Party 307 by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit C, # 2 Exhibit D, # 3 Exhibit
                   F, # 4 Exhibit G, # 5 Exhibit H, # 6 Exhibit I)(Scheffey, Adrienne) (Entered: 08/17/2020)
  08/17/2020   309 MOTION for Leave to Restrict by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 08/17/2020)
  08/17/2020   310 RESTRICTED DOCUMENT - Level 1: DECLARATION of Adrienne Scheffey by Defendant GEO Group, Inc., The.. (Attachments: # 1 Exhibit B, National Detainee Handobook # 2 Exhibit K
                   Videotaped deposition of Stuart Grassian, M.D.)(Scheffey, Adrienne) (Modified on 8/18/2020 edited to add the titles of the documents)(evana, ). (Entered: 08/17/2020)
  08/17/2020   311 RESTRICTED DOCUMENT - Level 1: Declaration of Adrienne Scheffey by Defendant GEO Group, Inc., The.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit E)(Scheffey, Adrienne) Modified
                   on 8/18/2020 (evana, ). (Entered: 08/17/2020)
  08/19/2020   312 MOTION for Order to Decertify Class by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 08/19/2020)
  08/19/2020   313 DECLARATION of Adrienne Scheffey regarding MOTION for Order to Decertify Class 312 by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D,
                   # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18
                   Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22 Exhibit W, # 23 Exhibit X)(Scheffey, Adrienne) (Entered: 08/19/2020)
  08/19/2020   314 RESTRICTED DOCUMENT - Level 1: Declaration of Adrienne Scheffey in support of Defendant The Geo Group, Inc.'s Motion for Decertification of Class, by Defendant GEO Group, Inc., The..
                   (Attachments: # 1 Exhibit V)(Scheffey, Adrienne) (Modified on 8/20/2020 edited to add the title of the document)(evana, ). (Entered: 08/19/2020)
  08/19/2020   315 MOTION for Leave to Restrict by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 08/19/2020)
  08/21/2020   316 REPLY to Response to 284 Cross MOTION for Summary Judgment filed by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 08/21/2020)
  08/21/2020   317 DECLARATION of Adrienne Scheffey regarding Reply to Response to Motion 316 by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit D, # 4 Exhibit E, # 5
                   Exhibit F, # 6 Exhibit G, # 7 Exhibit H, # 8 Exhibit I, # 9 Exhibit J, # 10 Exhibit K)(Scheffey, Adrienne) (Entered: 08/21/2020)
  08/21/2020   318 MOTION for Leave to Restrict by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 08/21/2020)
  08/21/2020   319 RESTRICTED DOCUMENT - Level 1: Declaration of Adrienne Scheffey in support of Defendant GEO Group, Inc's 316 Reply in Support of it's Cross Motion for Summary Judgment by Defendant GEO
                   Group, Inc., The. (Attachments: # 1 Exhibit C)(Scheffey, Adrienne) (Modified on 8/24/2020 edited to add the title of the document filed)(evana, ). (Entered: 08/21/2020)
  08/28/2020   320 ORDER Granting Defendant's Motions to Restrict (ECF No. 309 , 315 & 318 ). The Clerk is directed to place Exhibits B and K (ECF Nos. 310-1 and 310-2); Exhibits A, B and E (ECF Nos. 311-1, 311-2,
                   311-3); Exhibit V (ECF No. 314-1); and Exhibit C (ECF No. 319-1) under Restriction Level 1 pursuant to D.C.COLO.LCivR 7.2, limiting access thereto to the Parties and the Court, by Judge John L.
                   Kane on 8/28/2020.(evana, ) (Entered: 08/28/2020)
  08/28/2020   321 MOTION for Extension of Time to File Response/Reply as to 312 MOTION for Order to Decertify Class, 305 MOTION for Summary Judgment , 307 MOTION to Dismiss for Failure to Join Required
                   Party by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: #
                   1 Proposed Order (PDF Only))(Dempsey, Rachel) (Entered: 08/28/2020)
  08/28/2020   322 RESPONSE to 321 MOTION for Extension of Time to File Response/Reply as to 312 MOTION for Order to Decertify Class, 305 MOTION for Summary Judgment , 307 MOTION to Dismiss for Failure
                   to Join Required Party filed by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit 1 - Declaration of Adrienne Scheffey)(Scheffey, Adrienne) (Entered: 08/28/2020)
  08/28/2020   323 RESPONSE to 301 MOTION for Order to Authorize the Jury to View the Aurora ICE Processing Center filed by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit
                   3, # 4 Exhibit 4)(Scheffey, Adrienne) (Entered: 08/28/2020)
  08/28/2020   324 ORDER granting 321 Motion for Extension of Deadlines on Motion for Summary Judgement ECF No. 305 , Motion to Dismiss for Failure to Join Required Party ECF No. 307 , and Motion to Decertify
                   Class ECF No. 312 . Responses to the Motions are due on or before October 25, 2020; Replies, if any, are due November 16, 2020. Ordered by Judge John L. Kane on 8/28/2020. Text Only Entry(jlksec)
                   (Entered: 08/28/2020)
  09/11/2020   325 REPLY to Response to 301 MOTION for Order to Authorize the Jury to View the Aurora ICE Processing Center filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan,
                   Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Turner, Andrew) (Entered: 09/11/2020)
  09/11/2020   326 DECLARATION of Andrew H Turner regarding Reply to Response to Motion, 325 by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal,
                   Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit Ex A - Pl 2d Supl Resp to Def 6th Interrogatories, # 2 Exhibit Ex B - Dep Tscpt Grisel Xahuentitla, # 3 Exhibit Ex C
                   - Dep Tscpt Jesus Yepez Gaytan, # 4 Exhibit Ex D - Dep Tscpt Demetrio Valerga, # 5 Exhibit Ex E - Dep Tscpt Alejandro Hernandez Torres, # 6 Exhibit Ex F - Decl of Martin M Rosenbluth)(Turner,
                   Andrew) (Entered: 09/11/2020)
  09/25/2020   327 MINUTE ORDER by Magistrate Judge Michael E. Hegarty on 25 September 2020. At the parties' request, the Court will hold a Discovery Conference in this case on Thursday, October 1, 2020 at 2:00
                   p.m. in Courtroom A501 on the fifth floor of the Alfred A. Arraj United States Courthouse, 901 19th Street, Denver, Colorado. In advance of the conference, the parties may each prepare a short statement
                   identifying the nature of the dispute(s) and send the statements by email to hegarty_chambers@cod.uscourts.gov. These materials shall be submitted no later than noon on September 30, 2020. (cmadr, )
                   (Entered: 09/25/2020)
  10/01/2020   328 COURTROOM MINUTES for proceedings held before Magistrate Judge Michael E. Hegarty: Discovery Hearing held on 10/1/2020. FTR: A501. (cthom, ) (Entered: 10/01/2020)
  10/06/2020   329 TRANSCRIPT of TRANSCRIPT OF PROCEEDINGS held on 10/01/2020 before Magistrate Judge Hegarty. Pages: 1-51. Prepared by: AB Litigation Services.
                   NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the party's intent to redact
                   personal identifiers from the electronic transcript of the court proceeding. If a Notice of Intent to Redact is not filed within the allotted time, this transcript will be made electronically available
                   after 90 days. Please see the Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                   Transcript may only be viewed at the court public terminal or purchased through the Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER. (AB Court Reporting &
                   Video, Inc., ) (Entered: 10/06/2020)
  10/13/2020   330 Corrected TRANSCRIPT of DISCOVERY HEARING held on 10/01/2020 before Magistrate Judge Hegarty. Pages: 1-51. Prepared by: AB Litigation Services.
                   NOTICE - REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of the party's intent to redact
                   personal identifiers from the electronic transcript of the court proceeding. If a Notice of Intent to Redact is not filed within the allotted time, this transcript will be made electronically available
                   after 90 days. Please see the Notice of Electronic Availability of Transcripts document at www.cod.uscourts.gov.
                   Transcript may only be viewed at the court public terminal or purchased through the Court Reporter/Transcriber prior to the 90 day deadline for electronic posting on PACER. (AB Court Reporting &
                   Video, Inc., ) (Entered: 10/13/2020)
  10/16/2020   331 NOTICE of Change of Address/Contact Information for Towards Justice by Juno E. Turner (Turner, Juno) (Entered: 10/16/2020)
  10/16/2020   332 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES:re: 331 Notice of Change of Address/Contact Information filed by attorney Juno Turner. DO NOT REFILE
                   THE DOCUMENT. Action to take - counsel must submit a change of contact request through the Attorney Services Portal Account pursuant to D.C.COLO.LAttyR 5(c) and 3.5 of the Electronic Case
                   Filing Procedures (Civil cases).(Text Only Entry) (evana, ) (Entered: 10/16/2020)
  10/16/2020   333 MOTION for Leave to Restrict by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A - ICE Correspondence, # 2 Exhibit B - Docket, # 3 Proposed Order (PDF Only))(Scheffey, Adrienne)
                   (Entered: 10/16/2020)
  10/19/2020   334 ORDER GRANTING Defendant The GEO Group, Inc.'s ("Defendant") Motion to Restrict (ECF No. 333 ) and being fully advised in the premises, hereby GRANTS the Motion. The Clerk is directed to
                   impose Level 1 restriction on ECF Nos. 262-2, 262-3, 262-4, 262-5, 262-6, 261-9, 262-8, 262-9, 261-11, 261-12 and 288. The Court also GRANTS Level 1 restriction for ECF Nos. 296-1, 304, and 300-1
                   to the extent they have not already been restricted. The parties are reminded to review D.C. Colo.LCivR 72(e). Public Access to Documents and Proceedings. Filing Restricted Documents. A document
                   subject to a motion to restrict shall be filed as a restricted document and shall be subject to restriction until the motion is determined by the court. If a document is filed as a restricted document without an
                   accompanying motion to restrict, it shall retain the restriction selected by the filer for 14 days. If no motion to restrict is filed within such time period, the restriction shall expire and the document shall be
                   open to public inspection, by Judge John L. Kane on 10/19/2020.(evana, ) (Entered: 10/19/2020)
  10/26/2020   335 NOTICE of Supplemental Authorities re: 297 Notice of Supplemental Authorities, 305 MOTION for Summary Judgment , 307 MOTION to Dismiss for Failure to Join Required Party, 284 Cross
                   MOTION for Summary Judgment , 260 MOTION for Summary Judgment as to Defendant's Affirmative Defense, 291 Notice of Supplemental Authorities, by Defendant GEO Group, Inc., The
                   (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Scheffey, Adrienne) (Entered: 10/26/2020)
  10/26/2020   336 BRIEF in Opposition to 305 MOTION for Summary Judgment filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Declaration of Michael J. Scimone, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7,
                   # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21
                   Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 27)(Scimone, Michael) (Entered: 10/26/2020)
  10/26/2020   337 RESTRICTED DOCUMENT - Level 1: Exhibits to the Declaration of Michael Scimone In Support of Plaintiffs' Opposition to Defendant's Motion for Summary Judgment (ECF No. 336 ) by Plaintiffs
                   Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla.. (Attachments: # 1 Exhibit 16, # 2
                   Exhibit 24, # 3 Exhibit 25, # 4 Exhibit 26)(Scimone, Michael)(Modified on 10/27/2020 edited the text to add the title of the document filed)(evana, ). (Entered: 10/26/2020)
  10/26/2020   338 BRIEF in Opposition to 307 MOTION to Dismiss for Failure to Join Required Party filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro
                   Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Declaration of Michael J. Scimone, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7
                   Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12)(Scimone, Michael) (Entered: 10/26/2020)


https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?910532825583712-L_1_1-1                                                                                                                                                               9/11
                                                                                                                                                                                                            APP. 9
                Appellate Case: 22-1409                                           Document: 29-2                               Date Filed: 01/23/2023                                       Page: 13
1/21/23, 2:19 PM                                                                                          CM/ECF - U.S. District Court:cod
  10/26/2020   339 BRIEF in Opposition to 312 MOTION for Order to Decertify Class filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Declaration of Michael J. Scimone, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7,
                   # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12 Exhibit 13, # 13 Exhibit 15, # 14 Exhibit 16, # 15 Exhibit 17, # 16 Exhibit 18, # 17 Exhibit 19, # 18 Exhibit 20, # 19 Exhibit 21, # 20 Exhibit 22, # 21
                   Exhibit 23)(Scimone, Michael) (Entered: 10/26/2020)
  10/26/2020   340 RESTRICTED DOCUMENT - Level 1: Exhibit to the Declaration of Michael J. Scimone in Support of Plaintiffs' Opposition to Defendant's Motion for Decertification (ECF No. 339 ) by Plaintiffs Olga
                   Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla.. (Attachments: # 1 Exhibit 11, # 2
                   Exhibit 12, # 3 Exhibit 14, # 4 Exhibit 24)(Scimone, Michael) (Modified on 10/27/2020 edited to add the title of the document filed)(evana, ). (Entered: 10/26/2020)
  10/28/2020   341 MOTION for Leave to Restrict Exhibit documents filed at 337-2 by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga,
                   Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit A, # 2 Proposed Order (PDF Only))(Scimone, Michael) (Modified on 11/3/2020 edited to add link)(evana, ). (Entered: 10/28/2020)
  11/06/2020   342 Unopposed MOTION for Leave to Restrict by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only))(Scheffey, Adrienne) (Entered: 11/06/2020)
  11/09/2020   343 ORDER The Court, having reviewed Defendant The GEO Group, Inc.'s Unopposed Motion to Restrict Exhibits to Plaintiffs' Opposition to GEO's Motion for Summary Judgment and Opposition to GEO's
                   Motion for Decertification and having considered all arguments raised therein, hereby GRANTS the Motion. This Court shall impose Level 1 restriction on ECF Nos. 337-1 through 337-4 and 340-1
                   through 340-4, by Judge John L. Kane on 11/9/2020.(evana, ) (Entered: 11/09/2020)
  11/09/2020   344 ORDER finding as moot 341 Motion for Leave to Restrict. Order 343 granted restriction to 337-2, by Judge John L. Kane on 11/09/20. Text Only Entry(jlksec) (Entered: 11/09/2020)
  11/10/2020   345 RESPONSE to 335 Notice of Supplemental Authorities, by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga,
                   Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit A)(Scimone, Michael) (Entered: 11/10/2020)
  11/11/2020   346 Unopposed MOTION for Extension of Time to File Replies, Unopposed MOTION for Extension of Time to File Response/Reply as to 312 MOTION for Order to Decertify Class, 305 MOTION for
                   Summary Judgment , 307 MOTION to Dismiss for Failure to Join Required Party by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only))(Scheffey, Adrienne) (Entered:
                   11/11/2020)
  11/12/2020   347 ORDER granting 346 Defendant The GEO Group, Inc.'s Unopposed Motion for Extension of Deadline to File Replies. GEO shall have through and including November 18, 2020, to file replies supporting
                   its Motion for Summary Judgment 305 , Motion to Dismiss for Failure to Join Required Party 307 , and Motion for Decertification of Class 312 . Ordered by Judge John L. Kane on 11/12/20. Text Only
                   Entry(jlksec) (Entered: 11/12/2020)
  11/18/2020   348 REPLY to Response to 307 MOTION to Dismiss for Failure to Join Required Party filed by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 11/18/2020)
  11/18/2020   349 RESTRICTED DOCUMENT - Level 1: EXHIBIT J to 348 Motion to Dismiss for Failure to Join by Defendant GEO Group, Inc., The.. (Attachments: # 1 Exhibit J - Audit Correspondence)(Scheffey,
                   Adrienne) (Modified on 11/19/2020 edited the title to add the name of the document filed)(evana, ). (Entered: 11/18/2020)
  11/18/2020   350 REPLY to Response to 305 MOTION for Summary Judgment filed by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 11/18/2020)
  11/18/2020   351 DECLARATION of Adrienne Scheffey regarding Reply to Response to Motion 350 by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit R - Excerpts of Deposition of Hugo Hernandez Ceren,
                   # 2 Exhibit S - Plaintiffs' Responses to GEO's First Set of Written Discovery Requests, # 3 Exhibit T - Exhibit 12 to Deposition of Hugo Hernandez Ceren)(Scheffey, Adrienne) (Entered: 11/18/2020)
  11/18/2020   352 REPLY to Response to 312 MOTION for Order to Decertify Class filed by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 11/18/2020)
  11/18/2020   353 DECLARATION of Adrienne Scheffey regarding Reply to Response to Motion 352 by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit Y - Excerpts of Deposition of Demetrio Valerga, # 2
                   Exhibit Z - Excerpts of Deposition of Dagoberto Vizguerra, # 3 Exhibit AA - Excerpts of Deposition of Grisel Xahuentitla, # 4 Exhibit BB - Excerpts of Deposition of Jesus Gayten)(Scheffey, Adrienne)
                   (Entered: 11/18/2020)
  11/25/2020   354 NOTICE re 348 Reply to Response to Motion to Dismiss for Failure to Join a Required Party by Defendant GEO Group, Inc., The (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Scheffey, Adrienne)
                   (Entered: 11/25/2020)
  12/02/2020   355 MOTION to Withdraw as Attorney by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only))(Barnacle, Colin) (Entered: 12/02/2020)
  12/02/2020   356 MOTION to Withdraw as Attorney by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only))(Eby, Christopher) (Entered: 12/02/2020)
  12/02/2020   357 Unopposed MOTION for Leave to Restrict by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only))(Scheffey, Adrienne) (Entered: 12/02/2020)
  12/03/2020   358 ORDER Granting 355 Motion to Withdraw as Attorney. Attorney Colin Louis Barnacle terminated as counsel of record and exclude Mr. Barnacle from further service in this case, by Judge John L. Kane
                   on 12/3/2020.(evana, ) (Entered: 12/03/2020)
  12/03/2020   359 ORDER Granting 356 Motion to Withdraw as Attorney. Attorney Christopher John Eby terminated as counsel of record and exclude Mr. Eby from further service in this case, by Judge John L. Kane on
                   12/3/2020.(evana, ) (Entered: 12/03/2020)
  12/08/2020   360 ORDER Granting 357 The GEO Group, Inc.'s Unopposed Motion to Restrict and being fully advised in the premises, hereby GRANTS the Motion. The Clerk of Court is directed to maintain a Level 1
                   restriction on ECF Nos. 349 and 349-1, by Judge John L. Kane on 12/8/2020.(evana, ) (Entered: 12/08/2020)
  03/24/2021   361 NOTICE of Supplemental Authorities re: 305 MOTION for Summary Judgment , 307 MOTION to Dismiss for Failure to Join Required Party by Defendant GEO Group, Inc., The (Attachments: # 1
                   Exhibit A - Ndambi v. CoreCivic)(Scheffey, Adrienne) (Entered: 03/24/2021)
  03/26/2021   362 RESPONSE to 361 Notice of Supplemental Authorities, by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga,
                   Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 03/26/2021)
  05/05/2021   363 ADVISORY NOTICE TO ATTORNEY AND COURT: Under D.C.COLO.LAttyR 3(a), Hans Christopher Meyer was administratively removed from the court's attorney roll and barred from filing
                   electronically under CM/ECF for failing to pay the 2020 Biennial Fee. Counsel must complete a Bar/ECF application through counsel's existing Attorney Services Portal account and pay the full
                   application fee to be restored to the attorney roll and CM/ECF. Counsel, however, need not pay any delinquent biennial fees. Upon reinstatement, counsel must file a Notice of Entry of Appearance in this
                   case. (Text Only Entry) (tnguy) (Entered: 05/05/2021)
  05/06/2021   364 ADVISORY NOTICE TO ATTORNEY AND COURT: Under D.C.COLO.LAttyR 3(a), Ossai Miazad was administratively removed from the court's attorney roll and barred from filing electronically
                   under CM/ECF for failing to pay the 2020 Biennial Fee. Counsel must complete a Bar/ECF application through counsel's existing Attorney Services Portal account and pay the full application fee to be
                   restored to the attorney roll and CM/ECF. Counsel, however, need not pay any delinquent biennial fees. Upon reinstatement, counsel must file a Notice of Entry of Appearance in this case. (Text Only
                   Entry) (tnguy) (Entered: 05/06/2021)
  05/12/2021   365 ADVISORY NOTICE TO ATTORNEY AND COURT: Under D.C.COLO.LAttyR 3(a), P. David Lopez was administratively removed from the court's attorney roll and barred from filing electronically
                   under CM/ECF for failing to pay the 2020 Biennial Fee. Counsel must complete a Bar/ECF application through counsel's existing Attorney Services Portal account and pay the full application fee to be
                   restored to the attorney roll and CM/ECF. Counsel, however, need not pay any delinquent biennial fees. Upon reinstatement, counsel must file a Notice of Entry of Appearance in this case. (Text Only
                   Entry) (tnguy) (Entered: 05/12/2021)
  05/17/2021   366 Notice of Entry of Appearance by Hans Meyer by Plaintiff Alejandro Menocal. (Meyer, Hans) (Modified on 5/17/2021 edited to reflect that this is an Entry of Appearance and not a Motion)(evana, ).
                   (Entered: 05/17/2021)
  06/28/2021   367 NOTICE of Supplemental Authorities re: 284 Cross MOTION for Summary Judgment , 260 MOTION for Summary Judgment as to Defendant's Affirmative Defense by Plaintiffs Olga Alexaklina,
                   Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla (Attachments: # 1 Exhibit A)(Scimone, Michael)
                   (Entered: 06/28/2021)
  07/02/2021   368 MOTION to Strike 367 Notice of Supplemental Authorities, by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A - Email)(Scheffey, Adrienne) (Entered: 07/02/2021)
  07/23/2021   369 RESPONSE to 368 MOTION to Strike 367 Notice of Supplemental Authorities, filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro
                   Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 07/23/2021)
  08/02/2021   370 REPLY to Response to 368 MOTION to Strike 367 Notice of Supplemental Authorities, filed by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 08/02/2021)
  08/31/2021   371 NOTICE of Change of Address/Contact Information by Adrienne Scheffey (Scheffey, Adrienne) (Entered: 08/31/2021)
  11/01/2021   372 NOTICE of Change of Address/Contact Information and Change of Firm by Rachel Williams Dempsey (Dempsey, Rachel) (Entered: 11/01/2021)
  11/01/2021   373 ADVISORY NOTICE OF NONCOMPLIANCE WITH COURT RULES/PROCEDURES: re: 372 Notice of Change of Address/Contact Information filed by attorney Rachel Williams Dempsey. DO NOT
                   REFILE THE DOCUMENT. Action to take - counsel must submit a change of contact request through the Manage my Account tab at the PACER website at https://www.pacer.gov/, pursuant to
                   D.C.COLO.LAttyR 5(c) and 3.5 of the Electronic Case Filing Procedures (Civil cases).(Text Only Entry) (evana, ) (Entered: 11/01/2021)
  11/01/2021   374 NOTICE of Supplemental Authorities re: 336 Brief in Opposition to Motion,,, 286 Reply to Response to Motion, 260 MOTION for Summary Judgment as to Defendant's Affirmative Defense by Plaintiffs
                   Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla (Scimone, Michael) (Entered:
                   11/01/2021)
  11/10/2021   375 RESPONSE to 374 Notice of Supplemental Authorities, by Defendant GEO Group, Inc., The. (Eismeier, Dana) (Entered: 11/10/2021)
  02/01/2022   376 MOTION to Withdraw as Attorney by Defendant GEO Group, Inc., The. (Attachments: # 1 Proposed Order (PDF Only))(Cizmorris, Melissa) (Entered: 02/01/2022)
  02/02/2022   377 ORDER Granting 376 Motion for Withdrawal of Attorney Melissa I. Cizmorris, by Judge John L. Kane on 2/2/2022.(angar, ) (Entered: 02/02/2022)
  02/09/2022   378 NOTICE of Supplemental Authorities re: 336 Brief in Opposition to Motion,,, 286 Reply to Response to Motion, 298 Response to Motion, 260 MOTION for Summary Judgment as to Defendant's
                   Affirmative Defense by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla
                   (Attachments: # 1 Exhibit A)(Scimone, Michael) (Entered: 02/09/2022)
  02/11/2022   379 RESPONSE to 378 Notice of Supplemental Authorities, by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 02/11/2022)


https://ecf.cod.uscourts.gov/cgi-bin/DktRpt.pl?910532825583712-L_1_1-1                                                                                                                                                      10/11
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                Appellate Case: 22-1409                                           Document: 29-2                                        Date Filed: 01/23/2023                               Page: 14
1/21/23, 2:19 PM                                                                                              CM/ECF - U.S. District Court:cod
  10/18/2022   380 Order on the Parties' Cross Motions for Summary Judgment (ECF Nos. 260 , 284 , & 305 ) and Defendant's Motions to Dismiss (ECF No. 307 ) and for Decertification of Class (ECF No. 312 ). Plaintiffs'
                   Motion for Summary Judgment on GEO's Affirmative Defense (ECF No. 260 ) is GRANTED. GEO's Cross Motion for Summary Judgment (ECF Nos. 284 ), Motion to Dismiss (ECF No. 307 ), and
                   Motion for Decertification of Class (ECF No. 312 ) are DENIED. GEO's Motion for Summary Judgment (ECF No. 305 ) is GRANTED IN PART in that the TVPA class is narrowed to beginning on
                   December 23, 2004, and the Motion is otherwise DENIED. GEOs Motion to Strike (ECF No. 368 ) is DENIED at moot. ORDERED by Judge John L. Kane on 10/18/2022.(angar, ) (Entered: 10/18/2022)
  10/19/2022   381 MINUTE ORDER. Based on the rulings in 380 , this case is ready to be set for trial. The Parties are DIRECTED to confer and, on October 25, 26, or 27, 2022, to call each other and then JOINTLY call
                   chambers at (303) 844-6118 to set dates and times for the pretrial conference, final trial preparation conference, and trial, by Judge John L. Kane on 10/19/2022. Text Only Entry (angar, ) (Entered:
                   10/19/2022)
  10/20/2022   382 MINUTE ORDER as to 301 Motion for Jury View. The Parties are DIRECTED to meaningfully confer regarding the status of the Motion for Jury View, including whether any circumstances have
                   changed since the motion was filed. The Parties' conferral shall include, but is not limited to, a discussion regarding: (1) whether a videorecording of the Aurora Detention Facility is now available. If a
                   videorecording is available, the Parties shall confer regarding whether the videorecording is sufficient in lieu of a jury view; and (2) if a jury view is permitted, whether U.S. Marshals may accompany the
                   Jurors and, if so, whether the Parties propose any limitations on the U.S. Marshals accompanying the Jury to a jury view. After conferral, Plaintiffs shall file a supplemental brief of no more than five
                   pages, on or before November 4, 2022. Defendant shall file a response of no more than five pages, on or before November 18, 2022. No reply brief will be allowed absent further order of the Court.
                   ORDERED by Judge John L. Kane on 10/20/2022. Text Only Entry (angar, ) (Entered: 10/20/2022)
  10/27/2022   383 ORDER SETTING PRETRIAL CONFERENCE, FINAL TRIAL PREPARATION CONFERENCE AND THREE-WEEK JURY TRIAL. This case is set for a three-week Jury Trial beginning Monday,
                   April 24, 2023, at 9:00 a.m., before Judge John L. Kane in Courtroom A802 on the 8th Floor of the Alfred A. Arraj U.S. Courthouse, 901 19th Street, Denver, Colorado. The parties are directed to file a
                   Proposed Pretrial Order on or before January 6, 2023. The Proposed Order shall be submitted via CM/ECF and in an editable format to kane_chambers@cod.uscourts.gov. A Pretrial Conference is set for
                   January 12, 2023, at 10:30 a.m. in the same location as the Jury Trial. Motions in Limine, including motions objecting to expert witness testimony, shall be filed on or before February 10, 2023. Responses
                   to those motions shall be filed on or before March 3, 2023, and any replies shall be filed on or before March 17, 2023. The Proposed Unified Set of Jury Instructions and Verdict Forms are due March 31,
                   2023, submitted in editable format to kane_chambers@cod.uscourts.gov as well as filed in CM/ECF. Final Witness and Exhibit Lists are due April 12, 2023. A Final Trial Preparation Conference is set
                   Wednesday, April 19, 2023, at 10:30 a.m. in the same location as the Jury Trial. The parties are advised to read Judge Kane's Pretrial and Trial Procedures Memo and use the forms available on the court's
                   website.Ordered by Judge John L. Kane on 10/27/2022. Text Only Entry (jlksec) (Entered: 10/27/2022)
  10/27/2022   384 NOTICE of Entry of Appearance by Wayne Howard Calabrese on behalf of GEO Group, Inc., TheAttorney Wayne Howard Calabrese added to party GEO Group, Inc., The(pty:dft) (Calabrese, Wayne)
                   (Entered: 10/27/2022)
  10/27/2022   385 NOTICE of Entry of Appearance by Joseph Negron, Jr on behalf of GEO Group, Inc., TheAttorney Joseph Negron, Jr added to party GEO Group, Inc., The(pty:dft) (Negron, Joseph) (Entered:
                   10/27/2022)
  11/04/2022   386 BRIEF in Support of 301 MOTION for Order to Authorize the Jury to View the Aurora ICE Processing Center Supplemental Brief in Support of Plaintiffs' Motion for Jury View filed by Plaintiffs Olga
                   Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Exhibit 1)(Scimone,
                   Michael) (Entered: 11/04/2022)
  11/16/2022   387 NOTICE OF APPEAL as to 380 Order on Motion to Strike,,,, Order on Motion for Summary Judgment,,,,,,,,,,,, Order on Motion to Dismiss,,,, Order on Motion for Order,,, by Defendant GEO Group, Inc.,
                   The (Filing fee $ 505, Receipt Number ACODC-8784020) (Beer, Naomi) (Entered: 11/16/2022)
  11/17/2022   388 LETTER Transmitting Notice of Appeal to all counsel advising of the transmittal of the 387 Notice of Appeal, filed by GEO Group, Inc., The to the U.S. Court of Appeals. ( Retained Counsel, Fee paid,)
                   (Attachments: # 1 Preliminary Record and Docket Sheet)(angar, ) (Entered: 11/17/2022)
  11/17/2022   389 USCA Case Number 22-1409 for 387 Notice of Appeal, filed by GEO Group, Inc., The. (angar, ) (Entered: 11/18/2022)
  11/18/2022   390 BRIEF in Opposition to 301 MOTION for Order to Authorize the Jury to View the Aurora ICE Processing Center filed by Defendant GEO Group, Inc., The. (Attachments: # 1 Exhibit A, # 2 Exhibit B)
                   (Scheffey, Adrienne) (Entered: 11/18/2022)
  11/18/2022   391 MOTION to Stay Proceedings Pending Appeal by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 11/18/2022)
  11/30/2022   392 TRANSCRIPT ORDER FORM by Defendant GEO Group, Inc., The. Transcript is not necessary re: 387 Notice of Appeal,. (angar, ) (Entered: 12/01/2022)
  12/01/2022   393 LETTER TO USCA and all counsel certifying the record is complete as to 387 Notice of Appeal, filed by GEO Group, Inc., The. A transcript order form was filed stating that a transcript is not necessary. (
                   Appeal No. 22-1409) Text Only Entry (angar, ) (Entered: 12/01/2022)
  12/01/2022   394 Minute ORDER by Magistrate Judge Michael E. Hegarty on 1 December 2022. Pursuant to parties' emailed request, this Court will hold a settlement conference in this case on December 21, 2022, at
                   11:30 a.m. in Courtroom A501 on the fifth floor of the Alfred A. Arraj United States Courthouse, 901 19th Street, Denver, Colorado. (cmadr, ) (Entered: 12/01/2022)
  12/02/2022   395 RESPONSE to 391 MOTION to Stay Proceedings Pending Appeal filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio
                   Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 12/02/2022)
  12/05/2022   396 Copy of Transcript Order Form re 387 Notice of Appeal, by Defendant GEO Group, Inc., The. (athom, ) (Entered: 12/05/2022)
  12/06/2022   397 MOTION to Appoint Counsel Outten & Golden LLP as Class Counsel and to Withdraw R. Andrew Free and Matthew Fritz-Mauer by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus
                   Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Attachments: # 1 Declaration of Michael Scimone ISO Plaintiffs Motion to Appoint Outten &
                   Golden LLP as Class Counsel and to Withdraw R. Andrew Free and Matthew Fritz-Mauer, # 2 Declaration of R. Andrew Free ISO Plaintiffs Motion to Appoint Outten & Golden LLP as Class Counsel and
                   to Withdraw R. Andrew Free and Matthew Fritz-Mauer, # 3 Declaration of Matthew Fritz-Mauer ISO Plaintiffs Motion to Appoint Outten & Golden LLP as Class Counsel and to Withdraw R. Andrew
                   Free and Matthew Fritz-Mauer, # 4 Proposed Order (PDF Only) Granting Motion to Appoint Outten & Golden LLP as Class Counsel and to Withdraw R. Andrew Free and Matthew Fritz-Mauer)
                   (Scimone, Michael) (Entered: 12/06/2022)
  12/06/2022   398 REPLY to Response to 391 MOTION to Stay Proceedings Pending Appeal filed by Defendant GEO Group, Inc., The. (Scheffey, Adrienne) (Entered: 12/06/2022)
  12/07/2022   399 ORDER Granting 397 Plaintiffs' Unopposed Motion to Appoint Outten & Golden LLP as Class Counsel and to Withdraw R. Andrew Free and Matthew Fritz-Mauer. Having reviewed this motion, the
                   Court finds that Outten & Golden LLP ("O&G") is an adequate representative for the class who will provide fair representation, and O&G is hereby appointed as class counsel. The Court further orders
                   that R. Andrew Free and Matthew Fritz-Mauer are withdrawn as Class Counsel from this action and are no longer counsel of record. By Judge John L. Kane on 12/7/2022.(trvo, ) (Entered: 12/07/2022)
  12/07/2022   400 ORDER; On November 16, 2022, Defendant The GEO Group, Inc. filed a Notice of Appeal 387 relating to my Order 380 granting Plaintiffs' Motion for Summary Judgment on GEO's Affirmative
                   Defenses 260 and denying GEO's Cross Motion for Summary Judgment 284 . GEO then filed a Motion to Stay Proceedings Pending Appeal 391 . Plaintiffs' Response to that Motion 395 agrees that a stay
                   is appropriate for matters that are comprehended within the appeal. As a result, GEO's Motion to Stay 391 is GRANTED in that all proceedings in this case related to the appeal are stayed pending further
                   order of the Court. All trial-related deadlines and settings are VACATED. The parties are DIRECTED to confer within 10 days of any jurisdictional opinion issued by the Tenth Circuit and to submit a joint
                   status report within 14 days of any such opinion. The parties shall state in the status report whether the stay should remain in place or whether the stay should be vacated and new trial dates set. Ordered by
                   Judge John L. Kane on 12/7/2022. Text Only Entry(jlksec) (Entered: 12/07/2022)
  12/07/2022   401 ORDER: The Motion for Jury View 301 is DENIED WITHOUT PREJUDICE for Plaintiffs to reinstate it once the stay granted in 398 has been lifted. In the meantime, my staff will be in touch with
                   counsel after January 2, 2023, to arrange for me to visit the Aurora Detention Facility, which I find to be necessary based on the issues raised by the parties. Ordered by Judge John L. Kane on 12/7/2022.
                   Text Only Entry(jlksec) (Entered: 12/07/2022)
  12/12/2022   402 Unopposed MOTION for Leave to Excuse In-Person Attendance At The Settlement Conference 394 Order, by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila, Jesus Gaytan, Hugo
                   Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. (Scimone, Michael) (Entered: 12/12/2022)
  12/13/2022   403 MEMORANDUM regarding 402 MOTION for Leave to Excuse In-Person Attendance At The Settlement Conference 394 Order filed by Plaintiffs Olga Alexaklina, Lourdes Argueta, Marcos Brambila,
                   Jesus Gaytan, Hugo Hernandez, Alejandro Menocal, Demetrio Valerga, Dagoberto Vizguerra, Grisel Xahuentitla. Motion referred to Magistrate Judge Michael E. Hegarty by Judge John L. Kane on
                   12/13/2022. (angar, ) (Entered: 12/13/2022)
  12/15/2022   404 Minute ORDER by Magistrate Judge Michael E. Hegarty on 15 December 2022. For good cause shown, Plaintiffs' Unopposed Motion to Excuse In-Person Attendance at the Settlement Conference 402 is
                   granted. The Representative Plaintiffs are excused from appearing in-person at the settlement conference on December 21, 2022. However, counsel shall ensure that the Representative Plaintiffs are
                   available by telephone during the entirety of the conference.(cmadr, ) (Entered: 12/15/2022)
  12/20/2022   405 MINUTE ORDER by Magistrate Judge Michael E. Hegarty on December 20, 2022. At the parties' emailed request, the settlement conference set for December 21, 2022 is vacated and rescheduled for
                   January 12, 2023, at 10:30 a.m., in Courtroom A-501, on the fifth floor of the Alfred A. Arraj United States Courthouse located at 901 19th Street, Denver, Colorado. (alave, ) (Entered: 12/20/2022)
  01/13/2023   406 MINUTE ENTRY for proceedings held before Magistrate Judge Michael E. Hegarty: Settlement Conference held on 1/13/2023. (cthom, ) (Entered: 01/17/2023)



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       Appellate Case: 22-1409     Document: 29-2      Date Filed: 01/23/2023   Page: 15
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 1 of 21




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No.:

  ALEJANDRO MENOCAL,
  MARCOS BRAMBILA,
  GRISEL XAHUENTITLA,
  HUGO HERNANDEZ,
  LOURDES ARGUETA,
  JESUS GAYTAN,
  OLGA ALEXAKLINA,
  DAGOBERTO VIZGUERRA and
  DEMETRIO VALERGA
  on their own behalf and on behalf of all others similarly situated,

         Plaintiffs,

  v.

  THE GEO GROUP, INC.,

         Defendant.


      CLASS ACTION COMPLAINT FOR UNPAID WAGES AND FORCED LABOR
  ______________________________________________________________________

         The Plaintiffs in this case are current and former civil immigration detainees who

  were incarcerated and employed by the GEO Group, Inc. (GEO), a for-profit,

  multinational corporation engaged in the business of incarceration. GEO owns and

  operates the Aurora Detention Facility, a 1,500 bed detention center located in Aurora,

  CO. When it built and expanded the Aurora Detention Facility, GEO promised to create

  of hundreds of quality jobs in Aurora. However, GEO unlawfully uses detainees to

  clean, maintain, and operate the facility. GEO pays detainees $1 per day, or no

  wages at all, for their labor. In 2013, The GEO Group, Inc. reported $1.52 billion in

  total revenues.

                                                                                  APP. 12
      Appellate Case: 22-1409      Document: 29-2      Date Filed: 01/23/2023     Page: 16
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 2 of 21




            GEO violated Colorado’s Minimum Wage Order when it paid its detained

  employees one dollar ($1) per day for their labor. Plaintiffs seek to recover, on their

  own behalf and on behalf of all others similarly situated, the difference between the

  wages they earned and the $1 per day they were paid.

            In addition, GEO violated federal law prohibiting forced labor when it forced

  Plaintiffs and others to work, for no pay whatsoever, cleaning the “pods” where they

  were housed. GEO coerced detainees to clean pods by threatening to put those who

  refused to work (for no pay) in “the hole,” or solitary confinement. In 2011, The United

  Nations Special Rapporteur on Torture called for the end of solitary confinement, citing

  the severe mental pain and suffering it causes.1

            GEO’s pay policies violate principles of justice, equity, and good conscience.

  GEO was unjustly enriched when it paid its employees $1 per day, or nothing at all, for

  their labor.

                                 STATEMENT OF THE CASE

       1.      In the course of their employment by GEO, Plaintiffs and others scrubbed

  bathrooms, showers, toilets, and windows throughout GEO’s Aurora facility. They

  cleaned and maintained GEO’s on-site medical facility, cleaned the medical facility’s

  toilets, floors and windows, cleaned patient rooms and medical staff offices, swept,

  mopped, stripped, and waxed the floors of the medical facility, did medical facility

  laundry, swept, mopped, stripped, and waxed floors throughout the facility, did detainee

  laundry, prepared and served detainee meals, assisted in preparing catered meals for

  law enforcement events sponsored by GEO, performed clerical work for GEO, prepared

  clothing for newly arriving detainees, provided barber services to detainees, ran the
  1
      See also, Rick Raemisch, My Night in Solitary, N.Y. Times, Feb. 20, 2014.

                                               2

                                                                                    APP. 13
   Appellate Case: 22-1409         Document: 29-2       Date Filed: 01/23/2023       Page: 17
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 3 of 21




  facility’s law library, cleaned the facility’s intake area and solitary confinement unit, deep

  cleaned and prepared vacant portions of the facility for newly arriving detainees,

  cleaned the facility’s warehouse, and maintained the exterior and landscaping of the

  GEO building, inter alia.

     2.       Defendant paid Plaintiffs and all its other detainee-employees one dollar ($1)

  per day for their above-listed labor.

     3.       Defendant thus violated Colorado’s Minimum Wage Order (“MWO”) because

  that Order requires employers like GEO to pay their employees at least the statutory

  minimum wage for each hour worked. 7 CCR 1103-1.

     4.       As a result of Defendant’s violation of the MWO, Plaintiffs seek actual

  damages, on their own behalf and on behalf of all Defendant’s other similarly-situated

  employees, as well as costs of suit.

     5.       GEO or its agents also randomly selected six detainees per pod each day

  and forced them to clean the pods. In the handbook that GEO distributed to the

  detainees, GEO announced a “Housing Unit Sanitation” policy informing the people held

  at the facility that “[e]ach and every detainee must participate in the facility’s sanitation

  program.”

     6.       GEO or its agents forced Plaintiffs and other civil immigration detainees to

  clean the facility’s pods for no pay and under threat of solitary confinement as

  punishment for any refusal to work.

     7.       Defendant thus violated federal law prohibiting forced labor. 18 U.S.C. §

  1589.

     8.       As a result of Defendant’s violation of the federal forced labor statute,



                                                3

                                                                                         APP. 14
   Appellate Case: 22-1409        Document: 29-2       Date Filed: 01/23/2023      Page: 18
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 4 of 21




  Plaintiffs seek actual damages, punitive damages, and mandatory restitution, on their

  own behalf and on behalf of all Defendant’s other similarly-situated detainees, as well

  as attorneys fees and costs, pursuant to 18 U.S.C. §§ 1593 and 1595.

     9.     Finally, GEO was unjustly enriched when it paid its employees $1 per day for

  their labor. GEO’s pay policies violate principles of justice, equity, and good conscience.

                          PARTIES, JURISDICTION, AND VENUE

     10.    Plaintiff Alejandro Menocal worked at Defendant’s facility from approximately

  June, 2014 through September, 2014.

     11.    Plaintiff Marcos Brambila worked at Defendant’s facility from approximately

  December, 2013 through October, 2014.

     12.     Plaintiff Grisel Xahuentitla worked at Defendant’s facility from approximately

  May, 2014 through September, 2014.

     13.    Plaintiff Hugo Hernandez has been working at Defendant’s facility since

  approximately December, 2013 through the present.

     14.    Plaintiff Lourdes Argueta has been working at Defendant’s facility since

  approximately May, 2014 through the present.

     15.    Plaintiff Jesus Gaytan has been working at Defendant’s facility since

  approximately April, 2014 through the present.

     16.    Plaintiff Olga Alexaklina worked at Defendant’s facility from approximately

  January, 2013 through October, 2014.

     17.    Plaintiff Dagoberto Vizguerra has been working at Defendant’s facility since

  approximately April, 2014 through the present.

     18.    Plaintiff Demetrio Valerga worked at Defendant’s facility from approximately



                                               4

                                                                                      APP. 15
   Appellate Case: 22-1409         Document: 29-2       Date Filed: 01/23/2023       Page: 19
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 5 of 21




  September, 2013 through July, 2014.

     19.      Defendant The GEO Group, Inc. is a registered Florida corporation with a

  principal office street address of 624 NW 53rd Street, Suite 700, Boca Raton, FL 33487.

     20.      Jurisdiction is conferred upon this Court by 28 U.S.C. § 1331, this case

  arising under 18 U.S.C. § 1595.

     21.      Jurisdiction is conferred upon this Court by 28 U.S.C. § 1332(d), as the

  putative members of the alleged classes seek damages in excess of $5,000,000.00.

     22.      Plaintiffs request that this Court exercise supplemental jurisdiction over their

  state law claims arising under the Colorado Minimum Wage Order and the Colorado

  common law. 28 U.S.C. § 1367.

     23.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because the events or

  omissions giving rise to the claims occurred in the District of Colorado.

        RULE 23 CLASS ALLEGATIONS AS TO THE “MINIMUM WAGE CLASS”

     24.      Plaintiffs bring their Count I MWO claim, below, as a Fed. R. Civ. P. 23 class

  action, on their own behalf and on behalf of a class for which Plaintiffs seek certification.

     25.      Plaintiffs’ Count I MWO claim concerns Defendant’s employment of the

  Plaintiffs and others similarly situated in GEO’s “Detainee Voluntary Work Program”.

  Plaintiffs’ Count I MWO claim does not concern the mandatory, uncompensated work

  Plaintiffs and others similarly situated performed under Defendant’s Housing Unit

  Sanitation Policy.

     26.      Pending any modifications necessitated by discovery, Plaintiffs preliminarily

  define this Minimum Wage Class as follows:

           All civil immigration detainees who performed work for GEO at the Aurora
           Detention Facility in the “Detainee Voluntary Work Program” between


                                                5

                                                                                        APP. 16
   Appellate Case: 22-1409         Document: 29-2       Date Filed: 01/23/2023       Page: 20
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 6 of 21




           October 22, 2012 and the present.

     27.      This action is properly brought as a class action for the following reasons:

     28.      All of Defendant’s employees in the “Detainee Voluntary Work Program” were

  uniformly paid $1/day of work and were thereby denied required minimum wages for all

  hours worked.

     29.      The class is so numerous that joinder of all the potential class members is

  impracticable. Plaintiffs do not know the exact size of the class since that information is

  within the control of Defendant. However, upon information and belief, Plaintiffs allege

  that the number of class members exceeds 300. Membership in the class is readily

  ascertainable from Defendant’s detention and employment records.

     30.      The operative questions of law and fact regarding the liability of Defendant

  are common to the class and predominate over any individual issues which may exist.

  Common questions of law and of fact include: whether Plaintiffs and the class members

  were entitled to the protections of the MWO, whether Plaintiffs and the class members

  performed compensable work, and whether Plaintiffs and the class members were paid

  $1 per day for their labor. The claims asserted by Plaintiffs are typical of the claims of all

  class members. This is an uncomplicated case of unpaid minimum wages. The claim at

  issue arises from a policy applicable to all members of the class. Each member of the

  class suffered the same violations that give rise to Plaintiffs’ claims. A class action is

  superior to other available methods for the fair and efficient adjudication of this

  controversy because numerous identical lawsuits alleging identical causes of action

  would not serve the interests of judicial economy.

     31.      The representative Plaintiffs will fairly and adequately protect the interests of



                                                6

                                                                                         APP. 17
   Appellate Case: 22-1409            Document: 29-2   Date Filed: 01/23/2023       Page: 21
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 7 of 21




  the members of the class. Because all class members were subject to the same

  violations of law perpetrated by Defendant, the interests of absent class members are

  coincident with, and not antagonistic to, those of Plaintiffs. The representative Plaintiffs

  will litigate the claims fully.

     32.     The representative Plaintiffs are represented by counsel experienced in wage

  and hour class action litigation.

     33.     The prosecution of separate actions by individual class members would

  create a risk of inconsistent or varying adjudications with respect to individual class

  members and would establish incompatible standards of conduct for Defendant. If

  Defendant’s $1 per day policy was unlawful as applied to the representative Plaintiffs, it

  was unlawful as applied to the absent members of the putative class.

     34.     Those class members who worked for Defendant for short periods of time

  have small claims which they are unlikely to bring individually. All members of the class

  have claims which are factually very similar and legally identical to Plaintiffs’. Thus, the

  interest of members of the class in individually controlling the prosecution or defense of

  separate actions is slight, while the broad remedial purpose of the MWO counsels

  toward vindicating the rights of those employees with small claims as part of the larger

  class.

     35.     Plaintiffs are unaware of any members of the putative class who are

  interested in presenting their claims in a separate action.

     36.     Plaintiffs are unaware of any pending litigation commenced by members of

  the class concerning the instant controversy.

     37.     It is desirable to concentrate this litigation in this forum because all claims



                                                7

                                                                                       APP. 18
   Appellate Case: 22-1409           Document: 29-2     Date Filed: 01/23/2023       Page: 22
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 8 of 21




  arose in this Judicial District.

     38.      This class action will not be difficult to manage due to the uniformity of claims

  among the class members and the susceptibility of wage and hour cases to both class

  litigation and the use of representative testimony and representative documentary

  evidence.

     39.      The contours of the class will be easily defined by reference to the detention

  and payroll documents Defendant created and maintained.

                                       COUNT I
                Colorado Minimum Wages of Workers Act, § 8-6-101, et seq.
           as implemented by the Colorado Minimum Wage Order, 7 CCR 1103-1

     40.      Plaintiffs repeat and reallege each of the allegations contained in paragraphs

  1-23 above as if fully set forth herein.

     41.      As set forth in paragraphs 24-39, supra, Plaintiffs allege this claim on their

  own behalf and on behalf of all others similarly situated pursuant to Fed. R. Civ. P. 23.

     42.      This Count concerns Defendant’s employment of the Plaintiffs and others

  similarly situated in GEO’s “Detainee Voluntary Work Program”. This Count does not

  concern the mandatory, uncompensated work Plaintiffs and others similarly situated

  performed under Defendant’s Housing Unit Sanitation policy.

     43.      Defendant The GEO Group, Inc. was Plaintiffs’ and others’ “employer” as that

  term is defined by the MWO because it employed Plaintiffs and others in Colorado. 7

  CCR 1103-1(2).

     44.      The GEO Group operates a Retail and Service business or enterprise

  covered by the Wage Order. 7 CCR 1103-1(1)(A). GEO sells the service of

  incarcerating people. According to GEO, it “is the world’s leading provider in the delivery



                                                8

                                                                                        APP. 19
   Appellate Case: 22-1409       Document: 29-2         Date Filed: 01/23/2023   Page: 23
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 9 of 21




  of diversified correctional, detention, and residential treatment services to government

  agencies around the globe.” GEO generates 50% or more of its annual dollar volume of

  business from the sale of such services.

     45.    The GEO Group operates a Health and Medical business or enterprise

  covered by the Wage Order. 7 CCR 1103-1(1)(D). GEO provides health services to the

  detainee population at the Aurora Detention Facility.

     46.    The GEO Group operates a Food and Beverage business or enterprise

  covered by the Wage Order. 7 CCR 1103-1(1)(C). GEO prepares and offers for sale

  food for consumption both on and off the premises of its Aurora facility. GEO produces

  food at the Aurora Detention Facility for consumption by outside entities, that conduct

  training exercises at the Aurora Detention Facility. GEO also prepares and offers for

  sale food and beverages at its on-site commissary.

     47.    Plaintiffs were engaged in the performance of work connected with or

  incidental to GEO’s covered business or enterprise.

     48.    Plaintiffs and others were GEO’s “employees” as that term is defined by the

  MWO because they performed labor for the benefit of GEO in which GEO commanded

  when, where, and how much labor they would perform. 7 CCR 1103-1(2).

     49.    GEO violated the MWO when it refused to pay Plaintiffs and others minimum

  wages for all hours worked. 7 CCR 1103-1(4).

     50.    Plaintiffs performed numerous hours of work for GEO in GEO’s “Detainee

  Voluntary Work Program”. GEO did not compensate Plaintiffs’ work at the required

  Colorado State Minimum Wage rates specified in the applicable, annual Wage Orders.

  GEO compensated Plaintiffs’ work in the “Detainee Voluntary Work Program” at the rate



                                              9

                                                                                    APP. 20
   Appellate Case: 22-1409           Document: 29-2        Date Filed: 01/23/2023    Page: 24
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 10 of 21




  of $1/day.

     51.       Plaintiffs and others have suffered lost wages and lost use of those wages in

  an amount to be determined at trial.

     52.       Plaintiffs and others are entitled to recover unpaid minimum wages and costs

  of the suit. C.R.S. § 8-6-118; 7 CCR 1103-1(18).

        RULE 23 CLASS ALLEGATIONS AS TO THE “FORCED LABOR CLASS”

     53.       Plaintiffs bring their Count II Forced Labor claim, below, as a Fed. R. Civ. P.

  23 class action, on their own behalf and on behalf of a class for which Plaintiffs seek

  certification.


     54.       Plaintiffs’   Count   II   Forced   Labor   claim   concerns   the   mandatory,

  uncompensated work Plaintiffs and others similarly situated performed under

  Defendant’s Housing Unit Sanitation policy. Plaintiffs’ Count II Forced Labor claim does

  not concern the work the Plaintiffs and others performed within GEO’s “Voluntary

  Detainee Work Program”.

     55.       Pending any modifications necessitated by discovery, Plaintiffs preliminarily

  define this Forced Labor Class as follows:

           All detainees who were forced to perform uncompensated work for GEO
           at the Aurora Detention Facility under Defendant’s Housing Unit Sanitation
           policy between October 22, 2004 and the present.

     56.       This action is properly brought as a class action for the following reasons:

     57.       All of the members of the Forced Labor Class were forced to work for GEO

  for no pay during their detention.

     58.       The class is so numerous that joinder of all the potential class members is

  impracticable. Plaintiffs do not know the exact size of the class since that information is


                                                   10

                                                                                        APP. 21
   Appellate Case: 22-1409          Document: 29-2      Date Filed: 01/23/2023       Page: 25
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 11 of 21




  within the control of Defendant. However, upon information and belief, Plaintiffs allege

  that the number of class members exceeds 1000. Membership in the class is readily

  ascertainable from Defendant’s detention records.

     59.     The operative questions of law and fact regarding the liability of Defendant

  are common to the Class and predominate over any individual issues which may exist.

  Common questions of law and of fact include: whether Defendant’s policy of requiring

  Plaintiffs and the class members to clean the cells on their pods under threat of solitary

  confinement violated 18 U.S.C. § 1589 and whether Plaintiffs and the class members

  were not paid for their work cleaning cells. The claims asserted by Plaintiffs are typical

  of the claims of all of the Class Members. The claim at issue arises from a policy

  applicable to all members of the class. Each member of the class suffered the same

  violations that give rise to Plaintiffs’ claims. A class action is superior to other available

  methods for the fair and efficient adjudication of this controversy because numerous

  identical lawsuits alleging identical causes of action would not serve the interests of

  judicial economy.

     60.     The representative Plaintiffs will fairly and adequately protect the interests of

  the members of the class. Because all class members were subject to the same

  violations of law perpetrated by Defendant, the interests of absent class members are

  coincident with, and not antagonistic to, those of Plaintiffs. The representative Plaintiffs

  will litigate the claims fully.

     61.     The representative Plaintiffs are represented by counsel experienced in class

  action and labor litigation.

     62.     The prosecution of separate actions by individual class members would



                                               11

                                                                                        APP. 22
   Appellate Case: 22-1409           Document: 29-2    Date Filed: 01/23/2023      Page: 26
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 12 of 21




  create a risk of inconsistent or varying adjudications with respect to individual class

  members which would establish incompatible standards of conduct for Defendant. If

  Defendant’s forced labor policy was unlawful as applied to the representative Plaintiffs,

  it was unlawful as applied to the absent members of the putative class.

     63.     Those class members who worked for Defendant for short periods of time

  have small claims which they are unlikely to bring individually. All members of the class

  have claims which are factually very similar and legally identical to Plaintiffs’. Thus, the

  interest of members of the class in individually controlling the prosecution or defense of

  separate actions is slight, while the remedial purpose of the Forced Labor Statute

  counsels toward vindicating the rights of those employees with small claims as part of

  the larger class.

     64.     Plaintiffs are unaware of any members of the putative class who are

  interested in presenting their claims in a separate action.

     65.     Plaintiffs are unaware of any pending litigation commenced by members of

  the class concerning the instant controversy.

     66.     It is desirable to concentrate this litigation in this forum because all claims

  arose in this Judicial District.

     67.     This class action will not be difficult to manage due to the uniformity of claims

  among the class members and the susceptibility of this case to both class litigation and

  the use of representative testimony and representative documentary evidence.

     68.     The contours of the class will be easily defined by reference to the detention

  records Defendant created and maintained.




                                               12

                                                                                       APP. 23
    Appellate Case: 22-1409       Document: 29-2       Date Filed: 01/23/2023      Page: 27
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 13 of 21




                                         COUNT II
                                       Forced Labor
                                      18 U.S.C. § 1589

     69.    Plaintiffs repeat and reallege each of the allegations contained in

  paragraphs1-23 above.

     70.    As set forth in paragraphs 53-68, supra, Plaintiffs allege this claim on their

  own behalf and on behalf of all others similarly situated pursuant to Fed. R. Civ. P. 23.

     71.    This Count concerns the mandatory, uncompensated work Plaintiffs and

  others similarly situated performed under Defendant’s Housing Unit Sanitation policy.

  This Count does not concern the work the Plaintiffs and others performed within

  Defendant’s “Voluntary Detainee Work Program”.

     72.    Defendant violated the federal Forced Labor statute when it coerced Plaintiffs

  and others to work cleaning pods for no pay.

     73.    Defendant coerced this labor through threats that those who refused to

  perform such uncompensated work would be subjected to discipline, up to and including

  solitary confinement.

     74.    Defendant coerced this labor through a uniform policy subjecting detainees

  who refused to perform such uncompensated work to discipline, up to and including

  solitary confinement.

     75.    Defendant saved costs associated with paying for custodial work by using the

  uncompensated and coerced labor of Plaintiffs and others to clean cells and living

  areas.



                                              13

                                                                                      APP. 24
   Appellate Case: 22-1409         Document: 29-2      Date Filed: 01/23/2023      Page: 28
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 14 of 21




      76.   Defendant provided or obtained the labor or services of Plaintiffs and others

  by means of physical restraint or threats of physical restraint to Plaintiffs and others. 18

  U.S.C. § 1589(a)(1).

      77.   Defendant provided or obtained the labor or services of Plaintiffs and others

  by means of serious harm or threats of serious harm to Plaintiffs and others.            18

  U.S.C.§ 1589(a)(2).

      78.   Defendant provided or obtained the labor or services of Plaintiffs and others

  by means of a scheme, plan, or pattern intended to cause the Plaintiffs and others to

  believe that, if they did not perform such labor or services, they would suffer serious

  harm or physical restraint, including solitary confinement. 18 U.S.C. § 1589 (a)(4).

      79.   Plaintiffs and others similarly situated were victims of forced labor as defined

  by 18 U.S.C. § 1589.

      80.   Defendant perpetrated the offense of forced labor against the Plaintiffs and

  others. 18 U.S.C. § 1595(a).

      81.   Defendant knowingly benefitted financially from participation in a venture

  Defendant knew or should have known engaged in unlawful coercion of labor in

  violation of 18 U.S.C. § 1589.

      82.   Plaintiffs and others have suffered damages in an amount to be determined at

  trial.

      83.   Plaintiffs and others are entitled to recover compensatory and punitive

  damages. 18 U.S.C. § 1595(a).

      84.   Plaintiffs and others are entitled to recover mandatory restitution in the full

  amount of their losses. 18 U.S.C. § 1593.



                                               14

                                                                                       APP. 25
    Appellate Case: 22-1409        Document: 29-2       Date Filed: 01/23/2023      Page: 29
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 15 of 21




     85.      Plaintiffs and others are entitled to recover their reasonable attorneys fees.

  18 U.S.C. § 1595(a).

     RULE 23 CLASS ALLEGATIONS AS TO THE “UNJUST ENRICHMENT CLASS”

     86.      Plaintiffs bring their Count III Unjust Enrichment claim, below, as a Fed. R.

  Civ. P. 23 class action, on their own behalf and on behalf of a class for which Plaintiffs

  seek certification.

     87.      Pending any modifications necessitated by discovery, Plaintiffs preliminarily

  define this Unjust Enrichment Class as follows:

           All civil immigration detainees who performed work for GEO at the Aurora
           Detention Facility in the “Detainee Voluntary Work Program” between
           October 22, 2012 and the present.

     88.      This action is properly brought as a class action for the following reasons:

     89.      All of Defendant’s employees in the “Detainee Voluntary Work Program” were

  uniformly paid $1/day of work and Defendant was thereby unjustly enriched.

     90.      The class is so numerous that joinder of all the potential class members is

  impracticable. Plaintiffs do not know the exact size of the class since that information is

  within the control of Defendant. However, upon information and belief, Plaintiffs allege

  that the number of class members exceeds 300. Membership in the class is readily

  ascertainable from Defendant’s detention and employment records.

     91.      The operative questions of law and fact regarding the liability of Defendant

  are common to the class and predominate over any individual issues which may exist.

  Common questions of law and of fact include: whether Defendants’ retention of any

  benefit collected directly and indirectly from Plaintiffs’ and others’ labor violated

  principles of justice, equity, and good conscience, and whether Plaintiffs and the class



                                                15

                                                                                        APP. 26
   Appellate Case: 22-1409          Document: 29-2     Date Filed: 01/23/2023       Page: 30
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 16 of 21




  members were paid $1 per day for their labor. The claims asserted by Plaintiffs are

  typical of the claims of all class members. This is an uncomplicated case of Defendant

  procuring very nearly free labor from a detained workforce. The claim at issue arises

  from a policy applicable to all members of the class. Each member of the class suffered

  the same violations that give rise to Plaintiffs’ claims. A class action is superior to other

  available methods for the fair and efficient adjudication of this controversy because

  numerous identical lawsuits alleging identical causes of action would not serve the

  interests of judicial economy.

     92.     The representative Plaintiffs will fairly and adequately protect the interests of

  the members of the class. Because all class members were subject to the same

  violations of law perpetrated by Defendant, the interests of absent class members are

  coincident with, and not antagonistic to, those of Plaintiffs. The representative Plaintiffs

  will litigate the claims fully.

     93.     The representative Plaintiffs are represented by counsel experienced in labor

  class action litigation.

     94.     The prosecution of separate actions by individual class members would

  create a risk of inconsistent or varying adjudications with respect to individual class

  members and would establish incompatible standards of conduct for Defendant. If

  Defendant’s $1 per day policy was unlawful as applied to the representative Plaintiffs, it

  was unlawful as applied to the absent members of the putative class.

     95.     Those class members who worked for Defendant for short periods of time

  have small claims which they are unlikely to bring individually. All members of the class

  have claims which are factually very similar and legally identical to Plaintiffs’. Thus, the



                                               16

                                                                                        APP. 27
   Appellate Case: 22-1409           Document: 29-2    Date Filed: 01/23/2023      Page: 31
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 17 of 21




  interest of members of the class in individually controlling the prosecution or defense of

  separate actions is slight.

     96.     Plaintiffs are unaware of any members of the putative class who are

  interested in presenting their claims in a separate action.

     97.     Plaintiffs are unaware of any pending litigation commenced by members of

  the class concerning the instant controversy.

     98.     It is desirable to concentrate this litigation in this forum because all claims

  arose in this Judicial District.

     99.     This class action will not be difficult to manage due to the uniformity of claims

  among the class members and the susceptibility of labor cases to both class litigation

  and the use of representative testimony and representative documentary evidence.

     100.    The contours of the class will be easily defined by reference to the detention

  and payroll documents Defendant created and maintained.

                                            COUNT III
                                        Unjust Enrichment
                                      Colorado Common Law

     101.    Plaintiffs repeat and reallege each of the allegations contained in

  paragraphs1-23 above.

     102.    As set forth in paragraphs 87-101, supra, Plaintiffs allege this claim on their

  own behalf and on behalf of all others similarly situated pursuant to Fed. R. Civ. P. 23.

     103.    This Count concerns Defendant’s employment of the Plaintiffs and others

  similarly situated in GEO’s “Detainee Voluntary Work Program”. This Count does not

  concern the mandatory, uncompensated work Plaintiffs and others similarly situated

  performed under Defendant’s Housing Unit Sanitation policy.



                                               17

                                                                                       APP. 28
   Appellate Case: 22-1409        Document: 29-2        Date Filed: 01/23/2023    Page: 32
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 18 of 21




     104.   By paying Plaintiffs and others $1 per day for all hours worked, Defendant

  was unjustly enriched at the expense of and to the detriment of Plaintiffs and others.

     105.   Defendant’s retention of any benefit collected directly and indirectly from

  Plaintiffs’ and others’ labor violated principles of justice, equity, and good conscience.

  As a result, Defendant has been unjustly enriched.

     106.   Plaintiffs and others are entitled to recover from Defendant all amounts that

  Defendant has wrongfully and improperly obtained, and Defendant should be required

  to disgorge to Plaintiffs and others the benefits it has unjustly obtained.

     107.   Plaintiffs and others are entitled to recover exemplary damages. C.R.S. § 13-

  21-102.




  WHEREFORE, Plaintiffs pray that:

         As to their Count I Claim brought under the Colorado Minimum Wages of

  Workers Act, as implemented by the Colorado Minimum Wage Order and described in

  paragraphs 40-52 above, Plaintiffs respectfully request an Order from the Court that:

            a. This Count be certified as a class action pursuant to Fed. R. Civ.P. 23;

            b. Plaintiffs be certified as class representatives of the Minimum Wage Class
               as defined in ¶ 26 supra;

            c. Undersigned counsel be appointed Rule 23 class counsel;

            d. Prompt notice of this litigation be sent to all potential Minimum Wage
               Class members;

            e. Plaintiffs and the Minimum Wage Class be awarded the unpaid balance of
               the full amount of wages due, together with the costs of this suit. C.R.S. §
               8-6-118; 7 CCR 1103-1(18).



                                               18

                                                                                     APP. 29
   Appellate Case: 22-1409        Document: 29-2      Date Filed: 01/23/2023       Page: 33
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 19 of 21




            f. Plaintiffs and the Minimum Wage Class be awarded such other and further
               relief as may be necessary and appropriate.


         As to their Count II Claim brought pursuant to the Forced Labor Statute 18

  U.S.C. § 1589, and described in paragraphs 69-85 above, Plaintiffs respectfully request

  an Order from the Court that:

            a. This Count be certified as a class action pursuant to Fed. R. Civ.P. 23;

            b. Plaintiffs be certified as class representatives of the Forced Labor Class
               as defined in ¶ 56 supra;

            c. Undersigned counsel be appointed Rule 23 class counsel;

            d. Prompt notice of this litigation be sent to all potential Forced Labor Class
               members;

            e. Plaintiffs and the Forced Labor Class be awarded compensatory and
               punitive damages; 18 U.S.C. § 1595.

            f. Plaintiffs and the Forced Labor Class be awarded mandatory restitution;
               18 U.S.C. § 1593.

            g. Plaintiffs and the Forced Labor Class be awarded their reasonable
               attorneys fees; 18 U.S.C. § 1595.

            h. Plaintiffs and the Forced Labor Class be awarded such other and further
               relief as may be necessary and appropriate.


         As to their Count III Claim brought pursuant Colorado common law, and

  described in paragraphs 102-107 above, Plaintiffs respectfully request an Order from

  the Court that:

            a. This Count be certified as a class action pursuant to Fed. R. Civ.P. 23;

            b. Plaintiffs be certified as class representatives of the Unjust Enrichment
               Class as defined in ¶ 88 supra;

            c. Undersigned counsel be appointed Rule 23 class counsel;



                                              19

                                                                                      APP. 30
   Appellate Case: 22-1409      Document: 29-2       Date Filed: 01/23/2023       Page: 34
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 20 of 21




           d. Prompt notice of this litigation be sent to all potential Unjust Enrichment
              Class members;

           e. Plaintiffs and the Unjust Enrichment Class be awarded compensatory and
              exemplary damages.

           f. Plaintiffs and the Class be awarded such other and further relief as may
              be necessary and appropriate.



                                          Respectfully submitted,


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                                             20

                                                                                     APP. 31
   Appellate Case: 22-1409   Document: 29-2     Date Filed: 01/23/2023    Page: 35
Case 1:14-cv-02887-JLK-MEH Document 1 Filed 10/22/14 USDC Colorado Page 21 of 21




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                               *Motion for pro hac vice admittance forthcoming.




                                        21

                                                                             APP. 32
        Appellate Case: 22-1409   Document: 29-2      Date Filed: 01/23/2023   Page: 36

Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 1 of 17




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 14-CV-02887-JLK

  ALEJANDRO MENOCAL,
  MARCOS BRAMBILA,
  GRISEL XAHUENTITLA,
  HUGO HERNANDEZ,
  LOURDES ARGUETA,
  JESUS GAYTAN,
  OLGA ALEXAKLlNA,
  DAGOBERTO VIZGUERRA, and
  DEMETRIO VALERGA,
  on their own behalf and on behalf of all others similarly situated,

           Plaintiffs,

  vs.

  THE GEO GROUP, INC.,

           Defendant.


                                          ANSWER


           Defendant THE GEO GROUP, INC., by its attorneys, Vaughan & DeMuro and

  Norton Rose Fulbright US LLP, submits this answer to Plaintiffs’ Complaint [Doc. 1] as

  follows:

           In answer to the unnumbered paragraph on page one of Plaintiffs’ Complaint,

  Defendant admits that the plaintiffs are former detainees who were detained by the

  Department of Homeland Security, Bureau of Immigration and Customs Enforcement

  (“DHS/ICE”) at the Aurora Detention Facility which is owned and operated by Defendant


                                                                                 APP. 33
     Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 37
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 2 of 17




  pursuant to a contract with DHS/ICE. Defendant otherwise denies the allegations in that

  paragraph.

         Defendant denies the allegations contained in the first unnumbered paragraph on

  page two of Plaintiffs’ Complaint and further states that Plaintiffs’ claim under Colorado’s

  Minimum Wage Order was dismissed by the Court on July 7, 2015 [Doc. 23].

         Defendant denies the allegations contained in the second unnumbered paragraph

  on page two of Plaintiffs’ Complaint.

         Defendant denies the allegations contained in the third unnumbered paragraph on

  page two of Plaintiffs’ Complaint.

                                STATEMENT OF THE CASE

         1.     In answer to paragraph 1 of Plaintiffs’ Complaint, Defendant admits that

  Plaintiffs were detained by DHS/ICE at the Aurora Detention Facility and as part of that

  detention may have performed duties in accordance with ICE’s voluntary detainee work

  program for detainees and ICE’s sanitation policies. Defendant admits that duties carried

  out by detainees may sometimes include cleaning bathrooms, showers, toilets, windows,

  floors (sweeping, mopping, stripping, waxing), housing units, intake area, medical patient

  rooms and offices; doing laundry; preparing meals; barber services; cleaning and

  organizing the warehouse; pulling weeds; and planting flowers. Defendant otherwise

  denies the allegations in paragraph 1 of Plaintiffs’ Complaint.

         2.     In answer to paragraph 2 of Plaintiffs’ Complaint, Defendant admits that

  pursuant to ICE’s voluntary detainee work program, detainees are paid $1.00 per day for


                                               2
                                                                                     APP. 34
     Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 38
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 3 of 17




  certain work that they perform. Defendant otherwise denies the allegations in paragraph

  2 of Plaintiffs’ Complaint.

         3.     Defendant denies the allegations in paragraph 3 of Plaintiffs’ Complaint and

  further states that Plaintiffs’ claim under Colorado’s Minimum Wage Order was dismissed

  by the Court on July 7, 2015 [Doc. 23].

         4.     Defendant denies the allegations in paragraph 4 of Plaintiffs’ Complaint and

  further states that Plaintiffs’ claim under Colorado’s Minimum Wage Order was dismissed

  by the Court on July 7, 2015 [Doc. 23].

         5.     In answer to paragraph 5 of Plaintiffs’ Complaint, Defendant states that the

  ICE Detainee Handbook speaks for itself and, therefore, it is not necessary for Defendant

  to either or admit or deny the allegations in paragraph 5. To the extent it is deemed

  necessary to admit or deny the same, Defendant denies the allegations in paragraph 5 of

  Plaintiffs’ Complaint.

         6.     Defendant denies the allegations in paragraph 6 of Plaintiffs’ Complaint.

         7.     Defendant denies the allegations in paragraph 7 of Plaintiffs’ Complaint.

         8.     Defendant denies the allegations in paragraph 8 of Plaintiffs’ Complaint.

         9.     In answer to paragraph 9 of Plaintiffs’ Complaint, Defendant admits that

  pursuant to ICE’s voluntary detainee work program, detainees are paid $1.00 per day for

  certain work that they perform. Defendant otherwise denies the allegations in paragraph

  9 of Plaintiffs’ Complaint.




                                              3
                                                                                   APP. 35
     Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 39
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 4 of 17




                             PARTIES, JURISDICTION, VENUE

         10.    In answer to paragraph 10 of Plaintiffs’ Complaint, Defendant admits that

  Alejandro Menocal was detained by ICE at the Aurora Detention Facility from

  approximately June 6, 2014, until September 10, 2014. Defendant otherwise denies the

  allegations in paragraph 10 of Plaintiffs’ Complaint.

         11.    In answer to paragraph 11 of Plaintiffs’ Complaint, Defendant admits that

  Marcos Brambila was detained by ICE at the Aurora Detention Facility from approximately

  December 26, 2013, until November 5, 2014. Defendant otherwise denies the allegations

  in paragraph 11 of Plaintiffs’ Complaint.

         12.    In answer to paragraph 12 of Plaintiffs’ Complaint, Defendant admits that

  Grisel Xahuentitla was detained by ICE at the Aurora Detention Facility from approximately

  May 15, 2014, until September 3, 2014. Defendant otherwise denies the allegations in

  paragraph 12 of Plaintiffs’ Complaint.

         13.    In answer to paragraph 13 of Plaintiffs’ Complaint, Defendant admits that

  Hugo Hernandez was detained by ICE at the Aurora Detention Facility from approximately

  March 8, 2014, until April 3, 2015.      Defendant otherwise denies the allegations in

  paragraph 13 of Plaintiffs’ Complaint.

         14.    In answer to paragraph 14 of Plaintiffs’ Complaint, Defendant admits that

  Lourdes Argueta was detained by ICE at the Aurora Detention Facility from approximately




                                               4
                                                                                   APP. 36
     Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 40
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 5 of 17




  September 30, 2013, until February 6, 2015. Defendant otherwise denies the allegations

  in paragraph 14 of Plaintiffs’ Complaint.

         15.    In answer to paragraph 15 of Plaintiffs’ Complaint, Defendant admits that

  Jesus Gaytan was detained by ICE at the Aurora Detention Facility from approximately July

  21, 2014, until December 12, 2014. Defendant otherwise denies the allegations in

  paragraph 15 of Plaintiffs’ Complaint.

         16.    In answer to paragraph 16 of Plaintiffs’ Complaint, Defendant admits that

  Olga Alexaklina was detained by ICE at the Aurora Detention Facility from approximately

  August 13, 2014, until September 29, 2014. Defendant otherwise denies the allegations

  in paragraph 16 of Plaintiffs’ Complaint.

         17.    In answer to paragraph 17 of Plaintiffs’ Complaint, Defendant admits that

  Dagoberto Vizguerra was detained by ICE at the Aurora Detention Facility from

  approximately October 17, 2014, until November 14, 2014. Defendant otherwise denies

  the allegations in paragraph 17 of Plaintiffs’ Complaint.

         18.    In answer to paragraph 18 of Plaintiffs’ Complaint, Defendant admits that

  Demetrio Valerga was detained by ICE at the Aurora Detention Facility from approximately

  September 11, 2013, until July 11, 2014. Defendant otherwise denies the allegations in

  paragraph 18 of Plaintiffs’ Complaint.

         19.    Defendant admits the allegations in paragraph 19 of Plaintiffs’ Complaint.

         20.    In answer to paragraph 20 of Plaintiffs’ Complaint, assuming Plaintiffs have

  standing and a claim under the TVPA, Defendant admits this Court has jurisdiction over


                                               5
                                                                                   APP. 37
     Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 41
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 6 of 17




  this matter pursuant to 28 U.S.C. § 1331. However, if Plaintiff’s lack standing to bring a

  claim under the TVPA or the TVPA provides them no cause of action, there is no federal

  subject matter jurisdiction, and the Court should deny supplemental jurisdiction over

  pending state law claims. Defendant otherwise denies the allegations in paragraph 20 of

  Plaintiffs’ Complaint.

         21.      Defendant denies the allegations in paragraph 21 of Plaintiffs’ Complaint.

         22.      In answer to paragraph 22 of Plaintiffs’ Complaint, Defendant admits 28

  U.S.C. § 1367 addresses supplemental jurisdiction. Defendant otherwise denies the

  allegations in paragraph 22 of Plaintiffs’ Complaint.

         23.      To the extent this Court has jurisdiction, Defendant admits the allegations in

  paragraph 23 of Plaintiffs’ Complaint.

        RULE 23 CLASS ALLEGATIONS AS TO THE “MINIMUM WAGE CLASS”

         24-39.          In answer to paragraphs 24-39 of Plaintiffs’ Complaint, Defendant

  states that Plaintiffs’ “minimum wage” claim was dismissed by the Court on July 7, 2015

  [Doc. 23], as such, it is unnecessary for Defendant to respond to these paragraphs. To the

  extent it is deemed necessary to admit or deny the same, Defendant denies the allegations

  in paragraphs 24-39 of Plaintiffs’ Complaint.

                                     COUNT I
              Colorado Minimum Wages of Workers Act, § 8-6-101, et seq.
         as implemented by the Colorado Minimum Wage Order, 7 CCR 1103-1

         40.      In answer to paragraph 40 of Plaintiffs’ Complaint, Defendant incorporates

  its answers to the allegations contained in paragraphs 1 through 39 of Plaintiffs’ Complaint


                                                 6
                                                                                       APP. 38
     Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 42
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 7 of 17




  as though fully set forth herein.

         41-52.         In answer to paragraphs 41-52 of Plaintiffs’ Complaint, Defendant

  states that Count I of Plaintiffs’ Complaint was dismissed by the Court on July 7, 2015

  [Doc. 23]; as such, it is unnecessary for Defendant to respond to these paragraphs. To the

  extent it is deemed necessary to admit or deny the same, Defendant denies the allegations

  in paragraphs 41-52 of Plaintiffs’ Complaint.

        RULE 23 CLASS ALLEGATIONS AS TO THE “FORCED LABOR CLASS”

         53.      In answer to paragraph 53 of Plaintiffs’ Complaint, Defendant admits that

  Plaintiffs seek to bring this action pursuant to Fed.R.Civ.P. 23. Defendant denies that this

  action is appropriately maintained under such provisions of the federal rules and otherwise

  denies the remaining allegations contained in paragraph 53.

         54.      In answer to paragraph 54 of Plaintiffs’ Complaint, Defendant admits that it

  utilizes ICE’s sanitation policy and that Plaintiffs’ Count II Forced Labor claim does not

  concern ICE’s voluntary detainee work program.           Defendant otherwise denies the

  allegations in paragraph 54 of Plaintiffs’ Complaint.

         55.      In answer to paragraph 55 of Plaintiffs’ Complaint, Defendant admits that

  detainees may have performed work under ICE’s sanitation policy and that such policy

  speaks for itself. Defendant otherwise denies the allegations in paragraph 55 of Plaintiffs’

  Complaint.

         56.      Paragraph 56 of Plaintiffs’ Complaint contains no allegations for Defendant

  to admit or deny. To the extent it is deemed necessary to admit or deny the same,


                                                7
                                                                                     APP. 39
     Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 43
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 8 of 17




  Defendant denies the allegations in paragraph 56 of Plaintiffs’ Complaint.

         57.    Defendant denies the allegations in paragraph 57 of Plaintiffs’ Complaint.

         58.    Defendant is without knowledge regarding the allegations in paragraph 58 of

  Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

  Defendant denies the allegations in paragraph 58.

         59.    In answer to paragraph 59 of Plaintiffs’ Complaint, Defendant admits that it

  utilizes ICE’s sanitation policy and that such policy speaks for itself. Defendant otherwise

  denies the allegations in paragraph 59 of Plaintiffs’ Complaint.

         60.    Defendant is without knowledge regarding the allegations in paragraph 60 of

  Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

  Defendant denies the allegations in paragraph 60.

         61.    Defendant is without knowledge regarding the allegations in paragraph 61 of

  Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

  Defendant denies the allegations in paragraph 61.

         62.    Defendant denies the allegations in paragraph 62 of Plaintiffs’ Complaint.

         63.    Defendant is without knowledge regarding the allegations in paragraph 63 of

  Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

  Defendant denies the allegations in paragraph 63.

         64.    Defendant is without knowledge regarding the allegations in paragraph 64 of

  Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

  Defendant denies the allegations in paragraph 64.


                                               8
                                                                                     APP. 40
     Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 44
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 9 of 17




         65.    Defendant is without knowledge regarding the allegations in paragraph 65 of

  Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

  Defendant denies the allegations in paragraph 65.

         66.    To the extent that this matter is allowed to proceed under Fed.R.Civ.P. 23,

  Defendant admits the allegations in paragraph 66 of Plaintiffs’ Complaint. Defendant

  otherwise denies the allegations in paragraph 66 of Plaintiffs’ Complaint.

         67.    Defendant is without knowledge regarding the allegations in paragraph 67 of

  Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

  Defendant denies the allegations in paragraph 67.

         68.    Defendant denies the allegations in paragraph 68 of Plaintiffs’ Complaint.

                                         COUNT II
                                       Forced Labor
                                      18 U.S.C. § 1589

         69.    In answer to paragraph 69 of Plaintiffs’ Complaint, Defendant incorporates

  its answers to the allegations contained in paragraphs 1 through 68 of Plaintiffs’ Complaint

  as though fully set forth herein.

         70.    In answer to paragraph 70 of Plaintiffs’ Complaint, Defendant admits that

  Plaintiffs seek to bring this action pursuant to Fed.R.Civ.P. 23. Defendant denies that this

  action is appropriately maintained under such provisions of the federal rules and otherwise

  denies the remaining allegations contained in paragraph 70.

         71.    Paragraph 71 of Plaintiffs’ Complaint contains no allegations for Defendant

  to admit or deny. To the extent it is deemed necessary to admit or deny the same,


                                               9
                                                                                     APP. 41
      Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 45
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 10 of 17




   Defendant denies the allegations in paragraph 71 of Plaintiffs’ Complaint.

          72-85.         Defendant denies the allegations in paragraphs 72-85 of Plaintiffs’

   Complaint.

     RULE 23 CLASS ALLEGATIONS AS TO THE “UNJUST ENRICHMENT CLASS”

          86.      In answer to paragraph 86 of Plaintiffs’ Complaint, Defendant admits that

   Plaintiffs seek to bring this action pursuant to Fed.R.Civ.P. 23. Defendant denies that this

   action is appropriately maintained under such provisions of the federal rules and otherwise

   denies the remaining allegations contained in paragraph 86.

          87.      In answer to paragraph 87 of Plaintiffs’ Complaint, Defendant admits that

   detainees may have performed work under ICE’s voluntary detainee work program and

   that such policy speaks for itself. Defendant otherwise denies the allegations in paragraph

   87 of Plaintiffs’ Complaint.

          88.      Paragraph 88 of Plaintiffs’ Complaint contains no allegations for Defendant

   to admit or deny. To the extent it is deemed necessary to admit or deny the same,

   Defendant denies the allegations in paragraph 88 of Plaintiffs’ Complaint.

          89.      In answer to paragraph 89 of Plaintiffs’ Complaint, Defendant admits that

   detainees may have performed work under ICE’s voluntary detainee work program at

   $1.00 per day and that such policy speaks for itself. Defendant otherwise denies the

   allegations in paragraph 89 of Plaintiffs’ Complaint.

          90.      Defendant is without knowledge regarding the allegations in paragraph 90 of

   Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,



                                                10
                                                                                      APP. 42
      Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 46
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 11 of 17




   Defendant denies the allegations in paragraph 90.

         91.    In answer to paragraph 91 of Plaintiffs’ Complaint, Defendant admits that it

   utilizes ICE’s voluntary detainee work program and that such policy speaks for itself.

   Defendant otherwise denies the allegations in paragraph 91 of Plaintiffs’ Complaint.

         92.    Defendant is without knowledge regarding the allegations in paragraph 92 of

   Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

   Defendant denies the allegations in paragraph 92.

         93.    Defendant is without knowledge regarding the allegations in paragraph 93 of

   Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

   Defendant denies the allegations in paragraph 93.

         94.    Defendant denies the allegations in paragraph 94 of Plaintiffs’ Complaint.

         95.    Defendant is without knowledge regarding the allegations in paragraph 95 of

   Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

   Defendant denies the allegations in paragraph 95.

         96.    Defendant is without knowledge regarding the allegations in paragraph 96 of

   Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

   Defendant denies the allegations in paragraph 96.

         97.    Defendant is without knowledge regarding the allegations in paragraph 97 of

   Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

   Defendant denies the allegations in paragraph 97.




                                             11
                                                                                   APP. 43
      Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 47
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 12 of 17




          98.    To the extent that this matter is allowed to proceed under Fed.R.Civ.P. 23,

   Defendant admits the allegations in paragraph 98 of Plaintiffs’ Complaint. Defendant

   otherwise denies the allegations in paragraph 98 of Plaintiffs’ Complaint.

          99.    Defendant is without knowledge regarding the allegations in paragraph 99 of

   Plaintiffs’ Complaint. To the extent it is deemed necessary to admit or deny the same,

   Defendant denies the allegations in paragraph 99.

          100.   Defendant denies the allegations in paragraph 100 of Plaintiffs’ Complaint.

                                         COUNT III
                                     Unjust Enrichment
                                   Colorado Common Law

          101.   In answer to paragraph 101 of Plaintiffs’ Complaint, Defendant incorporates

   its answers to the allegations contained in paragraphs 1 through 100 of Plaintiffs’

   Complaint as though fully set forth herein.

          102.   In answer to paragraph 102 of Plaintiffs’ Complaint, Defendant admits that

   Plaintiffs seek to bring this action pursuant to Fed.R.Civ.P. 23. Defendant denies that this

   action is appropriately maintained under such provisions of the federal rules and otherwise

   deny the remaining allegations contained in paragraph 102.

          103.   Paragraph 103 of Plaintiffs’ Complaint contains no allegations for Defendant

   to admit or deny. To the extent it is deemed necessary to admit or deny the same,

   Defendant denies the allegations in paragraph 103 of Plaintiffs’ Complaint.

          104-107.      Defendant denies the allegations in paragraphs 104-107 of Plaintiffs’

   Complaint.



                                                 12
                                                                                      APP. 44
      Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 48
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 13 of 17




          Defendant denies all of the allegations in the unnumbered “WHEREFORE”

   paragraphs and their subsections on pages 18-20 of Plaintiffs’ Complaint.

                        SEPARATE AND AFFIRMATIVE DEFENSES

          1.     Defendant denies each and every allegation in Plaintiffs’ Complaint not

   specifically admitted herein.

          2.     Plaintiffs and proposed class members have failed to state a claim or cause

   of action against Defendant upon which relief may be granted.

          3.     Plaintiffs and proposed class members may not have standing or otherwise

   be the real parties in interest to prosecute all or a portion of the claims in question.

   Therefore, this Court may lack jurisdiction.

          4.     The named Plaintiffs' and proposed class members' claims against

   Defendant are barred because Plaintiffs and proposed class members have an available

   administrative and/or state remedy.

          5.     One or more of Plaintiffs' and/or the proposed class members' claims are

   barred as moot.

          6.     Plaintiffs’ and proposed class members’ alleged injuries and damages, if any,

   were proximately caused by the acts of a third party, not a party to this action, over whom

   Defendant had no control nor right of control.

          7.     Plaintiffs and proposed class members assumed the risk of the injury or

   damages claimed.




                                                  13
                                                                                     APP. 45
      Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 49
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 14 of 17




          8.     The claims are barred in whole or in part under the doctrines of release,

   waiver, estoppel and/or laches.

          9.     Plaintiffs and proposed class members have not suffered any losses and

   Defendant has not been unjustly enriched as a results of any action or inaction by

   Defendant or its agents and Plaintiffs and the proposed class members are, therefore, not

   entitled to any disgorgement or damages.

          10.    It would be inequitable for any plaintiff to recover any damages because the

   actions of each plaintiff caused him or her to be placed at the Aurora Detention Center, any

   work he or she performed was voluntary and/or minor and consistent with that performed

   by detainees at ICE facilities throughout the United States, and plaintiffs received other

   benefits such as housing, food, and medical care.

          11.    Plaintiffs and proposed class members received all monies due them.

          12.    Plaintiffs’ and proposed class members were treated fairly and in good faith.

          13.    The claims are barred by the government contractor defense.

          14.    The claims are barred by the Service Contract Act.

          15.    Plaintiffs and proposed class members are not trafficking victims under

   U.S.C. Title 18, Chapter 77, and that title, including 18 U.S.C. §§ 1589 and 1595, provides

   no cognizable cause of action for Plaintiffs.

          16.    Plaintiffs’ and proposed class members’ labor was not obtained in violation

   of 18 U.S.C. § 1589.




                                               14
                                                                                      APP. 46
      Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 50
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 15 of 17




             17.   Defendant did not benefit financially or receive anything of value from

   participation in a venture that Defendant knew or should have known was in violation of

   U.S.C. Title 18, Chapter 77.

             18.   Any labor performed by Plaintiffs was pursuant to civic duty.

             19.   This suit may not be maintained as a class action because: (a) Plaintiffs have

   failed to plead, and cannot establish the necessary procedural elements for class

   treatment; (b) a class action is not an appropriate method for the fair and efficient

   adjudication of the claims described in the Complaint; (c) common issues of fact do not

   predominate; to the contrary, individual issues predominate; (d) Plaintiffs' claims are not

   representative or typical of the claims of the putative class; (e) Plaintiffs are not proper

   class representatives; (f) the named plaintiffs and alleged putative class counsel are not

   adequate representatives for the alleged putative class; (g) Plaintiffs cannot satisfy any of

   the requirements for class action treatment, and class action treatment is not appropriate;

   (h) there is not a well-defined community of interest in the questions of fact affecting

   Plaintiffs and the members of the alleged putative class; and (i) the alleged putative class

   is not ascertainable, nor are its members identifiable.

             20.   If any plaintiff recovers on any claim, his or her recovery is subject to set off

   for the benefits that he or she received while in the Aurora Detention Facility, in law or

   equity.

             21.   The claims for punitive or exemplary damages are barred or subject to the




                                                  15
                                                                                          APP. 47
      Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 51
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 16 of 17




   limitations of C.R.S. § 13-21-102 and 13-21-102(5).

          22.     The claims for punitive or exemplary damages violates the Excessive Fines

   clause of the Eighth Amendment to the United States Constitution; the Due Process clause

   of the Fourteenth Amendment to the United States Constitution; the Equal Protection

   clause of the United States Constitution; and the Double Jeopardy clause of the Fifth

   Amendment to the United States Constitution.

          23.     Plaintiffs’ claims lack substantial justification, are frivolous and groundless,

   and/or were brought for improper purposes. Plaintiff is liable to Defendant for its costs and

   attorney fees pursuant to 42 U.S.C. §1988, Fed.R.Civ.P. 11, and any other applicable

   federal law.

          DEFENDANT DEMANDS A JURY ON ALL ISSUES TRIABLE.

          Submitted July 20, 2015.

   VAUGHAN & DeMURO                                   NORTON ROSE FULBRIGHT US LLP

   /s/ Shelby A. Felton                               /s/ Charles A. Deacon
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                                                 16
                                                                                        APP. 48
     Appellate Case: 22-1409 Document: 29-2 Date Filed: 01/23/2023 Page: 52
Case 1:14-cv-02887-JLK-MEH Document 26 Filed 07/20/15 USDC Colorado Page 17 of 17




                                 CERTIFICATE OF SERVICE

           I hereby certify that on July 20, 2015, I electronically filed Defendant’s ANSWER
   with the Clerk of Court using the CM/ECF system which will send notification of such filing
   to the following

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                                               17
                                                                                      APP. 49
    Appellate Case: 22-1409        Document: 29-2       Date Filed: 01/23/2023   Page: 53
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 1 of 45




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:14-cv-02887 JLK

   ALEJANDRO MENOCAL,
   MARCOS BRAMBILA,
   GRISEL XAHUENTITLA,
   HUGO HERNANDEZ,
   LOURDES ARGUETA,
   JESUS GAYTAN,
   OLGA ALEXAKLINA,
   DAGOBERTO VIZGUERRA, and
   DEMETRIO VALERGA
   on their own behalf and on behalf of all others similarly situated,

          Plaintiffs,


   v.

   THE GEO GROUP, INC.,

          Defendant.


        PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT ON DEFENDANT’S
                          AFFIRMATIVE DEFENSE




                                                                                   APP. 50
    Appellate Case: 22-1409                     Document: 29-2                  Date Filed: 01/23/2023                    Page: 54
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 2 of 45




                                                TABLE OF CONTENTS

   I.   INTRODUCTION ........................................................................................................ 1

   II. STATEMENT OF UNDISPUTED FACTS ................................................................. 2

            A.     GEO’s Contract to Operate the Aurora Detention Facility. ............................. 2

            B.     The Performance-Based National Detention Standards Govern
                   GEO’s Contract Performance. ......................................................................... 6

            C.     The PBNDS and Incorporated ACA Standards Contain
                   Housekeeping and Voluntary Work Program Requirements........................... 8

            D.     GEO’s Housekeeping Unit Sanitation Policy Is Not Required or
                   Administered by ICE...................................................................................... 10

            E.     GEO Tells Detainees That They Are Required to Clean Dorm Common
                   Areas. ............................................................................................................. 13

            F.     Solitary Confinement at Aurora. .................................................................... 15

            G.     The PBNDS Provide GEO A Wide Range of Options to Punish Offenses. .. 16

            H.     GEO Places Detainees in Solitary Confinement for Refusing
                   to Clean the Facility. ...................................................................................... 18

            I.     GEO Has Discretion to Set Wages For the Voluntary Work Program. ......... 19

   III. PROCEDURAL BACKGROUND ............................................................................ 21

   IV. LEGAL STANDARD ................................................................................................ 23

   V. ARGUMENT .............................................................................................................. 23

            A.     Derivative Sovereign Immunity Cannot Shield GEO Because
                   GEO Developed the Policies Plaintiffs Challenge......................................... 24

                      1.     The HUSP Violates GEO’s Contract With ICE. ................................ 27

                      2.     ICE Did Not Direct the HUSP. ........................................................... 29

                      3.     Mere Government Authorization Is Not Enough for
                             Derivative Sovereign Immunity to Apply........................................... 31

                      4.     ICE Did Not Direct the Dollar-A-Day Pay Rate Under the VWP...... 33

                                                                    ii

                                                                                                                               APP. 51
    Appellate Case: 22-1409                   Document: 29-2              Date Filed: 01/23/2023                 Page: 55
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 3 of 45




            B.     The Government Contractor Defense Does Not Apply Because GEO Had
                   Discretion to Develop the Relevant Terms of the VWP. ............................... 34

   VI. CONCLUSION .......................................................................................................... 36




                                                               iii

                                                                                                                     APP. 52
    Appellate Case: 22-1409                    Document: 29-2                Date Filed: 01/23/2023                 Page: 56
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 4 of 45




                                             TABLE OF AUTHORITIES

   CASES                                                                                                            PAGE(S)

   Adler v. Wal-Mart Stores, Inc.,
    144 F.3d 664 (10th Cir. 1998) ........................................................................................ 23

   Bentley v. Cleveland Cty. Bd. of Cty. Comm’rs,
     41 F.3d 600 (10th Cir. 1994) .......................................................................................... 23

   Boyle v. United Techs. Corp.,
    487 U.S. 500 (1988) ................................................................................................. 34, 35

   Cabalce v. Thomas E. Blanchard & Assocs., Inc.,
    797 F.3d 720 (9th Cir. 2015) .............................................................................. 27, 30, 33

   Campbell-Ewald Co. v. Gomez,
    136 S. Ct. 663 (2016) .............................................................................................. passim

   Corr. Servs. Corp. v. Malesko,
    534 U.S. 61 (2001) ......................................................................................................... 24

   Cunningham v. General Dynamics Info. Techs., Inc.,
    888 F.3d 640 (4th Cir. 2018) .............................................................................. 26, 27, 29

   Filarsky v. Delia,
     566 U.S. 377 (2012) ....................................................................................................... 24

   Hudgens v. Bell Helicopters/Textron,
    328 F.3d 1329 (11th Cir. 2003) ...................................................................................... 35

   In re Joint E. & S. Dist. N.Y. Asbestos Litig.,
     897 F.2d 626 (2d Cir. 1990) ........................................................................................... 35

   In re Katrina Canal Breaches Litig.,
     620 F.3d 455 (5th Cir. 2010) .......................................................................................... 35

   In re KBR, Inc., Burn Pit Litig.,
     744 F.3d 326 (4th Cir. 2014) .............................................................................. 24, 25, 30

   Menocal v. GEO Grp., Inc.,
    113 F. Supp. 3d 1125 (D. Colo. 2015) ..................................................................... 33, 35
                                                                 iv

                                                                                                                         APP. 53
    Appellate Case: 22-1409                      Document: 29-2                 Date Filed: 01/23/2023                    Page: 57
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 5 of 45




   Myers v. United States,
    323 F.2d 580 (9th Cir. 1963) .......................................................................................... 25

   Navajo Nation v. Dalley,
    896 F.3d 1196 (10th Cir. 2018) ...................................................................................... 29

   Nwauzor v. GEO Group, Inc.,
    No. 17 Civ. 5769, 2020 WL 1689728 (W.D. Wash, April 7, 2020) ........................ 27, 34

   Salim v. Mitchell,
     268 F. Supp. 3d 1132 (E.D. Wash. 2017) .......................................................... 30, 31, 33

   Trevino v. Gen. Dynamics Corp.,
     865 F.2d 1474 (5th Cir. 1989) ........................................................................................ 35

   In re World Trade Center Disaster Site Litig.,
     456 F. Supp. 2d 520 (S.D.N.Y. 2006) ............................................................................ 24

   U.S. Office of Pers. Mgmt. Data Sec. Breach Litig. ............................................. 23, 24, 29
     928 F.3d 42 (D.C. Cir. 2019)

   Yearsley v. W.A. Ross Const. Co.,
     309 U.S. 18 (1940) .................................................................................................. passim

   STATUTES

   6 U.S.C. § 542 ..................................................................................................................... 2

   8 U.S.C. § 1555(d) ............................................................................................................. 20

   8 U.S.C. §§ 1101 ................................................................................................................. 2

   18 U.S.C. §1589 .................................................................................................... 21, 27, 28

   Pub. L. No. 95-431, 92 Stat. 1021 (1978) ......................................................................... 20

   RULES

   Fed. R. Civ. P. 56(a) .......................................................................................................... 23

   REGULATIONS

   48 C.F.R. § 52.222-3 ........................................................................................................... 4

                                                                     v

                                                                                                                              APP. 54
    Appellate Case: 22-1409                     Document: 29-2                Date Filed: 01/23/2023                  Page: 58
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 6 of 45




   FAR 52.222-50(b) ......................................................................................................... 5, 27

   FAR 52.222-50(a) .............................................................................................................. 28

   Federal Acquisition Regulation 52.222-50.......................................................................... 5




                                                                  vi

                                                                                                                           APP. 55
    Appellate Case: 22-1409         Document: 29-2        Date Filed: 01/23/2023          Page: 59
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 7 of 45




   I.     INTRODUCTION

          This lawsuit challenges two policies developed and implemented by the GEO

   Group (“GEO”) at its ICE Contract Detention Facility in Aurora, Colorado (“Aurora

   Facility”). First, Plaintiffs allege that, pursuant to an internal policy called the

   Housekeeping Unit Sanitation Policy (“HUSP”), GEO compelled detainees at the Aurora

   Facility to perform necessary janitorial work without pay by threatening anyone who

   tried to refuse with solitary confinement. And second, Plaintiffs allege that GEO unjustly

   enriched itself by paying detainees only a dollar a day to perform much of the other work

   necessary to run the Aurora Facility, including broader janitorial and maintenance tasks,

   food preparation, stripping and waxing floors, cutting hair, and doing laundry. GEO has

   argued that these practices were required by its contract with Immigration and Customs

   Enforcement (“ICE”), and that it should therefore enjoy the protection of the

   government’s sovereign immunity.

          But the undisputed record shows that it was GEO that developed and implemented

   both the HUSP and the dollar-a-day reimbursement rate – and in fact, ICE itself has

   rejected GEO’s attempt to blame its actions on the government, calling this litigation a

   “defense of [GEO’s] contract performance,” not a consequence of ICE policy. Statement

   of Undisputed Facts (“SUF”) ¶ 23. GEO is a private, for-profit firm with discretion to

   decide how to perform its government contract on a day-to-day basis. GEO made a

   business decision to coerce and underpay workers performing essential tasks at Aurora.

   That GEO sells detention services to the government does not shield it from liability for

   its own legal violations.



                                                                                            APP. 56
       Appellate Case: 22-1409     Document: 29-2       Date Filed: 01/23/2023      Page: 60
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 8 of 45




            Because neither the HUSP nor the dollar-a-day payment were “directed by the

   Government,” Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 673 (2016) (quoting

   Yearsley v. W.A. Ross Const. Co., 309 U.S. 18, 20 (1940)), as required for a contractor to

   share in the government’s immunity, Plaintiffs respectfully request that the Court grant

   partial summary judgment as to GEO’s government contractor defense.

   II.       STATEMENT OF UNDISPUTED FACTS

            A.     GEO’s Contract to Operate the Aurora Detention Facility.

                   1.    ICE is a federal agency tasked with enforcing U.S. immigration

   laws. 6 U.S.C. § 542

                   2.    ICE has the authority to detain foreign nationals suspected of

   entering the United States unlawfully. Immigration and Nationality Act, codified at 8

   U.S.C. §§ 1101 et seq.

                   3.    ICE contracts with GEO to house some of its detainees in detention

   facilities throughout the country. See https://www.geogroup.com/Locations

                   4.    Among GEO’s portfolio of ICE detention facilities is the Aurora

   Facility. Id.

                   5.    GEO continuously operated the Aurora Facility, under contract with

   ICE, from October 22, 2004 to October 22, 2014. Ex. A (A. Martin Dep. 58:1-6); Ex. K

   (Ely Decl. ¶ 7) 1



   1
         All exhibits referenced herein are attached to the Declaration of Michael J.
   Scimone in Support of Plaintiffs’ Motion for Partial Summary Judgment As To
   Defendant’s Affirmative Defense.
                                                2

                                                                                          APP. 57
    Appellate Case: 22-1409        Document: 29-2          Date Filed: 01/23/2023    Page: 61
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 9 of 45




                 6.     Operations for the Aurora Facility are governed by a contract

   between GEO and ICE. Ex. B (GEO_MEN 00019613 (2011 Contract)); Ex. C (GEO-

   MEN 00059635 (2006 Contract)); Ex. D (GEO-MEN 00059744 (2003 Contract)),

   (collectively “the Contract”); Ex. K (Ely Decl. ¶ 7))

                 7.     The Contract has been renewed over time by mutual consent of GEO

   and ICE. Ex. A (A. Martin Dep. 58:1-10); see also Ex. I (Hill Dep. 29:22-30:6)

                 8.     The Contract may be modified during its term by mutual consent of

   GEO and ICE. Ex. A (A. Martin Dep. 17:13-17)

                 9.     The Contract is a “performance-based contract.” Ex. B (GEO_MEN

   00019625 (2011 Contract)); Ex. C (GEO-MEN 00059642 (2006 Contract)); Ex D (GEO-

   MEN 00059755 (2003 Contract)); Ex. K (Ely Decl. ¶ 1)

                 10.    Performance-based contracting “is a results-oriented method of

   contracting focused on outputs, quality, and outcomes.” Ex. E (Declaration of Tae D.

   Johnson, State of Washington v. GEO Group, Inc., Case No. 17-cv-05806 (W.D. Wash),

   ECF No. 91 at ¶ 8)

                 11.    “Performance-based contracts do not designate how a contractor is to

   perform the work, but rather establish[] the expected outcomes and results that the

   government expects. It is then the responsibility of the contractor to meet the

   government’s requirements at the price the vendor quoted.” Id.

                 12.    As a performance-based contract, the Contract requires GEO to

   develop “all plans, policies, and procedures” required by the Contract, and then submit

   them to ICE for “review and concurrence.” Ex. C (GEO-MEN 00059643 (2006

                                                3

                                                                                         APP. 58
    Appellate Case: 22-1409        Document: 29-2       Date Filed: 01/23/2023       Page: 62
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 10 of 45




   Contract); see also Ex. B (GEO_MEN 00019814 (2011 Contract) (“It is GEO’s policy

   that each of our facilities develops a manual of uniform policies and procedures” which

   “appropriately reflect . . . contractual requirements.”)); Ex. D (GEO-MEN 00059759

   (2003 Contract) (“The Contractor shall prepare and submit all policies, plans, post orders

   and procedures to INS for review and approval.”))

                 13.    The Contract makes GEO “responsible for all costs associated with

   and incurred as part of providing the services outlined in this contract.” Ex. C (GEO-

   MEN 00059642 (2006 Contract)); see also Ex. B (GEO_MEN 00019614, 19657 (2011

   Contract) (noting that ICE “shall provide fully burdened bed day rates only” and that any

   costs not covered by that rate are the contractor’s to bear)); Ex. D (GEO-MEN 00059748

   (2003 Contract) (“[T]he contractor shall provide a detention facility, and all labor,

   materials and equipment necessary to operate and maintain temporary residential care,

   and secure detention.”))

                 14.    The Contract provides that detainee labor must be used “in

   accordance with the detainee work plan developed by” GEO. Ex F ((Ragsdale 30(b)(6)

   Dep. 25:1-18); Ex. C (GEO-MEN 00059662 (2006 Contract)); Ex. G (GEO_MEN

   00038529 (2004 Detainee Work Plan)); Ex. H (GEO_MEN 00038563 (2014 Detainee

   Work Plan))

                 15.    The Contract requires that the detainee work plan “must be

   voluntary.” Ex. C (GEO-MEN 00059662 (2006 Contract)); see also Ex. B (GEO_MEN

   00019643 (2011 Contract) (“Detainees will be able to volunteer for work

   assignments.”)); Ex. D (GEO-MEN 00059796 (2003 Contract) (incorporating 48 C.F.R.

                                                4

                                                                                           APP. 59
       Appellate Case: 22-1409    Document: 29-2       Date Filed: 01/23/2023       Page: 63
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 11 of 45




   § 52.222-3 into contract, which requires work by those in federal custody to be performed

   “on a voluntary basis.”))

                 16.    The Contract prohibits GEO from using forced labor in performance

   of the Contract by incorporating Federal Acquisition Regulation 52.222-50. Ex. B

   (GEO_MEN 00019697 (2011 Contract) (incorporating Federal Acquisition Regulation

   (“FAR”) 52.222-50)); Ex. C (GEO-MEN 00059684 (2006 Contract) (same)) 2

                 17.    FAR 52.222-50(b) expresses “a policy prohibiting trafficking in

   persons,” including the “[u]se [of] forced labor in the performance of [a government]

   contract.”

                 18.    This regulation reflects the federal government’s intent to “protect

   vulnerable individuals” and enforce its “zero-tolerance policy regarding Government

   employees and contractor personnel engaging in any form” of forced labor. See White

   House, Executive Order – Strengthening Protections Against Trafficking in Persons In

   Federal Contracts, No. 13627 (September 25, 2012), available at

   https://obamawhitehouse.archives.gov/the-press-office/2012/09/25/executive-order-

   strengthening-protections-against-trafficking-persons-fe

                 19.    GEO is responsible for the day-to-day performance of the Contract.

   Ex. F (Ragsdale 30(b)(6) Dep. 52:21-22)

                 20.    GEO receives a fixed dollar amount from ICE per detainee it houses,

   per day, under the Contract. Ex. B (GEO_MEN 00019614 (2011 Contract)); Ex. C


   2
         FAR 52.222-50 (codified at 48 C.F.R. § 52.222-50) became effective on April 19,
   2006 and was thus not incorporated into the 2003 Contract.
                                                5

                                                                                       APP. 60
    Appellate Case: 22-1409        Document: 29-2       Date Filed: 01/23/2023      Page: 64
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 12 of 45




   (GEO-MEN 00059636 (2006 Contract)); Ex. D (GEO-MEN 00059748 (2003 Contract));

   Ex. F (Ragsdale 30(b)(6) Dep. 41:8-16 (defining “bed day rate” as “price per bed per day

   at Aurora.”))

                   21.   The profit GEO receives from the Aurora Facility is the difference

   between the amount it receives from ICE and the amount it spends, including on housing

   detainees and running the facility. Ex. I (Hill Dep. 59:18-24); Ex. J (Krumpelmann Dep.

   23:23-24:4)

                   22.   On April 18, 2018, GEO submitted to ICE a request for an

   “equitable adjustment” of its compensation for the 2011 Contract on the basis that the

   “contract requirements are incomplete because GEO reasonably believed it could perform

   these specifications and contract requirements without incurring legal fees to defend such

   specifications and contract requirements.” Ex. K (Ely Decl. ¶ 27)

                   23.   On June 21, 2018, ICE declined GEO’s request for adjustment,

   stating that “GEO’s defense of [this lawsuit] is a defense of its contract performance.”

   Id. ¶ 28

          B.       The Performance-Based National Detention Standards Govern GEO’s
                   Contract Performance.

                   24.   The Performance Based National Detention Standards (“PBNDS”)

   are a series of minimum standards for detention facilities developed by ICE. Ex. L

   (GEO-MEN 00064019 (2011 PBNDS)); Ex. M (GEO-MEN 00062905 (2008 PBNDS));




                                                6

                                                                                       APP. 61
       Appellate Case: 22-1409    Document: 29-2       Date Filed: 01/23/2023      Page: 65
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 13 of 45




   Ex. N (GEO-MEN 00063383 (INS Detention Standards)); 3 Ex. A (A. Martin Dep. 96:19-

   97:6; 99:5-101:9)

                 25.   The PBNDS are incorporated into the Contract. Ex. A (A. Martin

   Dep. 94:21-95:5); Ex. B (GEO_MEN 00019655-56 (2011 Contract) (identifying the

   PBNDS as part of the “statutory, regulatory, policy, and operational considerations that

   will affect the Contractor.”)); Ex. C (GEO-MEN 00059644 (2006 Contract) (same,

   referring to “ICE Detention Standards”)); Ex. D (GEO-MEN 00059754 (2003 Contract)

   (“[T]he contractor is required to perform in continual compliance with the most current

   editions of the INS Detention Standards.”))

                 26.   Pursuant to the Contract, GEO must abide by the PBNDS. Id.; see

   also Ex. P (Ceja 30(b)(6) Dep. 90:17-20)

                 27.   A modification to the 2011 Contract incorporated the 2011 PBNDS

   into that contract. Ex. B.1 (GEO_MEN 00020406); Ex. P (Ceja 30(b)(6) Dep. 125:10-

   23)

                 28.   The PBNDS supersede other sources of authority for operating the

   Aurora Facility under ICE contract. Ex. P (Ceja 30(b)(6) Dep. 90:10-16)

                 29.   If there is a discrepancy between GEO’s policy or practice and the

   PBNDS, the PBNDS control. Ex. P (Ceja 30(b)(6) Dep. 90:10-16); Ex. F (Ragsdale

   30(b)(6) Dep. 66:20-67:1)



   3
           The INS Detention Standard manual was the precursor to the PBNDS.
   https://www.ice.gov/factsheets/facilities-pbnds. For ease of reference, “PBNDS” in this
   Motion is inclusive of the INS Detention Standards unless otherwise specified.
                                                 7

                                                                                      APP. 62
    Appellate Case: 22-1409      Document: 29-2       Date Filed: 01/23/2023      Page: 66
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 14 of 45




                30.   The Contract between ICE and GEO provides that “[i]n cases where

   other standards conflict with DHS/ICE policy or standards, DHS/ICE policy and

   standards prevail.” Ex. B (GEO_MEN 00019657 (2011 Contract)); Ex. C (GEO-MEN

   00059644 (2006 Contract)); Ex. D (GEO_MEN 00059759 (2003 Contract))

         C.     The PBNDS and Incorporated ACA Standards Contain Housekeeping
                and Voluntary Work Program Requirements.

                31.   In the “Environmental Health and Safety” section, under the heading

   “General Housekeeping,” the PBNDS state:

         The facility administrator shall ensure that staff and detainees maintain a
         high standard of facility sanitation and general cleanliness. When possible,
         the use of non-toxic cleaning supplies is recommended.

                a.    All horizontal surfaces shall be dampdusted daily with an
                      approved germicidal solution used according to the
                      manufacturer’s directions.
                b.    Windows, window frames, and windowsills shall be cleaned
                      on a weekly schedule.
                c.    Furniture and fixtures shall be cleaned daily.
                d.    Floors shall be mopped daily and when soiled, using the
                      double-bucket mopping technique and with a hospital
                      disinfectant-detergent solution mixed according to the
                      manufacturer’s directions.
                e.    A clean mop head shall be used each time the floors are
                      mopped.
                f.    Waste containers shall weigh less than 50 lbs., be non-porous
                      and lined with plastic bags; the liner shall be changed daily.
                g.    Waste containers shall be washed weekly at a minimum, or as
                      needed when they become soiled.
                h.    Cubicle curtains shall be laundered monthly or during
                      terminal cleaning following treatment of an infectious patient.

   Ex. L (GEO-MEN 00064042 (2011 PBNDS)); see also Ex. M (GEO-MEN 00062934-35

   (2008 PBNDS)); Ex. N (GEO-MEN 00063790 (INS Detention Standard))



                                              8

                                                                                        APP. 63
    Appellate Case: 22-1409        Document: 29-2       Date Filed: 01/23/2023       Page: 67
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 15 of 45




                 32.    The Environmental Health and Safety section of the PBNDS

   references certain sections of the American Correctional Association (“ACA”) Standards

   for Adult Local Detention Facilities. See, e.g., Ex. L (GEO-MEN 00064041 (2011

   PBNDS)); Ex. M (GEO-MEN 00062933 (2008 PBNDS)); Ex. N (GEO-MEN 00063797

   (INS Detention Standard))

                 33.    ACA Standard 4-ALDF-1A-04 requires that: “The facility is clean

   and in good repair. A housekeeping and maintenance plan addresses all facility areas and

   provides for daily housekeeping and regular maintenance.” Ex. Q (ALDF-1A-04); Ex. R

   (A. Martin 30(b)(6) Dep. 16:11-17:23)

                 34.    ACA Standard 4-ALDF-1A-01 requires regular sanitation

   inspections of detention facilities. Ex. Q (ALDF-1A-01); Ex. R (A. Martin 30(b)(6) Dep.

   18:8-19:4)

                 35.    The Voluntary Work Program (“VWP”) section of the PBNDS

   provides that detainees “shall be provided the opportunity to participate in a voluntary

   work program.” Ex. L (GEO-MEN 00064345 (2011 PBNDS))

                 36.    The VWP section of the PBNDS states: “Work assignments are

   voluntary; however, all detainees are responsible for personal housekeeping. Detainees

   are required to maintain their immediate living areas in a neat and orderly manner by: 1.

   making their beds daily; 2. stacking loose papers; 3. keeping the floor free of debris and

   dividers free of clutter; and 4. refraining from hanging/draping clothing, pictures,

   keepsakes, or other objects from beds, overhead lighting fixtures or other furniture.” Ex.

   L (GEO-MEN 00064345 (2011 PBNDS); Ex. R (A. Martin 30(b)(6) Dep. 25:25-26:24);

                                                9

                                                                                          APP. 64
    Appellate Case: 22-1409      Document: 29-2      Date Filed: 01/23/2023      Page: 68
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 16 of 45




   see also Ex. M (GEO-MEN 00063294-95 (2008 PBNDS); Ex. N (GEO-MEN 00063672

   (INS Detention Standard))

                37.    The Voluntary Work Program section of the 2011 PBNDS requires

   that detainees in that program be paid “at least $1.00 (USD) per day.” Ex. L (GEO-MEN

   00064347 (2011 PBNDS))

                38.    The Voluntary Work Program section of the PBNDS references

   certain sections of the ACA Standards. Ex. L (GEO-MEN 00064345 (2011 PBNDS));

   Ex. M (GEO-MEN 00063294 (2008 PBNDS)); Ex. N (GEO-MEN 00063677 (INS

   Detention Standard))

                39.    ACA Standard 4-ALDF-5C-08 requires that: “Pretrial and

   unsentenced inmates are not required to work except to do personal housekeeping and to

   clean their housing area. Inmates are allowed to volunteer for work assignments.” Ex. S

   (4-ALDF-5C-08)

         D.     GEO’s Housekeeping Unit Sanitation Policy Is Not Required or
                Administered by ICE.

                40.    GEO’s Aurora Facility-level policies are developed by local GEO

   employees. Ex. O (K. Martin Dep. 51:22-25)

                41.    These policies are reviewed and amended by local GEO employees

   at Aurora on an annual basis. Ex. O (K. Martin Dep. 64:17-23); Ex. P (Ceja 30(b)(6)

   Dep. 33:22-34:1)




                                             10

                                                                                    APP. 65
    Appellate Case: 22-1409        Document: 29-2        Date Filed: 01/23/2023        Page: 69
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 17 of 45




                 42.    The annual policy review is conducted by the Aurora Facility’s

   Policy Review Committee, which is made up of local Aurora GEO staff. Ex. A (A.

   Martin Dep. 70:20-25); Ex. P (Ceja 30(b)(6) Dep. 34:2-7)

                 43.    Each policy is also reviewed and approved by an on-site ICE official

   called the Contracting Officer’s Technical Representative (“COTR”). Ex. T (Nelson

   Dep. 150:22-151:2)

                 44.    GEO’s Policy Number 12.1.4 – AUR, titled “Sanitation Procedures,”

   is intended to “provide staff and detainees with a clean sanitary living environment

   consistent with all applicable codes, standards and sound detention practices.” Ex. U

   (GEO_MEN 00038687 (2004); GEO_MEN 00038653 (2004-05); GEO_MEN 00038676

   (2005-06); GEO_MEN 00038628 (2006-07); GEO_MEN 00038665 (2007-08);

   GEO_MEN 00038632 (2008-09) GEO_MEN 00038613 (2009-10); GEO_MEN

   00038625 (2010); GEO_MEN 00007203 (2010-11); GEO_MEN 00038649 (2011-12);

   GEO-MEN 00099980 (2012-13); GEO-MEN 00088208 (2013-14))

                 45.    GEO’s Sanitation Procedures document requires that “[e]ach

   detainee will be responsible for the cleanliness of his or her cell or living area, including

   walls, floors, sink, toilet, windows, and other property within the cell, room, or living

   areas.” Id.

                 46.    GEO’s Sanitation Procedures do not specify which aspects of

   cleaning are the responsibility of HUSP workers and which are the responsibility of VWP

   workers. See generally Ex. U ((GEO_MEN 00038687-98 (2004); GEO_MEN

   00038653-64 (2004-05); GEO_MEN 0003967676-86 (2005-06); GEO_MEN 00038628-

                                                 11

                                                                                          APP. 66
    Appellate Case: 22-1409      Document: 29-2       Date Filed: 01/23/2023       Page: 70
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 18 of 45




   31 (2006-07); GEO_MEN 00038665-75 (2007-08); GEO_MEN 00038632-39 (2008-09)

   GEO_MEN 00038613-15 (2009-10); GEO_MEN 00038625-27 (2010); GEO_MEN

   00007203-06 (2010-11); GEO_MEN 00038649-52 (2011-12); GEO-MEN 00099980-83

   (2012-13); GEO-MEN 00088208-11 (2013-14))

                 47.   In addition to the sanitation procedures described in Policy Number

   12.1.4 – AUR, GEO requires detainees to perform a general cleanup after each meal. Ex.

   P (Ceja 30(b)(6) Dep. 37:5-9); Ex. O (K. Martin Dep. 142:24-143:1)

                 48.   During a general cleanup, GEO requires detainees “clean up the

   tables, wipe down the tables, and sweep and mop the floors.” Ex. P (Ceja 30(b)(6) Dep.

   36:24-37:9)

                 49.   GEO also tells detainees that they have a “common obligation to

   clean . . . the communal areas,” including the dayroom and bathrooms, on a rotating

   basis. Ex. F (Ragsdale 30(b)(6) Dep. 16:14-18)

                 50.   The general cleanup is not listed among the facility’s sanitation

   procedures. See generally Ex. U ((GEO_MEN 00038687-98 (2004); GEO_MEN

   00038653-64 (2004-05); GEO_MEN 0003967676-86 (2005-06); GEO_MEN 00038628-

   31 (2006-07); GEO_MEN 00038665-75 (2007-08); GEO_MEN 00038632-39 (2008-09)

   GEO_MEN 00038613-15 (2009-10); GEO_MEN 00038625-27 (2010); GEO_MEN

   00007203-06 (2010-11); GEO_MEN 00038649-52 (2011-12); GEO-MEN 00099980-83

   (2012-13); GEO-MEN 00088208-11 (2013-14))

                 51.   The post-meal cleanup of tables, floors, and other communal areas

   that GEO requires is called the Housing Unit Sanitation Policy, or HUSP. Ex. F

                                              12

                                                                                      APP. 67
    Appellate Case: 22-1409        Document: 29-2      Date Filed: 01/23/2023      Page: 71
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 19 of 45




   (Ragsdale 30(b)(6) Dep. 15:24-16:25); Ex. P (Ceja 30(b)(6) Dep. 84:3-14); Ex. R (A.

   Martin 30(b)(6) Dep. 11:4-19)

                52.    GEO never verified with ICE whether communal areas are part of

   the “living area” described in the PBNDS. Ex. A (A. Martin Dep. 196:23-198:6)

                53.    Detainees do not receive payment for their work under the HUSP.

   Ex. P (Ceja 30(b)(6) Dep. 84:8-24)

                54.    The HUSP is a “GEO policy, created by GEO.” Ex K (Ely Decl. ¶

   22); Ex. P (Ceja 30(b)(6) Dep. 27:6-28:1)

                55.    The HUSP is not created by ICE. Ex. K (Ely Decl. ¶ 22.)

                56.    The HUSP is not required by the Contract. Id.

                57.    ICE did not draft or negotiate the HUSP. Id.

          E.    GEO Tells Detainees That They Are Required to Clean Dorm
                Common Areas.

                58.    GEO’s local detainee handbook for the Aurora facility sets out rules

   for detainees’ conduct and privileges within the Aurora facility. Ex. P (Ceja 30(b)(6)

   Dep. 29:19-24; 32:23-37:13); Ex. V (GEO_MEN 00040731-75 (Local Detainee

   Handbook (2002 version))); Ex. W (PL000029-55 (Local Detainee Handbook (2013

   version)))

                59.    The Aurora Detainee Handbook has been in effect since at least

   1995. Ex. P (Ceja 30(b)(6) Dep. 33:22-34:1)

                60.    The Aurora Detainee Handbook is issued to all detainees entering

   Aurora. Ex. P (Ceja 30(b)(6) Dep. 29:21-24)


                                               13

                                                                                      APP. 68
    Appellate Case: 22-1409        Document: 29-2       Date Filed: 01/23/2023       Page: 72
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 20 of 45




                 61.    The Aurora Detainee Handbook communicates the rules and policies

   of the Aurora Facility to detainees. Ex. P (Ceja 30(b)(6) Dep. 29:19-24)

                 62.    Like the PBNDS, GEO’s Aurora Detainee Handbook states that

   detainees are “required to keep [their] personal living area clean and sanitary.” Ex. V

   (GEO_MEN 00040757 (Local Detainee Handbook (2002 version))); Ex. W (PL000046

   (Local Detainee Handbook (2013 version)))

                 63.    The Aurora Detainee Handbook defines “personal living area” as 1.

   the detainee’s “bunk and immediate floor area around and under [the] bunk,” 2. the

   detainee’s locker, and 3. the detainee’s personal items. Id.

                 64.    The HUSP in GEO’s Aurora Detainee Handbook also provides:

   “Each and every detainee must participate in the facility’s sanitation program. A list of

   detainees is developed each day by staff and is posted [daily] for viewing. During a

   general cleanup all detainees must participate. The assigned Housing Unit [or Dorm]

   Officer will be responsible for assuring this general cleanup is done on a regular basis.”

   Ex. V (GEO_MEN 00040758 (Local Detainee Handbook (2002 version) (under heading

   “Dormitory Sanitation”))); Ex. W (PL000047 (Local Detainee Handbook (2013 version)

   (under heading “Housing Unit Sanitation”))); see also Ex. X (GEO_MEN 00052387

   (Detainee Orientation Video) at 2)

                 65.    The Aurora Detainee Handbook states “[a]ll detainees in a housing

   unit [or dorm] are required to keep clean and sanitary all commonly accessible areas of

   the housing unit [or dorm], including walls, floors, windows, windows ledges, showers,

   sinks, toilets, tables, and chairs.” Ex. V (GEO_MEN 00040759 (Local Detainee

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                                                                                        APP. 69
    Appellate Case: 22-1409        Document: 29-2        Date Filed: 01/23/2023       Page: 73
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 21 of 45




   Handbook (2002 version))); Ex. W (PL000047 (Local Detainee Handbook (2013

   version)))

                 66.    That section also states that “Detainees will take turns cleaning the

   [day space]” and the “day room area will be kept clean at all times.” Id.

          F.     Solitary Confinement at Aurora.

                 67.    GEO policy describes segregation as “[c]onfinement in a cell

   isolated from the general population.” Ex. Y (GEO-MEN 00037770 (Policy Number

   10.2.11 – AUR))

                 68.    Disciplinary and administrative segregation are both forms of

   segregation used at the Aurora Facility. Id.

                 69.    According to ICE standards, administrative segregation should be

   used only when “restricted conditions of confinement are required [] to ensure the safety

   of detainees or others, the protection of property, or the security or good order of the

   facility.” Ex. L (GEO_MEN 00064171 (2011 PBNDS)); Ex. M (GEO-MEN 00063097

   (2008 PBNDS); see also Ex. N (GEO-MEN 00063863-64 (INS Standards))

                 70.    Administrative segregation may be used to confine detainees prior to

   a hearing on whether disciplinary segregation will be imposed for a rule violation, but

   “only as necessary to prevent further violation of those rules or to protect the security and

   orderly operation of the facility.” Ex. L (GEO-MEN 00064172 (2011 PBNDS)); Ex. M

   (GEO-MEN 00063097 (2008 PBNDS)); see also Ex. N (GEO-MEN 00063864 (INS

   Standards))



                                                  15

                                                                                         APP. 70
    Appellate Case: 22-1409       Document: 29-2       Date Filed: 01/23/2023       Page: 74
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 22 of 45




                71.    Administrative segregation “is not to be used as a punitive measure.”

   Id.

                72.    Disciplinary segregation, which involves punitive segregation for

   disciplinary reasons, may only be administered after a detainee has received a

   disciplinary hearing and been found guilty of an offense authorizing such punishment.

   Ex. L (GEO-MEN 00064169 (2011 PBNDS)); Ex. M (GEO-MEN 00063090 (2008

   PBNDS)); Ex. N (GEO-MEN 00063883 (INS Standards))

                73.    Detainees in both administrative and disciplinary segregation are

   housed in a section of the detention facility called the Special Management Unit

   (“SMU”). Ex. L (GEO-MEN 00064169 (2011 PBNDS)); Ex. M (GEO-MEN 00063090

   (2008 PBNDS)); Ex. N (GEO-MEN 00063863 (INS Standards))

                74.    The SMU at Aurora consists entirely of single-occupancy cells. Ex.

   P (Ceja 30(b)(6) Dep. 54:17-55:6)

         G.     The PBNDS Provide GEO A Wide Range of Options to Punish
                Offenses.

                75.    The PBNDS state that “each facility [shall] have graduated severity

   scales of prohibited acts and disciplinary consequences.” Ex. L (GEO-MEN 00064209

   (2011 PBNDS)); Ex. M (GEO-MEN 00063138 (2008 PBNDS)); see also Ex. N (GEO-

   MEN 00063726 (INS Standards))

                76.    The PBNDS allow GEO discretion in determining the severity scales

   that it applies to different offenses. Ex. A (A. Martin Dep. 146:16-147:3); Ex. O (K.

   Martin Dep. 73:12-80:8)


                                              16

                                                                                      APP. 71
    Appellate Case: 22-1409        Document: 29-2       Date Filed: 01/23/2023      Page: 75
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 23 of 45




                 77.    The PBNDS authorize up to 72 hours of disciplinary segregation as

   punishment for certain offenses in what is designated as the “high moderate” offense

   category. Ex L (GEO-MEN 00064221 (2011 PBNDS)); Ex. M (GEO-MEN 00063153

   (2008 PBNDS)); Ex. N (GEO-MEN 00063733 (INS Standards))

                 78.    High moderate offenses are also referred to as “300-level” offenses

   because the code numbers for these offenses are in the 300s. Ex. L (GEO-MEN

   00064220-21 (2011 PBNDS)); Ex. M (GEO-MEN 00063152-53 (2008 PBNDS)); Ex. N

   (GEO-MEN 00063733-34 (INS Standards)); Ex. O. (K. Martin Dep. 75:3-76:15)

                 79.    “Refus[ing] to clean assigned living area” is among the 300-level

   offenses. Ex. L (GEO-MEN 00064220 (2011 PBNDS)); Ex. M (GEO-MEN 00063152

   (2008 PBNDS)); Ex. N (GEO-MEN 00063733 (INS Standards))

                 80.    The PBNDS list 13 different sanctions that could be applied to a

   high moderate offense: (1) initiate criminal proceedings; (2) recommend disciplinary

   transfer; (3) disciplinary segregation up to 72 hours; (4) make monetary restitution; (5)

   loss of privileges (e.g. commissary, vending machines, movies, recreation, etc.); (6)

   change housing; (7) remove from program and/or group activity; (8) loss of job; (9)

   impound and store detainee’s personal property; (10) confiscate contraband; (11) restrict

   to housing unit; (12) reprimand; (13) warning. Ex. L (GEO-MEN 00064221-22 (2011

   PBNDS); Ex. M (GEO-MEN 00063153 (2008 PBNDS)); Ex. N (GEO-MEN 00063733

   (INS Standards))

                 81.    The PBNDS provide that incidents involving “high moderate”

   offenses (i.e., 300-level offenses) shall be sent to a Unit Disciplinary Committee

                                               17

                                                                                        APP. 72
    Appellate Case: 22-1409         Document: 29-2        Date Filed: 01/23/2023        Page: 76
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 24 of 45




   (“UDC”). Ex. L ((GEO-MEN 00064213-14 (2011 PBNDS); Ex. M (GEO-MEN

   00063143 (2008 PBNDS)); Ex. N (GEO-MEN 00063721 (INS Standards))

           H.    GEO Places Detainees in Solitary Confinement for Refusing to Clean
                 the Facility.

                 82.     At orientation, detainees receive an overview of the Aurora

   Facility’s disciplinary process, including examples of various offenses that could lead to

   discipline. Ex. X (GEO_MEN 00052387 (Detainee Orientation Video) at 4-7); see also

   Ex. O (K. Martin Dep. 214:10-215:20 (noting that detainees received the orientation

   video reflecting the prevailing ICE standards throughout the class period))

                 83.     One of the specific examples detainees receive of an offense that can

   lead to discipline is “failure to follow safety or sanitation rules.” Ex. X (GEO_MEN

   00052387 (Detainee Orientation Video) at 7)

                 84.     According to the Aurora Detainee Handbook, if a dormitory officer

   determines the day room area is not sufficiently clean, he or she can instruct the detainees

   to clean it, and “[c]ontinued refusal to clean the area will result in further disciplinary

   action.” Ex. V (GEO_MEN 00040759 (Local Detainee Handbook (2002 version))); Ex.

   W (PL000047 (Local Detainee Handbook (2013 version)))

                 85.     The UDC has the discretion to choose whether to issue minor

   sanctions or refer the case to the Institution Disciplinary Panel for more serious sanctions.

   Ex. L (GEO-MEN 00064213-14 (2011 PBNDS); Ex. M (GEO-MEN 00063143 (2008

   PBNDS)); Ex. N (GEO-MEN 00063721 (INS Standards)); Ex. O (K. Martin Dep. 73:12-

   80:8)


                                                 18

                                                                                           APP. 73
    Appellate Case: 22-1409        Document: 29-2      Date Filed: 01/23/2023         Page: 77
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 25 of 45




                 86.    If the UDC chooses to issue sanctions, the UDC staff member has

   discretion to choose which sanction to issue for the offense based on his or her

   knowledge and experience. Ex. O (K. Martin Dep. 77:8-80:8)

                 87.    The UDC has the authority to impose disciplinary segregation as

   punishment for a 300-level offense. Ex. O (K. Martin Dep. 76:16-77:1)

                 88.    GEO placed detainees in segregation many times during the class

   period for refusing to clean. Ex. Z (GEO_MEN 00057697, GEO_MEN 00047810,

   GEO_MEN 00047812-17, GEO-MEN 00065434, GEO-MEN 00065393, GEO-MEN

   00065211, GEO-MEN 00065032-33 (disciplinary charges and reports))

          I.     GEO Has Discretion to Set Wages For the Voluntary Work Program.

                 89.    GEO determines the types of jobs available in the VWP on a

   facility-by-facility basis, and the ICE COTR approves them at the facility level. Ex. A

   (A. Martin Dep. 120:1-9)

                 90.    The Contract does not identify how many detainees will participate

   in the VWP. Ex. R (A. Martin 30(b)(6) Dep. 72:13-72:25)

                 91.    GEO has the discretion to develop the VWP based on its needs and

   the availability of detainee labor. Id.

                 92.    The 2011 Contract provides that ICE will reimburse GEO $1.00 per

   day for each detainee working in the VWP. Ex. B (GEO_MEN 00019616 (2011

   Contract))




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                                                                                        APP. 74
    Appellate Case: 22-1409       Document: 29-2       Date Filed: 01/23/2023      Page: 78
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 26 of 45




                93.    GEO pays detainees who work in the VWP at the Aurora Facility

   $1.00 per day. Ex. A (A. Martin Dep. 104:23-25); Ex. AA (GEO_MEN 00057594

   (Detainee Work Detail Application))

                94.    ICE reimburses its contractors no more than $1.00 per day for work

   performed in the VWP. 8 U.S.C. § 1555(d); Appropriations Act, Immigration and

   Naturalization Service Salaries and Expenses, Pub. L. No. 95-431, 92 Stat. 1021 (1978)

                95.    ICE does not prohibit its contractors from paying more than $1.00

   per day for work performed in the VWP. Ex. A (A. Martin Dep. 106:11-19; 110:10-13);

   Ex. L (GEO-MEN 00064347 (2011 PBNDS) (compensation for VWP work is “at least

   $1.00 (USD) per day” (emphasis added)))

                96.    GEO pays detainees more than $1.00 per day at other ICE facilities,

   including $1.00 to $3.00 per day at its South Texas Detention Facility, $1.00 to $2.50 per

   day at its Folkston ICE Processing Center, $1.00 to $3.00 per day at its Joe Corley

   Detention Facility, and $1.00 to $4.00 per day at its LaSalle Detention Facility. Ex. A

   (A. Martin Dep. 109:15-110:13); Ex. BB (GEO-MEN 00170339 (VWP Pay Rates))

                97.    GEO pays detainees more than $1.00 per day at other facilities to

   incentivize detainee participation in the VWP, such as when the VWP is

   “undersubscribed.” Ex. F (Ragsdale 30(b)(6) Dep. 155:5-17)

                98.    In facilities where GEO pays detainees more than $1.00 per day for

   VWP work, it does so “on [its] own dime.” Ex. A (A. Martin Dep. 107:18-22)




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                                                                                         APP. 75
       Appellate Case: 22-1409        Document: 29-2        Date Filed: 01/23/2023        Page: 79
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 27 of 45




   III.     PROCEDURAL BACKGROUND

            Plaintiffs filed this class action on October 22, 2014, alleging that, inter alia, (1)

   the HUSP and related use of solitary confinement constituted forced labor in violation of

   the Trafficking Victims’ Protection Act (“TVPA”), 18 U.S.C. § 1589, and (2) GEO was

   unjustly enriched by its policy and practice of paying detainee workers either $1 per day

   or nothing at all. 4 ECF No. 1. GEO moved to dismiss, arguing that it could not be held

   liable for these claims on the basis of the “government contractor defense.” ECF No. 18

   at 5-8, 28. In support of this argument, GEO cited to case law on derivative sovereign

   immunity, which is related to but distinct from the government contractor defense. Id.

            The Court permitted Plaintiffs’ unjust enrichment and TVPA claims to move

   forward. ECF No. 23. The Court held that the government contractor defense was not

   grounds for dismissal, because the contract between ICE and GEO “does not prohibit

   Defendant from paying detainees in excess of $1/day in order to comply with Colorado

   labor laws.” Id. at 13. In its subsequently-filed answer, GEO again raised the affirmative

   defense that Plaintiffs’ claims are barred by the government contractor defense. ECF No.

   26 at 14.

            On February 27, 2017, the Court granted Plaintiffs’ motion for class certification.

   ECF No. 57. After GEO lost its interlocutory appeal of that decision before the Tenth

   Circuit, ECF No. 114, the parties began class discovery. As part of that process, on

   October 24, 2019, Plaintiffs served an interrogatory on GEO requesting “all


   4
         The Court dismissed Plaintiffs’ claim that paying detainees $1 per day for VWP
   work violated the Colorado Minimum Wage Order. See ECF No. 23.
                                                   21

                                                                                             APP. 76
    Appellate Case: 22-1409        Document: 29-2      Date Filed: 01/23/2023      Page: 80
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 28 of 45




   communications, acts, or authorization of any other kind from ICE” that formed the basis

   for the government contractor defense as to Plaintiffs’ TVPA claims. GEO responded on

   February 4, 2020 with several categories of documents and policies on which it purported

   to rest its defense, which include:

          •      the local Aurora policies governing sanitation procedures and the detainee

                 work program;

          •      the absence of any findings of noncompliance from various audits and

                 oversight personnel;

          •      the PBNDS;

          •      ICE’s National Detainee Handbook; and

          •      the ACA standards.

   Ex. CC. Plaintiffs also sent GEO a 30(b)(6) notice on November 1, 2019 that requested

   testimony as to the following topics:

          •      Contracts with ICE regarding the use of detainee labor to clean the Aurora
                 Detention Center, and any communications that GEO contends constitute
                 ICE approval, endorsement, or instruction as to the use of detainee labor for
                 these purposes, from October 22, 2004 to the present.

          •      Contracts with ICE regarding the use of administrative or disciplinary
                 segregation, and any communications that GEO contends constitute ICE
                 approval, endorsement, or instruction as to the use of administrative or
                 disciplinary segregation in response to detainees’ refusal to comply with the
                 HUSP.

   GEO produced Dan Ragsdale, Executive Vice President for Contract Compliance, to

   testify as to these topics on February 27, 2020.




                                                22

                                                                                       APP. 77
       Appellate Case: 22-1409      Document: 29-2        Date Filed: 01/23/2023       Page: 81
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 29 of 45




    IV.      LEGAL STANDARD

            Summary judgment is proper where “the movant shows that there is no genuine

   dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

   Fed. R. Civ. P. 56(a). A fact is material when “under the substantive law it is essential to

   the proper disposition of the claim.” Adler v. Wal-Mart Stores, Inc., 144 F.3d 664, 670

   (10th Cir. 1998). Courts applying the summary judgment standard “view the factual

   record and draw all reasonable inferences therefrom most favorably to the nonmovant.”

   Id.


    V.       ARGUMENT

            The government contractor defense, and the related (but distinct) concept of

   derivative sovereign immunity, 5 are not free passes for government contractors to break

   the law. Rather, they are limited grants of immunity that apply where the government

   directs a contractor to perform the specific acts that give rise to the claims. See, e.g.,

   Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 673 (2016) (derivative sovereign

   immunity is available to a federal contractor who “simply performed as the Government




   5
           GEO did not plead derivative sovereign immunity as a defense in its Answer. See
   ECF No. 26. This Motion addresses it regardless, because GEO appears to have
   conflated derivative sovereign immunity with the government contractor defense; its
   Motion to Dismiss reply referred to the two doctrines interchangeably. See ECF No. 18
   at 5-6; In re U.S. Office of Pers. Mgmt. Data Sec. Breach Litig. (“In re OPM”), 928 F.3d
   42, 71 (D.C. Cir. 2019) (the government contractor defense and sovereign immunity are
   “apples and oranges”). By failing to plead derivative sovereign immunity, GEO has
   waived it, which is an independent ground on which this Motion may be granted. See,
   e.g., Bentley v. Cleveland Cty. Bd. of Cty. Comm’rs, 41 F.3d 600, 604 (10th Cir. 1994)
   (“Failure to plead an affirmative defense results in a waiver of that defense”).
                                                 23

                                                                                           APP. 78
     Appellate Case: 22-1409        Document: 29-2        Date Filed: 01/23/2023     Page: 82
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 30 of 45




   directed”); Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 74 n.6 (2001) (the government

   contractor defense applies under the “special circumstances” where “the government has

   directed a contractor to do the very thing that is the subject of the claim”).

          Here, the undisputed record shows that the policies Plaintiffs challenge were

   GEO’s own, and were not required – or, in the case of the HUSP, even permitted – by

   GEO’s contract with ICE. Therefore, GEO cannot hide behind the government to protect

   it from suit, and the Court should grant summary judgment on GEO’s government

   contractor defense.

          A.     Derivative Sovereign Immunity Cannot Shield GEO Because GEO
                 Developed the Policies Plaintiffs Challenge.

          Derivative sovereign immunity is a federal common-law principle that provides

   limited protection to contractors who work under contract with the United States

   government. See, e.g., Filarsky v. Delia, 566 U.S. 377, 384-89 (2012) (describing history

   of derivative sovereign immunity). Its “driving purpose . . . is to prevent the contractor

   from being held liable when the government is actually at fault but is otherwise immune

   from liability.’” In re OPM, 928 F.3d at 70 (quoting In re World Trade Center Disaster

   Site Litig., 456 F. Supp. 2d 520, 560 (S.D.N.Y. 2006)) (internal quotation marks omitted).

          Unlike sovereign immunity, however, derivative sovereign immunity “is not

   absolute.” Campbell-Ewald, 136 S. Ct. at 671. Although a contractor who “simply

   performed as the Government directed” may share the government’s immunity, id. at

   673, derivative sovereign immunity does not protect a contractor that takes steps “over

   and beyond acts required to be performed by it under the contract,” In re KBR, Inc., Burn


                                                 24

                                                                                         APP. 79
    Appellate Case: 22-1409        Document: 29-2        Date Filed: 01/23/2023       Page: 83
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 31 of 45




   Pit Litig., 744 F.3d 326, 345 (4th Cir. 2014) (quoting Myers v. United States, 323 F.2d

   580, 583 (9th Cir. 1963)). Here, both the HUSP and the dollar-a-day wage rate were

   policies developed by GEO; they were not required by its contract with ICE.

   Accordingly, derivative sovereign immunity cannot apply.

          The modern formulation of derivative sovereign immunity began with Yearsley v.

   W.A. Ross Construction Co., 309 U.S. 18 (1940), where the Supreme Court considered

   claims against a contractor who had been hired by the government to build dikes along

   the Missouri River. Id. at 19. This construction caused parts of the petitioners’ land to

   wash away, leading them to sue the contractor for damages. Id. The Yearsley Court

   noted that the work that led to the washout “was all authorized and directed by the

   Government of the United States.” Id. at 20. The Court then held that “if th[e] authority

   to carry out the project was validly conferred, that is, if what was done was within the

   constitutional power of Congress, there is no liability on the part of the contractor for

   executing its will.” Id. at 20-21. This conclusion came with the proviso that an agent of

   the government could be liable if “he exceeded his authority or . . . it was not validly

   conferred.” Id. at 21 (citing cases).

          In Campbell-Ewald, the Supreme Court clarified that derivative sovereign

   immunity does not apply to contractors who fail to follow the government’s directives.

   136 S. Ct. at 672. Campbell-Ewald was an advertising and marketing firm that

   contracted with the Navy on a campaign to send text messages to young adults

   encouraging them to learn more about enlistment. Id. at 667. In support of that

   campaign, Campbell-Ewald subcontracted with a firm that generated a list of cell phone

                                                25

                                                                                         APP. 80
    Appellate Case: 22-1409          Document: 29-2      Date Filed: 01/23/2023        Page: 84
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 32 of 45




   numbers to which the text messages would be sent. Id. Under the Telephone Consumer

   Protection Act (“TCPA”), any such text messages require prior express consent from the

   recipient. Id. at 666-67. But some of the recipients had not consented to be messaged,

   and one of them sued Campbell-Ewald on behalf of a putative class in federal court. Id.

   at 667.

             The Supreme Court rejected Campbell-Ewald’s argument that its status as a

   federal contractor provided it immunity from the plaintiff’s suit, holding that on the

   record before it, there was “no basis for arguing that [the plaintiff’s] right to remain

   message-free was in doubt or that Campbell[-Ewald] complied with the Navy’s

   instructions.” Id. at 674. Specifically, the Court focused on evidence that the Navy

   authorized Campbell-Ewald “to send text messages only to individuals who had ‘opted

   in’ to receive solicitations,” and that the Navy “relied on Campbell[-Ewald]’s

   representation that the list was in compliance” with the TCPA. Id. at 673-74.

   Accordingly, the government contractor defense did not apply. Id. at 674.

             Two years later, the Fourth Circuit applied that rule in Cunningham v. General

   Dynamics Information Technology, Inc., 888 F.3d 640, 647-49 (4th Cir. 2018), holding

   that where the government does direct the specific violation at issue in a lawsuit against a

   government contractor, derivative sovereign immunity may attach. The courts in both

   Cunningham and Campbell-Ewald faced the same question: Was a contractor liable

   under the TCPA for making unauthorized communications in the performance of a

   government contract? But, whereas in Campbell-Ewald, a private subcontractor

   developed the list of phone numbers at issue, 136 S. Ct. at 673-74, in Cunningham, the

                                                 26

                                                                                          APP. 81
    Appellate Case: 22-1409        Document: 29-2        Date Filed: 01/23/2023       Page: 85
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 33 of 45




   government provided the contractor with the restricted phone numbers, and the contract

   required the contractor to call them, 888 F.3d at 647. This distinction drove the different

   outcomes, as derivative sovereign immunity is limited to circumstances where the

   contractor is following government directions. Id. (calling Cunningham “vastly

   distinguishable” from Campbell-Ewald because the Campbell-Ewald contract placed the

   responsibility for developing a list of approved numbers onto the contractor, not the

   government); see also Cabalce v. Thomas E. Blanchard & Assocs., Inc., 797 F.3d 720,

   732 (9th Cir. 2015) (“We have held that derivative sovereign immunity, as discussed in

   Yearsley, is limited to cases in which a contractor ‘had no discretion in the design process

   and completely followed government specifications.’”); Nwauzor v. GEO Group, Inc.,

   No. 17 Civ. 5769, 2020 WL 1689728, at *8-9 (W.D. Wash, April 7, 2020) (in a case

   alleging claims against GEO under Washington State minimum wage law, holding that

   there was no derivative sovereign immunity because GEO “has not shown that it was

   directed by the government to pay participants in the VWP only $1 per day”).

                 1.     The HUSP Violates GEO’s Contract With ICE.

          GEO’s HUSP is a paradigmatic example of the case contemplated in Campbell-

   Ewald where a contractor violates both federal law and the government’s instructions.

   136 S. Ct. at 672. The HUSP claim arises under the TVPA, which prohibits labor

   procured by, inter alia, force, threats of force, serious harm, or threats of serious harm.

   18 U.S.C. §1589(a). GEO’s contract specifically incorporates a nearly identical

   definition of forced labor in the form of Federal Acquisition Regulation (“FAR”) 52.222-

   50(b), which expresses “a policy prohibiting trafficking in persons,” including the “[u]se

                                                27

                                                                                          APP. 82
    Appellate Case: 22-1409         Document: 29-2        Date Filed: 01/23/2023        Page: 86
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 34 of 45




   [of] forced labor in the performance of [a government] contract.” SUF ¶ 17. 6 This

   regulation states the federal government’s intent to “protect vulnerable individuals” and

   enforce its “zero-tolerance policy regarding Government employees and contractor

   personnel engaging in any form” of forced labor. SUF ¶ 18.

          Like the contract in Campbell-Ewald, GEO’s contract with ICE – far from

   directing GEO to violate the TVPA – specifically required GEO to observe the law’s

   prohibitions. See 136 S. Ct. at 673 (contract “noted the importance of ensuring that . . .

   all recipients had consented to receiving messages like the recruiting text.”). And both

   the government’s interest in enforcing the TVPA and Plaintiffs’ right to be free from

   forced labor are well-established. See SUF ¶¶ 16-18. Therefore, in the absence of any

   indication that Plaintiffs’ rights under the TVPA are “in doubt or that [GEO] complied

   with [ICE’s] instructions,” Campbell-Ewald, 136 S. Ct. at 674, derivative sovereign

   immunity cannot attach.




          6
                  Compare FAR 52.222-50(a) (defining forced labor as “knowingly
   providing or obtaining the labor or services of a person (1) By threats of serious harm to,
   or physical restraint against, that person or another person; (2) By means of any scheme,
   plan, or pattern intended to cause the person to believe that, if the person did not perform
   such labor or services, that person or another person would suffer serious harm or
   physical restraint; or (3) By means of the abuse or threatened abuse of law or the legal
   process.) with 18 U.S.C. § 1589 (defining forced labor as that obtained: “(1) by means of
   force, threats of force, physical restraint, or threats of physical restraint to that person or
   another person; (2) by means of serious harm or threats of serious harm to that person or
   another person; (3) by means of the abuse or threatened abuse of law or legal process; or
   (4) by means of any scheme, plan, or pattern intended to cause the person to believe that,
   if that person did not perform such labor or services, that person or another person would
   suffer serious harm or physical restraint.”).
                                                 28

                                                                                           APP. 83
       Appellate Case: 22-1409      Document: 29-2      Date Filed: 01/23/2023       Page: 87
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 35 of 45




            GEO’s HUSP also violates specific prohibitions against unpaid labor that are

   incorporated into the Contract. The HUSP, which requires that detainees perform unpaid

   work such as cleaning tables, sweeping and mopping floors, and cleaning the common

   areas of their dormitories after meals, SUF ¶¶ 47-49, conflicts on its face with the

   PBNDS, which require that “work assignments are voluntary,” and list only four specific

   housekeeping chores that may be required: (1) making beds daily, (2) stacking loose

   papers, (3) keeping floors and dividers free of debris or clutter, and (4) not hanging

   anything from the beds, fixtures, or furniture, 7 SUF ¶ 36.

            These violations are GEO’s, not ICE’s, and GEO cannot claim it was merely

   “executing [the government’s] will,” Yearsley, 309 U.S. at 20-21, or that ICE is “actually

   at fault” for the offending policies, In re OPM, 928 F.3d at 70. Rather, GEO developed

   policies that “failed to adhere to the contract” between GEO and ICE. Cunningham, 888

   F.3d at 648. The sovereign immunity of the United States does not protect GEO from

   liability flowing from such a failure.

                  2.     ICE Did Not Direct the HUSP.

            Even if the Contract did not prohibit the HUSP, it is undisputed that the HUSP

   was “a GEO policy, created by GEO,” and was not directed, drafted, or negotiated by



   7
          The fact that the PBNDS list these four specific, defined chores as the only form
   of “personal housekeeping” that detainees are required to perform implies that other,
   materially different forms of labor are not permitted. Cf. Navajo Nation v. Dalley, 896
   F.3d 1196, 1213 (10th Cir. 2018) (describing the expressio unius est exclusio alterius
   canon of interpretation, which provides that “the enumeration of certain things” suggests
   the absence of “intent of including things not listed or embraced”) (internal quotation
   marks omitted).
                                                29

                                                                                          APP. 84
    Appellate Case: 22-1409        Document: 29-2       Date Filed: 01/23/2023       Page: 88
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 36 of 45




   ICE. SUF ¶¶ 54-57. As a performance-based contract, the focus of GEO’s contract with

   ICE is on the results rather than the methods of implementation, and the day-to-day

   performance of the contract is delegated to GEO. SUF ¶¶ 9-11, 19. The contract, and the

   incorporated PBNDS and ACA Standards, require GEO only to maintain certain levels of

   sanitation and hygiene; they do not require it to use the threat of solitary confinement to

   procure free labor in doing so. SUF ¶¶ 16, 31-33, 36, 75-88.

          In other words, ICE “told [GEO] what goals to achieve but not how to achieve

   them.” In re KBR, 744 F.3d at 339. Therefore, GEO cannot claim that it actions were

   merely “executing [ICE’s] will,” and derivative sovereign immunity does not apply.

   Yearsley, 309 U.S. at 20-21; see also In re KBR, 744 F.3d at 346 (derivative sovereign

   immunity would not apply if the contractor “enjoyed some discretion in how to perform

   its contractually authorized responsibilities”); Cabalce, 797 F.3d at 732 (no derivative

   sovereign immunity where the contractor “designed the [challenged] plan without

   government control or supervision”); Salim v. Mitchell, 268 F. Supp. 3d 1132, 1149 (E.D.

   Wash. 2017) (testimony from the defendant that he could choose which of several

   government-approved interrogation techniques to apply supported conclusion that the

   government contractor defense did not apply).




                                                30

                                                                                         APP. 85
       Appellate Case: 22-1409     Document: 29-2      Date Filed: 01/23/2023         Page: 89
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 37 of 45




                  3.     Mere Government Authorization Is Not Enough for Derivative
                         Sovereign Immunity to Apply.

            GEO may argue that it is protected by derivative sovereign immunity because ICE

   officials reviewed and approved the HUSP. 8 But even close government supervision and

   approval of a contractor’s work does not confer immunity, as long as the contractor

   exercised its own agency in carrying out the acts challenged by a plaintiff. For example,

   in Salim v. Mitchell, the court considered whether the psychologists who designed and

   implemented the CIA’s “enhanced interrogation” program could be held liable for

   injuries and death that occurred as a result. 268 F. Supp. 3d at 1138-39. It concluded that

   the psychologists had not acted “merely and solely as directed by the Government,”

   because they “had a role in the design of the Program, trained interrogators for the

   Program, and exercised some discretion in the application of the Program.” Id. at 1150.

   Even though the CIA had authorized the enhanced interrogation techniques, supervised

   their implementation, and was fully aware that they were used, the contractors were able

   to decide which techniques to use and when to use them. Id. at 1150. This holding

   reflects the underlying principle that courts applying derivative sovereign immunity

   require that the government directed the challenged decisions, not simply that a

   government representative signed off on plans developed and implemented by a

   contractor. See, e.g., Yearsley, 309 U.S. at 20 (governmental immunity applies only




   8
          See Ex. CC (Defendant The GEO Group Inc’s Second Supplemental Responses to
   Plaintiffs’ Fifth Set of Interrogatories).
                                               31

                                                                                          APP. 86
    Appellate Case: 22-1409        Document: 29-2       Date Filed: 01/23/2023        Page: 90
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 38 of 45




   when a contractor’s work is “authorized and directed” by the government (emphasis

   added)).

          Here, not only is there no evidence that ICE directed the HUSP, there is little

   evidence that ICE was even aware of the details of that policy. ICE places a Contracting

   Officer’s Technical Representative on-site at Aurora to sign off on GEO’s formal

   policies. SUF ¶ 43. But GEO’s formal written policy documents do not distinguish

   between the work assigned to HUSP workers and the work assigned to VWP workers.

   SUF ¶ 46. This leaves it unclear on the face of the written policy what, if any, work was

   performed by unpaid detainees, and does not show that the government was aware that

   the labor was unpaid (as opposed to being performed by VWP workers or GEO

   employees). Even in the Aurora Detainee Handbook, the policy is described in vague

   terms that do not make clear that detainees will be required to participate in a rotating

   clean-up after other detainees in common areas, and not merely “keep clean and sanitary

   all commonly accessible areas of the dorm.” SUF ¶ 65. This vague statement is a far cry

   from evidence that ICE approved or even was aware of fact that the HUSP required

   extensive unpaid janitorial work cleaning up after others, such as wiping down tables,

   sweeping and mopping floors, and other cleaning tasks in the common area. SUF ¶ 47-

   49. And GEO never specifically sought to clarify with ICE whether the scope of the

   unpaid cleaning it required matched the limited chores permitted by the PBNDS. SUF ¶

   52.




                                                32

                                                                                         APP. 87
    Appellate Case: 22-1409        Document: 29-2       Date Filed: 01/23/2023       Page: 91
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 39 of 45




                 4.     ICE Did Not Direct the Dollar-A-Day Pay Rate Under the VWP.

          In denying GEO’s Motion to Dismiss at the beginning of this litigation, this Court

   held that “the [ICE-GEO] contract only defines how Defendant will be reimbursed for the

   Detainee Work Program and does not prohibit Defendant from paying detainees in excess

   of $1/day.” Menocal v. GEO Grp., Inc., 113 F. Supp. 3d 1125, 1135 (D. Colo. 2015).

   Based on that determination, the Court denied GEO’s motion to dismiss Plaintiffs’ claims

   under the government contractor defense. Id. Since that decision, more evidence has

   emerged that GEO set the VWP rate at its own discretion. GEO’s contract with ICE

   required it to have a VWP, but ICE delegated the authority to design that program at the

   Aurora Facility to GEO. SUF ¶¶ 89-92. The PBNDS, which are incorporated into the

   contract, require that detainees receive “at least” a dollar a day, SUF ¶ 37, but they leave

   the decision of how much to pay above that amount to the discretion of individual

   facilities. SUF ¶ 96-97. And, most significantly, many facilities run by GEO do, in fact,

   pay detainees more than a dollar a day, with ICE’s consent, even though any amount

   above a dollar is not reimbursed by ICE. SUF ¶ 96-98.

          As discussed above, derivative sovereign immunity applies only to acts that were

   directed by the government, not to acts the contractor undertook of its own discretion.

   Therefore, just as with the HUSP claim, the Court should grant summary judgment to

   Plaintiffs on GEO’s derivative sovereign immunity defense to Plaintiffs’ VWP claim.

   See, e.g., Cabalce, 797 F.3d at 732 (government contractor defense does not apply where

   contractor had “discretion in the design process’”); Salim, 268 F. Supp. 3d at 1138-39

   (defense did not apply where the contractor had discretion in how to implement the
                                                33

                                                                                        APP. 88
    Appellate Case: 22-1409       Document: 29-2       Date Filed: 01/23/2023      Page: 92
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 40 of 45




   challenged torture program); Nwauzor, 2020 WL 1689728, at *8-9 (denying GEO’s

   motion for summary judgment on derivative sovereign immunity because it had not

   shown ICE directed it to pay VWP participants only $1 per day).

         B.     The Government Contractor Defense Does Not Apply Because GEO
                Had Discretion to Develop the Relevant Terms of the VWP.

         In contrast to derivative sovereign immunity, which concerns whether contractors

   executing the will of the government may claim sovereign immunity, the government

   contractor defense addresses whether the common-law immunity doctrine preempts

   liability for violations of state law committed by government contractors. See Boyle v.

   United Techs. Corp., 487 U.S. 500, 505 n.1 (1988) (limiting case to preemption analysis

   and distinguishing that analysis from a decision on the merits of immunity). Although

   related to derivative sovereign immunity, the government contractor defense is more

   limited, and does not apply to Plaintiffs’ federal TVPA claims. Id. Even so, the guiding

   principles behind derivative sovereign immunity and the government contractor defense

   are similar, as both address when government contractors are subject to suit. Applying

   those principles, GEO enjoys no protection from Plaintiffs’ unjust enrichment claims

   under the government contractor defense.

         The government contractor defense was first articulated in Boyle v. United

   Technologies, which addressed when, if ever, government contractors could be liable for

   state law torts. The Supreme Court held that, in the products liability context, immunity

   from such claims attaches to government contractors only if “(1) the United States

   approved reasonably precise specifications; (2) the equipment conformed to those


                                               34

                                                                                        APP. 89
    Appellate Case: 22-1409        Document: 29-2        Date Filed: 01/23/2023       Page: 93
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 41 of 45




   specifications; and (3) the supplier warned the United States about the dangers in the use

   of the equipment that were known to the supplier but not to the United States.” Boyle,

   487 U.S. at 512. Subsequent decisions from lower courts have expanded the defense

   beyond products liability to other state law claims. See, e.g., Hudgens v. Bell

   Helicopters/Textron, 328 F.3d 1329, 1334 (11th Cir. 2003) (holding that the government

   contractor defense can apply to service contracts).

          The government contractor defense, like derivative sovereign immunity, hinges on

   to what extent the government directed the actions challenged by the lawsuit. Boyle, 487

   U.S. at 509 (noting that if a contractor “could comply with both its contractual

   obligations and [the law it is accused of violating],” the government contractor defense

   does not apply); see also Trevino v. Gen. Dynamics Corp., 865 F.2d 1474, 1480 (5th Cir.

   1989) (defense does not apply when the government “merely accepts, without any

   substantive review or evaluation, decisions made by a government contractor”).

   “[S]tripped to its essentials,” the government contractor defense “is fundamentally a

   claim that ‘[t]he Government made me do it.’” In re Katrina Canal Breaches Litig., 620

   F.3d 455, 465 (5th Cir. 2010) (quoting In re Joint E. & S. Dist. N.Y. Asbestos Litig., 897

   F.2d 626, 632 (2d Cir. 1990)) (internal quotation marks omitted).

          Here, as discussed above in the context of derivative sovereign immunity, this

   Court has already rejected GEO’s position that it was forced to reimburse VWP workers

   at the challenged dollar-a-day rate. See Menocal, 113 F. Supp. 3d at 1135 (“[T]here is no

   ‘significant conflict’ between a federal interest and state law as required for the assertion

   of the government contractor defense.”). Therefore, for the same reasons that it enjoys

                                                35

                                                                                         APP. 90
    Appellate Case: 22-1409       Document: 29-2       Date Filed: 01/23/2023       Page: 94
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 42 of 45




   no protection from derivative sovereign immunity, the undisputed facts show that the

   government contractor defense does not protect GEO from Plaintiffs’ VWP claims.

    VI.   CONCLUSION

          This case concerns GEO’s own performance as a private prison contractor – not a

   series of acts that were directed by the government. In direct contravention of ICE’s

   rules, GEO chose to extract forced labor by threatening Plaintiffs and the Class Members

   with solitary confinement. And GEO chose to pay some detainees the bare minimum it

   could get away with – a dollar a day – to replace labor that it otherwise would have had

   to purchase by paying fair wages to employees. GEO cannot blame these choices on the

   government; it must take responsibility for its own actions. Plaintiffs’ claims should

   proceed to trial, and summary judgment should be granted as to GEO’s immunity

   defense.




                                               36

                                                                                       APP. 91
    Appellate Case: 22-1409   Document: 29-2   Date Filed: 01/23/2023   Page: 95
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 43 of 45




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                                        37

                                                                          APP. 92
    Appellate Case: 22-1409   Document: 29-2   Date Filed: 01/23/2023   Page: 96
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 44 of 45




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                                        38

                                                                          APP. 93
    Appellate Case: 22-1409        Document: 29-2       Date Filed: 01/23/2023      Page: 97
Case 1:14-cv-02887-JLK-MEH Document 260 Filed 04/29/20 USDC Colorado Page 45 of 45




                                CERTIFICATE OF SERVICE

          I hereby certify that on April 29, 2020, a copy of the foregoing document was filed

   electronically. Service of this filing will be made on all ECF-registered counsel by

   operation of the court’s electronic filing system. Parties may access this filing through

   the Court’s system.


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                                               39

                                                                                        APP. 94
     Appellate Case: 22-1409   Document: 29-2   Date Filed: 01/23/2023   Page: 98




Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 1 of
                                      65




                         Exhibit L




                                                                           APP. 95
 Appellate Case: 22-1409   Document: 29-2    Date Filed: 01/23/2023    Page: 99
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 2 of
                                      65




                                                                      GEO-MEN 00064018




                                                                          APP. 96
 Appellate Case: 22-1409               Document: 29-2      Date Filed: 01/23/2023           Page: 100
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 3 of
                                      65




                                                   Preface
In keeping with our commitment to transform the          with no or limited English proficiency, improve the
immigration detention system, U.S. Immigration           process for reporting and responding to complaints,
and Customs Enforcement (ICE) has revised its de-        and increase recreation and visitation.
tention standards. These new standards, known as         The PBNDS 2011 are also drafted to include a
the Performance-Based National Detention Stand-          range of compliance, from minimal to optimal. As
ards 2011 (PBNDS 2011), are an important step in         such, these standards can be implemented widely,
detention reform.                                        while also forecasting our new direction and laying
ICE is charged with removing aliens who lack law-        the groundwork for future changes.
ful status in the United States and focuses its re-      In closing, I would like to thank the ICE employees
sources on removing criminals, recent border en-         and stakeholders who provided significant input and
trants, immigration fugitives, and recidivists. Deten-   dedicated many hours to revising these standards. I
tion is an important and necessary part of immigra-      appreciate the collaboration and support in this im-
tion enforcement. Because ICE exercises significant      portant mission - reforming the immigration deten-
authority when it detains people, ICE must do so in      tion system to ensure it comports with our national
the most humane manner possible with a focus on          expectations. The PBNDS 2011 are an important
providing sound conditions and care. ICE detains         step in a multiyear process and I look forward to
people for no purpose other than to secure their         continued collaboration within ICE, with state and
presence both for immigration proceedings and their      local governments, nongovernmental organizations,
removal, with a special focus on those who repre-        Congress, and all of our stakeholders as we move
sent a risk to public safety, or for whom detention is   forward in reforming our detention system.
mandatory by law.
The PBNDS 2011 reflect ICE's ongoing effort to
tailor the conditions of immigration detention to its
unique purpose. The PBNDS 2011 are crafted to
improve medical and mental health services, in-
crease access to legal services and religious oppor-     John Morton
tunities, improve communication with detainees           Director




Preface                                                                                PBNDS2011


                                                                                            GEO-MEN 00064019




                                                                                                 APP. 97
  Appellate Case: 22-1409              Document: 29-2              Date Filed: 01/23/2023           Page: 101
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 4 of
                                      65



                                                                   and by corrective action when indicated.
                                                             3. Compliance with all applicable fire safety codes
                                                                and fire safety performance requirements for
                                                                facility furnishings shall be ensured.
                                                             4. Flammable, poisonous, toxic and caustic
This detention standard protects detainees, staff,              materials shall be controlled and used in a safe
volunteers and contractors from injury and illness              manner.
by maintaining high facility standards of cleanliness
                                                             5. Compliance with fire prevention regulations,
and sanitation, safe work practices and control of
                                                                inspection requirements and other practices,
hazardous substances and equipment.
                                                                including periodic fire drills, shall ensure the
This detention standard applies to the following                safety of detainees, staff and visitors.
types of facilities housing ERO detainees:
                                                             6. Staff shall be knowledgeable about procedures
  •   Service Processing Centers (SPCs);                        an.3
  •   Contract Detention Facilities (CDFs); and              7. d responsibilities during emergency situations,
  •   State or local government facilities used by              including those that require evacuation, in
      ERO through Intergovernmental Service                     accordance with a written plan and with training
      Agreements (IGSAs) to hold detainees for                  at least annually.
      more than 72 hours.                                    8. The facility shall have a written plan for
                                                                immediate release of detainees from locked
Procedures in italics are specifica!Zv required.for
                                                                areas, and provisions for a back-up system.
SPCs, CDFs, and Dedicated !GSA facilities. Non-
dedicated IGSA facilities must conform to these              9. A sufficient number of properly positioned
procedures or adopt, adapt or establish alternatives,           emergency exits, clear from obstruction, shall be
provided they meet or exceed the intent represented             distinctly and permanently marked.
by these procedures.
                                                             10.                               Preventive
Various terms used in this standard may be defined                 maintenance and regular inspections shall be
in standard "7.5 Definitions."                                     performed to ensure timely emergency repairs or
                                                                   replacement and to prevent dangerous and life-
                                                                   threatening situations.
The expected outcomes of this detention standard             1 ] . Potential disease transfer shall be minimized
are as follows (specific requirements are defined in               through proper sanitization of barbering
"V. Expected Practices").                                          equipment and supplies.
1. Facility cleanliness and sanitation shall be              12. Pests and vermin shall be controlled and
   maintained at the highest level.                              eliminated.
2. Compliance with all applicable federal, state and         13. Safe, potable water shall be available
   local safety and sanitation laws shall be ensured             throughout the facility.
   by documented internal and external inspections,
                                                             14. Emergency lighting and life-sustaining


1.21 Environmental Health and Safety                    20                                            PBNDS 2011



                                                                                                   GEO-MEN 00064040




                                                                                                          APP. 98
  Appellate Case: 22-1409               Document: 29-2           Date Filed: 01/23/2023             Page: 102
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 5 of
                                      65



   equipment shall be maintained and periodically
   tested.
15. Disposal of garbage and hazardous waste shall
                                                              Environmental health conditions shall be
    be in compliance with applicable government
                                                              maintained at a level that meets recognized
    regulations.
                                                              standards of hygiene, including those from the:
16. The applicable content and procedures in this
                                                              a. American Correctional Association;
    standard shall be communicated to the detainee
    in a language or manner the detainee can                  b. Occupational Safety and Health Administration;
    understand.                                               c. Environmental Protection Agency;
All written materials provided to detainees shall             d. Food and Drug Administration;
generally be translated into Spanish. Where
                                                              e. National Fire Protection Association's Life
practicable, provisions for written translation shall
                                                                 Safety Code; and
be made for other significant segments of the
population with limited English proficiency.                  f. National Center for Disease Control and
                                                                 Prevention.
Oral interpretation or assistance shall be provided to
any detainee who speaks another language in which             The health services department or equivalent shall
written material has not been translated or who is            assist in the identification and correction of
ii literate.                                                  conditions that could adversely impact the health of
                                                              detainees, employees and visitors. The facility
                                                              administrator designee for environmental health is
This detention standard replaces "Environmental               responsible for developing and implementing
Health and Safety" dated 12/2/2008.                           policies, procedures and guidelines for the
                                                              environmental health program that are intended to
                                                              identify and eliminate or control as necessary,
                                                              sources of injuries and modes of transmission of
American Correctional Association, Pe1;formance-
                                                              agents or vectors of communicable diseases.
based Standards.for Adult Local Detention
Facilities, 4th Edition: 4-ALDF-lA-01, lA-02,                 The facility administrator designee shall:
lA-03, lA-07, lA-14, lA-15, IA-Hi, lA-17, lA-                 a. conduct special safety investigations and
18, lA-19, lA-20,lC-01, lC-02, lC-03, lC-04, lC-                 comprehensive surveys of environmental health
05, IC-07, lC-08, lC-09, lC-10, lC-11, lC-12, lC-                conditions; and
13, 1C-14, 1C-15, 4B-07, 4C-18.
                                                              b. provide advisory, consultative, inspection and
Occupational Safety and Health Administration                    training services regarding environmental health
(OSHA) Regulations.                                              conditions.
NFP A Standards.                                              The health services administrator or equivalent is
U.S. Public Health Service Report on Carcinogens.             responsible for:
                                                              a. implementing a program that assists in
                                                                 maintaining a high level of environmental


1.2 I Environmental Health and Safety                    21                                          PBNDS 2011



                                                                                                   GEO-MEN 00064041




                                                                                                           APP. 99
  Appellate Case: 22-1409                Document: 29-2            Date Filed: 01/23/2023             Page: 103
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 6 of
                                      65



   sanitation; and                                              a. All horizontal surfaces shall be dampdusted daily
                                                                   with an approved germicidal solution used
b. providing recommendations to the facility
                                                                   according to the manufacturer's directions.
   administrator concerning environmental health
   conditions, in consultation with the                         b. Windows, window frames and windowsills shall
   environmental health designee.                                  be cleaned on a weekly schedule.
                                                                c. Furniture and fixtures shall be cleaned daily.
The facility administrator shall ensure that adequate           d. Floors shall be mopped daily and when soiled,
provisions are made for staff and detainee safety, in              using the double-bucket mopping technique and
accordance with these detention standards and                      with a hospital disinfectant-detergent solution
applicable law. Standard "7.3 Staff Training"                      mixed according to the manufacturer's
further addresses employee training-related issues.                directions.
Standard "5.8 Voluntary Work Program" addresses
                                                                e. A clean mop head shall be used each time the
detainee training issues for workers. Detainees shall
                                                                   floors are mopped.
receive safety instruction as necessary for living
area-related assignments, such as working with                  f. Waste containers shall weigh less than 50 lbs., be
cleaning products to clean general use areas.                      non-porous and lined with plastic bags; the liner
                                                                   shall be changed daily.
Detainee living area safety shall be emphasized to
staff and detainees to include providing, as noted in           g. Waste containers shall be washed weekly at a
the standards, a housekeeping plan. For example,                   minimum, or as needed when they become
when there are safety concerns with a detainee                     soiled.
sleeping in a top bunk that is not along a wall and that        h. Cubicle curtains shall be laundered monthly or
has no bed rail, accommodations shall be made to                   during terminal cleaning following treatment of
ensure safety. (Because of the potential safety risk               an infectious patient.
they pose, bed rails are not common in detention
settings except for medical housing units.) In locations
where ladders are unavailable, alternate                        The facility administrator shall contract with
accommodations, such as the use of bottom bunks or              licensed pest-control professionals to perform
the addition of a ladder or step, shall be made for             monthly inspections to identify and eradicate
detainees on a case-by-case basis. Detainees who have           rodents, insects and other vermin. The contract shall
medical or physical problems that may be aggravated             include a preventive spraying program for
by sleeping on a top bunk shall be referred to the              indigenous insects and a provision for callback
medical unit for consideration of a lower bunk pem1it.          services as necessary. Doors to the outside should
                                                                be tight fitting and door sweeps should be installed
                                                                to prevent the entry of vermin from outside.
The facility administrator shall ensure that staff and
detainees maintain a high standard of facility
sanitation and general cleanliness. When possible,              At least annually, a state laboratmy shall test
the use of non-toxic cleaning supplies is                       samples of drinking and wastewater to ensure
recommended.                                                    compliance with applicable standards. A copy of the



1.2 I Environmental Health and Safety                      22                                          PBNDS 2011



                                                                                                     GEO-MEN 00064042




                                                                                                         APP. 100
  Appellate Case: 22-1409               Document: 29-2           Date Filed: 01/23/2023             Page: 104
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 7 of
                                      65



testing and safety certification shall be maintained          program shall be supervised by an individual
on site.                                                      trained in accordance with OSHA standards. The
                                                              effectiveness of any such system depends not only
                                                              on written policies, procedures and precautions, but
At least every two weeks, emergency power                     also on adequate supervision and responsible
generators shall be tested for one hour, and the oil,         behavior of staff and detainees, including following
water, hoses and belts of these generators shall be           instmctions precisely, taking prescribed precautions
inspected for mechanical readiness to perfonn in an           and using safety equipment properly.
emergency situation.
                                                              A list of common flammable, toxic and caustic
Power generators are to be inspected weekly and               substances is included at the end of this detention
load-tested quarterly at a minimum, or in                     standard as "Appendix 1.2.A: Common Flammable,
accordance with manufacturer's recommendations                Toxic and Caustic Substances."
and instruction manual. Technicians shall check
starting battery voltage, generator voltage and
amperage output at a minimum, and shall perform               Every individual who uses a hazardous substance
all other necessary checks as well.                           must:
Other emergency equipment and systems shall be                a. be trained in accordance with OSHA standards:
tested quarterly, and all necessary follow-up repairs
                                                              b. be knowledgeable about and follow all
or replacement shall be performed as soon as
                                                                 prescribed precautions;
foasible.
                                                              c. wear personal protective equipment when
                                                                 indicated; and
a. Garbage and refuse includes all trash, rubbish
                                                              d. promptly report hazards or spills to the
   and other putrescible and non-putrescible solid
                                                                 designated authority.
   waste, except the solid and liquid waste
   discharged into the sanitary sewer system of the
   facility.                                                  a. Protective eye, face, and other appropriate
b. Garbage and refuse shall be collected and                     equipment (such as fi.)otwear, gloves, gowns,
   removed from common areas at least daily to                   and/or aprons) is required where there is a
   maintain sanitary conditions and to avoid                     reasonable probability of injury preventable by
   creating health hazards.                                      such equipment. Areas of the facility where such
                                                                 injuries can occur shall be conspicuously marked
c. Facilities shall comply with all foderal, state and
                                                                 with eye-hazard warning signs.
   local environmental regulations and
   requirements governing methods for handling                b. Eyewash stations that meet OSHA standards
   and disposing of refuse.                                      shall be installed in designated areas throughout
                                                                 the facility, and all employees and detainees in
                                                                 those areas shall be instructed in their use.
Every facility shall establish a system for storing,
issuing, using and maintaining inventories of and
                                                              Every area shall maintain a current inventmy of the
accountability for hazardous materials. The facility


1.2 I Environmental Health and Safety                    23                                          PBNDS 2011



                                                                                                   GEO-MEN 00064043




                                                                                                       APP. 101
  Appellate Case: 22-1409              Document: 29-2          Date Filed: 01/23/2023           Page: 105
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 8 of
                                      65



hazardous substances (e.g., flammable, toxic or            a. a master index of all hazardous substances in the
caustic) used and stored there. Inventory records             facility and their locations;
shall be maintained separately for each substance.
                                                           b. a master file ofMSDS; and
Entries for each shall be logged on a separate card
(or equivalent), and filed alphabetically by               c. a comprehensive, up-to-date list of emergency
substance. The entries shall contain relevant data,           phone numbers (e.g., fire department, poison
including purchase dates and quantities, use dates            control center, etc.).
and quantities and quantities on hand.                     The maintenance supervisor shall maintain this
                                                           information in the safety office (or equivalent) and
                                                           ensure that a copy is sent to the local fire
a. Every department or other area of the facility
                                                           department.
   using hazardous substances shall maintain a file
   of Material Safety Data Sheets (MSDS) that
                                                           Subb,t:dt1c.e:::-.
   includes a list of the locations where hazardous
   substances are stored, along with a diagram and         a. Issuance
   legend of these locations. Designated staff from           Flammable, caustic and toxic substances
   each department or area shall provide a copy of            (hazardous substances) shall be issued (i.e.,
   each file to the maintenance supervisor.                   drawn from supply points to canisters or
b. MSDS are produced by manufacturers and                     dispensed) only under the supervision of the
   provide vital information on individual                    designated officer.
   hazardous substances, including instructions on         b. Amounts
   safe handling, storage and disposal: prohibited            Hazardous substances shall be issued in single-
   interactions; etc.                                         day increments (the amount needed for one day's
c. Staff and detainees shall have ready and                   work.)
   continuous access to the MSDS for the                   c. Supervision
   substances with which they are working. Staff              Qualified staff shall closely monitor detainees
   and detainees who do not read English shall not            working with hazardous substances.
   be authorized to work with these materials.
                                                           d. Accountability
d. Because changes in MSDS occur often and                    Inventory records for a hazardous substance
   without notice, staff must:                                must be kept current before, during and after
   1) review the latest issuance from the                     each use.
      manufacturers of the relevant substances;
   2) update the MSDS files as necessary; and              a. As required by the Federal Hazardous Substances
   3) forward any changes to the maintenance                  Labeling Act, any liquid or aerosol labeled
      supervisor, so that the copy is kept cunent.            "flammable" or "combustible" must be stored
                                                              and used as prescribed on the label.
                                                           b. Lighting fixtures and electrical equipment
The maintenance supervisor or facility                        installed in flammable liquid storage rooms must
administrator designee shall compile:


1.2 I Environmental Health and Safety                 24                                          PBNDS 2011



                                                                                                GEO-MEN 00064044




                                                                                                   APP. 102
  Appellate Case: 22-1409               Document: 29-2             Date Filed: 01/23/2023            Page: 106
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 9 of
                                      65



   meet National Electrical Code requirements in                   flammable or combustible liquids.
   hazardous locations.
                                                              1.   Only authorized staff may dispense flammable
c. Every hazardous material storage room shall:                    and combustible liquids, using acceptable
                                                                   methods for drawing from or transfen-ing these
   1) be of fire-resistant constrnction and properly
                                                                   liquids.
      secured;
                                                              J. Drawing from or transferring any of these liquids
   2) have self-closing fire doors at each opening;
                                                                 into containers indoors is prohibited except:
   3) be constrncted with either a four-inch sill or a
                                                                   1) through a closed piping system;
      four-inch depressed floor; and
                                                                   2) from a safety can;
   4) have a ventilation system (mechanical or
      gravity flow), which provides at least six air               3) by a device drawing through the top; or
      changes per hour, within 12 inches of the
                                                                   4) by gravity, through an approved self-closing
      floor.
                                                                      system.
d. Every storage cabinet shall:
                                                                   An a pp roved grounding and bonding system
   1) be constrncted according to the applicable                   must be used when liquids are dispensed from
      code and securely locked at all times;                       drnms.
   2) be clear of open passageways, stain:vays and            k. Without exception, cleaning liquids must have a
      other emergency exit areas;                                flash point at or above 100° F (e.g., Stoddard
                                                                 solvents, kerosene). Cleaning operations must be
   3) be conspicuously labeled: "Flammable-
                                                                 in an approved parts-cleaner or dip tank, fitted
      Keep Fire Away"; and
                                                                 with a fusible link lid with a 160 degree F
   4) contain not more than 60 gallons of Class I or             melting-temperature link.
      Class H liquids, or more than ] 20 gallons of
                                                              L Staff shall follow MSDS directions:
      Class HI liquids.
                                                                   1) when disposing of excess flammable or
e. Storage rooms and cabinets may be entered only
                                                                      combustible liquids; or
   under secure conditions and under the
   supervision of authorized staff.                                2) after a chemical spill.
f. Any portable container that is not the original
   shipping container must be designated as an                a. All toxic and caustic materials must be stored in
   approved safety canister, and must be listed or               secure areas, in their original containers, with the
   labeled by a nationally recognized testing                    manufacturer's label intact on each container.
   laboratory. Each container shall bear a legible
   label that identifies its contents.                        b. Only authorized staff shall draw/dispense these
                                                                 substances, in accordance with the applicable
g. Excess liquids shall remain in original                       MSDS.
   containers, tightly closed, in the storage room or
   cabinet.                                                   c. Staff shall either return unused amounts to the
                                                                 original container(s) or, under certain
h. The MSDS shall govern use of particular                       circumstances, to another suitable, clearly


1.2 I Environmental Health and Safety                    25                                             PBNDS 2011



                                                                                                    GEO-MEN 00064045




                                                                                                         APP. 103
  Appellate Case: 22-1409               Document: 29-2              Date Filed: 01/23/2023             Page: 107
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 10 of
                                       65



   labeled container within the storage area.                       chemicals. Toxic glues must be stored in a
                                                                    locked location, for use only by authorized staff.
d. MSDS directions shall detennine the disposal
                                                                    When use of a nontoxic product is not possible,
   and spill procedures for toxic and caustic
                                                                    staff must closely supervise all stages of
   materials used in the facility.
                                                                    handling.
                                                               e. The use of dyes and cements for leather requires
Poisonous substances or chemicals (e.g., methyl                   close supervision. Nonflammable types shall be
alcohol, sulfuric acid, muriatic acid, caustic soda or            used whenever possible.
tannic acid, etc.) pose a very high (Class I) caustic
hazard due to their toxicity.                                  f. Ethyl alcohol, isopropyl alcohol and other
                                                                  antiseptic products shall be stored and used only
Methyl alcohol, variously referred to as wood                     in the medical department and only under close
alcohol and methanol, is commonly found in                        supervision. To the extent practical, such
industrial applications (e.g., shellac thinner, paint             chemicals shall be diluted and issued in small
solvent, duplicating fluid, solvents for leather                  quantities to prevent any injuries or lethal
cements and dyes, flushing fluid for hydraulic brake              accumulation.
systems).
                                                               g. Pesticides not currently approved by the
a. If ingested, methyl alcohol can cause permanent                Environmental Protection Agency, such as DDT
   blindness or death.                                            and 1080 (sodium fluoroacetate) are prohibited.
b. Staff must directly supervise the use of any                   The maintenance supervisor is responsible for
   product containing methyl alcohol. Products that               purchasing, storing (in a locked area) and
   contain methyl alcohol in highly diluted amounts               dispensing all pesticides used in the facility.
   (e.g., shoe dye) may be issued to detainees, but            h. The maintenance supervisor or other staff
   only in the smallest workable quantities.                      members responsible for herbicides must hold a
c. Immediate medical attention is vital any time                  current state license as a certified private
   methyl alcohol poisoning is suspected.                         applicator. Persons applying herbicides must wear
                                                                  proper clothing and protective gear.
                                                               1.   Lyes may be used only in dye solutions and only
a. Permanent antifreeze containing ethylene glycol
                                                                    under the direct supervision of staff.
   shall be stored in a locked area and dispensed
   only by authorized staff.
b. Typewriter cleaner containing carbon
   tetrachloride or trichlorochane shall be dispensed          The facility administrator shall individually assign
   in small quantities and used under direct staff             the following responsibilities associated with the
   superv1 s10n.                                               labeling procedure:

c. Cleaning fluids containing carbon tetrachloride             a. identifying the nature of potentially hazardous
   or tetrachloride or trichlorochane shall be strictly           materials adopted for use:
   controlled.                                                 b. overseeing use of properly labeled containers for
d. Glues of every type may contain hazardous                      hazardous materials, including any and all



1.2 I Environmental Health and Safety                     26                                            PBNDS 2011



                                                                                                      GEO-MEN 00064046




                                                                                                          APP. 104
  Appellate Case: 22-1409               Document: 29-2            Date Filed: 01/23/2023             Page: 108
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 11 of
                                       65



   miscellaneous containers into which employees                     contained in a product such as a transit pipe,
   might transfer materials;                                         wallboard, or tile (except when being sawed
                                                                     or otherwise handled in a way that releases
c. instmcting staff in the meaning of the
                                                                     fibers into the air).
   classification code and the MSDS, including the
   safe handling procedures for each material;                 d. Class IV: Suspected Carcinogenic, Teratogenic
                                                                  and Mutagenic Materials
d. working with staff ensure that containers are
                                                                  Chemical agents, substances, mixtures and
   properly labeled; and
                                                                  exposures are listed in the biennial Report on
e. correctly labeling all smaller containers to                   Carcinogens issued by the lJ .S. Public Health
   correspond to the manufacturer-afTixed labels on               Service, in accordance with the Public l-:Iealth
   larger shipping containers.                                    Service Act. The maintenance supervisor shall
                                                                  ensure that the facility has copies of the repmt
                                                                  and that there is compliance with the provisions
Certain substances require special treatment and
                                                                  of the latest edition.
careful planning and precautions before use. These
controlled materials are classified according to the
type of hazard and the nature of the restrictions
imposed for their safe use, as specified in OSHA
regulations.                                                   Every facility shall comply with standards and
                                                               regulations issued by:
a. Class I: Industrial Solvents
   Industrial solvents and chemicals used as paint             a. OSHA;
   thinners, degreasers and deaning agents may                 b. the American Correctional Association
   have toxic properties and low flash points,                    "mandatory" Expected Practices [Mandatory
   making them dangerous fire hazards.                            ACA Expected Practice 4-ALDF-lC-07 requires
b. Class H: Restricted Materials                                  that the facility conform to applicable federal,
   Beryllium and its alloys and compounds, and                    state and/or local fire safety codes, and that of
   silver solder containing cadmium, pose a danger                the authority having jurisdiction document
   to workers, for whom special precautions must                  compliance. A fire alarm and automatic detection
   be taken.                                                      system are required (or else there must be a plan
                                                                  for addressing these or other deficiencies within
c. Class HI: Recognized Carcinogens
                                                                  a reasonable time period), as approved by the
   OSHA-listed carcinogens are governed by the
                                                                  authority having jurisdiction. If the authority
   OSHA regulations provided in 29 CFR
                                                                  approves any variance, exceptions or
   1910.1000.
                                                                  equivalencies, they must not constitute a serious
   Although asbestos appears on the OSHA list, it                 life-safety threat to the occupants of the
   is exempt from the regulation when:                            facility.];
   l) no asbestos fibers shall be released into the air        c. local and national fire safety codes: and
      during handling and use; and
                                                               d. applicable standards of the American Society for
   2) the asbestos consists of firmly bound fibers                Testing and Materials, American National



1.2 I Environmental Health and Safety                     27                                          PBNDS 2011



                                                                                                    GEO-MEN 00064047




                                                                                                        APP. 105
  Appellate Case: 22-1409               Document: 29-2            Date Filed: 01/23/2023             Page: 109
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 12 of
                                       65



   Standards Institute and Underwriters'                       prevention, control and evacuation plan that
   Laboratories or Factory Mutual Engineering                  includes the following:
   Corporation.
                                                               a. control of ignition sources;
New construction, alterations and renovations, shall
                                                               b. control of combustible and flammable fuel load
comply with:
                                                                  sources;
a. the latest revision or update of the International
                                                               c. provisions for occupant protection from fire and
   Council Codes:
                                                                  smoke;
b. the Unifonn Building Code; or
                                                               d. inspection, testing and maintenance of fire
c. the Standard Building Code, in accordance with                 protection equipment, in accordance with NFPA
   40 U.S.C § 619 and local law.                                  codes, etc.:
Jf the local government does not mandate adherence             e. monthly fire inspections;
to a particular code, construction must conform to
                                                               f. installation of fire protection equipment
the International Council Codes.
                                                                  throughout the facility, in accordance with
In addition, construction shall comply with the                   NFPA codes;
latest edition of the National Fire Protection
                                                               g. accessible, current floor plans (including all
Association (NFPA)'s 101, Life Safety Code and
                                                                  buildings and rooms); prominently posted
National Fire Codes (NFCs). If the fire protection
                                                                  evacuation maps/plans; and exit signs and
and life safety requirements of a local building code
                                                                  directional arrows for traffic flow, with a copy of
differ from NFPA 101 or the NFCs, the
                                                                  each revision filed with the local fire department;
requirements of NFP A 10 l and the NFCs shall take
                                                                  and
precedence and be recognized as equivalent to those
of the local building code.                                    h. exit diagrams that shall be conspicuously posted
                                                                  throughout the facility.

a. A qualified departmental staff member shall
   conduct weekly fire and safety inspections.                 Fire drills shall be conducted and documented at
                                                               least quarterly in all facility locations including
b. Facility maintenance (safety) staff shall conduct
                                                               administrative areas.
   monthly inspections.
                                                               a. Fire drills in housing units, medical clinics and
c. Written reports of the inspections shall be
                                                                  other areas occupied or staffed during non-
   f01warded to the facility administrator for review
                                                                  working hours shall be timed so that employees
   and, if necessary, corrective action determinations.
                                                                  on each shift paiticipate in an annual drill.
   The maintenance supervisor shall maintain
   inspection reports and records of corrective action         b. Detainees shall be evacuated during fire drills,
   in the safety office. Fire safety deficiencies shall           except:
   be promptly addressed.                                         1) in areas where security would be jeopardized;
                                                                  2) in medical areas where patient health could be
Every facility shall develop a written fire                          jeopardized; or



1.2 I Environmental Health and Safety                     28                                           PBNDS 2011



                                                                                                    GEO-MEN 00064048




                                                                                                        APP. 106
  Appellate Case: 22-1409               Document: 29-2          Date Filed: 01/23/2023            Page: 110
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 13 of
                                       65



   3) in individual cases when evacuation of                 disease via direct subdermal inoculation. Hems
      patients or detainees is logistically not              included are: hypodermic needles and syringes,
      feasible.                                              scalpel blades, glass vials or ampules containing
                                                             materials deemed to be infectious, burrs, glass
      Staff shall simulate drills in areas where
                                                             cartridges and lancets.
      detainees are not evacuated.
                                                             Accidental injuries from sharp objects are common
c. Emergency-key drills shall be included in each
                                                             in health care programs: most are from needle sticks
   fire drill, and timed. Emergency keys shall be
                                                             caused by staff attempting to recap hypodermic
   drawn and used by the appropriate staff to
                                                             needles. A uniform procedure for used needles and
   unlock one set of emergency exit doors not in
                                                             other disposable sharps is necessary to reduce the
   daily use. NFPA recommends a limit of four and
                                                             number of such injuries by preventing the
   one-half minutes for drawing keys and unlocking
                                                             secondary handling of needles and other dangerous
   emergency doors. However, when conducting
                                                             sharp objects used in the delivery of medical care.
   fire drills, emphasis shall be placed on safe and
   orderly evacuation rather than speed.


                                                             Staff shall frequently wash their hands and take
In addition to a general area diagram, the following
                                                             additional routine precautions to prevent contact
information must be provided on signs:
                                                             with blood or other body fluids.
a. instructions in English, Spanish and the next
                                                             a. Gloves shall be worn: prior to touching blood and
   most prevalent language at the facility;
                                                                body fluids, mucous membranes, or non intact
b. "You are here" markers on exit maps; and                     skin of all patients: prior to handling items or
c. emergency equipment locations.                               surfaces soiled with blood or body fluids; and
                                                                prior to performing venipuncture and other
"Areas of Safe Refuge" shall be identified and
                                                                vascular access procedures.
explained on diagrams. Diagram posting shall be in
accordance with applicable fire safety regulations of        b. Gloves shall be changed atler contact with each
the jurisdiction.                                               detainee.
                                                             c. Masks and protective eyewear or face shields
                                                                shall be worn during procedures that are likely to
                                                                generate droplets of blood or other body fluids.
A mandatory, uniform procedure shall be                      d. Gowns and/or aprons shall be worn during
established for the safe handling and disposal of               procedures that are likely to generate splashes of
used needles and other potentially sharp objects                blood or other body fluids.
(sharps) to prevent both mechanical injury and the
percutaneous transmission of infectious disease              e. Hands and other skin surfaces shall be washed
organisms, such as the hepatitis B vims (HBV) and               immediately and thoroughly if contaminated
human immunodeficiency vims (HIV). Sharps are                   with blood or other body fluids. Hands shall be
defined as all disposable or discarded items derived            washed immediately after gloves are removed.
from detainee care that could potentially transmit           f. All health-care workers shall take precautions to



1.2 I Environmental Health and Safety                   29                                          PBNDS 2011



                                                                                                 GEO-MEN 00064049




                                                                                                     APP. 107
     Appellate Case: 22-1409             Document: 29-2          Date Filed: 01/23/2023              Page: 111
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 14 of
                                       65



     prevent injuries caused by needles, scalpels and            Disease Control for individuals known or
     other sharp instruments or devices during                   suspected to be infected with blood-borne
     procedures, especially at the following times:              pathogens.
     when cleaning used instruments, during disposal
                                                              Staff shall encourage detainees to wash their hands
     of used needles and when handling sharp
                                                              frequently and to take additional routine precautions
     instruments after procedures. Instruments and
                                                              to prevent contact with blood or other body fluids.
     drugs shall be maintained in a secure and
     sanitary condition.
g. To prevent needle-stick injuries, needles shall            Any employee or detainee who receives a needle
   not be recapped, purposely bent or broken,                 stick or who is cut while handling potentially
   removed from disposable syringes, or otherwise             contaminated sharps shall be counseled regarding
   manipulated by hand. After use, disposable                 baseline testing for HBV and HIV, and referred to
   syringes and needles, scalpel blades and other             his/her usual source of health care. If the injury also
   sharp items shall be placed in puncture-resistant          involves a person who is a known source of
   containers for disposal.                                   possible infection, that person shall also be tested
                                                              for HBV and HIV. The incident shall be reported as
h. Large-bore reusable needles shall be placed in a           an occupational injury and documented in
   puncture-resistant container for transport to the          accordance with applicable regulations fix
   reprocessmg area.                                          commissioned officers and civil service employees,
1.   To minimize the need for emergency mouth-to-             respectively.
     mouth resuscitation, mouthpieces, resuscitation          The leading health service provider's exposure-
     bags or other ventilation devices shall be               control plan shall be followed in the event of a
     available for use in areas in which the need for         needle stick.
     resuscitation is foreseeable.
J. Health-care workers who have exudative lesions
                                                              Items that pose a security risk, such as sharp
   or weeping dermatitis shall refrain from all direct
                                                              instruments, syringes, needles and scissors, shall be
   patient care and from handling patient care
   equipment until the condition resolves.                    inventoried and checked weekly by an individual
                                                              designated by the medical facility's Health Service
k Pregnant health-care workers shall strictly adhere          Administrator (HSA) or equivalent.
  to precautions to minimize the risk to the fetus of
  perinatal transmission of HIV.
                                                              Without removing the needles or replacing the
L Isolation precautions shall be used as necessary
                                                              needle covers, staff shall place used (disposable)
  if associated conditions, such as infectious
                                                              syringes in a plastic disposal box or container.
  diarrhea or tuberculosis, are diagnosed or
  suspected. Implementation of standard blood and             a. Disposal Containers
  body fluid precautions for all detainees                       1) Use only commercially available,
  eliminates the need for the use of isolation                      biohazardous-waste sharps containers
  category of "blood and body fluid precautions"                    approved by the National Institute of Safety
  previously recommended by the Centers for                         and Health (e.g., a "Winfield Sharps


1.2 I Environmental Health and Safety                    30                                           PBNDS 2011



                                                                                                    GEO-MEN 00064050




                                                                                                        APP. 108
  Appellate Case: 22-1409                Document: 29-2            Date Filed: 01/23/2023             Page: 112
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 15 of
                                       65



      Container").                                              situations that typically arise in medical operations,
                                                                in many cases they have general application to all
   2) Do not use milk cartons or plastic milk jugs or
                                                                facility operations.
      other plastic containers of similar thickness.
                                                                a. General Housekeeping
   3) Use containers with a two-gallon capacity
                                                                   Environmental cleanliness shall reduce, control
      (approximate).
                                                                   and prevent nosocomial infections due to
   4) Under no circumstances shall an item be                      contaminated environmental surfaces. The HSA
      removed from the Winfield Sharps Container                   or designee is responsible for ensuring the
      (Sharps Container).                                          cleanliness of the medical facility.
b. Location                                                        Using an acceptable health agency standard as a
   Sharps Containers shall be located on top of                    model, the HSA shall establish:
   counters or, if on the wall, at least five feet above
                                                                   l) the deaning equipment, cleansers,
   ground. Sharps Containers shall never sit on the
                                                                      disinfectants and detergents to be used;
   floor.
                                                                   2) the methods of deaning: and
c. Disposal
   When the disposal box is one-halfto two-thirds                  3) the frequency of deaning and inspections.
   fitll, the lid shall be closed and locked, and tape
                                                                   The HSA or designee shall make a daily visual
   shall be placed over the top of the lid to indicate
                                                                   inspection of the medical facility, noting the
   that it is ready for disposal. The Sharps Container
                                                                   condition of floors, walls, windows, horizontal
   shall be labeled with the words "infectious waste"
                                                                   surfaces and equipment.
   or with the universal biohazard symbol, and placed
   in the proper area fi)f removal and disposal.                   All surfaces touched by detainees or staff shall
                                                                   be cleaned using fresh solutions of appropriate
Sharps are considered infectious waste, and final
                                                                   disinfectant products, applied with dean cloths,
disposal of the Sharps Container and contents shall
                                                                   mops or wipes. Cleaned surfaces need not be
be through a commercial contractor that handles
                                                                   monitored microbiologically since the results of
disposal of infectious waste in accordance with all
                                                                   such tests have been shown not to correlate with
local and federal regulations.
                                                                   infection risk. Floors, walls, beds, tables and
The HSA shall make arrangements for disposal with                  other surfaces that usually come in contact with
an approved contractor and is responsible for                      intact skin require low-level disinfection
validating that the contractor's disposal methods are
                                                                   Horizontal surfaces in detainee care areas are
in accordance with all infectious and hazardous
                                                                   deaned on a regular basis, when soiling or spills
waste disposal laws and regulations. Arrangements
                                                                   occur. Additionally, short-stay units are deaned
shall be made with local hospitals, when possible,
                                                                   when a detainee is discharged. Cleaning of walls,
for disposal with the hospitals' own infectious
                                                                   blinds or curtains is required only when visibly
waste.
                                                                   soiled.
                                                                   The Chief Nurse (or equivalent) is responsible
While many of the following considerations,                        for training all staff and detainees in using proper
precautions and specific procedures apply to                       housekeeping procedures and proper handling of


1.2 I Environmental Health and Safety                      31                                           PBNDS 2011



                                                                                                      GEO-MEN 00064051




                                                                                                          APP. 109
 Appellate Case: 22-1409               Document: 29-2       Date Filed: 01/23/2023            Page: 113
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 16 of
                                       65



  hazardous materials and chemicals.                             basins disinfected before being refilled.
                                                                 Hems used in cleaning a contaminated
  1) General Cleaning
                                                                 isolation room shall never be taken into
     a) AH horizontal surfaces shall be damp                     another area.
        dusted daily with an approved germicidal
                                                              d) Linens shall be carefully removed from the
        solution.
                                                                 bed and double-bagged for transport.
     b) Windows, window frames and windowsills
                                                              e) AU waste materials shall be double-bagged
        shall be cleaned on a regular schedule, but
                                                                 and disposed of as contaminated waste.
        do not require daily cleaning.
                                                            3) Terminal Cleaning
     c) Furniture and fixtures shall be cleaned
        daily.                                                a) Every item in the room must be cleaned
                                                                 with an approved hospital germicidal
     d) Floors shall be mopped daily and when
                                                                 solution.
        soiled using the double bucket mopping
        technique. The cleaning solution shall be a           b) When applicable, linen shall be stripped
        hospital disinfectant-detergent solution                 from the bed, with care taken not to shake
        mixed according to the manufacturer's                    the linen. Linen shall be folded away from
        directions. A clean mop head shall be used               the person and folded inward into a bundle,
        each time the floors are mopped.                         then removed with minimal agitation.
     e) Waste containers shall be lined with plastic          c) When applicable, all reusable receptacles
        bags and the liner shall be changed daily.               (e.g., drainage bottles, urinals, bedpans,
        The container itself shall be washed at                  water pitchers) shall be emptied and rinsed
        least weekly, or as needed when it                       with germicidal solutions.
        becomes soiled.
                                                              d) All equipment that is not to be discarded
     f) Cubicle curtains shall be laundered                      (e.g., IV poles, respirators, suction
        monthly or during terminal cleaning                      machines) shall be washed with an
        following treatment of an infectious                     approved germicidal solution following
        patient.                                                 manufacturer's guidelines for cleaning the
                                                                 specific piece of equipment.
  2) Isolation Cleaning
                                                              e) When applicable, mattresses and pillows
     a) An approved germicidal detergent solution
                                                                 covered with durable plastic covers shall
        shall be freshly prepared in accordance
                                                                 be washed thoroughly with the approved
        with the manufacturer's specifications for
                                                                 gennicidal solution.
        each cleaning.
                                                              f) When applicable, beds shall be washed
     b) Afrer cleaning the isolation room, mops
                                                                 thoroughly, using a small bmsh soaked in
        and cleaning cloths shall be laundered
                                                                 germicidal solution to gain access to small
        before being reused.
                                                                 holes and crevices, to areas between the
     c) Dirty water and used disinfecting solutions              springs and to the casters.
        shall be discarded and the buckets and
                                                              g) All furniture shall be washed with a


1.2 I Environmental Health and Safety                  32                                      PBNDS 2011



                                                                                             GEO-MEN 00064052




                                                                                                 APP. 110
  Appellate Case: 22-1409              Document: 29-2       Date Filed: 01/23/2023             Page: 114
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 17 of
                                       65



         germicidal detergent solution. Use a small         staff or the designated health care provider.
         brush if necessary. Outside and underside
                                                            1) Compiling a Cleanup Kit
         as well as legs and casters must also be
         washed.                                               To prepare a cleanup kit for blood and body
                                                               fluid spills, package the following materials in
      h) Wastebaskets shall be thoroughly washed
                                                               a 12" x 15'' clear zip-lock bag:
         with a germicidal solution afrer trash and
         liner have been removed.                              a) gloves, rubber or vinyl, household-type (2
                                                                  pair);
      i) Telephones shall be thoroughly cleaned
         with a clean cloth soaked in the germicidal           b) clean absorbent rags (4);
         solution. The earpiece and mouthpiece                 c) absorbent paper towels ( 15);
         shall be unscrewed, scrubbed, dried and
                                                               d) disposable bag marked "contaminated"
         replaced.
                                                                  size 23"xlO"x39", minimum thickness 1.5
     j) Walls and ceilings need not be washed                     mils.;
        entirely, but areas that are soiled shall be
                                                               e) Clear plastic bag 13''xlO"x39", minimum
        washed with gennicidal solution.
                                                                  thickness 1.5 mils.; and
   4) Choice of Disinfecting Materials
                                                               f) Bottle of "hospital disinfectant"
      Hospital-grade disinfectant detergent
                                                                  (containing quaternary ammonium
      formulations registered by the Environmental
                                                                  chlorides in at least 0.8% dilution), or a
      Protection Agency (EPA) may be used for
                                                                  bottle of household bleach such as
      environmental surface cleaning, but the
                                                                  "Clorox" or "Purex" (5.25% sodium
      physical removal of microorganisms by
                                                                  hypochlorite).
      scrubbing is as imperative as any
      antimicrobial effect of the cleaning agent            2) Selection of Disinfectants
      used.                                                    Dilute solutions of sodium hypochlorite are
                                                               reported extremely effective against both HIV
      Cost, safety and acceptance by staff shall be
                                                               and the Hepatitis B vims and therefore have
      the criteria for selecting any such registered
                                                               been recommended for use in environmental
      agent. The manufacturer's instmctions for use
                                                               decontamination procedures. Quaternary
      shall be followed exactly.
                                                               ammonium compounds are less effective
b. Blood and Body Fluid Clean-up                               against Hepatitis B. Chlorine in solution
   Spills of blood and body fluids shall be cleaned            inactivates viruses quickly and efficiently, but
   up and the surface decontaminated in such a                 must reach the virus particles to do so.
   manner as to minimize the possibility of workers
                                                               Proteinaceous materials may interfere with
   becoming exposed to infectious organisms,
                                                               the ability of the appropriate disinfectant
   including HIV and HBV. A suitable cleanup kit
                                                               solution to reach the virus particles. Since
   shall be maintained for use in cases of spills of
                                                               quaternary disinfecting compounds may act as
   blood and body fluids. Cleanup kits may be
                                                               a detergent as well as a disinfectant, these
   obtained from commercial sources, or may be
                                                               compounds may be used for cleaning and
   compiled by Health Services Department (HSD)
                                                               removal of proteinaceous materials from


1.2 I Environmental Health and Safety                  33                                         PBNDS 2011



                                                                                              GEO-MEN 00064053




                                                                                                   APP. 111
 Appellate Case: 22-1409             Document: 29-2           Date Filed: 01/23/2023              Page: 115
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 18 of
                                       65



     surfaces. However, when using such a                        e) Use paper towels to absorb as much of the
     compound to clean a surface, it shall be                       spilled fluid as possible; then place soiled
     necessary to follow with the use of chlorine                   paper towels in the large clear plastic bag.
     solution for final disinfection.
                                                                 f) Pour the solution carefully onto the spill
     Most blood or fluids shall be removed from                     area. Dispose of the empty bottle in the
     the surface during routine medical cleaning                    large, clear plastic bag. Leave disinfectant
     procedures before application of the                           in place for 15 minutes.
     disinfectant; in such cases, use of sodium
                                                                 g) Use the rags to clean the area, and place
     hypochlorite solution shall be sufficient.
                                                                    rags in the large clear plastic bag.
  3) Selection of Gloves
                                                                 h) Tie off the clear plastic bag and place it
     Household or industrial rubber gloves are
                                                                    inside the large plastic bag marked
     recommended for use rather than surgical
                                                                    "Contaminated."
     rubber gloves, as surgical gloves are
     somewhat porous and are less resistant to                   i) Remove gloves carefully and place them in
     mechanical damage and punctures during                         the plastic bag marked "Contaminated.''
     clean-up procedures.                                       j) Put on the second pair of gloves and tie the
  4) Assignment of Cleaning Duties to Detainees                    "Contaminated" trash bag closed.
     in Medical Facilities                                       k) Properly dispose of the "Contaminated"
     Detainee workers may be assigned duties                        trash bag in a contaminated-waste
     cleaning the medical facility. Detainees are                   receptacle.
     pennitted to clean floors and walls and to
     remove trash, but are not permitted to clean
                                                                 n Properly dispose of the second pair of
                                                                    gloves in the contaminated-waste
     medical equipment.
                                                                    receptacle.
  5) Instructions for Use of Clean-Up Kit
                                                                 m) Wash your hands.
     a) Open the bag and remove the supplies.
                                                                 n) Prepare a new clean-up kit.
     b) Put on one pair of gloves.
                                                                NOTE: Do not place linen or non-disposable
     c) Depending on the type of disinfectant in                articles in the "Contaminated" trash bag.
        the kit, take out bottle of "hospital
                                                           c. l-:Iazardous and Infectious Waste Disposal
        disinfectant," or prepare a dilute solution
                                                              Infectious and hazardous waste generated at a
        of sodium hypochlorite. To prepare a l: 10
                                                              medical facility shall be stored and disposed of
        dilution of 5 .25% sodium hypochlorite,
                                                              safely and in accordance with all applicable
        mix 1 part of 5.25% sodium hypochlorite
                                                              federal and state regulations.
        (common household bleach) with l Oparts
        water.                                                For identified wastes that represent sufficient
                                                              risk of causing infection or injury during
     d) Open the large clear plastic bag and the
                                                              handling and disposal, the following precautions
        large bag marked "contaminated." Place
                                                              shall be applied.
        them next to each other.
                                                              l) Definitions


1.2 I Environmental Health and Safety                 34                                           PBNDS 2011



                                                                                                  GEO-MEN 00064054




                                                                                                     APP. 112
 Appellate Case: 22-1409              Document: 29-2          Date Filed: 01/23/2023              Page: 116
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 19 of
                                       65



     Hazardous or infectious waste is defined as:
     microbiology laboratory waste; human blood
                                                           Sanitation in barber operations is imperative
     and blood products; sharps (as defined in
                                                           because of the possible transfor of diseases through
     "Section VIII," "A" above); laboratory and
                                                           direct contact or by towels, combs and clippers.
     other chemicals; or certain drugs such as
                                                           Towels shall not be reused by other detainees until
     anti neoplastic.
                                                           sanitized. Instrnments such as combs and clippers
     Miscellaneous biomedical waste is defined as          shall not be used successively on detainees without
     waste materials that are not specifically             proper cleaning and disinfecting.
     defined as infoctious waste. Such waste
                                                           1. For sanitation reasons, barbering operations must
     includes bandages, dressings, casts, catheters
                                                              be located in a room that is not used for any
     and disposable pads.
                                                              other purpose. The room must have sufficient
     Waste from detainees in isolation is not                 light, and be supplied with hot and cold running
     considered to be infectious waste unless it              water. The floors, walls and ceilings shall be
     falls within the specific definition of                  smooth, nonabsorbent and easily cleaned.
     infectious waste as stated above.
                                                           2. Each barbershop shall have all equipment and
  2) Collection and Storage                                   facilities necessary for maintaining sanitary
     Infectious waste must be separated from the              procedures for hair care, including covered metal
     general waste stream and clearly labeled as              containers for waste, disinfectants, dispensable
     infectious, adhering to the following                    headrest covers, laundered towels and haircloths.
     practices:
                                                           3. After each detainee visit, all hair care tools that
     a) Infectious waste shall be double-bagged               came in contact with the detainee shall be
        and tied and labeled "Infectious Waste."              cleaned and effectively disinfected. Ultraviolet
     b) The bags used must be impermeable,                    lights are not appropriate for sterilization but
        commercially supplied red bags intended               may be used for maintaining tools that have
        specifically for biohazardous waste                   already been properly sterilized.
        storage.                                           4. Detailed hair care sanitation regulations shall be
     c) Miscellaneous biomedical waste shall be               conspicuously posted in each barbershop for the
        double-bagged and tied but need not be                use of all hair care personnel and detainees.
        labeled as infectious.                                Cotton pads, absorbent cotton and other single or
                                                              dispensable toilet articles may not be reused, and
  3) Treatment and Disposal
                                                              shall be placed in a proper waste receptacle
     Blood products and designated body fluids
                                                              immediately after use. The common use of
     shall be poured slowly and carefully down a
                                                              brushes, neck dusters, shaving mugs and shaving
     toilet to prevent splash. Compacting of
                                                              brushes is prohibited.
     untreated infoctious waste is prohibited. The
     waste disposal contractor must meet all state         5. Barbers or beauticians shall not provide service
     and local requirements for transportation and            to any detainee when the skin of the detainee' s
     disposal.                                                face, neck or scalp is inflamed, or when there is
                                                              scaling, pus or other skin eruptions, unless


1.2 I Environmental Health and Safety                 35                                            PBNDS 2011



                                                                                                 GEO-MEN 00064055




                                                                                                     APP. 113
 Appellate Case: 22-1409             Document: 29-2        Date Filed: 01/23/2023           Page: 117
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 20 of
                                       65



  service of such detainee is performed in                 chief medical officer. No person who is infested
  accordance with the specific authorization of the        with head lice shall be served.




1.2 I Environmental Health and Safety                 36                                      PBNDS 2011



                                                                                            GEO-MEN 00064056




                                                                                               APP. 114
  Appellate Case: 22-1409         Document: 29-2      Date Filed: 01/23/2023   Page: 118
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 21 of
                                       65




                                                   Paint (oil base)
                                                   Linseed oil
                                                   Mineral oil
                                                   Neat's-foot oil
Gasoline
                                                   Sunray conditioner
Benzene (Petroleum ether)
                                                   Guardian fluid
Acetine
Hexane
                                                   Ammonia
Lacquer
                                                   Chlorine
Lacquer thinner
                                                   Antifreeze
Denatured alcohol
                                                   Duplicating fluid
Ethyl alcohol
                                                   Methyl alcohol
Xylene (Xylol)
                                                   Defoliants
Contact cement (flammable)
                                                   Herbicides
Toudi (Toluene)
                                                   Pesticides
Methyl ethyl ether
Methyl ethyl ketone
                                                   Lye
Naphtha Y, Mand P
                                                   Muriatic acid
                                                   Caustic soda
Diesel fuel
                                                   Sulfuric acid
Motor fuel
                                                   Tannie acid
Kerosene
Cleaning solvents
Mineral spirits
Agitene




1.2 I Environmental Health and Safety        37                                 PBNDS 2011



                                                                               GEO-MEN 00064057




                                                                                  APP. 115
  Appellate Case: 22-1409               Document: 29-2         Date Filed: 01/23/2023            Page: 119
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 22 of
                                       65



                                                           1. The facility shall have a Special Management
2.12 Special Management                                       Unit (SMU) with provisions for separating the
     Units                                                    administrative segregation section, for detainees
                                                              segregated from the general population for
L Purpose and Scope                                           administrative reasons, from the disciplinary
                                                              segregation section, for detainees segregated
This detention standard protects detainees, staff,
                                                              from the general population for disciplinaiy
contractors, volunteers and the community from
                                                              reasons.
harm by segregating certain detainees from the
general population in Special Management Units             2. Detainees housed in the general population, staff,
with an Administrative Segregation section for                contractors, volunteers and the local community
detainees segregated for administrative reasons and           shall be protected from harm by the segregation
a Disciplinaiy Segregation section for detainees              of certain detainees in an SM lJ.
segregated for disciplinary reasons.
                                                           3. Any detainee who represents an immediate,
This detention standard applies to the following              significant threat to safety, security or good order
types of facilities housing ERO detainees:                    shall be immediately controlled by staff and, if
                                                              cause exists and supervis01y approval granted,
    •   Service Processing Centers (SPCs):
                                                              placed in administrative segregation. ICE and the
    •   Contract Detention Facilities (CDFs); and             detainee shall be immediately provided a copy of
    •   State or local government facilities used by          the administrative segregation order describing
        ERO through Intergovernmental Service                 the reasons for the detainee's placement in the
        Agreements (I(iSAs) to hold detainees for             SMU. The attorney ofrecord shall be notified of
        more than 72 hours.                                   the administrative segregation order within 24
                                                              hours.
Procedures in italics are specificalzy requiredf()r
SPCs, CDFs, and Dedicated !GSA facilities. Non-            4. Administrative segregation may also be available
dedicated IGSA facilities must conform to these               to detainees for the purpose of providing
procedures or adopt, adapt or establish alternatives,         "protective custody." A detainee shall be placed
provided they meet or exceed the intent represented           in "protective custody" status in administrative
by these procedures.                                          segregation only when there is documentation
                                                              and supervisory approval that it is necessary to
For all types of facilities, procedures that appear in        protect a detainee from harm and that no
italics with a marked(**) on the page indicate                reasonable alternatives are available.
optimum levels of compliance for this standard.
                                                           5. A detainee shall be placed in disciplinary
Various terms used in this standard may be defined            segregation only after a finding by a disciplinary
in standard "7.5 Definitions."                                hearing panel that the detainee is guilty of a
                                                              prohibited act or rule violation classified at a
IL Expected Outcomes
                                                              "greatest," "high" or "high-moderate" level, as
The expected outcomes of this detention standard              defined in "Appendix 3. I .A: Prohibited Acts and
are as follows (specific requirements are defined in          Sanctions," found in "3 .1 Disciplinary System.''
"V. Expected Practices").
                                                           6. Health care personnel shall be immediately


2.12 I Special Management Units                          149                                       PBNDS 2011



                                                                                                GEO-MEN 00064169




                                                                                                    APP. 116
  Appellate Case: 22-1409              Document: 29-2          Date Filed: 01/23/2023             Page: 120
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 23 of
                                       65



   informed when a detainee is admitted to an SMU          12. Detainees in SMU shall have regular access to
   and shall conduct an assessment and review of               supervisory, management, program and health
   the detainees medical and mental health status              care staff.
   and care needs. Health care personnel shall at a
                                                           13. Each detainee in an SMU shall be offered
   minimum conduct a daily assessment of
                                                               individual recreation or appropriate group
   detainees in an SMU. Where reason for concern
                                                               recreation time, unless documented security,
   exists, a qualified medical, or mental health
                                                               safety, or medical considerations dictate
   professional shall conduct a complete evaluation.
                                                               otherwise.
7. Detainees with serious mental illness may not be
                                                           14. Detainees in SMU shall be able to write, send
   automatically placed in an SMU on the basis of
                                                               and receive mail and correspondence as they
   such mental illness. Every effort shall be made
                                                               would otherwise be able to do while detained
   to place detainees with serious mental illness in a
                                                               within the general population.
   setting in or outside of the facility in which
   appropriate treatment can be provided, rather           15. Detainees in SMU shall be provided
   than an SMU, if separation from the general                 opportunities for general visitation, including
   population is necessary                                     legal visitation, unless there are substantial,
                                                               documented reasons for withholding those
8. The status of detainees in SMUs shall be
                                                               privileges.
   reviewed by supervisory staff in accordance with
   required time schedules, and the results of those       16. Detainees in SMU shall have access to personal
   reviews shall be documented.                                legal materials, law library materials and legal
                                                               visits, in accordance with provisions in the
9. A detainee shall remain in disciplinary
                                                               PBNDS.
   segregation for no more than 30 days per
   violation, and his/her status shall be reviewed by      17. Detainees in SMU shall have access to
   the facility administrator and the Field Office             telephones, in accordance with provisions in the
   Director after the first 30 days and each 30 days           PBNDS.
   thereafter. to determine whether continued              18. Detainees in SMU shall have access to
   detention in disciplinary segregation is                    programs and services such as commissary,
   warranted.                                                  library, religious guidance and recreation, in
10. Detainees in SMU shall be afforded basic living            accordance with provisions in the PENDS.
    conditions that approximate those provided to          19. Detailed records shall be maintained on the
    the general population, consistent with the                circumstances related to a detainee 's
    safety and security considerations that are                confinement to the SMU, through required
    inherent in more controlled housing, and in                permanent SMU logs and individual detainee
    consideration of the purpose for which each                records.
    detainee is segregated.
                                                           20. The applicable content and procedures in this
11. Jn general, when a detainee in an SMU is deprived          standard shall be communicated to the detainee
    of any usually authorized items or activity, a             in a language or manner the detainee can
    report of the action shall be forwarded to the             understand.
    facility administrator for notice and review.


2.12 I Special Management Units                          150                                       PBNDS 2011



                                                                                                 GEO-MEN 00064170




                                                                                                     APP. 117
 Appellate Case: 22-1409                Document: 29-2             Date Filed: 01/23/2023         Page: 121
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 24 of
                                       65



     All written materials provided to detainees shall         •    "6.3 Law Libraries and Legal Material."
     generally be translated into Spanish. Where
     practicable, provisions for written translation       V. Expected Practices
     shall be made for other significant segments of       A. Placement kt Admlnistrat!ve
     the population with limited English proficiency.
                                                           SegregaUon
     Oral interpretation or assistance shall be
                                                           Administrative Segregation status is a nonpunitive
     provided to any detainee who speaks another
                                                           status in which restricted conditions of confinement
     language in which written material has not been
                                                           are required only to ensure the safety of detainees or
     translated or who is illiterate.
                                                           others, the protection of property, or the security or
Ill. Standards Affected                                    good order of the facility. For matters of safety and
                                                           security, staff may have to take immediate action to
This detention standard replaces "Special                  control a detainee, including placement in
Management Unit (Administrative Segregation)"              administrative segregation.
and "Special Management Unit (Disciplinary
Segregation)," both dated 12/2/2008.                       Detainees in administrative segregation shall not be
                                                           commingled with detainees in disciplinaiy
IV. References                                             segregation.

American Correctional Association, Pe1.fcumance-           Each facility shall develop and follow written
based Standardsfbr Adult Local Detention                   procedures, consistent with this standard, governing
Facilities, 4th Edition: 4-ALDF-2A-44 through              the management of its administrative segregation
2A-66.                                                     unit. These procedures must document detailed
                                                           reasons for placement of an individual in
ICE/ERO Perforrnance-based National
                                                           administrative segregation. Detainees must be
Detention Standard,; 2011:
                                                           provided a copy of the administrative segregation
 •    "2.4 Facility Security and Control";                 order.
 •    "2.6 Hold Rooms in Detention Facilities":            Prior to the detainee's placement in administrative
 •    "2.10 Searches of Detainees";                        segregation, the facility administrator or designee
                                                           shall review the case to determine whether
 •    "2.13 Staff-Detainee Communication";                 administrative segregation is in fact warranted. The
 •    "3.1 Disciplinary System";"                          facility administrator may delegate to a supervisor
                                                           the authority to place a detainee in administrative
 •    "4.5 Personal Hygiene'';
                                                           segregation.
 •    "4.6 Significant Self-harm and Suicide               1, Reasons for Placement !n Admirdstrntive
      Prevention and Intervention";                           Segregation
 •    "5.1 Correspondence and Other Mail";                 A detainee may be placed in administrative
 •    "5.4 Recreation";                                    segregation when the detainee's continued presence
                                                           in the general population poses a threat to life,
 •    "5.6 Telephone Access";
                                                           property, sel( staff or other detainees; for the
 •    "5.7 Visitation"; and                                secure and orderly operation of the facility; for


2.12 I Special Management Units                          151                                       PBNDS 2011



                                                                                                 GEO-MEN 00064171




                                                                                                     APP. 118
  Appellate Case: 22-1409              Document: 29-2          Date Filed: 01/23/2023             Page: 122
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 25 of
                                       65



medical reasons; or under other circumstances as set              agency concerning improper or criminal
forth below. Some examples of incidents warranting                activities by others):
a detainee's assignment to administrative
                                                               3) sexual predators or other detainees charged
segregation include, but are not limited to, the
                                                                  with a heinous or notorious crime;
following.
                                                               4) detainees who have been pressured by other
a. A detainee is awaiting an investigation or a
                                                                  detainees to participate in sexual activity;
   hearing for a violation of facility rnles. Pre-
   disciplinary hearing detention shall be ordered             5) detainees who refuse to enter the general
   only as necessary to prevent further violation of              population because of alleged intimidation
   those mles or to protect the security and orderly              from other detainees;
   operation of the facility.                                  6) detainees who refuse to return to the general
   1) Pre-disciplinary hearing detention is not to be             population, but who do not provide the reason
      used as a punitive measure.                                 for refusal;

   2) Time served in pre-hearing detention may be              7) detainees who appear to be in danger of
      deducted from any time ordered by the                       bodily harm;
      Institutional Disciplinary Panel (IDP).                  8) detainees who seek protection, claiming to be
b. A detainee is a threat to the security of the                  former law enforcement officers or to have
   facility. The facility administrator may determine             held sensitive law enforcement positions,
   that a detainee's criminal record, past behavior at            whether or not there is official information to
   other institutions, behavior while in ICE/ERO                  verify the claim; or
   detention, or other evidence is sufficient to               9) detainees who request protective custody.
   warrant placement of the detainee in
                                                                 Use of administrative segregation to protect
   administrative segregation. Copies of records
                                                                 vulnerable populations shall be restricted to
   supporting this action shall be attached to the
                                                                 those instances where reasonable efforts have
   administrative segregation order.
                                                                 been made to provide appropriate housing and
c. A detainee requires protection. Protective                    shall be made for the least amount of time
   custody may be initiated at the detainee' s request           practicable, and when no other viable housing
   or by staff as needed to protect the detainee from            options exist, and as a last resort. Detainees
   harm. Each facility shall develop procedures to               who have been placed in administrative
   consider continued placement in protective                    segregation for protective custody shall have
   custody as well as provisions for release from                access to programs, services, visitation,
   protective custody when appropriate. Frequently,              counsel and other services available to the
   the types of detainees who require this type of               general population to the maximum extent
   treatment include, but are not limited to:                    possible.
   1) victims of detainee assaults;                        d. A detainee is scheduled for release, removal, or
   2) detainee informants or witnesses (e.g.,                 transfer within 24 hours. Such segregation may
      detainees who provide information to                    be ordered for security reasons or for the orderly
      institutional staff or any law enforcement              operation of the facility.


2.12 I Special Management Units                          152                                       PBNDS 2011



                                                                                                 GEO-MEN 00064172




                                                                                                     APP. 119
  Appellate Case: 22-1409              Document: 29-2         Date Filed: 01/23/2023            Page: 123
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 26 of
                                       65



e. The IDP may order a detainee into administrative           custody purposes, the order shall state whether
   segregation following disciplinary segregation if          the detainee requested the segregation, and
   it determines that releasing the detainee into the         whether the detainee requests a hearing
   general population would pose a threat to the              concerning the segregation.
   detainee or security and orderly operation of the
                                                          e. The administrative segregation order shall be
   facility. A detainee transferred from disciplinary
                                                             immediately provided to the detainee in a
   segregation to administrative segregation shall
                                                             language or manner the detainee can understand,
   enjoy the same privileges as all other detainees
                                                             unless delivery would jeopardize the safe,
   in administrative segregation, provided receipt of
                                                             secure, or orderly operation of the facility.
   such privileges poses no threat to the safety,
   security, or orderly operation of the facility.            All written materials provided to detainees shall
                                                              generally be translated into Spanish. Where
f. A medical professional who ordered a detainee
                                                              practicable, provisions for written translation
   removed from the general population shall
                                                              shall be made for other significant segments of
   complete and sign an administrative segregation
                                                              the population with limited English proficiency.
   order (see below), unless the detainee is to stay
   in the medical department's isolation ward.                Oral interpretation or assistance shall be
                                                              provided to any detainee who speaks another
::t Adm!nistrnUve Segregation Order
                                                              language in which written material has not been
A written order shall be completed and approved by            translated or who is illiterate
the facility administrator or designee before a
                                                          f. The order shall remain on file with the SMU
detainee is placed in administrative segregation,
                                                             until the detainee is returned to the general
except when exigent circumstances make such
                                                             population.
documentation impracticable. In such cases, an
order shall be prepared as soon as possible.              g. When the detainee is released from the SMU, the
                                                             releasing officer shall indicate the date and time
a. Prior to a detainee's actual placement in
                                                             of release on the administrative segregation
   administrative segregation, the facility
                                                             order. The completed order shall then be
   administrator or designee shall complete the
                                                             forwarded to the Chief of Security for inclusion
   administrative segregation order (Form I-885 or
                                                             in the detainee's detention file.
   equivalent), detailing the reasons for placing a
   detainee in administrative segregation.                3, Review of Detainee Status in Adrn!n!strnt!ve
                                                             Segregation
b. In an emergency, the detainee's placement in
   administrative segregation may precede the             All facilities shall implement written procedures for
   paperwork, which the facility administrator or         the regular review of all detainees held in
   designee shall prepare as soon as possible after       administrative segregation, consistent with the
   the detainee's placement.                              procedures specified below.

c. All memoranda, medical reports and other               a. A supervisor shall conduct a review within 72
   relevant documents shall be attached to the               hours of the detainee's placement in
   administrative segregation order.                         administrative segregation to detennine whether
                                                             segregation is still warranted.
d. If the segregation is ordered for protective


2.12 I Special Management Units                         153                                       PBNDS 2011



                                                                                               GEO-MEN 00064173




                                                                                                   APP. 120
  Appellate Case: 22-1409               Document: 29-2          Date Filed: 01/23/2023             Page: 124
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 27 of
                                       65



   1) The review shall include an interview with the            example, a detainee request, to file the appeal.
      detainee.
                                                            g. If a detainee has been in administrative
   2) A written record shall be made of the decision           segregation for more than 30 days and objects to
      and the justification. The administrative                that status, the facility administrator shall review
      segregation review (Form I-885) shall be used            the case to detennine whether that status should
      for the review.                                          continue. This review shall take into account the
                                                               detainee's views and shall result in a written
   3) If the detainee has been segregated for his/her
                                                               record of the decision and its justification. A
      own protection, but not at the detainee's
                                                               similar review shall take place each 30 days
      request, the signature of the facility
                                                               thereafter.
      administrator or assistant facility
      administrator is required on the Form I-885 to        h. When a detainee has been held in administrative
      authorize the alien's continued detention.               segregation for more than 30 days, the facility
                                                               administrator shall notify the Field Office
b. A supervisor shall conduct an identical review
                                                               Director, who shall notify the ICE/ERO Deputy
   after the detainee has spent seven days in
                                                               Assistant Director, Detention Management
   administrative segregation, and every week
                                                               Division in writing.
   thereafter, for the first 30 days and every l O days
   thereafter, at a minimum.                                8. Placement 1n D!sdp!!nary Segregation
c. The review shall include an interview with the           To provide detainees in the general population a safe
   detainee, and a written record shall be made of          and orderly living environment, facility authorities
   the decision and its justification.                      may discipline anyone whose behavior does not
d. When the reviewing authority concludes that the          comply with facility rules and regulations. Such
   detainee should be removed from administrative           discipline may involve temporary confinement in
   segregation, he/she shall submit that                    the SMU, apart from the general population. A
   recommendation to the facility administrator ( or        detainee may be placed in disciplinary segregation
   designee) for approval.                                  only by order of the IDP, or its equivalent, after a
                                                            hearing in which the detainee has been found to
e. A copy of the decision and justification for each
                                                            have committed a prohibited act and only when
   review shall be given to the detainee unless, in
                                                            alternative dispositions may inadequately regulate
   exceptional circumstances, this provision would
                                                            the detainee' s behavior.
   jeopardize the facility's safety, security, or
   orderly operations. The detainee shall also be
   given an opportunity to appeal a review decision         The maximum sanction is 30 days in disciplinary
   to the facility administrator.                           segregation per violation, except in extraordinary
f After seven consecutive days in administrative            circumstances, such as violations of offense 101
   segregation, the detainee may exercise the right         through 109 listed in the "Greatest" offense
   to appeal the conclusions and recommendations            category in Appendix 3 .1.A. After the first 30 days,
   of any review conducted to the facility                  and each 30 days thereafter, the facility
   administrator. The detainee may use any                  administrator shall send a written justification for
   standard form of written communication, for              the continued segregation to the Field Office


2.12 I Special Management Units                           154                                       PBNDS 2011



                                                                                                  GEO-MEN 00064174




                                                                                                      APP. 121
  Appellate Case: 22-1409               Document: 29-2         Date Filed: 01/23/2023             Page: 125
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 28 of
                                       65



Director.
2, D!sdp!inary Segregation Order                           All facilities shall implement written procedures for
                                                           the regular review of all disciplinary segregation
A written order shall be completed and signed by
                                                           cases, consistent with the following procedures:
the chair of the lDP (or disciplinary hearing officer)
before a detainee is placed into disciplinary              a. A security supervisor, or the equivalent, shall
segregation.                                                  interview the detainee and review his/her status
                                                              in disciplinary segregation every seven days to
a. Prior to a detainee's actual placement in
                                                              determine whether the detainee:
   disciplinary segregation, the lDP chairman shall
   complete the disciplinary segregation order                 1) Abides by all rules and regulations; and,
   (Form J-883 or equivalent), detailing the reasons
                                                               2) Is provided showers, meals, recreation and
   for placing a detainee in disciplinary segregation.
                                                                  other basic living standards, as required by
   All relevant documentation must be attached to
                                                                  this detention standard.
   the order.
                                                           b. The supervisor shall document his/her findings
b. The completed disciplinary segregation order
                                                              after every review, by completing a disciplinary
   shall be immediately provided to the detainee in
                                                              segregation review (Form I-887).
   a language or manner the detainee can
   understand, unless delive1y would jeopardize the            l) The supervisor may recommend the
   safe, secure, or orderly operation of the facility.            detainee' s early release from the SMU upon
                                                                  finding that time in disciplinary segregation is
   All written materials provided to detainees shall
                                                                  no longer necessary to regulate the detainee's
   generally be translated into Spanish. Where
                                                                  behavior.
   practicable, provisions for written translation
   shall be made for other significant segments of             2) An early-release recommendation must have
   the population with limited English proficiency.               the facility administrator's approval before
                                                                  the detainee may be returned to the general
   Oral interpretation or assistance shall be
                                                                  population. Jn conducting this review, the
   provided to any detainee who speaks another
                                                                  facility administrator will consider any
   language in which written material has not been
                                                                  request by the detainee to present written
   translated or who is illiterate.
                                                                  evidence or available witnesses. The review
   The order shall remain on file with the SMU                    shall take into account the detainee's views.
   until the detainee is returned to the general
                                                               3) The supervisor may shorten, but not extend,
   population.
                                                                  the original sanction.
c. When the detainee is released from the SMU, the
                                                               4) All review documents shall be placed in the
   releasing officer shall indicate the date and time
                                                                  detainee's detention file.
   of release on the disciplinary segregation order.
   The completed order shall then be forwarded to              5) After each fonnal review, the detainee shall
   the Chief of Security for inclusion in the                     be given a vvTitten copy of the reviewing
   detainee's detention file.                                     officer's decision and the basis fix his/her
                                                                  finding, unless such a copy may result in a
30 Review of Detainee Status in Disciplinary
                                                                  compromise of institutional security. If a


2.12 I Special Management Units                          155                                        PBNDS 2011



                                                                                                 GEO-MEN 00064175




                                                                                                     APP. 122
  Appellate Case: 22-1409                Document: 29-2        Date Filed: 01/23/2023              Page: 126
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 29 of
                                       65



      written copy cannot be delivered, the detainee       a. The special housing unit officer shall
      shall be advised of the decision orally, and the        immediately record:
      detention file shall so note, identifying the
                                                               1) whether the detainee ate, showered, recreated
      reasons why the notice was not provided in
                                                                  and took any medication; and
      writing.
                                                               2) any additional information, such as whether
c. The facility administrator and the Field Office
                                                                  the detainee has a medical condition, or has
   Director shall review the status of a detainee in
                                                                  exhibited suicidal/assaultive behavior.
   disciplinary segregation after the first 30 days of
   segregation, and each 30 days thereafter, to                3) the officer that conducts the activity shall
   determine whether continued detention in                       print his/her name and sign the record.
   disciplinary segregation is warranted.                  b. The facility medical officer shall sign each
G, Logs and Records                                           individual's record when he/she visits a detainee
                                                              in the SMlJ. The housing officer shall initial the
1. Permanent SMU Log
                                                              record after the medical visits are completed, but
A permanent log shall be maintained in the SMU to             no later than the end of the shift.
record all activities concerning SMU detainees (e.g.,      c. A new form must be created for each week the
meals served, recreational time, visitors, etc.).             detainee is in the SMU. The completed weekly
The SMU log shall record the detainee's name, A-              forms shall be retained at the SMU until the
number, housing location, date admitted, reasons              detainee is released from the SMU.
for admission, status review dates, tentative release      d. Upon a detainee's release from the SMU, the
date (for detainees in disciplinary segregation), the         releasing officer shall attach that detainee's
authorizing official, and date released. These logs           entire housing unit record to either the
shall also be used by supervismy staff and other              administrative segregation order or disciplinary
officials to record their visits to the unit.                 segregation order and forward it to the Chief of
2!if!s!tors' Log                                              Security or equivalent for inclusion into the
                                                              detainee's detention file.
A separate log shall be maintained in the SMU of
all persons visiting the unit. This separate record        D, Basic Requirements for AJJ Speda!
shall include notation of:                                 Management Urdts
a. the time and date of the visit, and                     Conditions of confinement are based on the amount
b. any unusual activity or behavior of an individual       of supervision required to control a detainee and to
   detainee, with a follow-up memorandum sent              safeguard the detainee, other detainees and facility
   through the facility administrator to the               staff.
   detainee's file.                                        **Detainees must be evaluated by a medical
3. Special Management Housing Una Record                   pn4essional prior to placement in an SMU

The Special Management Housing Unit Record or              In every instance, any exceptions to these
comparable form shall be prepared immediately              requirements shall be:
upon the detainee's placement in the SMU.                  1. made only for the purpose of ensuring detainee


2.12 I Special Management Units                          156                                        PBNDS 2011



                                                                                                  GEO-MEN 00064176




                                                                                                      APP. 123
  Appellate Case: 22-1409                 Document: 29-2         Date Filed: 01/23/2023            Page: 127
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 30 of
                                       65



   and facility staff safety and security (i.e., not for     Ordinarily, the number of detainees confined to
   purposes of punishment);                                  each cell or room may not exceed the capacity for
                                                             which it was designed. Under exigent
2. approved by a supervisor ( or higher official);
                                                             circumstances, before approving any additional cell
3. on a temporary and situational basis, continued           occupancy on a temporary basis, the facility
   only for as long as it is justified by threat to the      administrator shall consult with lCE/ERO Detention
   safety or security of the facility, its staff, or         Management Division, who shall consult with
   detainee population; and                                  DHS([CE legal counsel. If a decision is made to
4. documented in the Permanent SMU Unit log                  approve such additional cell occupancy, a report of
   and, under circumstances specified later in this          the action shall be filed with the facility and with
   detention standard, documented in a memo                  the Field Office Director.
   which shall be placed in the individual detainee 's
   detention file.
                                                             Cells and rooms used for purposes of segregation
When a detainee in an SMU is deprived of any
                                                             must be well ventilated, adequately lit,
usual authorized items or activity, a report of the
                                                             appropriately heated/cooled and maintained in a
action shall be forwarded to the facility
                                                             sanitary condition at all times in accordance with
administrator for review. This report shall be made
                                                             the standards for general population, consistent with
part of the detainee' s detention file.
                                                             safety and security.
E, Translation/Interpretation Services
                                                             1. All SMU cells must be equipped with beds that
Detainees shall be provided translation or                      are securely fastened to the cell floor or wall.
interpretation services while in the SMU, to assist             SMU cells must also be conducive to
with their understanding of the reason and                      maintaining a safe and secure environment for all
conditions of confinement as well as their rights and           detainees, with particular emphasis on allowing
responsibilities while in confinement.                          for full visibility and appropriate observation by
                                                                staff and wherever possible on eliminating
E Specla! Needs
                                                                potential safety hazards such as sharp edges and
Detainees in the SMU shall be provided appropriate              anchoring devices.
accommodations and professional assistance for               2. Conditions for close observation in a "dry cell''
special conditions as needed ( e.g., medical,                   without water are detailed in standard "2.10
therapeutic, or mental health treatment), on an equal           Searches of Detainees."
basis as those in the general population.
                                                             L Persona! Property
G, Control of Contraband and Tools
                                                             Each facility shall issue guidelines in accordance
In accordance with procedures detailed in standard           with this standard concerning the property detainees
"2.4 Facility Security and Control," each facility           may retain in each type of segregation. Generally,
administrator is required to establish written policy        detainees in disciplinary segregation shall be subject
and procedures to control and secure SMlJ                    to more stringent personal property restrictions and
entrances, contraband, tools and food carts.                 control than those in administrative segregation,
tL Ce!! Occupancy                                            given the non-punitive nature of administrative


2.12 I Special Management Units                            157                                      PBNDS 2011



                                                                                                  GEO-MEN 00064177




                                                                                                      APP. 124
  Appellate Case: 22-1409              Document: 29-2          Date Filed: 01/23/2023            Page: 128
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 31 of
                                       65



segregation.                                               M, Supervisory and Staff Visits
K Priv!!eges                                               In addition to the direct supervision performed by
                                                           unit staff:
Each facility shall issue guidelines in accordance
with this standard concerning the privileges               1. The shift supervisor shall see each segregated
detainees may have in each type of segregation.               detainee daily, including on weekends and
1- Adrn!n!strat!ve SegmgaUon                                  holidays.

Generally, these detainees shall receive the same          2. The facility administrator (or designee) shall
privileges available to detainees in the general              visit each SMU daily.
population, consistent with any safety and security        3. Program staff may visit a detainee upon his/her
considerations for detainees, facility staff and              request.
security.
                                                           The facility administrator may require other staff to
When space and resources are available, detainees          visit each detainee daily.
in administrative segregation may be provided
                                                           N, Health Care
opportunities to spend time outside their cells (in
addition to the required recreation periods), for such     Health care personnel shall conduct face-to-face
activities as socializing, watching TV and playing         medical assessments at least once daily for detainees
board games, and may be assigned to work details           in an SMU. Where reason for concern exists,
(e.g., as orderlies in the SMU).                           assessments shall be followed up with a complete
2. D!sdp!!nary Segregation                                 evaluation by a qualified medical or mental health
                                                           professional, and indicated treatment.
Generally, these detainees shall have fewer
privileges than other detainees in either the general      Detainees with serious mental illness may not be
population or in administrative segregation. More          automatically placed in an SMlJ on the basis of
                                                           such mental illness. Every effort shall be made to
specifically, they are subject to more stringent
personal property control including, but not limited       place detainees with serious mental illness in a
to, limitations on their reading material and              setting in or outside of the facility in which
                                                           appropriate treatment can be provided, rather than
television viewing (which may be completely
                                                           an SMU, if separation from the general population
terminated), and restricted commissary or vending
machine purchases.                                         1s necessary.
                                                           Medical visits shall be recorded on the SMU
L C!ose Supervlslon
                                                           housing record or comparable form, and any action
Detainees in SMU shall be personally observed and          taken shall be documented in a separate logbook. A
logged at least every 30 minutes on an irregular           detainee's mental health status shall be reviewed
schedule. For cases that warrant increased                 and documented at least once every 30 days.
observation, the SMU personnel shall personally
                                                           0, Meals
observe detainees accordingly. (See also standard
"4.6 Significant Self-harm and Suicide Prevention          Detainees in SMU shall be provided three
and Intervention" and the "Dry Cells" section in           nutritionally adequate meals per day, according to
standard "2.10 Searches of Detainees.")                    the general population meal schedule and ordinarily


2.12 I Special Management Units                          158                                      PBNDS 2011



                                                                                                GEO-MEN 00064178




                                                                                                    APP. 125
  Appellate Case: 22-1409              Document: 29-2         Date Filed: 01/23/2023              Page: 129
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 32 of
                                       65



from the same menu. Deviation from meals served           In accordance with standard "5. l Correspondence
to the general population must be documented,             and Other Mail," detainees in an SMU may write,
including an explanation as to why SMU did not            send and receive letters and other correspondence,
receive the same meaL                                     in a manner similar to those housed in the facility's
                                                          general population.
P, Clothing and Persona! Hygkme
In accordance with standard "4.5 Personal
Hygiene," detainees in SMU may shave and shower           In accordance with standard "5.7 Visitation," while
at least three times weekly and receive other basic       in an SMU, a detainee ordinarily retains visiting
services such as laundry, hair care, barbering,           privileges.
clothing, bedding and linen equivalent to general
                                                          Segregated detainees may ordinarily use the visiting
population detainees and consistent with safety and
                                                          room during normal visiting hours. However, the
security of the facility.
                                                          facility may restrict or disallow visits for a detainee
1. As needed, staff shall provide toilet tissue, a        who violates visitation rnles or whose behavior
   wash basin, tooth brush and shaving utensils, and      otherwise indicates the detainee would be a threat to
   may issue retrievable kits of toilet articles.         the security or the good order of the visiting room.
2. A detainee may be denied such items as clothing,       1. Visitation may be restricted or disallowed when
   mattress, bedding, linens, or pillow for medical          a detainee in administrative segregation is
   or mental health reasons if his/her possession of         charged with, or has been found to have
   such items raises concerns for detainee safety            committed a prohibited act related to visiting
   and/or facility security.                                 privileges, or has othervvise acted in a way that
                                                             would reasonably indicate that he/she would be a
   a. All denials of such items shall be
                                                             threat to the orderliness or security of the visiting
      documented.
                                                             room.
  b. If a detainee is so disturbed that he/ she is
                                                          2. Under no circumstances may detainees
     likely to destroy clothing or bedding, or create
                                                             participate in visitation while in restraints. If the
     a disturbance by risking harm to self or
                                                             detainee's behavior warrants restraints, the visit
     others, the medical department shall be
                                                             may not be granted under general population
     notified immediately and a regimen of
                                                             visiting conditions.
     treatment and control shall be instituted by the
     medical staff, as necessary.                         3. Where visits are restricted or disallowed, a report
                                                             shall be filed with the facility administrator and
   c. Extreme detainee behavior, such as
                                                             ICE/ERO, and made part of the detainee's file.
      destroying clothing or bedding or harmful
      behavior to self or others, must be                 4. Detainees in protective custody, and violent and
      documented, made part of the detainee's file           disruptive detainees, shall not use the visitation
      with the facility, and reported to the Field           room during normal visitation hours. In cases in
      Office Director to implement necessary                 which a visit would present an unreasonable
      efforts to protect and care for the detainee.          security risk, visits may be disallowed for a
                                                             particular detainee.
Q, Correspondence


2.12 I Special Management Units                         159                                         PBNDS 2011



                                                                                                 GEO-MEN 00064179




                                                                                                     APP. 126
  Appellate Case: 22-1409               Document: 29-2         Date Filed: 01/23/2023            Page: 130
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 33 of
                                       65



                                                           basis.

In accordance with standard "5. 7 Visitation,''            V, legal Materials
detainees in SMU may not be denied legal
                                                           Detainees in SMU shall have access to legal
visitation. However, the facility administrator or
                                                           materials in accordance with standard "6.3 Law
designee may implement whatever security
                                                           Libraries and Legal Material."
precautions are necessary to protect the detainee
and visitors and maintain good order. In such cases,       Detainees may retain all personal legal material
staff shall advise legal service providers and             upon admittance to an SMU, provided such material
assistants of any security concerns as soon as             does not create a safety, security, or sanitation
possible.                                                  hazard.

T, Re!!gkms Guidance                                       Detainees with a large amount of personal legal
                                                           material may be required to place a portion with
In accordance with standard "5.5 Religious                 their stored personal property, with access permitted
Practices," detainees in an SMU shall be permitted         during scheduled hours. Requests for access to such
to participate in religious practices, consistent with     legal material shall be accommodated as soon as
the safety, security, and orderly operation of the         possible, but in no case more than 24 hours after
facility.                                                  receipt of the initial detainee request to retrieve
Detainees in an SMlJ shall be allowed visits by            documents, except in the event of documented
members of the clergy or other religious service           security reasons.
providers, upon request, unless the supervisor             W, law Ubrary and lega! Rtghts Group
determines that such a visit presents a safety or
                                                           PresentaUons Access
security risk or would interfere with the orderly
operation of the facility. Violent or uncooperative        In accordance with standard "6.3 Law Libraries and
detainees may be temporarily denied access to              Legal Material,'' detainees housed in administrative
religious guidance. Staff shall advise the religious       segregation or disciplinary segregation units shall
service provider of the detainee's present state of        have the same law library access as the general
behavior before he/she agrees to visit the detainee.       population, unless compelling security concerns
                                                           require limitations.
Each facility shall develop procedures to allow
detainees to retain religious items within their           1. Facilities may supervise the library use of a
possession (e.g., religious wearing apparel, religious        detainee housed in an SMU as warranted by the
headwear, prayer mgs, beads, prayer rocks,                    individual's behavior. Violent or uncooperative
medallions) consistent with good security practices.          detainees may be temporarily denied access to
(See also standard "5.5 Religious Practices").                the law library if necessary to maintain security,
                                                              until such time as their behavior warrants
U, Reading Materials (Non-legal)
                                                              resumed access. In some circumstances, legal
Detainees in SMU shall have access to reading                 material may be brought to individuals in
materials, including religious materials. The                 disciplinary segregation.
Recreation Specialist shall offer each detainee soft-
                                                           2. Detainees segregated for protection must be
bound, reading materials of this type on a rotating
                                                              provided access to legal materials. Such


2.12 I Special Management Units                          160                                      PBNDS 2011



                                                                                                GEO-MEN 00064180




                                                                                                    APP. 127
  Appellate Case: 22-1409               Document: 29-2          Date Filed: 01/23/2023              Page: 131
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 34 of
                                       65



   detainees may be required to use the law library             Detainees in the SMU for disciplinary reasons
   separately or, if that is not feasible, legal                shall be offered at least one hour of recreation
   materials must be brought to them, upon request.             per day, outside their cells and scheduled at a
                                                                reasonable time, at least five days per week.
3. Denial of access to the law library must be:
                                                                **Detainees in the SA1Ufor administrative
   a. supported by compelling security concerns;
                                                                reasons shall be ojfered at least two hours of
   b. for the shortest period required for security;            exercise per day. seven days a 1'Veek, unless
      and                                                       documented security. safety or medical
   c. fully documented in the SMU housing                       considerations dictate othenvise.
      logbook.                                                  **Detainees in the S1'v1Ufor disciplinary reasons
The facility administrator shall notify ICE/ERO                 shall be C?ffered at least one hour of exercise per
every time access is denied, with documentation                 day, seven days a 'Week, unless documented
placed in the detention file.                                   security, safety or medical considerations dictate
                                                                othervvise.
In accordance with standard "6.4 Legal Rights
Group Presentations," facility staff and/or ICE/ERO         2. Where cover is not provided to mitigate inclement
shall notify detainees in segregation in advance of            weather, detainees shall be provided weather-
legal rights group presentations and provide these             appropriate equipment and attire
detainees an opportunity to attend. Group legal             3. The recreation privilege shall be denied or
rights presentations shall be open to all detainees,           suspended only if the detainee's recreational
including detainees in SMUs, except when a                     activity may unreasonably endanger safety or
particular detainee' s attendance may pose a security          security:
risk If a detainee in segregation cannot attend for
                                                                a. A detainee may be denied recreation
this reason, designated facility staff shall make
                                                                   privileges only with the facility
alternative arrangements to offer a separate
                                                                   administrator's written authorization,
presentation and individual consultation to the
                                                                   documenting why the detainee poses an
detainee, if the detainee or the presenter so requests.
                                                                   unreasonable risk even when recreating alone.
)C Recreation                                                      However, when necessary to control an
Recreation for detainees housed in the SMU shall                   immediate situation for reasons of safety and
be separate from the general population. As                        security, SMU staff may deny an instance of
necessary or advisable to prevent assaults and to                  recreation, upon verbal approval from the
reduce management problems, recreation for some                    shift supervisor, and shall document the
individuals shall be solitary and shall occur separate             reasons in the unit logbook(s). The supervisor
from all other detainees. In accordance with                       may also require additional written
standard "5.4 Recreation":                                         documentation from the SMU staff for the
                                                                   facility administrator. When a detainee in an
1. Detainees in the SM lJ for administrative reasons               SMU is deprived of recreation ( or any usual
   shall be offered at least one hour of recreation                authorized items or activity), a written report
   per day, outside their cells and scheduled at a                 of the action shall be forwarded to the facility
   reasonable time, at least seven days per week.                  administrator. Denial ofrecreation must be


2.12 I Special Management Units                           161                                        PBNDS 2011



                                                                                                   GEO-MEN 00064181




                                                                                                       APP. 128
 Appellate Case: 22-1409              Document: 29-2          Date Filed: 01/23/2023           Page: 132
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 35 of
                                       65



     evaluated daily by a shift supervisor.                   C The facility shall notify the Field Office
                                                                Director in writing when a detainee is denied
  b. A detainee in disciplinary segregation may
                                                                recreation privileges in excess of seven days.
     temporarily lose recreation privileges upon a
     disciplinary panel's written detennination that      Y, Telephone Access
     he/she poses an unreasonable risk to the
                                                          As detailed in standard "5.6 Telephone Access,"
     facility, himself!herself, or others.
                                                          detainees in SMU shall have access to telephones in
  c. When recreation privileges are suspended, the        a manner that is consistent with the special safety
     disciplinary panel or facility administrator         and security requirements of such units. Detainees
     shall provide the detainee written notification,     shall be permitted to place calls to attorneys, other
     including the reason(s) for the suspension, any      legal representatives, courts, government offices
     conditions that must be met before restoration       (including the DHS Office of the Inspector General,
     of privileges, and the duration of the               DHS Office for Civil Rights and Civil Liberties,
     suspension provided the requisite conditions         ICE/QPR Joint Intake Center, and embassies or
     are met for its restoration.                         consulates, according to the facility schedule. Any
  d. The denial of recreation privileges shall be         denial of telephone access shall be documented.
     included as part of the regular reviews              In general, any detainee in an SMU may be
     required for all detainees in SMU status. In         reasonably restricted from using or having access to
     accordance with SMU procedures, and using            a phone if that access is used for criminal purposes
     the forms required by this standard, the             or would endanger any person, or if the detainee
     reviewer(s) shall state, in writing, whether the     damages the equipment provided. In such instances,
     detainee continues to pose a threat to self,         staff must clearly document why such restrictions
     others, or facility security and, if so, why.        are necessary to preserve the safety, security and
  e. Denial of recreation privileges for more than        good order of the facility. Detainees in disciplinary
     seven days requires the concun-ence of the           segregation may be restricted, as part of the
     facility administrator and a health care             disciplinary process, from using telephones to make
     professional. It is expected that such denials       general calls. However, even in disciplinary
     shall rarely occur, and only in extreme              segregation, detainees shall have telephone access
     circumstances.                                       for special purposes.




2.12 I Special Management Units                         162                                      PBNDS 2011



                                                                                               GEO-MEN 00064182




                                                                                                  APP. 129
  Appellate Case: 22-1409              Document: 29-2         Date Filed: 01/23/2023            Page: 133
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 36 of
                                       65



                                                              of prohibited acts and disciplinary consequences.
3.1 Disciplinary System
                                                          3. Where permitted by facility policy, staff shall
L Purpose and Scope                                          informally settle minor transgressions through
                                                             mutual consent, whenever possible.
This detention standard promotes a safe and orderly
                                                          4. Staff who have reason to suspect that a detainee
living environment for detainees by establishing a
                                                             has engaged in a prohibited act or who witness a
fair and equitable disciplinary system, requiring
                                                             prohibited act that cannot or should not be
detainees to comply with facility rnles and
                                                             resolved informally, shall prepare a clear,
regulations, and imposing disciplinary sanctions to
                                                             concise and complete incident report.
those who do not comply.
                                                          5. Each Incident Report shall be objectively and
This detention standard applies to the following
                                                             impartially investigated and reported, ordinarily
types of facilities housing ERO detainees:
                                                             by a person of supervisory rank.
  •   Service Processing Centers (SPCs);
                                                          6. A serious incident that may constitute a criminal
  •   Contract Detention Facilities (CDFs); and              act shall be referred to the proper investigative
  •   State or local government facilities used by           agency as appropriate, and administrative
      ERO through Intergovernmental Service                  investigations shall be suspended pending the
      Agreements (IGSAs) to hold detainees for               outcome of that referral.
      more than 72 hours.                                 7. At each step of the disciplinary and appeal
Procedures in italics are specifzca!fy required.for          process, the detainee shall be advised in writing
SPCs, CDFs. and Dedicated !CN,'A fi.1cilities. Non-          of his/her rights in a language he/she
dedicated IGSA facilities must conform to these              understands, and translation or interpretation
procedures or adopt, adapt or establish alternatives,        services shall be provided as needed.
provided they meet or exceed the intent represented       8. If any staff at any stage of the disciplinary
by these procedures.                                         process has reason to believe that the detainee is
Various terms used in this standard may be defined           mentally ill or mentally incompetent, the facility
in standard "7. 5 Definitions."                              shall provide for an assessment by qualified
                                                             medical personnel.
U. Expected Outcomes                                      9. A Unit Disciplinary Committee (UDC) shall
The expected outcomes of this detention standard             further investigate and adjudicate the incident
are as follows (specific requirements are defined in         and may impose minor sanctions or refer the
"V. Expected Practices").                                    matter to a higher level disciplinary panel.

1. Detainees shall be informed of facility rnles and      10. An Institution Disciplinary Panel (TOP) shall
   regulations, prohibited acts, disciplinary                 conduct formal hearings on Incident Reports
   sanctions that may be imposed, their rights in the         referred from UDCs and may impose higher
   disciplinary system and the procedure for                  level sanctions for "greatest" and "high" level
   appealing disciplinary findings.                           prohibited acts.

2. Each facility shall have graduated severity scales     11. Detainees before the IDP shall be afforded a


3.1 I Disciplinary System                               189                                      PBNDS 2011



                                                                                               GEO-MEN 00064209




                                                                                                   APP. 130
 Appellate Case: 22-1409                Document: 29-2         Date Filed: 01/23/2023            Page: 134
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 37 of
                                       65



   staff representative, upon request, or                      the right to correspond with persons or
   automatically if the detainee is illiterate, has            organizations; and the right to due process.
   limited English language skills or otherwise
                                                           19. The applicable content and procedures in this
   needs special assistance.
                                                               standard shall be communicated to the detainee
12. Actions of the IDP shall be reviewed by the                in a language or manner the detainee can
    facility administrator, who may concur with the            understand.
    findings and sanctions or modify them.
                                                               All written materials provided to detainees shall
13. At all steps in the disciplinary process, any              generally be translated into Spanish. Where
    sanctions imposed shall be commensurate with               practicable, provisions for written translation
    the severity of the committed prohibited act and           shall be made for other significant segments of
    intended to encourage the detainee to conform              the population with limited English proficiency.
    with rules and regulations in the future.
                                                               Oral interpretation or assistance shall be
14. All steps of the disciplinaiy process shall be             provided to any detainee who speaks another
    performed within the required time limits.                 language in which written material has not been
                                                               translated or who is illiterate.
15. At all steps of the disciplinary process, accurate
    and complete records shall be maintained. The          UL Standards Affected
    detainee shall receive copies of all reports,
    exhibits and other documents considered or             This detention standard replaces "Disciplinary
    generated in the hearing process, except insofar       Policy" dated 12/2/2008.
    as the disclosure of such documents may pose
    an imminent threat to the safety, security and
                                                           IV. References
    orderly conduct of the facility staff or other         American Correctional Association, Perfbrmance-
    detainees, or if the document or other evidence        based Standard5 jcJr Adult Local Detention
    is otherwise protected from disclosure.                Facilities, 4th Edition: 4-ALDF-3A-01, 3A-02,
16. If a detainee is found not guilty at any stage of      6B-05, 6C-O 1 through 6C-19.
    the disciplinary process, the incident records
                                                           V. Expected Practices
    shall not be placed or retained in the detainee's
    file, even if these records are retained elsewhere     A. Guidelines
    for statistical or historical purposes.
                                                           1. Detainees shall receive translation or
17. Detainees shall be allowed to appeal                      interpretation services, including accommodation
    disciplinary decisions through a formal                   for the hearing impaired, throughout the
    grievance system. No staff member shall harass,           investigative, disciplinary and appeal process.
    discipline, punish or otherwise retaliate against
                                                           2. Each facility holding ICE/ERO detainees in
    any detainee for filing a complaint or grievance.
                                                              custody shall have a detainee disciplinary system
18. Detainees shall be afforded rights including, but         with progressive levels of reviews, appeals,
    not limited to, the following: the right to               procedures and documentation procedures.
    protection from abuse; the right to freedom from          Written disciplinary policy and procedures shall
    discrimination; the right to pursue a grievance;          clearly define detainee rights and


3.1 I Disciplinary System                                190                                      PBNDS 2011



                                                                                                GEO-MEN 00064210




                                                                                                    APP. 131
  Appellate Case: 22-1409               Document: 29-2        Date Filed: 01/23/2023             Page: 135
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 38 of
                                       65



   responsibilities. The policy, procedures and rules         not improve within a reasonable amount of time,
   shall be reviewed annually at a minimum.                   the officer must find the detainee incompetent to
                                                              assist in his/her own defense, and note such
3. Disciplinary action may not be capricious or
                                                              finding on the Incident Report.
   retaliatory nor based on race, religion, national
   origin, gender, sexual orientation, disability or      B. Notice to Detainees
   political beliefs.
                                                          The detainee handbook, or supplement, issued to
4. Staff may not impose or allow imposition of the        each detainee upon admittance, shall provide notice
   following sanctions: corporal punishment;              of the facility's rnles of conduct and prohibited acts,
   deprivation of food services, to include use of        the sanctions imposed for violations of the rnles, the
   Nutraloaf or "food loaf'; deprivation of clothing,     disciplinary severity scale, the disciplinary process
   bedding or items of personal hygiene; deprivation      and the procedure for appealing disciplinary
   of correspondence privileges; deprivation of legal     findings. Detainees shall have the following rights
   access and legal materials; or deprivation of          and shall receive notice of them in the handbook:
   indoor or outdoor recreation, unless such activity
                                                          1. The right to protection from personal abuse,
   would create a documented unsafe condition
                                                             corporal punishment, unnecessary or excessive
   within the facility. Any sanction imposed shall be
                                                             use of force, personal injury, disease, property
   approved by the facility administrator and
                                                             damage and harassment;
   reviewed by the Field Office Director.
                                                          2. The right of freedom from discrimination based
5. The facility shall not hold a detainee accountable
                                                             on race, religion, national origin, gender, sexual
   for his/her conduct if a medical authority finds
                                                             orientation, physical or mental ability, or
   him/her mentally incompetent. For purposes of
                                                             political beliefs;
   these standards, a mentally incompetent
   individual is defined as an individual who is          3. The right to pursue a grievance in accordance
   unable to appreciate the difference between               with procedures provided in the detainee
   appropriate and inappropriate behavior, or                handbook, without fear of retaliation;
   between "right" and "wrong." Such an individual        4. The right to pursue a grievance in accordance
   is not capable of acting in accordance with those         with standard"6.2 Grievance System" and
   norms and therefore, cannot be held responsible           procedures provided in the detainee handbook.
   for his/her "wrongful" actions
                                                          5. The right to correspond with persons or
6. A person who cannot assist in his/her own                 organizations, consistent with safety, security
   defense because he/she lacks the ability to               and the orderly operation of the facility; and
   understand the nature of the disciplinary
   proceedings, as determined by a medical                6. The right to due process, including the prompt
   authority, shall be considered incompetent.               resolution of a disciplinary matter.
   Disciplinary proceedings against such a detainee       Copies of the rnles of conduct, rights and
   shall be postponed until such time as the detainee     disciplinary sanctions shall be provided to all
   is able to understand the nature of the                detainees and posted in English, Spanish, and other
   disciplinary proceedings and to assist in his/her      languages spoken by significant segments of the
   own defense. If the detainee' s mental status does     population with limited English proficiency. Copies


3.1 I Disciplinary System                               191                                       PBNDS 2011



                                                                                                GEO-MEN 00064211




                                                                                                    APP. 132
  Appellate Case: 22-1409               Document: 29-2         Date Filed: 01/23/2023              Page: 136
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 39 of
                                       65



to be provided and posted are as follows:                  The !DP shall impose at least one sanction in the E
                                                           through M range, but m«v suspend any or all, once
1. Disciplinary Severity Scale;
                                                           imposed. Similarly, the UDC shall impose at least
2. Prohibited Acts; and                                    one sanction in the G through lvf range, but mqy
3. Sanctions.                                              su.s11end any or all, once imposed

C, Disciplinary Severity Scale and                         D. incident Reports
   Prohibited Acts                                         Officers who witness a prohibited act, or have
All facilities shall have graduated scales of offenses     reason to suspect one has been committed, shall
and disciplinary consequences as provided in this          prepare and submit an Incident Report. AU Incident
section.                                                   Reports must state facts clearly, precisely and
                                                           concisely, omitting no details that may prove
Prohibited acts are divided into four categories:          significant. Reports also shall identify the officer(s ),
"greatest,., "high," "moderate., and "lmv
                                                           the detainee(s) and all witnesses to the incident.
 moderate .. , The sanctions authorized/or each
 category shall be imposed only ({ the detainee is         Minor transgressions shall be settled informally and
fcJUnd to have committed a prohibited act (w~e             by mutual consent whenever possible. If however
 "Appendix 3.1.A: Offense Categories").                    the officer involved thinks an informal resolution is
                                                           inappropriate or unattainable, he or she shall
1, Greatest Offenses
                                                           prepare an Incident Report and submit it to the
The IDP shall impose and execute at least one              appropriate supervisor before the end of the
sanction in the A through E range. Additional              assigned shift.
sanctions (A through G) mt~y be imposed and either
                                                           ICE/ERO pre-approval is required for use ofICE
executed or suspended, at the discretion of the
                                                           Incident Report forms in CDFs and IGSA facilities.
panel. The !DP may impose and execute sanctions
F and G only in conjunction with sanction A, B. C,         The Incident Report shall cite the relevant rule or
D, and/or E.                                               standard without quoting it in its entire~v. (For
                                                           example. in the event of destruction ofgovernment
2, High Offenses
                                                           property. the report shall cite, briefly, "Code 218----
The IDP shall impose and execute at least one              Destroying Government Proper~y, "spec{fj1 the
sanction in the A through lvl range. Additional            exact manner in which the detainee is alleged to
sanctions (A through lv!) may be imposed or may be         have violated the cited rule or standard, and
suspended at the discretion of the panel.                  include all relevantfacts such as time, dates and
3. High Moderate Offenses                                  places.)

The lDP shall impose at least one sanction in the A        !f the officer observes anything unusual in the
through A1 range, but m«v suspend any or all, once         detainee 's behavior or demeanor, he/she shall so
imposed. Similarly, the UDC shall impose at least          note in the report The reporting officer shall also
one sanction in the G through lvl range, but may           list all staff; contract officers, and/or detainee
su.s11end any or all, once imposed                         witnesses to the incident and the disposition of any
                                                           physical evidence (e.g., weapons, property, etc.)
4. Low Moderate Offenses
                                                           relating to the incident. The reporting officer shall



3.1 I Disciplinary System                                192                                         PBNDS 2011



                                                                                                  GEO-MEN 00064212




                                                                                                      APP. 133
  Appellate Case: 22-1409               Document: 29-2         Date Filed: 01/23/2023             Page: 137
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 40 of
                                       65



sign the report and include title, date and time the           and possible seizure and prosecution. See
report was signed. The sh[ft supe-rvisor shall review          "Preservation of Evidence" in standard "2.10
all Incident Reports before going <4[ du~v.                    Searches of Detainees"
E, Investigations                                          5. Advise the detainee in writing of the detainee's
                                                              right, if applicable, to an initial hearing before
IGSAs shall have procedures in place to ensure that
                                                              the Unit Disciplinary Committee (UDC) within
all Incident Reports are investigated within 24 hours
                                                              24 hours of his/her notification of charges.
of the incident.
                                                           6. Record personal observances and other
The investigating officer must have supervisory
                                                              potentially material information.
rank or higher (unless prevented by personnel
shortages) and shall have had no prior involvement         7. Prepare a factual report of the investigation,
in the incident, as either witness or officer at the          including the location or disposition of any
scene. If an officer below supervisory rank conducts          physical evidence.
the investigation, the shift supervisor shall review       8. Forward to the UDC all reports relevant to the
his/her report( s) for accuracy and completeness and          disciplinary hearing-but do not provide a copy
sign them.                                                    to the detainee at this stage of the disciplinary
The investigating officer shall:                              process, except for a copy of the Incident Report
                                                              as instructed in #4 above in this section of this
1. Commence the investigation within 24 hours of
                                                              standard.
   receipt of the Incident Report.
                                                           F. Unit Disciplinary Committee (UDC)
2. Advise the detainee of his/her right to remain
   silent at every stage of the disciplinary process,      All facilities shall establish an intermediate level of
   and ensure that he/she has a complete listing of        investigation/adjudication process to adjudicate low
   detainee rights.                                        or moderate infractions. They shall also ensure that
                                                           the detainee is afforded all the lJDC rights listed
3. Provide the detainee a copy of the Incident
                                                           below.
   Report and notice of charges at least 24 hours
   before the start of any disciplinary proceedings.       The UDC administering unit discipline shall
                                                           comprise up to three members, at least one of whom
4. Terminate the administrative investigation, if the
                                                           is a supervisor. The !JDC shall not include the
   incident is under investigation on different
                                                           reporting officer, the investigating officer, or an
   grounds (i.e., the prohibited act is under criminal
                                                           officer who witnessed or was directly involved in
   investigation), unless and until the agency with
                                                           the incident, except in the unlikely event that every
   primary jurisdiction concludes its investigation
                                                           available officer witnessed or was directly involved
   or indicates it shall not pursue the matter.
                                                           in the incident.
   Contraband that may be evidence in connection
                                                           The UDC shall conduct hearings and, to the best
   with a violation of a criminal statute shall be
                                                           extent possible, shall infixmally resolve cases
   preserved, inventoried, controlled and stored so
                                                           involving high moderate or low moderate charges in
   as to maintain and document the chain of
                                                           accordance with the list of charges and related
   custody. Contraband shall be reported to the
                                                           sanctions noted as "Appendix 3.1.A: Offense
   appropriate law enforcement authority for action


3.1 I Disciplinary System                                193                                       PBNDS 2011



                                                                                                 GEO-MEN 00064213




                                                                                                     APP. 134
  Appellate Case: 22-1409                Document: 29-2          Date Filed: 01/23/2023             Page: 138
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 41 of
                                       65



Categories." Unresolved cases and cases involving            4. Appeal the committee's determination through
serious charges are forwarded to the institution                the detainee grievance process.
disciplinary panel.
                                                             The UDC shall:
The UDC shall have authority to:
                                                             1. advise the detainee of his/her rights at the
1. conduct hearings and resolve incidents involving             hearing;
   high moderate or low moderate charges;
                                                             2. refer to the IDP any incident involving a serious
2. consider written reports, statements and physical            violation associated with an A-through-D-range
   evidence;                                                    sanction. This includes code violations in the
                                                                "greatest" and "high" categories (1 OOs and
3. hear pleadings on the part of the detainee;
                                                                200s);
4. make findings that a detainee did or did not
                                                             3. serve the detainee with:
   commit the rule violation(s) or prohibited act(s)
   as charged, based on the preponderance of                     a. a copy of the UDC decision which must
   evidence; and                                                    contain the reason for the disposition and
                                                                    sanctions imposed; or
5. impose minor sanctions "E" through "M" in
   accordance with the table of prohibited acts and              b. written notification of charges and hearing
   associated sanctions later in this document.                     before the IDP; and
The detainee in UDC proceedings shall have the               4. if the detainee's case is being referred to the IDP,
right to:                                                       advise the detainee, in writing, of:
1. remain silent at any stage of the disciplinary                a. The right to call witnesses and present
   process;                                                         evidence before the IDP, and
2. due process, which includes:                                  b. The right to a staff representative before the
                                                                    IDP.
   a. attending the entire hearing ( excluding
      committee deliberations);                              G, Staff Representation for the !DP
   b. waiving the right to appear; or                        The facility administrator shall upon the detainee's
   c. having a UDC hearing within 24 hours atler             request, assign a staff representative to help prepare
      the conclusion of the investigation.                   a defense prior to the commencement of the IDP.
                                                             This help shall be automatically provided for
      If security considerations prevent detainee
                                                             detainees who are illiterate, have limited English-
      attendance, the committee must document the
                                                             language skills, or who are without means of
      security considerations and, to the extent
                                                             collecting and presenting essential evidence.
      possible, facilitate the detainee' s participation
                                                             Detainees shall also have the option of receiving
      in the process via telephonic testimony,
                                                             assistance from another detainee of their selection
      document submission, written statements or
                                                             rather than a staff representative, subject to approval
      questions to be asked of witnesses;
                                                             from the facility administrator.
3. Present statements and evidence, including
                                                             1. A staf/representative must be afull-time
   witness testimony on his/her own behalf; and
                                                                employee.


3.1 I Disciplinary System                                  194                                        PBNDS 2011



                                                                                                   GEO-MEN 00064214




                                                                                                       APP. 135
  Appellate Case: 22-1409                  Document: 29-2          Date Filed: 01/23/2023             Page: 139
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 42 of
                                       65



2. Because C?f the potential conflict of interest, the             defense.
   fi.1cili~y administrator, members o/the IDP and
                                                            9. The lDP shall establish the reliabiliry C?f
    C?f the UDC initially involved in the case,
                                                               information provided by a confidential source
    eye,1,·itnesses, the reporting and investigating
                                                               before considering it in the disciplinary
    (?/ficers and anyone else with a stake in the
                                                               proceedings.
    outcome shall not act as staff representative.
                                                            I 0.        The IDP may withhold the confidential
3. The detainee may select his/her staff·
                                                                   source's identiryfrom the stq{f representative.
   representative, barring those ident{fied in
                                                                   While the stqfj'representative may challenge the
   paragraph 2 above.
                                                                   substance o/any conjidential information the
4. The IDP shall arrange.for the presence C?f the                  !DP discloses, he/she may not question its
   stqfj'representative selected by the detainee. !f               reliability (which is pre-established by the !DP).
   that stqfj'member declines or is unavailable, the
                                                            I 1.        In the event that a detainee cannot
   detainee may:
                                                                   ejfectively present his/her own case, the.facility
   a. select a d(tferent representative;                           administrator shall appoint a stqff
                                                                   representative, even {f not requested by the
   b. wait for the unavailable staff member to
                                                                   detainee.
      become available (within a reasonable
      period); or                                           H, Institution Disciplinary Pane!
   c. proceed without a staff representative.               All facilities that house ICE/ERO detainees shall
5. A stafj'member who declines to serve must state          have a disciplinary panel to adjudicate detainee
   the reason on the staff representative.form.             Incident Reports. Only the disciplinary panel may
                                                            place a detainee in disciplinary segregation.
6. [fseiwal staf/decline, the.facility administrator
   shall assign one.                                        The term "Institution Disciplinary Panel" or "IDP"
                                                            refers either to a three-person panel appointed by
7. 11ie stafj'representative shall be.free to speak to
                                                            the facility administrator, or a one-person
   1,i,•itnesses and to present evidence on the
                                                            disciplinary hearing officer, depending on the
   detainee 's beha(f, including evidence <?f any
                                                            practice at the facility.
   mitigating circumstances. The stqff
   representative must act in goodfi.Jith on behalf of      The panel may not include the reporting officer, the
   the charged detainee. and interview witnesses            investigating officer, any member of the referring
   and obtain documentary evidence as requested             UDC, or anyone who witnessed or was directly
   by the detainee or as otherwise reasonabfy seen          involved in the incident. Exceptions may occur only
   as relevant to the defense <!f the charges or in         if the number of officers required for the panel
   mitigation o/the charges.                                cannot be filled due their direct involvement in the
                                                            incident.
8. The lDP shall allcrvv the staff representative
   enough time to speak )11,'ith the detainee and           The IDP shall have authority to:
   intervievv witnesses prior to commencement C?f           1. conduct hearings on all charges and allegations
   the proceeding. The !DP may grant a requestfor              referred by the UDC;
   extension of time if required.for an adequate
                                                            2. call witnesses to testify;


3.1 I Disciplinary System                                195                                            PBNDS 2011



                                                                                                     GEO-MEN 00064215




                                                                                                         APP. 136
  Appellate Case: 22-1409              Document: 29-2          Date Filed: 01/23/2023             Page: 140
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 43 of
                                       65



3. consider written reports, statements, physical              standard;
   evidence and oral testimony;
                                                           2. remind the detainee of his/her right to a staff
4. hear pleadings by detainee and staff                       representative, provide one if requested and
   representative;                                            verify that a staff representative has been
                                                              assigned when a representative is requested;
5. make findings that the detainee did or did not
                              s)
   commit the rnle violation( or prohibited act(    s)     3. advise the detainee of his/her right to waive the
   as charged, based on the preponderance of                  hearing and admit having committed the offense;
   evidence; and
                                                           4. conduct the hearing on the first business day
6. impose sanctions as listed and authorized in each          after receiving the UDC referral, unless the
   category.                                                  detainee waives the 24-hour notification
                                                              provision and requests an immediate hearing. In
The detainee in lDP proceedings shall have the right
                                                              cases where a hearing is delayed, the reason(s)
to:
                                                              must be documented (e.g., a continuing
1. remain silent at any stage of the disciplinary             investigation of facts, unavailability of one or
   process;                                                   more essential witnesses, etc.) and approved by
2. due process, which includes:                               the facility administrator. If the detainee is being
                                                              held in segregation, the delay shall not exceed 72
   a. attending the entire hearing ( excluding
                                                              hours, barring an emergency;
      committee deliberations);
                                                           5. prepare a written record of any hearing. This
  b. waiving the right to appear; or
                                                              record must show that the detainee was advised
   c. having an IDP hearing within 24 hours after             of his/her rights. H must also document the
      the conclusion of the investigation.                    evidence considered by the Panel and subsequent
      If security considerations prevent the                  findings and the decision and sanctions imposed,
      detainee's attendance, the committee must               along with a brief explanation;
      document the security considerations and, to         6. forward the entire record to the facility
      the extent possible, facilitate the detainee's          administrator, who may (a) concur, (b) terminate
      participation in the process by telephonic              the proceedings or (c) impose more severe or
      testimony, the submission of documents,                 more lenient sanctions; and
      written statements or questions to be asked of
                                                           7. serve the detainee with written notification of the
      witnesses;
                                                              decision, which must contain the reason for the
3. present statements and evidence, including                 decision.
   witness testimony, on his/her behalf; and
                                                           L Confidential Information
4. appeal the committee's determination through
                                                           When a decision relies on infonnation from a
   the detainee grievance process.
                                                           confidential source, the UDC or IDP shall disclose
The IDP shall:                                             as much confidential infonnation as may be
1. verify that the detainee has been advised of and        disclosed without jeopardizing the safety and
   afforded his/her rights, as provided above in this      security of facility staff and other persons, and shall



3.1 I Disciplinary System                                196                                       PBNDS 2011



                                                                                                 GEO-MEN 00064216




                                                                                                     APP. 137
  Appellate Case: 22-1409               Document: 29-2        Date Filed: 01/23/2023               Page: 141
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 44 of
                                       65



include in the hearing record the factual basis for           Institution statistical or historical purposes.
finding the information reliable.
                                                          4. A detainee shall be removed from segregation if
J. Postponement of Disciplinary                              a health care professional concludes that
   Proceedings                                               continued segregation is detrimental to the
                                                             detainee's medical or mental health.
All facilities shall permit hearing postponements or
continuances under certain circumstances.                 L Documents

Circumstances justifying the postponement or              AH documents relevant to the incident, subsequent
continuance of a hearing might include, but are not       investigation and hearing( s) shall be completed and
limited to: defense preparation, physical or mental       distributed in accordance with facility procedures.
illness, security, escape, disciplinary transfer or       1. Incident Report/Notice of Charges
pending criminal prosecution.
                                                          The officer shall prepare an Incident Report and
An uncooperative detainee may also cause a delay          submit it to the supervisor immediately after the
in the proceedings, either because of inappropriate       incident takes place. If the incident is resolved
behavior during the hearing process or a refusal to       informally, the officer shall so note on the original
participate in a productive manner.                       report, which shall then be forwarded to the Chief
K. Duration of Sanctions                                  of Security.

The duration of sanctions shall be within                 !f the UDC is to be involved. the supervisor shall
established limits. Neither the panel recommending        serve the detainee with a copy of the Notice of
sanctions nor the facility administrator making the       Charges upon completion <![the investigation, no
final decision shall impose sanctions arbitrarily,        less than 24 hours before the UDC hearing.
beyond these limits.                                      The UDC receives the original copy.
1. Sanctions range from the withholding of                {( the UDC hears the matter, the ranking member of
   privilege(s) to segregation. Time in segregation       that committee shall serve the detainee with a copy
   or the withholding of privileges after a hearing       of the Incident Report/Notice of Charges indicating
   shall generally not exceed 30 days per violation,      their decision The UDC. upon conclusion of its
   except in extraordinary circumstances, such as         proceedings, shallfiJrward the entire record to
   violations of offenses IO l through 109 listed in      either the Chielc?f Security or the !DP, as
   the "Greatest" offense category in Appendix            appropriate.
   3. 1.A.                                                2. investigation Report
2. Time served in segregation pending the outcome         The original shall be submitted to the UDC
   of the proceedings may be credited to the
   number of days to be spent in the segregation          11ie detainee does not receive a copy.
   unit after an adverse decision is announced.           3. UDC Report of Findings and Action

3. The disciplinary report and accompanying               The original shall be sen,ed on the detainee qfter
   documents are not placed in the file of a detainee     the committee issues its.findings.
   who is found not guilty. The facility, however,
                                                          A copy shall be included in the detainee detention
   may retain the material in its own files for


3.1 I Disciplinary System                               197                                         PBNDS 2011



                                                                                                  GEO-MEN 00064217




                                                                                                      APP. 138
  Appellate Case: 22-1409              Document: 29-2       Date Filed: 01/23/2023            Page: 142
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 45 of
                                       65



file (guiltyjinding only).                              the committee issues itsjindings.
4. Notice of IDP Hearing                                A copy shall be included in the facility detention
11ie original shall be served on the detainee ajter     file.
the committee issues its.findings.                      6. IDP Report

 A copv shall be included in the detainee detention     The original shall be included in the detainee
file.                                                   detention.file.
5. Detainee Rights at IDP Hearing                       A copy shall be provided to the detainee.
11ie original shall be served on the detainee ajter




3.1 I Disciplinary System                             198                                      PBNDS 2011



                                                                                             GEO-MEN 00064218




                                                                                                 APP. 139
  Appellate Case: 22-1409              Document: 29-2         Date Filed: 01/23/2023              Page: 143
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 46 of
                                       65




Appendix 3.1.A: Offense                                          (conduct must be C?f the greatest severity;
                                                                 this charge is to be used only i/another
Categories                                                       charge ofgreatest severity is not applicable)
I. "Greatest" Offense Category                            B, Sanctions

A Prohibited Acts                                         1. Initiate criminal proceedings

100    Killing                                            2. Disciplinary transfer (recommend)

I 01   Assaulting any person (includes sexual             3. Disciplinary segregation (up to 60 days)
       assault)                                           4. Make monetary restitution. iflunds are available
I 02    Escape.from escort; escape.from a secure          5. Loss C?fprivileges (e.g., commisswy, vending
       facility                                              machines, movies, recreation, etc.)
103      Setting afire (charged with this act in this     JI. "High" Offense Category
       category.; only when found to pose a threat to
        l{fe or a threat of serious bodiZv harm or in     A Prohibited Acts
       furtherance of a prohibited act ofgreatest         200     Escape.from unescorted activities open or
       severizv [e.g., a riot or an escape];                     securefi.:zcility, proceeding Yvithout violence
       otherwise the charge is class{fied as Code
                                                          201     Fighting, bo.ring, v-.:restling, sparring and
       218or321)
                                                                 any other.form C?fphysical encounter,
I 04     Possession or introduction of a gun,                    including horseplay, that causes or could
       firearm, weapon, sharpened instrument,                    cause injury to another person. except when
        kn(fe, dangerous chemical, explost-ve, escape            part o/an approved recreational or athletic
        tool, device or ammunition                               activi~y
105    Rioting                                            202     Possession or introduction (?fan
J06     Inciting others to riot                                  unauthorized tool

I 07    Hostage-taking                                    203     Loss, misplacement or damage of any
                                                                 restricted tool
108     Assaulting a staff member or any lmv
       enfhrcement officer                                204     Threatening another 1'Vith bodily harm

I 09    Threatening a staf/member or any lmv              205     Ertortion, blackmail, protection and
       enfhrcement office 1'Vith bodily harm                     demanding or receiving money or anything
                                                                 o.f value in return for protection against
*198    lnte1:(ering with a staffmember in the
                                                                 others, avoiding bodily harm or avoiding a
       performance of duties (conduct must be of
                                                                 threat o.f being informed against
       the greatest severity: this charge is to be
       used only {/another charge of greatest             206     Engaging in sexual acts
       severity is not applicable)                        207     ,Making sexual proposals or threats
*199    Conduct that disrupts or interferes with the      208     1!J7earing a disguise or mask
       security or orderly running of the.facility
                                                          209     Tampering )11,'ith or blocking any lock device


3.1 I Disciplinary System                               199                                        PBNDS 2011



                                                                                                  GEO-MEN 00064219




                                                                                                     APP. 140
 Appellate Case: 22-1409               Document: 29-2          Date Filed: 01/23/2023              Page: 144
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 47 of
                                       65



210    Adulterating offood or drink                      *299      Conduct that disrupts or interferes 1,i,·ith the
                                                                  security or orderly operation C?f thefi--1cili~y
211     Possessing, introducing, or using narcotics.
                                                                  (conduct must be C?f highest severity; this
       narcotic paraphernalia or drugs not
                                                                  charge is to be used onfy when no other
       prescribed.for the individual by the medical
                                                                  charge of highest severity is applicable)
       staff
                                                         B, Sanctions
212     Possessing an officer's or staff member's
       clothing                                          1. Initiate criminal proceedings

213     Engaging in or inciting a group                  2. Disciplinary transfer (recommend)
       demonstration                                     3. Disciplinary segregation (up to 30 days)
214     Encouraging others to participate in a work      4. Make monetmy restitution, iffund\· are available
       stoppage or to refuse to ,"v'ork
                                                         5. Loss C?fprivileges (e.g., commissary, vending
215    Refusing to provide a urine sample or                machines, movies, recreation, etc.)
       otherwise cooperate in a drug test
                                                         6. Change housing
216    introducing alcohol into the.facility
                                                         7. Remove.from program and/or group activity
217    Giving or C?ffering an <4ficial or stafl
       member a bribe or anything C?f value              8. Loss ofjob

218     Giving money to, or receiving moneyfrom,         9. impound and store detainee 's personal property
       any person/or an illegal or prohibited            10.      Confiscate contraband
       purpose (e.g., introducing/conveying
                                                         11.      Restrict to housing unit
       contraband)
                                                         12.      TYarning
219     Destroying, altering. or damaging property
       (government or another person '.s) worth          m. ""High Moderate" Offense Category
       more than $100                                    A. Prohibited Acts
220     Beingf()und guilty of any combination of         300      Indecent exposure
       three or more high moderate or lmv
       moderate offenses -within 90 days                 301      Stealing (theft)

222    Possessing or introducing an incendiary           302      lvfisusing authorized medication
       device (e.g., matches, lighter, etc.)             303      Loss, misplacement or damage ofa less
223     Engaging in any act that could endanger                   restricted tool
       person('>) and/or property                        304      Lending property or other item o_f valuefor
*298    Interfering ,"v'ith a stajl member in the                profit/increased return
       performance of duties (conduct must be of         305       Possessing item(•;) not authorizedfhr receipt
       highest severity; this charge is to be used                or retention and not issued through regular
       only when no other charge o_f highest                      channels
       severizv is applicable)
                                                         306      Refitsing to clean assigned living area



3.1 I Disciplinary System                              200                                          PBNDS 2011



                                                                                                  GEO-MEN 00064220




                                                                                                      APP. 141
 Appellate Case: 22-1409              Document: 29-2          Date Filed: 01/23/2023               Page: 145
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 48 of
                                       65



307    Refusing to obey the order of a staf/member               1,i,·ithout stafl authorization
      or officer (may be categorized and charged
                                                        322       Destroying, altering, or damaging property
      as a greater or lesser offense, depending on
                                                                 (government or another person's) worth
      the kind <!/disobedience: continuing to riot
                                                                 more than $100
      is Code 105-Rioting; continuing to.fight
      Code 201-Fighting: refitsing to provide a         323       ~'Wgning, preparing, circulating, or soliciting
      urine sample, Code 215-Re/using to                         support/or prohibited group petitions
      proi·ide a urine sample or otherwise              *398      lnter/ering with a stqff'member in the
      cooperate in a drug test).                                 perfimnance (?/duties (oflense must be C?l
308    insolence tmvard a staf/member                            high moderate severity; this charge to be
                                                                 used only when no other charge in this
309    Lying or providingfalse statement to stafl
                                                                 category is applicable)
310    Counter/eiting, forging or other
                                                        *399      Conduct that disrupts or interferes with the
      unauthorized reproduction of money
                                                                 security or orderly running C?l the fi.1cili~y
      proceedings or other official document or
                                                                 (<4fense must be o/high moderate severi~y;
      item (e.g., security document, identification
                                                                 this charge is to be used only when no other
      card, etc.); may be categorized as greater or
                                                                 charge in this category is applicable)
      lesser ojfense, depending on the nature and
      purpose o/ the reproduction (e.g.,                NOTE: Any combination o/high moderate and low
      counterfeiting release papers to e[/ect           moderate offenses during a 90-day period shall
      escape-Code 102 or 200).                          constitute a high offense.
                                                        B. Sanctions
311    Participating in an unauthorized meeting or
      gathering                                         1. Initiate criminal proceedings
312    Being in an unauthorized area                    2. Disciplinary trans/er (recommend)
313    Failing to stand count                           3. Disciplinary.; segregation (up to 72 hours)
314    lnter/ering )11,'ith count                       4. Make monetmy restitution, iffund\· are available
315    lvfaking, possessing, or using intoxicant(s)     5. Loss C?/privileges (e.g. commissary, vending
316   Refusing a breathalyzer test or other test o/        machines, movies, recreation, etc.)
      alcohol consumption                               6. Change housing
317    Gambling                                         7. Remove from program and/or group activity
318    Preparing or conducting a gambling pool          8, Loss ofjob

319    Possessing gambling paraphernalia                9. Impound and store detainee 's personal property
320    Unauthorized contact with the public             10.      Confiscate contraband
321    Giving money or another item of value to. or     11.      Restrict to housing unit
      accepting money or another item o/ value
                                                        12.      Reprimand
      from. anyone, including another detainee,



3.1 I Disciplinary System                             201                                           PBNDS 2011



                                                                                                   GEO-MEN 00064221




                                                                                                      APP. 142
  Appellate Case: 22-1409                 Document: 29-2      Date Filed: 01/23/2023             Page: 146
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 49 of
                                       65



13.    TYarning                                            412     Using equipment or machine1y contrary to
                                                                  posted safety standards·
IV. ""low Moderate" Offense Category
                                                           413     Being unsanitary or untidy;failing to keep
A. Prohibited Acts
                                                                  se(f and living area in accordance with
400     Possessing property belonging to another                  posted standards
       person
                                                           *498    lnte1.fering with a staflmember in the
401     Possessing unauthorized clothing                          performance of duties (offense must be C?f
402     ]vfalingering; feigning illness                           lmv moderate severi~y; this charge is to be
                                                                  used only when no other charge in this
403     Smoking 1'Vhere prohibited
                                                                  category is applicable)
404     Using abusive or obscene language
                                                           *499    Conduct that disrupts or interferes -with the
405     Tattooing, body piercing or se(fmuti!ation                security or orderly running of thefaciliry
                                                                  (offense must be of lmv moderate severity;
406     Unauthorized use of mail or telephone (with
                                                                  this charge is to be used only v-.:hen no other
       restriction or temporary suspension of the
                                                                  charge in this category is applicable)
       abused privileges ojten the appropriate
       sanction)                                           8- Sanctions

407     Conduct with a visitor in violation <!f rules      1. Loss C?fprivileges, commisscuy, vending
       and regulations (with restriction or                   machines, movies, recreation, etc
       temporary suspension of visiting privileges         2. Change housing
       C?fien the appropriate sanction)
                                                           3. Remove from program and/or group activity
408     Conducting a business
                                                           4. Loss ofjob
409     Possessing money or currency, unless
       spec(fically authorized                             5. impound and store detainee 's personal property

410     Failing tofollow safety or sanitation              6. Confzscate contraband
       regulations                                         7. Restrict to housing unit
411    Unauthorized use of equipment or                    8. Reprimand
       machinery.;
                                                           9. rVarning




3.1 I Disciplinary System                               202                                       PBNDS 2011



                                                                                                GEO-MEN 00064222




                                                                                                    APP. 143
  Appellate Case: 22-1409              Document: 29-2         Date Filed: 01/23/2023             Page: 147
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 50 of
                                       65



                                                              number of work opportunities available and
5.8 Voluntary Work                                            within the constraints of the safety, security and
    Program                                                   good order of the facility.
                                                          2. Detainees shall be able to volunteer for work
I. Purpose and Scope
                                                             assignments but otherwise shall not be required
This detention standard provides detainees                   to work, except to do personal housekeeping.
opportunities to work and earn money while
                                                          3. Essential operations and services shall be
confined, subject to the number of work
                                                             enhanced through detainee productivity.
opportunities available and within the constraints of
the safoty, security and good order of the facility.      4. The negative impact of confinement shall be
                                                             reduced through decreased idleness, improved
While not legally required to do so, ICE/ ERO
                                                             morale and fewer disciplinary incidents.
affords working detainees basic Occupational
Safety and Health Administration (OSHA)                   5. Detainee working conditions shall comply with
protections.                                                 all applicable federal, state and local work safety
                                                             laws and regulations.
This detention standard applies to the following
types of facilities housing ERO detainees:                6. There shall be no discrimination regarding
                                                             voluntary work program access based on any
  •   Service Processing Centers (SPCs);                     detainee's race, religion, national origin, gender,
  •   Contract Detention Facilities (CDFs); and              sexual orientation or disability.

  •   State or local government facilities used by        7. The applicable content and procedures in this
      ERO through Intergovernmental Service                  standard shall be communicated to the detainee
      Agreements (IGSAs) to hold detainees for               in a language or manner the detainee can
      more than 72 hours.                                    understand.

Procedures in italics are specifzca!fy required.for           All written materials provided to detainees shall
SPCs, CDFs, and Dedicated !GSA facilities. Non-               generally be translated into Spanish. Where
dedicated IGSA facilities must conform to these               practicable, provisions for written translation
procedures or adopt, adapt or establish alternatives,         shall be made for other significant segments of
provided they meet or exceed the intent represented           the population with limited English proficiency.
by these procedures.                                          Oral interpretation or assistance shall be
Various terms used in this standard may be defined            provided to any detainee who speaks another
in standard "7.5 Definitions."                                language in which written material has not been
                                                              translated or who is illiterate.
II. Expected Outcomes
                                                          Ill. Standards Affected
The expected outcomes of this detention standard
are as follows (specific requirements are defined in      This detention standard replaces "Voluntary Work
"V. Expected Practices").                                 Program" dated 12/2/2008.

1. Detainees may have opportunities to work and           This detention standard incorporates the
   earn money while confined, subject to the              requirements regarding detainees' assigned to work


5.8 I Voluntary Work Program                            324                                       PBNDS 2011



                                                                                                GEO-MEN 00064344




                                                                                                    APP. 144
  Appellate Case: 22-1409              Document: 29-2         Date Filed: 01/23/2023              Page: 148
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 51 of
                                       65



outside of a facility's secure perimeter originally       detainees. The detainees shall be 1,i,·ithin sight and
communicated via a memorandum to all Field                sound C?f that staff member at all times.
Office Directors from the Acting Director of U.S.
                                                          C. Personal Housekeeping Required
Immigration and Customs Enforcement (ICE)
Enforcement and Removal Operations (ERO)                  Work assignments are voluntary; however, all
(11/2/2004).                                              detainees are responsible for personal
                                                          housekeeping.
IV. References
                                                          Detainees are required to maintain their immediate
American Correctional Association, Pe1.fcumance-          living areas in a neat and orderly manner by:
based Standards.for Adult Local Detention
                                                          1. making their bunk beds· daify;
Facilities, 4th Edition: 4-ALDF-5C-06, 5C-08, 5C-
1 l(M), 6B-02.                                            2. stacking loose papers;

ICE/ERO Pe1ibrmance-based National                        3. keeping thefloorfree <?{debris and dividersfree
Detention Standard,; 2011:                                   of clutter; and

  •   "1.2 Environmental Health and Safety"; and          4. refraining from hanging/draping clothing,
                                                             pictures, keepsakes, or other objects from beds·,
  •   "4.l Food Service."
                                                             overhead lightingfixtures or otherfi.trniture.
V. Expected Practices                                     D. Detainee Selection
A. Voluntary Work Program                                 The facility administrator shall develop site-specific
                                                          mles for selecting work detail volunteers. These
Detainees who are physically and mentally able to
                                                          site-specific rules shall be recorded in a facility
work shall be provided the opportunity to
                                                          procedure that shall include a voluntaiy work
participate in a voluntary work program. The
                                                          program agreement. The voluntary work program
detainee's classification level shall determine the
                                                          agreement shall document the facility's program
type of work assignment for which he/she is
                                                          and shall be in compliance with this detention
eligible. Generally, high custody detainees shall not
                                                          standard.
be given work opportunities outside their housing
units/living areas. Non-dedicated IGSAs will have         The primaryfi.1ctors in hiring a detainee as a
discretion on whether or not they will allow              -worker shall be his/her classification level and the
detainees to participate in the voluntary work            specific requirements C?f the job.
program.                                                  I. Stqffshall present the detainee 's name to the
B. Work Outside the Secure Perimeter                         sh(ft supen,isor or the requesting department
                                                             head
ICE detainees may not work outside the secure
perimeter of non-dedicated IGSA facilities.               2. The shift supervisor or department head shall
                                                              revietv the detainee 's classffication and other
 In SPCs. CDFs. and dedicated IGSAs, lo)!!,· custody
                                                              relevant documents in the detainee 's detention
detainees may work outside the secure perimeter on
                                                             file.
facility grounds. They must be direct~v supervised at
a ratio (?{no less than one staff member tof()ur          3. The sh{ft superi·isor or department head shall



5.8 I Voluntary Work Program                            325                                        PBNDS 2011



                                                                                                 GEO-MEN 00064345




                                                                                                     APP. 145
  Appellate Case: 22-1409                Document: 29-2         Date Filed: 01/23/2023             Page: 149
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 52 of
                                       65



   assess the detainee 's language skills because           1. The selecting official must consider the precise
   these skills affect the detainee 's abili~v to              limitations of a disabled individual before
   perform the specific requirements cfthejob                  rejecting that individual for selected work
   under supervision. To the extent possible, work             assignments.
   opportunities shall be provided to detainees --who
                                                            2. Expediency or convenience is insufficient
   are able to communicate )11,'ith supervising staff
                                                               justification to reject or "pigeonhole" a detainee
   effective~v and in a manner that does not
                                                               who, with reasonable accommodation, can
   compromise sq/ety and security.
                                                               perform essential functions of the work
4. inquiries to staff about the detainee 's attitude           assignment.
   and behavior may be used as a factor in the
                                                            3. In disputed cases, the selecting official shall
   supervisor's selection.
                                                               consult medical personnel to ascertain the
 Stqf/shall explain the rules and regulations as H;el/         detainee's suitability for a given project.
 as privileges relating to the detainee --worker's
                                                            H. Hours of Work
 status. The detainee shall be required to sign a
 1mluntary --work program agreement be/ore                  Detainees who participate in the volunteer work
 commencing each nevv assignment. Completed                 program are required to work according to a
 agreements shall be filed in the detainee 's detention     schedule.
fUe.                                                        The normal scheduled workday for a detainee
E. Special Details                                          employed full time is a maximum of 8 hours.
                                                            Detainees shall not be permitted to work in excess
Detainees may volunteer for temporary work details
                                                            of 8 hours daily, 40 hours weekly.
that occasionally arise. The work, which generally
lasts from several hours to several days, may               Unexcused absences from work or unsatisfactory
involve labor-intensive work.                               work performance may result in removal from the
                                                            voluntary work program.
F. Discrimination in Hiring Prohibited
                                                            I. Number of Details in One Day
Detainees shall not be denied voluntary work
opportunities on the basis of such factors as a             The facility administrator may restrict the number
detainee's race, religion, national origin, gender,         of work details permitted a detainee during one day.
sexual orientation or disability.                           in SPCs, CDFs, and dedicated IGSAs a detainee
G. Physically and Mentally Challenged                       may participate in onZv one 1,i,•ork detail per day.
   Detainees                                                J. Establishing Detainee Classification
While medical or mental health restrictions may
                                                                level
prevent some physically or mentally challenged              If the facility cannot establish the classification
detainees from working, those with less severe              level in which the detainee belongs, the detainee
disabilities shall have the opportunity to participate      shall be ineligible for the voluntary work program.
in the voluntary work program in appropriate work
                                                            K. Compensation
assignments.
                                                            Detainees shall receive monetary compensation for


5.8 I Voluntary Work Program                              326                                        PBNDS 2011



                                                                                                  GEO-MEN 00064346




                                                                                                      APP. 146
  Appellate Case: 22-1409                Document: 29-2       Date Filed: 01/23/2023             Page: 150
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 53 of
                                       65



work completed in accordance with the facility's          2. The detainee may not evade attendance and
standard policy.                                             performance standards in assigned activities nor
                                                             encourage others to do so.
The compensation is at least $1.00 (USD) per day.
The facility shall have an established system that        3. The detainee shall exercise care in performing
ensures detainees receive the pay owed them before           assigned work, using safety equipment and
being transferred or released.                               taking other precautions in accordance with the
                                                             work supervisor's instrnctions.
L Removal of Detainee from Work Detail
                                                          4. In the event of a work-related injury, the detainee
A detainee may be removed from a work detail for
                                                             shall notify the work supervisor, who shall
such causes as:
                                                             immediately implement injury-response
1. unsatisfactory performance;                               procedures.
2. disruptive behavior, threats to security, etc.;        N. Detainee Training and Safety
3. physical inability to perform the essential            All detention facilities shall comply with all
   elements of the job due to a medical condition or      applicable health and safety regulations and
   lack of strength;                                      standards.
4. prevention of injuries to the detainee; and/or         The facility administrator shall ensure that all
5. a removal sanction imposed by the Institutional        department heads, in collaboration with the facility's
   Disciplinary Panel for an infraction of a facility     safety/training officer, develop and institute
   rnle, regulation or policy.                            appropriate training for all detainee workers.

When a detainee is removed from a work detail, the        1. The voluntary work program shall operate in
facility administrator shall place written                   compliance with the following codes and
documentation of the circumstances and reasons in            regulations:
the detainee detention file.                                  a. Occupational Safety and Health
Detainees may file a grievance to the local Field                Administration (OSHA) regulations;
Office Director or facility administrator if they             b. National Fire Protection Association 101 Life
believe they were unfairly removed from work, in                 Safety Code; and
accordance with standard "6.2 Grievance System.''
                                                              c. International Council Codes (ICC).
M. Detainee Responsibility
                                                              Each facility administrator's designee is
The facility administrator shall establish procedures         responsible for providing access to complete and
for infonning detainee volunteers about on-the-job            cun-ent versions of the documents listed above.
responsibilities and reporting procedures.
                                                              The facility administrator shall ensure that the
The detainee is expected to be ready to report for            facility operates in compliance with all
work at the required time and may not leave an                applicable standards.
assignment without permission.
                                                          2. Upon a detainee 's assignment to a job or detail,
1. The detainee shall perform all assigned tasks             the supervisor shall provide thorough
   diligently and conscientiously.                           instrnctions regarding safe work methods and, if


5.8 I Voluntary Work Program                            327                                       PBNDS 2011



                                                                                                GEO-MEN 00064347




                                                                                                    APP. 147
 Appellate Case: 22-1409             Document: 29-2         Date Filed: 01/23/2023            Page: 151
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 54 of
                                       65



  relevant, hazardous materials, including:                 associated with the task performed.
  a. safety features and practices demonstrated by      5. The facility administrator shall ensure that the
     the supervisor; and                                   facility operates in compliance with all
                                                           applicable standards.
  b. recognition of hazards in the workplace,
     including the purpose for protective devices       0. Detainee Injury and Reporting
     and clothing provided, reporting deficiencies         Procedures
     to their supervisors (staff and detainees who
     do not read nor understand English shall not       The facility administrator shall implement
     be authorized to work with hazardous               procedures for immediately and appropriately
     materials).                                        responding to on-the-job injuries, including
                                                        immediate notification of ICE/ERO.
     A detainee shall not undertake any
     assignment before signing a voluntary work         If a detainee is injured while performing his/her
     program agreement that, among other things,        work assignment:
     confirms that the detainee has received and        1. The work supervisor shall immediately notify
     understood training from the supervisor about         facility medical staff. In the event the accident
     the work assignment.                                  occurs in a facility that does not provide 24-hour
     The voluntary work program agreement,                 medical care, the supervisor shall contact the on-
     which each detainee is required to sign prior         call medical officer for instructions.
     to commencing each new assignment, shall be        2. First aid shall be administered as necessary.
     placed in the detainee's detention file.
                                                        3. Medical staff shall determine what treatment is
3. For a food service assignment, medical staff, in        necessary and where that treatment shall take
   conjunction with the U.S. Public Health Service,        place.
   shall ensure that detainees are medically
                                                        4. The work supervisor shall complete a detainee
   screened and certified before undertaking the
                                                           accident report and submit it to the facility
   assignment.
                                                           administrator for review and processing and file
4. The facility shall provide detainees with safety        it in the detainee' s detention file and A-file.
   equipment that meets OSHA and other standards




5.8 I Voluntary Work Program                          328                                         PBNDS 2011



                                                                                             GEO-MEN 00064348




                                                                                                   APP. 148
  Appellate Case: 22-1409               Document: 29-2        Date Filed: 01/23/2023            Page: 152
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 55 of
                                       65



                                                          medical screening and safeguarding of funds,
                                                          valuables and other personal property is completed
                                                          during this process.
The legal file maintained by DHS fi.)r each detainee.
Contents include but are not limited to the
                                                          "Soft" or "hard" equipment used to restrict a
detainee' s identification documents (passport,
                                                          detainee's movement but leaving him or her able to
driver's license, other identification cards, etc.),
                                                          eat, drink or attend to basic bodily functions without
photographs, immigration history, prior criminal
                                                          staff intervention.
record if any, and all documents and transactions
relating to the detainee' s immigration case.
                                                          An individual who has been designated in writing as
                                                          the officer responsible for the physical and
American Correctional Association.
                                                          administrative control of ammunition in the
                                                          authorizing official's area of accountability.
The administrative authority is responsible for all
access to care, personnel, equipment and fiscal
                                                          The visual inspection or physical probing of body
resources to support the delivery of health care
                                                          openings (anus, vagina, ears, nose, mouth, etc)
services.
                                                          where weapons, drugs, or other contraband could be
                                                          secreted. This is the most intrusive means of
A non-punitive fi)fm of separation from the general       searching an individual, reserved for instances
population used for administrative                        where other search techniques have been considered
reasons. Administrative segregation is available          but rejected as ineffective under the particular
only to ensure the safety of detainees or others, the     circumstances of the case. Body-cavity search
protection of property, or the security or good order     procedures govern physical probes, but not visual
of the facility, as determined by a facility              inspections.
administrator or supervisor. Administrative               For example, the procedures would not be
segregation may be available, among other reasons,        appropriate for a visual inspection of the inside of
for detainees awaiting investigations or hearings for     the mouth, nose, or ears, unless contraband is found
violations of facility rnles, detainees scheduled for     during the course of that inspection. Body-cavity
release, removal, or transfer within 24 hours, and,       procedures apply whenever contraband is found,
under more limited circumstances, detainees who           because retrieving/seizing the item will involve
require protective custody or separation from the         physical ent1y into or probing within the cavity (in
general population for medical reasons.                   this example, the mouth, nose, or ear).


In-processing of newly arrived detainees, which           Capable of burning, con-oding, eroding or
includes an orientation to the policies, programs,        destroying by chemical action.
rnles and procedures of the facility. Classification,
assignment of living quarters, various inspections,
                                                          See Informal Count.


7.5 I Definitions                                       384                                      PBNDS 2011



                                                                                               GEO-MEN 00064404




                                                                                                   APP. 149
  Appellate Case: 22-1409              Document: 29-2           Date Filed: 01/23/2023          Page: 153
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 56 of
                                       65



                                                           treatment. The program also includes patient
Order of authority (rank); executive, senior               education for symptom management.
management, senior staff, etc. The position titles
may vary according to the type of facility (SPC,
                                                           Devices to which detainees are forbidden access
CDF, or lGSA) and local facility titles. The on-site
                                                           except in the presence and constant supervision of
order of authority at a detention facility descends
                                                           staff for reasons of safety or security. Class R
from the facility administrator to assistant or
                                                           includes devices that can be used to manufacture or
associate facility administrators to department heads
                                                           serve as weapons capable of doing serious bodily
to shift supervisors and other supervisors. Similarly,
                                                           harm or structural damage to the facility. All
the lCE/ERO chain-of-command at a detention
                                                           portable power tools and accessories are in this
facility descends from the officer-in-charge (OlC)
                                                           category. Class R also includes ladders and other
to the associate OlC to the chief detention
                                                           such items that are not inherently dangerous but
enforcement officer/Chief of Security, detention
                                                           could prove useful in unauthorized activities, such
operations supervisor, etc.
                                                           as escape attempts.
                                                           ('l:J/i~~i _ficat_iu_n
A substance with a distinct molecular composition
                                                           A process used to make housing and program
produced by or used in a chemical process.
                                                           assignments by assessing detainees on the basis of
                                                           objective information about past behavior, criminal
A generic term for the department head in charge of        records, special needs, etc.
a detention facility's security employees and
operations. The position titles may vary according
                                                           A designated individual licensed to practice
to the type of facility (SPC, CDF, or lGSA) and
                                                           medicine and provide health services with final
local facility titles. Ordinarily, a Chief of Security
                                                           responsibility for decisions related to medical
(chief detention enforcement agent, captain, etc.) is
                                                           judgments. A CD and CMA are equivalent
organizationally directly under an assistant or
                                                           positions.
associate facility administrator.

                                                           The medical authority is responsible for the delivery
An illness or condition that affects an individual's
                                                           of all health care services to the detainee
well being for an extended interval, usually at least
                                                           population. These services include, but are not
six months, and generally is not curable but can be
                                                           limited to, medical, nursing, dental, mental health
managed to provide optimum functioning within
                                                           and nutritional services. A CD and CMA are
any limitations the condition imposes on the
                                                           equivalent positions.
individual.

                                                           A substance with a flash point at or above 100°
lncorporates a treatment plan and regular clinic
                                                           Fahrenheit.
visits. The clinician monitors the patient's progress
during clinic visits and, when necessary changes the



7.5 I Definitions                                        385                                     PBNDS 2011



                                                                                               GEO-MEN 00064405




                                                                                                   APP. 150
  Appellate Case: 22-1409              Document: 29-2          Date Filed: 01/23/2023               Page: 154
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 57 of
                                       65



An area or system where detainees may purchase
approved items.                                            A foreign national convicted of one or more crimes.
                                                                                   ( [)(~di(:atcd
A meeting between detainee and another person              An IGSA facility that solely houses ICE
authorized to take place in an area free of obstacles      detainees. Also see "IGSA FACILITY" and
or barriers that prevent physical contact.                 "INTERGOVERNMENTAL SERVICE
                                                           AGREEMENT."
Any bag, barrel, bottle, box, can, cylinder, drum,
reaction vessel, storage tank, or other vessel holding     The policies and procedures governing detainee life
a hazardous chemical; does not include pipes or            in the facility: daily operations, rules of conduct,
piping systems.                                            sanctions for rule violations, recreation and other
                                                           programs, services, etc.; defined in writing and
                                                           provided to each detainee upon admission to the
Any unauthorized item in the facility: illegal,
                                                           facility.
prohibited by facility rules, or otherwise posing a
threat to the security or orderly operation of the         [)(~t(~1rt_i nn File
facility. This includes unauthorized funds.                Contents include receipts for funds, valuables and
                                                           other personal property; documentation of
                                                           disciplinary action; reports on detainee behavior;
A facility that provides detention services under a
                                                           detainee's written requests, complaints and other
competitively bid contract awarded by the ICE.
                                                           communications; official responses to detainee
                                                           communications; records from Special Management
An officer who directs security activities from the        Unit, etc.
Control Center.                                            [)icticinn

                                                           A professional trained in foods and the management
Documentation of the number of detainees                   of diets (dietetics) who is credentialed by the
confirmed present during a population count in a           Commission on Dietetic Registration of the
specific area, signed by the officers involved in the      American Dietetic Association, or who has the
count.                                                     documented equivalent in education, training, or
                                                           experience, with evidence of relevant continuing
                                                           education.
Letters, postcards and other forms of written
material not classified as packages or publications.
Large envelopes containing papers qualify as               Non-judicial administrative procedure to detem1ine
correspondence, but boxes, sacks and other shipping        whether substantial evidence supports finding a
cartons do not Books, magazines, newspapers and            detainee guilty of a rule violation.
other incoming printed matter are not
"correspondence."
                                                           One or more impartial staff members who conduct


7.5 I Definitions                                        386                                         PBNDS 2011



                                                                                                    GEO-MEN 00064406




                                                                                                       APP. 151
  Appellate Case: 22-1409               Document: 29-2         Date Filed: 01/23/2023             Page: 155
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 58 of
                                       65



and/or oversee a disciplinary hearing. A lower-level       comparing every person present with the
committee (Unit Disciplinary Committee)                    photographic likeness on his/her housing card.
investigates a formal Incident Report and may
impose minor sanctions or refer the matter to a
higher-level disciplinary committee. A higher-level        A generic term for the chief executive officer of a
committee (Institution Disciplinary Panel) conducts        detention facility. The formal title may vary
formal hearings on Incident Reports referred from          (warden, Officer In Charge, sheriff, jail
the lower level committee and may impose higher            administrator, etc.).
level sanctions for higher level prohibited acts. Also
see Institution Disciplinary Panel.
                                                           Individual with chief responsibility for facilities in
                                                           his assigned geographic area.
A punitive form of separation from the general
population used for disciplinary
                                                           Individual designated responsible for the physical
reasons. Disciplinary segregation is available only
                                                           and administrative control of all firearms under the
after a finding by a disciplinary hearing panel that
                                                           jurisdiction of the authorizing official.
the detainee is guilty of a serious prohibited act or
mle violation.
                                                           Has a flash point below 200 degrees Fahrenheit,
                                                           closed cup, or is subject to spontaneous heating.
A cell or room without running water where a
detainee can be closely observed by staff until the
detainee has voided or passed contraband or until          A substance with a flash point below 100 degrees
sufficient time has elapsed to preclude the                Fahrenheit (37.8 Centigrade).
possibility that the detainee is concealing
contraband. Dry cells may be used when there is
reasonable suspicion that a detainee has ingested          The minimum temperature at which the vapor of a
contraband or concealed contraband in a body               combustible liquid can form an ignitable mixture
cavity.                                                    with air.


Measures immediately necessary to maintain                 The official responsible for planning, controlling,
security or to protect the health and safety of staff      directing and evaluating Food Service Department
and detainees.                                             operations.


Subjected or potentially subjected to a hazardous          When the detainee population is assembled at
substance by any means (inhalation, ingestion, skin        specific times for attendance check, conducted in
contact, absorption, etc.)                                 accordance with written procedures.


A process that verifies identity of each detainee by       A restraint system that confines an individual to a


7.5 I Definitions                                        387                                        PBNDS 2011



                                                                                                 GEO-MEN 00064407




                                                                                                     APP. 152
  Appellate Case: 22-1409                Document: 29-2        Date Filed: 01/23/2023              Page: 156
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 59 of
                                       65



bed or bunk in either a supine or prone position.          The health services administrator (HSA), clinical
Ordered by the facility administrator when a               director (CD), or agency responsible for the
detainee's unacceptable behavior appears likely to         provision of health care services at a facility or
continue risking injury to self or others.                 system of facilities. The responsible physician may
                                                           be the health authority. Health authority may also
                                                           be referred to as the medical department.
Cash, checks, money orders and other negotiable
instruments.
                                                           Defined as an individual who is licensed, certified,
                                                           or credentialed by a state, territory or other
All correspondence other than "special                     appropriate body to provide health care services
correspondence."                                           within the scope and skills of the respective health
                                                           care profession.
Detainees whose housing and activities are not
specially restricted. The term is ordinarily used to       Includes carcinogens, toxic agents, reproductive
differentiate detainees in the "general population"        toxins, irritants, corrosives, sanitizers, hepatotoxins,
from those in Special Housing Units.                       nephrotoxins, neurotoxins and other agents that act
                                                           on the hemopoietic system or damage the lungs,
                                                           skin, eyes, or mucous membranes.
A complaint based on a circumstance or incident
perceived as unjust.
                                                           A system for preliminary screening of the physical
                                                           and mental condition of individual detainees upon
Any item that poses a serious threat to the life,
                                                           arrival at the facility; conducted by health care
safety or security of the facility detainees or staff.
                                                           personnel or by a specially health trained officer.
                                                           The combination of structured inquiry and
The process whereby an individual's health status is       observation is designed to obtain immediate
evaluated. This process will address the patient's         treatment for new arrivals who are in need of
physical, dental and mental health appropriate to the      emergency health care, identify and meet ongoing
patient's condition and will include, as determined        current health needs, and isolate those with
by the health care provider, questioning the patient       communicable diseases.
about symptoms, a physical examination                     l-IcJd Ftooni
appropriate to the complaint and, as appropriate,
                                                           A secure area used for temporary confinement of
review of screening information, collection of
                                                           detainees before in-processing, institutional
additional information relating to mental, dental and
                                                           appointments (court, medical), release, transfer to
medical health issues, immunization histories,
                                                           another facility, or deportation-related
laboratory and diagnostic tests, other examinations,
                                                           transportation.
review of results, initiation of therapy and
development of a treatment plan.
                                                           A voluntary fast undertaken as a means of protest or


7.5 I Definitions                                        388                                        PBNDS 2011



                                                                                                  GEO-MEN 00064408




                                                                                                      APP. 153
  Appellate Case: 22-1409                Document: 29-2          Date Filed: 01/23/2023            Page: 157
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 60 of
                                       65



manipulation. Whether or not a detainee actually
declares that he or she is on a hunger strike, staff are     An agreement by a patient to a treatment,
required to refer any detainee who is observed to            examination, or procedure afrer the patient receives
not have eaten for 72 hours for medical evaluation           the material facts about the nature, consequences,
and monitoring.                                              and risks of the proposed treatment, examination or
                                                             procedure; the alternatives to it; and the prognosis if
                                                             the proposed action is not undertaken.
A state or local government facility used by ERO
through an Intergovernmental Service
Agreement. Also see "INTERGOVERNMENTAL                       Administrative processing of a detainee arriving at a
SERVICE A(iREEMENT."                                         detention facility (See "Admissions").


Any item prohibited by law, the possession of                Review board responsible for conducting
which constitutes grounds for felony or                      disciplinary hearings and imposing sanctions for
misdemeanor charges.                                         cases of detainee misconduct referred for
                                                             disposition following the hearing. The IDP usually
                                                             comprises a hearing ofTicer and representatives of
Without fonds, or with only nominal fonds.
                                                             different depaitments in the facility.
Ordinarily, a detainee is considered "indigent" ifhe
or she has less than $15.00 in his or her account.
                                                             A cooperative agreement between ICE and any
                                                             state, territory or political subdivision for the
An oral complaint or concern received from a
                                                             construction, renovation or acquisition of
detainee. Informal grievances may be handled at the
                                                             equipment, supplies or materials required to
lowest level in the organization possible to
                                                             establish acceptable conditions of confinement and
effectively resolve the complaint with no written
                                                             detention services. ICE may enter into an IGSA
response.
                                                             with any such unit of government guaranteeing to
                                                             provide bed space for ICE detainees, and to provide
Population count conducted according to no fixed             the clothing, medical care, food and drink, security
schedule, when detainees are working, engaged in             and other services specified in the ICE/ERO
other programs, or involved in recreational                  detention standards; facilities providing such
activities. Unless a detainee is missing, these counts       services are referred to as "IGSA facilities."
are not reported; also called "census check" or
"irregular count."
                                                             An individual of supervisory or higher rank who
                                                             conducts an investigation of alleged misconduct and
Brings closure to a complaint or issue of concern to         was not involved in the incident; usually a
a detainee, satisfactory to the detainee and staff           supervisory detention enforcement officer or shift
member involved; does not require filing of a                supervisor.
written grievance.


7.5 I Definitions                                          389                                       PBNDS 2011



                                                                                                  GEO-MEN 00064409




                                                                                                      APP. 154
  Appellate Case: 22-1409              Document: 29-2          Date Filed: 01/23/2023             Page: 158
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 61 of
                                       65



See Informal Count.                                        Examination of incoming and outgoing letters,
                                                           packages, etc., for contraband, including cash,
                                                           checks and money orders.
In the context of a search, terminology used to refer
to alternative means of finding contraband, such as
questions, metal detectors, pat down searches and          Total number of detainees housed at a facility.
boss chairs, prior to conducting a strip search.

                                                           Basic information about a hazardous chemical,
An individual (other than an interpreter) who,             prepared and issued by the manufacturer, in
working under the direction and supervision of an          accordance with Occupational Safety and l-:Iealth
attorney or other legal representative, assists with       Administration regulations (see 29 CFR 1910.1200:
group presentations and in representing individual         see also OSHA Form 174); among other things,
detainees. Legal assistants may interview detainees,       specifies precautions for normal use, handling,
assist detainees in completing forms and deliver           storage, disposal and spill cleanup.
papers to detainees without the supervisory attorney
being present.
                                                           A system by which a detainee' s medical and mental
                                                           health conditions and needs are assessed to allow
See "special correspondence."                              for appropriate placement in a facility with the
                                                           resources necessary to provide appropriate level of
                                                           care to meet those needs.
See A-File.

                                                           The discharge plan includes: admission diagnosis;
An attorney or other person representing another in        discharge diagnosis; brief medical history including
a matter of law, including law students, law               the chief complaint and any essential physical
graduates not yet admitted to the bar; "reputable          findings discovered; all diagnostic test (e.g., x-rays,
individuals"; accredited representatives; accredited       lab results, ECG's, etc) results; list of any
officials and attorneys outside the United States (see     medications prescribed; a brief summary of care
8 CFR § 292.1, "Representation and Appearances").          provided, the detainee's response to treatment,
                                                           medical complications encountered, any outside
                                                           health care referrals that may have interrupted the
Activities which are designed to provide detainees
                                                           infirmary period or that be pending; and continuity
with recreational opportunities both inside and
                                                           of care plan.
outside the living area, e.g., soccer, basketball,
chess, checkers, television.
                                                           Includes all qualified health care professionals as
                                                           well as administrative and support staff (e.g. health
A medical intervention or procedure that uses
                                                           record administrators, laboratory technicians,
artificial means to sustain a vital function.
                                                           nursing and medical assistants, clerical workers).



7.5 I Definitions                                        390                                       PBNDS 2011



                                                                                                 GEO-MEN 00064410




                                                                                                     APP. 155
  Appellate Case: 22-1409               Document: 29-2         Date Filed: 01/23/2023              Page: 159
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 62 of
                                       65



Psychiatrist, clinical or counseling psychologist,         between the detainee and his or her visitors.
physician, psychiatric nurse, clinical social worker       }\{}n . dcdicn.tcd I(iS/\.
or any other mental health professional who by
virtue of their education, credentials, and experience     An IGSA facility that houses ICE detainees as well
are permitted by law to evaluate and care for the          as other inmate populations in a shared use
mental health needs of patients ..                         facility. Also see "l(iSA FACILITY" and
                                                           "INTERGOVERNMENTAL SERVICE
                                                           AGREEMENT."
A person (neither a legal representative nor a legal
assistant) whose purpose is to deliver or convev
documents, forms, etc., to and from the detainee;          Authorized detainee visit to a critically ill member
not afforded the visitation privileges of legal            of his/her immediate family, or to attend the funeral
representatives and legal assistants.                      of a member of his/her immediate family.
                                                           "Immediate family" member refers to a parent
                                                           (including stepparent and foster parent), child,
A juvenile; a person under the age of 18.                  spouse, sister, or brother of the detainee.


Key and knob operated deadlocking latch/ deadbolt          Any characteristic or factor immaterial to a
for use in detention institutions as well as               detainee's mental or physical ability to perform a
commercial, government and industrial buildings            given assignment.
for utmost physical security. The large-scale design
accommodates an oversized latch and deadbolt plus
mogul key cylinder. These institutional grade              A key which if duplicated by unauthorized persons
construction features and tamper resistant fittings        and/or lost, would not constitute an emergency
afford exceptional structural strength to impede           requiring urgent action; not critical to facility safety
forced and surreptitious entry.                            and security.


                                                           Detainees temporarily away from the facility, but
Establishes the standards for health service in            accounted for by the facility and included in the
correctional facilities on which accreditation is          master count.
based.

                                                           Keys designed to open a paracentric lock. It is
Principal source of fire protection standards and          distinguishable by the contorted shape of its blade,
codes.                                                     which protrudes past the centre vertical line of the
                                                           key barrel. Instead of the wards on the outer face of
NCCHC
                                                           the lock simply protruding into the shape of the key
National Commission on Correctional Health care.           along the spine, the wards protrude into the shape of
                                                           the key along the entire width of the key, including
                                                           along the length of the teeth.
Visitation with a barrier preventing physical contact


7.5 I Definitions                                        391                                        PBNDS 2011



                                                                                                  GEO-MEN 00064411




                                                                                                      APP. 156
  Appellate Case: 22-1409               Document: 29-2        Date Filed: 01/23/2023            Page: 160
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 63 of
                                       65



                                                          Not intuition, but specific, articulable facts that
Relies on the sensitivity of the officer's hands as       would cause a reasonable law enforcement officer to
they tap or run over the detainee's clothed body;         suspect that a particular person is concealing a
may require the detainee to reveal pocket contents.       weapon, contraband, or evidence of a crime.
The least intmsive body search.
         F«;ini ;,1·,, i(.fl                              Worship, observances, services, meetings,
A thorough evaluation of an individual's physical         ceremonies, etc., associated with a particular faith;
condition and medical history conducted by or             access to religious publications, religious symbolic
under the supervision of a licensed medical               items, religious counseling and religious study
professional acting within the scope of his or her        classes; and adherence to dietary rules and
practice.                                                 restrictions.



Describes steps the facility will take to convert a       An enclosure situated in the perimeter wall or fence
condition that has caused a detem1ination of              surrounding the facility, containing double gates or
noncompliance with a standard.                            doors, of which one cannot open until the other has
                                                          closed, to prevent a breach in the perimeter security;
Pust ()rders
                                                          handles pedestrian and/or vehicular traffic.
Written orders that specify the duties of each
position, hour-by-hour, and the procedures the post
officer will fi.)llow in carrying out those duties.       The creation and maintenance of hygienic
                                                          conditions; in the context of food, involves
                                                          handling, preparing, and storing items in a clean
Control the detainee in the least restrictive manner      environment, eliminating sources of contamination.
required, until and unless the detainee's behavior
waiTants stronger and more secure means of
inhibiting movement.                                      Food served and consumed in a location other than
                                                          where prepared.

Administrative segregation for the detainee's own
safety.                                                   A key which if duplicated by unauthorized persons
                                                          and/or lost, would jeopardize life, safety, property
                                                          or security, or would facilitate escape.
Include physicians, physicians assistants, nurses,
nurse practitioners, dentists, mental health
professionals and others who by virtue of their           Confinement in an individual cell isolated from the
education, credentials and experience are permitted       general population; for administrative, disciplinary,
by law and within their scope of practice to evaluate     or protective reasons.
and care for patients.
                                                          A detention facility the primaiy operator and



7.5 I Definitions                                       392                                      PBNDS 2011



                                                                                               GEO-MEN 00064412




                                                                                                   APP. 157
     Appellate Case: 22-1409              Document: 29-2      Date Filed: 01/23/2023             Page: 161
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 64 of
                                       65



controlling party of which is ICE.                         J. administrators of grievance systems; and
                                                           k. representatives of the news media.
A generic term for the detention security supervisor
in charge of operations during a shift. The position
                                                           A housing unit for detainees in administrative or
titles may vary according to the type of facility
                                                           disciplinary segregation.
(SPC, CDF, or lCiSA) and local facility titles.
Ordinarily, a shift supervisor (detention operations
supervisor, lieutenant, etc.) is, organizationally,        A detainee whose mental and/or physical condition
directly under the Chief of Security (chief detention      requires different accommodations or arrangements
enforcement agent, captain, etc.).                         than a general population detainee would receive.
                                                           Special needs detainees include but are not limited
                                                           to those who are emotionally disturbed,
Any unauthorized item that does not constitute hard
                                                           developmentally disabled, mentally ill, physically
contraband, i.e., does not pose a serious threat to
                                                           handicapped, chronically ill, disabled, or infinn and
human safety or facility security; includes that
                                                           the drug or alcohol addicted.
quantity of an item possessed in an amount
exceeding the established limit
                                                           A visual inspection of all body surfaces and body
                                                           cavities.
Detainees' written communications to or from any
of the following:                                                     I] l [)ctainec

a. private attorneys and other legal representatives;      A detainee whose physical condition has
                                                           deteriorated to the point where the prognosis is less
b. government attorneys;                                   than a year to Ii ve.
c. judges and courts;
d. embassies and consulates;                               The Joint Commission [formerly the Joint
e. the president and vice president of the lJ nited        Commission on Accreditation of Health care
   States;                                                 Organizations CJCAHO)]

f. members of Congress;                                    An independent, not-for-profit organization that
                                                           evaluates and accredits more than 15,000 health
g. the Department of Justice (including the DOJ
                                                           care organizations and programs in the United
   Office of the Inspector General);
                                                           States. TJC is the Nation's predominant standards-
h. the Department of Homeland Security (including          setting and accrediting body in health care.
   U.S. Immigration and Customs Enforcement,
   ICE Health Services Corps, the Office of
   Enforcement and Removal Operations, the DHS             Poisonous; capable of causing injury or death.
   Office for Civil Rights and Civil Liberties, and
   the DHS Office of the Inspector General);
                                                           A person who has been trained in investigative
1.   outside health care professionals;                    techniques to include interview techniques for


7.5 I Definitions                                       393                                        PBNDS 2011



                                                                                                GEO-MEN 00064413




                                                                                                    APP. 158
  Appellate Case: 22-1409              Document: 29-2          Date Filed: 01/23/2023             Page: 162
Case 1:14-cv-02887-JLK-MEH Document 261-8 Filed 04/29/20 USDC Colorado Page 65 of
                                       65



victims and proper procedures for collecting and           Open, usable space measuring at least seven feet in
storing evidence.                                          at least one dimension, free of plumbing fixtures,
                                                           desk, locker, bed and other furniture and fixtures
                                                           (measured in operational position).
An organized, planned and evaluated activity
designed to achieve specific learning objectives and
enhance personnel performance. Training may                Negotiable instruments (checks, money orders, etc.)
occur on site, at an academy or training center, an        or cash in a detainee's possession exceeding the
institution of higher learning, professional meetings,     facility-established limit.
or through contract service or closely supervised
on-the-job training. Training programs usually
include requirements for completion, attendance            Not inherently illegal, but against the facility's
records and certification of completion. Meetings of       written rules.
professional associations are considered training
where there is clear evidence of the direct bearing
                                                           See Disciplinary Committee.
on job perfi)fmance. In all cases, the activity must
be part of an overall training program.
                                                           Individuals who collectively donate time and effort
                                                           to enhance the activities and programs offered to
A person responsible for ensuring all training
                                                           detainees: selected on basis of personal qualities
requirements are met and documented. This person
                                                           and skills (recreation, counseling, education,
will often develop and conduct training.
                                                           religion, etc.).
                                                           \\/ork
Transgender people are those whose gender identity
                                                           Carpentry, plumbing, food service and other
or expression is different from their assigned sex at
                                                           operational activities included in the facility's
birth.
                                                           Voluntary Work Program, for which a detainee may
                                                           volunteer.




7.5 I Definitions                                        394                                        PBNDS 2011



                                                                                                 GEO-MEN 00064414




                                                                                                     APP. 159
     Appellate Case: 22-1409   Document: 29-2   Date Filed: 01/23/2023   Page: 163




Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 1 of
                                      65




                        Exhibit M




                                                                          APP. 160
 Appellate Case: 22-1409        Document: 29-2         Date Filed: 01/23/2023   Page: 164
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 2 of
                                      65




         Operations Manual ICE Performance Based National
                       Detention Standards
                             (PBNDS)
                                      Table Of Contents

     PARTl SAFETY

          1 Emergency Plans (DOC I 227 KB) (PDF I 303 KB)

          2 Environmental Health and Safety (DOC I 187 KB) (PDF I 254 KB)

          3 Transportation (By Land) (DOC I 128 KB) (PDF I 180 KB)

     PART 2 SECURITY

          4 Admission and Release (DOC I 98 KB) (PDF I 155 KB)

          5 Classification System (DOC I 145 KB) (PDF I 220 KB)

          6 Contraband (DOC I 68 KB) (PDF I 82 KB)

          7 Facility Security and Control (DOC I 101 KB) (PDF I 129 KB)

          8 Funds and Personal Property (R_Q_C I 121 KB) (P_R_E I 151 KB)

          9 Hold Rooms in Detention Facilities (DOC I 81 KB) (PDF I 101 KB)

         10 Key and Lock Control (DOC I 102 KB) (PDF I 128 KB)

         11 Population Counts (DOC I 51 KB) (PDF I 60 KB)




                                                                                GEO-MEN 00062905




                                                                                   APP. 161
 Appellate Case: 22-1409          Document: 29-2         Date Filed: 01/23/2023       Page: 165
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 3 of
                                      65



           12 Post Orders (Q_QC_ I 61 KB) (PPE 171 KB)

           13 Searches of Detainees (DOC I 104 KB) (PDF I 141 KB)

           14 Sexual Abuse and Assault Prevention and Intervention (DOC I 151 KB) (PDF I 220
     KB)

           15 Special Management Units (P_Q_C I 130 KB) (PPE I 182 KB)

           16 Staff-Detainee Communication (DOC 178 KB) (PDF I 94 KB)

           17 Tool Control (DOC I 111 KB) (PDF I 145 KB)

           18 Use of Force and Restraints (DOC I 152 KB) (PDF I 197 KB)

     PART3 ORDER

           19 Disciplinary System (P_Q_C_ I 137 KB) (PPF I 193 KB)

     PART4 CARE

           20 Food Service (DOC I 225 KB) (PDF I 341 KB)

           21 Hunger Strikes (DOC I 64 KB) (PDF 173 KB)

           22 Medical Care (DOC I 247 KB) (PDF I 296 KB)

           23 Personal Hygiene (DOC I 69 KB) (PDF 178 KB)

           24 Suicide Prevention and Intervention (DOC I 73 KB) (PDF I 73 KB)

           25 Terminal Inness, Advance Directives, and Death (DOC I 114 KB) (PDF I 130 KB)
           See ICE Directive 7-9.0 01 Oct 09

     PART 5 ACTIVITIES

           26 Correspondence and Other Mail (DOC I 90 KB) (PDF I 107 KB)

           27 Escorted Trips for Non-Medical Emergencies (DOC I 62 KB) (PDF 172 KB)

           28 Marriage Requests (DOC I 62 KB) (PDF I 69 KB)

           29 Recreation (DOC I 90 KB) (PDF I 105 KB)

           30 Religious Practices (DOC 174 KB) (PDF I 86 KB)




                                                                                    GEO-MEN 00062906




                                                                                       APP. 162
 Appellate Case: 22-1409        Document: 29-2            Date Filed: 01/23/2023   Page: 166
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 4 of
                                      65



         31 Telephone Access (QQC_ I 97 KB) (P__Q_E I 93 KB)

         32 Visitation (DOC I 138 KB) (PDF I 183 KB)

         33 Voluntary Work Program (DOC I 81 KB) (PDF I 35 KB)

     PART 6 JUSTICE

         34 Detainee Handbook (DOC I 66 KB) (PDF 171 KB)

         35 Grievance System (QQC I 88 KB) (P__Q_E I 113 KB)

         36 Law Libraries and Legal Material (DOC I 133 KB) (PDF I 168 KB)

         37 Legal Rights Group Presentations (DOC I 84 KB) (PDF I 101 KB)

     PART 7 ADMINISTRATION & MANAGEMENT

         38 Detention Files (DOC I 77 KB) (PDF I 90 KB)

         39 News Media Interviews and Tours (DOC I 60 KB) (PDF I 82 KB)

         40 Staff Training (DOC I 94 KB) (PDF I 120 KB)

         41 Transfer of Detainees (DOC I 135 KB) (PDF I 185 KB)

         42 Definitions (_Q_Q_C I 81 KB) (PPE I 142 KB)




                                                                                   GEO-MEN 00062907




                                                                                      APP. 163
 Appellate Case: 22-1409               Document: 29-2      Date Filed: 01/23/2023           Page: 167
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 5 of
                                      65



                           ICE/ORO DETENTION STANDARD
                         ENVIRONMENTAL HEALTH AND SAFETY

     I. PURPOSE AND SCOPE. This Detention Standard protects detainees, staff,
     volunteers, and contractors from injury and illness by maintaining high facility
     standards of cleanliness and sanitation, safe work practices, and control of
     hazardous substances and equipment.
     It applies to the following types of facilities housing ORO detainees:
            •   Service Processing Centers (SPCs);
            •   Contract Detention Facilities (CDFs); and
            •   State or local government facilities used by ORO through Intergovernmental
                Service Agreements (IGSAs) to hold detainees for more than 72 hours.
     Procedures in italics are specifically required for SPCs and CDFs. IGSAs must
     conform to these procedures or adopt, adapt or establish alternatives, provided they meet
     or exceed the intent represented by these procedures.
     Some terms used in this document are defined in the separate Definitions Standard.

     II. EXPECTED OUTCOMES. The expected outcomes of this Detention Standard are:
        1. Facility cleanliness and sanitation will be maintained at the highest level.
        2. Compliance with all applicable safety and sanitation laws will be ensured by
           documented internal and external inspections and corrective action when indicated.
        3. Compliance with all applicable fire safety codes and fire safety performance
           requirements for the facility furnishings will be ensured.
        4. Flammable, poisonous, toxic, and caustic materials will be controlled and used in a
           safe manner.
        5. Compliance with fire prevention regulations, inspection requirements, and practices,
           including periodic fire drills, will ensure the safety of detainees, staff, and visitors.
        6. Staff will be knowledgeable about procedures and responsibilities during emergency
           situations, including those that require evacuation, in accordance with a written plan
           and at least annual training.
        7. The facility will have a plan for immediate release of detainees from locked areas
           and provisions for a back-up system
        8. A sufficient number of properly positioned emergency exits that are clear from
           obstruction will be distinctly and permanently marked.
        9. Preventive maintenance and regular inspections will be performed to ensure timely
           emergency repairs or replacement to prevent dangerous and life-threatening
           situations.




     Environmental Health and Safety               1                               December 2, 2008




                                                                                           GEO-MEN 00062932




                                                                                               APP. 164
 Appellate Case: 22-1409               Document: 29-2        Date Filed: 01/23/2023         Page: 168
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 6 of
                                      65



        10. Potential disease transfer will be minimized by the proper sanitization of barbering
            equipment and supplies.
        11. Pests and vermin will be controlled and eliminated.
        12. Safe potable water will be available throughout the facility.
        13. Emergency lighting and life-sustaining equipment will be maintained and periodically
            tested.
        14. Disposal of garbage and hazardous waste will be in compliance with applicable
            government regulations.
        15. The applicable content and information in this standard will be communicated in a
            language or manner which the detainee can understand.



     Ill. DIRECTIVES AFFECTED. This Detention Standard replaces Environmental Health
     and Safety dated 9/20/2000.

     IV. REFERENCES
            •        American Correctional Association 4th Edition, Standards for Adult Detention
                     Facilities: 4-ALDF-1A-01, 1A-02, 1A-03, 1A-07, 1A-14, 1A-15, 1A-16, 1A-17, 1A-
                     18, 1A-19, 1A-20,1C-01, 1C-02, 1C-03, 1C-04, 1C-05, IC-07, 1C-08, 1C-09, 1C-
                     10, 1C-11, 1C-12, 1C-13, 1C-14, 1C-15, 4B-07, 4C-18.
            •        Occupational Safety and Health Administration (OSHA) Regulations
            •        NFPA Standards
            •        US Public Health Service Report on Carcinogens

     V. EXPECTED PRACTICES - GENERAL ENVIRONMENTAL HEAL TH AND SAFETY

           A. General Environmental Health
        Environmental health conditions shall be maintained at a level that meets recognized
        standards of hygiene, including those from the:
                11
                     American Correctional Association,
                11
                     Occupational Safety and Health Administration,
                11
                     Environmental Protection Agency,
                11
                     Food and Drug Administration,
                11
                     National Fire Protection Association's Life Safety Code, and
                11
                     National Center for Disease Control and Prevention.
        The Health Services Department or IGSA equivalent shall assist in the identification and
        correction of conditions that could adversely impact the health of detainees, employees,
        and visitors. The sanitarian consultant is responsible for developing and implementing


     Environmental Health and Safety                  2                             December 2, 2008




                                                                                           GEO-MEN 00062933




                                                                                               APP. 165
 Appellate Case: 22-1409               Document: 29-2      Date Filed: 01/23/2023          Page: 169
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 7 of
                                      65


        policies, procedures, and guidelines for the environmental health program that are
        intended to evaluate and eliminate or control as necessary, sources of injuries and
        modes of transmission of agents or vectors of communicable diseases.
        The consultant shall:
             •       Conduct special investigations and comprehensive surveys of environmental
                     health conditions, and
             •       Provide advisory, consultative, inspection, and training services regarding
                     environmental health conditions.
        The medical facility's Health Services Administrator is responsible for:
                 •     Implementing a program that assists in maintaining a high level of
                       environmental sanitation, and
                 •     Providing recommendations to the facility administrator concerning
                       environmental health conditions, in consultation with the sanitarian
                       consultant.

             B. Staff and Detainee Safety
        The facility administrator shall ensure that adequate provisions are made for staff and
        detainee safety in accordance with these Detention Standards and applicable law. The
        Detention Standard on Staff Training further addresses employee training related
        issues. The Detention Standard on Volunteer Work Program addresses detainee
        training issues for workers. Detainees will receive safety instruction where necessary for
        living area-related assignments such as working with cleaning products to clean general
        use areas.


        Detainee living area safety will be emphasized to staff and detainees to include
        providing, as noted in the standards, a housekeeping plan. Bed rails are not common in
        detention settings except for medical housing units because of the potential safety risk
        they pose. When there are safety concerns with a detainee sleeping in a top bunk that
        is not along a wall and has no bed rail, accommodations will be made to ensure safety.
        In locations where ladders are not available, accommodations for detainees, such as
        the use of bottom bunks or the addition of a ladder or step, will be made on a case by
        case basis. Detainees who have medical or physical problems that sleeping on a top
        bunk will aggravate will be referred to the medical unit for consideration of a lower bunk
        permit.

            C. General Housekeeping
        The facility administrator shall ensure that staff and detainees maintain a high standard
        of facility sanitation and general cleanliness. When possible, the use of non-toxic
        cleaning supplies is recommended.
            1. All horizontal surfaces shall be damp-dusted daily with an approved germicidal
               solution used according to the manufacturer's directions.
            2. Windows, window frames, and windowsills shall be cleaned on a regular


     Environmental Health and Safety                3                              December 2, 2008




                                                                                          GEO-MEN 00062934




                                                                                              APP. 166
 Appellate Case: 22-1409               Document: 29-2      Date Filed: 01/23/2023           Page: 170
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 8 of
                                      65


                 schedule, but do not require daily cleaning.
            3. Furniture and fixtures shall be cleaned daily.
            4. Floors shall be mopped daily and when soiled using the double-bucket mopping
               technique, and with a hospital disinfectant-detergent solution mixed according to
               the manufacturers directions.
            5. A clean mop head shall be used each time the floors are mopped.
            6. Waste containers shall be non-porous and lined with plastic bags and the liner
               shall be changed daily.
            7. The container itself shall be washed at least weekly, or as needed when it
               becomes soiled.
            8. Cubicle curtains shall be laundered monthly or during terminal cleaning following
               treatment of an infectious patient.

            D. Pests and Vermin
        The facility administrator shall contract with licensed pest-control professionals to
        perform monthly inspections to identify and eradicate rodents, insects, and vermin. The
        contract shall include a preventive spraying program for indigenous insects and a
        provision for callback services as necessary.

            E. Certification of Facility Water Supply
        At least annually, a state laboratory shall test samples of drinking and wastewater to
        ensure compliance with applicable standards. A copy of the testing and safety
        certification shall be maintained on-site.

            F. Emergency Electrical Power Generator
        At least every two weeks, emergency power generators shall be tested for one hour,
        and the oil, water, hoses and belts of these generators shall be inspected for
        mechanical readiness to perform in an emergency situation .
        Power generators are inspected weekly and load tested quarterly at a minimum, or in
        accordance with manufacturer's recommendations and instruction manual. Among other
        things, the technicians shall check starting battery voltage, generator voltage and
        amperage output.
        Other emergency equipment and systems shall be tested quarterly, and needed follow-
        up repairs or replacement shall be accomplished as soon as feasible.

            G. Garbage and Refuse
            11
               Garbage and refuse includes all trash, rubbish, and other putrescible and non-
               putrescible solid waste, except the solid and liquid waste discharged into the
               sanitary sewer system of the facility.
            11
                 Garbage and refuse shall be collected and removed as often as necessary to
                 maintain sanitary conditions and to avoid creating health hazards.
            11
                 Facilities shall comply with all federal, state and local environmental regulations

     Environmental Health and Safety                4                              December 2, 2008




                                                                                           GEO-MEN 00062935




                                                                                               APP. 167
 Appellate Case: 22-1409               Document: 29-2       Date Filed: 01/23/2023           Page: 171
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 9 of
                                      65


                    and requirements governing methods for handling and disposing of refuse.

     VI.- HAZARDOUS MATERIALS
     Every facility shall establish a system for storing, issuing, using, and maintaining inventories
     of and accountability for hazardous materials. The facility program will be supervised by a
     person who has been trained in accordance with OSHA standards. The effectiveness of
     any such system depends not only on written policies, procedures, and precautions but
     also on adequate supervision and responsible behavior of staff and detainees, including
     following instructions precisely, taking prescribed precautions and using safety equipment
     properly.
     A list of common flammable, toxic, and caustic substances is included at the end of this
     Detention Standard as Table A.

           A. Personal Responsibility
        Every individual who uses a hazardous substance must:
             •      be trained in accordance with OSHA standards;
                •   be knowledgeable about and follow all prescribed precautions;
                •   wear personal protective equipment when indicated; and
                •   promptly report hazards or spills to the designated authority.

            B. Protective Equipment
            • Protective eye and face equipment is required where there is a reasonable
               probability of injury that can be prevented by such equipment. Areas of the
               facility where such injuries can occur shall be conspicuously marked with eye
               hazard warning signs.
            •       Eyewash stations that meet the standards of the OSHA shall be installed in
                    designated areas throughout the facility, and all employees and detainees in
                    those areas shall be instructed in their use.

            C. Inventories
        Every area shall maintain a current inventory of the hazardous substances (flammable,
        toxic, or caustic) used and stored there. Inventory records shall be maintained
        separately for each substance. Entries for each shall be logged on a separate card (or
        equivalent) filed alphabetically by substance. The entries shall contain relevant data,
        including purchase dates and quantities, use dates and quantities, and quantities on
        hand.

           D. Material Safety Data Sheets Files
        Every department or other area of the facility using hazardous substances shall
        maintain a file of Material Safety Data Sheets (MSDSs) that includes a list of the
        locations where hazardous substances are stored, along with a diagram and legend of




     Environmental Health and Safety                 5                               December 2, 2008




                                                                                            GEO-MEN 00062936




                                                                                                APP. 168
 Appellate Case: 22-1409               Document: 29-2     Date Filed: 01/23/2023         Page: 172
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 10 of
                                       65


        these locations. Designated staff from each department or area shall provide a copy of
        each file to the Maintenance Supervisor.
            •    MSDSs are produced by manufacturers and provide vital information on
                 individual hazardous substances, including instructions on safe handling,
                 storage, disposal, prohibited interactions, etc.
            •    Staff and detainees shall have ready and continuous access to the MSDSs for
                 the substances with which they are working. Staff and detainees that do not read
                 English will not be authorized to work with these materials.
            •    Because changes in MSDSs occur often and without notice, staff must:
                    o   review the latest issuance from the manufacturers of the relevant
                        substances;
                    o   update the MSDS files as necessary; and
                    o   forward any changes to the Maintenance Supervisor, so that the copy is
                        kept current.

            E. Master Index
        The Maintenance Supervisor shall compile:
             •   a master index of all hazardous substances in the facility and their locations;
             •   a master file of MSDSs; and
             •   a comprehensive, up-to-date list of emergency phone numbers (fire department,
                 poison control center, etc.).
         The Maintenance Supervisor maintains this information in the safety office (or
         equivalent) and ensures a copy is sent to the local fire department.

            F. General Guidelines Regarding Hazardous Substances
            Issuance. Flammable, caustic, and toxic substances (hazardous substances) shall
            be issued (that is, drawn from supply points to canisters or dispensed) only under
            the supervision of the designated officer.
            Amounts. Hazardous substances shall be issued in single-day increments (the
            amount needed for one day's work.)
            Supervision. Qualified staff shall closely monitor detainees working with hazardous
            substances.
            Accountability. Inventory records for a hazardous substance must be kept current
            before, during, and after each use.

            G. Flammable and Combustible Liquids
            1. Any liquid or aerosol labeled "Flammable" or "Combustible" must be stored and
               used as prescribed on the label required by the Federal Hazardous Substances
               Labeling Act.



     Environmental Health and Safety               6                             December 2, 2008




                                                                                         GEO-MEN 00062937




                                                                                            APP. 169
 Appellate Case: 22-1409               Document: 29-2      Date Filed: 01/23/2023          Page: 173
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 11 of
                                       65



            2. Lighting fixtures and electrical equipment installed in flammable liquid storage
               rooms must meet National Electrical Code requirements in hazardous locations.
            3. Every hazardous material storage room shall:
               • Be of fire-resistant construction and properly secured;
                •   Have self-closing fire doors at each opening;
                •   Be constructed with either a four-inch sill or a four-inch depressed floor; and
                •   Have a ventilation system (mechanical or gravity flow) within 12 inches of the
                    floor, which provides at least six air changes per hour.
            4. Every storage cabinet shall:
               • Be constructed according to code and securely locked at all times;
                •   Be clear of open passageways, stairways, and other emergency exit areas;
                •   Be conspicuously labeled: "Flammable -- Keep Fire Away"; and
                •   Contain not more than 60 gallons of Class I or Class II liquids, or more than
                    120 gallons of Class Ill liquids.
            5. Storage rooms and cabinets may be entered only under secure conditions and
               under the supervision of authorized staff.
            6. Any portable container that is not the original shipping container must be
               designated as an approved safety can, which is listed or labeled by a nationally
               recognized testing laboratory. Each container shall bear a legible label that
               identifies its contents.
            7. Excess liquids shall remain in original containers, tightly closed, in the storage
               room or cabinet.
            8. The MSDS shall govern use of a particular flammable or combustible liquid.
            9. Only authorized staff may dispense flammable and combustible liquids, using
               acceptable methods for drawing or transferring these liquids.
                Drawing from or transferring any of these liquids into containers indoors is
                prohibited except:
                   • Through a closed piping system;
                    •   From a safety can;
                    •   By a device drawing through the top; or
                    •   By gravity, through an approved self-closing system.
                An approved grounding and bonding system must be used when liquids are
                dispensed from drums.
            10. Without exception, cleaning liquids must have a flash point at or above 100° F
                (for example, Stoddard solvents, kerosene). Cleaning operations must be in an
                approved parts-cleaner or dip tank fitted with a fusible link lid with a 160° F
                melting-temperature link.

     Environmental Health and Safety               7                              December 2, 2008




                                                                                          GEO-MEN 00062938




                                                                                              APP. 170
 Appellate Case: 22-1409               Document: 29-2     Date Filed: 01/23/2023          Page: 174
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 12 of
                                       65


            11. Staff shall follow MSDS directions:
                    •   When disposing of excess flammable or combustible liquids; or
                    •   After a chemical spill.

            H. Toxic and Caustic Substances
            • All toxic and caustic materials must be stored in secure areas, in their original
               containers, with the manufacturer's label intact on each container.
            •   Authorized staff only shall draw/dispense these substances, in accordance with
                the applicable Material Safety Data Sheet(s).
            •   Staff shall either return unused amounts to the original container(s) or, under
                certain circumstances, to another suitable, clearly labeled container n the
                storage area.
            •   MSDS directions shall determine the disposal and spill procedures for toxic and
                caustic materials used in the facility.

           I. Poisonous Substances
        Poisonous substances or chemicals, such as methyl alcohol, sulfuric acid, muriatic acid,
        caustic soda or tannic acid, among others, pose a very high (Class I) caustic hazard
        due to their toxicity.
        Methyl alcohol, variously referred to as wood alcohol and methanol, is commonly
        found in industrial applications (for example, shellac thinner, paint solvent, duplicating
        fluid, solvents for leather cements and dyes, flushing fluid for hydraulic brake systems):
            •   If ingested, methyl alcohol can cause permanent blindness or death.
            •   Staff must directly supervise the use of any product containing methyl alcohol.
                Products containing methyl alcohol in a very diluted state, such as shoe dye,
                may be issued to detainees, but only in the smallest workable quantities.
            •   Immediate medical attention is vital any time methyl alcohol poisoning is
                suspected.

            J. Other Toxic Substances
            1. Permanent antifreeze containing ethylene glycol shall be stored in a locked area
               and dispensed only by authorized staff.
            2. Typewriter cleaner containing carbon tetrachloride or tricholorochane shall be
               dispensed in small quantities and used under direct staff supervision.
            3. Cleaning fluids containing carbon tetrachloride             or   tetrachloride   or
               tricholoroethylene shall be strictly controlled.
            4. Glues of every type may contain hazardous chemicals. When use of a nontoxic
               product is not possible, staff must closely supervise all stages of handling. The
               toxic glues must be stored in a locked location.
            5. The use of dyes and cements for leather requires close supervision.


     Environmental Health and Safety              8                              December 2, 2008




                                                                                         GEO-MEN 00062939




                                                                                             APP. 171
 Appellate Case: 22-1409               Document: 29-2    Date Filed: 01/23/2023          Page: 175
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 13 of
                                       65


                Nonflammable types shall be used whenever possible.
            6. Ethyl alcohol, isopropyl alcohol, and other antiseptic products shall be
               stored and used only in the medical department and only under close
               supervision. To the extent practical, such chemicals shall be diluted and issued
               in small quantities to prevent any injuries or lethal accumulation.
            7. Pesticides not currently approved by the Environmental Protection Agency,
               such as DDT and 1080 (sodium fluoracetate), are prohibited. The Maintenance
               Supervisor is responsible for purchasing, storing (in a locked area), and
               dispensing all pesticides used in the facility.
            8. The Maintenance Supervisor or other staff members responsible for herbicides
               must hold a current state license as a Certified Private Applicator. Persons
               applying herbicides must wear proper clothing and protective gear.
            9. Lyes may be used only in dye solutions and only under the direct supervision of
               staff.

           K. Labeling of Chemicals, Solvents, and Other Hazardous Materials
        The facility administrator shall individually assign the following responsibilities
        associated with the labeling procedure:
            •   Identifying the hazardous nature of materials adopted for use;
            •   Requiring use of properly labeled containers for hazardous materials, including
                any and all miscellaneous containers into which employees might transfer the
                material;
            •   Teaching staff the meaning of the classification code and the MSDS, including
                the safe handling procedures for each material, and impressing on staff the need
                to ensure containers are properly labeled; and
            •   Placing correct labels on all smaller containers when only the larger shipping
                container bears the manufacturer-affixed label.

            L. Controlled Hazardous Materials
        Certain substances require special treatment and careful planning and precautions
        before use. These controlled materials are classified according to the type of hazard
        and the nature of the restrictions imposed for their safe use, as specified in OSHA
        regulations.
            Class I: Industrial Solvents. Industrial solvents and chemicals used as paint
            thinners, degreasers, and cleaning agents may have toxic properties and low flash
            points, making them dangerous fire hazards.
            Class II: Restricted Materials. Beryllium, its alloys and compounds, and silver
            solder containing cadmium pose a danger to workers, for whom special precautions
            must be taken.
            Class Ill: Recognized Carcinogens. OSHA-listed carcinogens are governed by
            the OSHA regulations provided in 29 CFR 1910.1000.



     Environmental Health and Safety              9                              December 2, 2008




                                                                                        GEO-MEN 00062940




                                                                                            APP. 172
 Appellate Case: 22-1409                  Document: 29-2         Date Filed: 01/23/2023          Page: 176
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 14 of
                                       65



               Although asbestos appears on the OSHA list, it is exempt from the regulation when:
                       •   no asbestos fibers will be released into the air during handling and use; and
                       •   the asbestos consists of firmly bound fibers contained in a product such as: a
                           transit pipe, wallboard, or tile (except when being sawed or otherwise
                           handled in a way that releases fibers into the air).
               Class IV: Suspected Carcinogenic, Teratogenic, and Mutagenic Materials.
               Chemical agents, substances, mixtures, and exposures are listed in the biennial
               Report on Carcinogens issued by the U.S. Public Health Service, in accordance with
               the Public Health Service Act. The Maintenance Supervisor shall ensure the facility
               has copies of the report and that there is compliance with the provisions of the latest
               edition.

     VII.      EXPECTED PRACTICES- FIRE PREVENTION AND CONTROL

               A. Fire Safety Codes
            Every facility shall comply with standards and regulations issued by:
                   •   OSHA;
                   •   the American Correctional Association "mandatory" Expected Practices;
                       (Mandatory ACA Expected Practice 4-ALDF-1 C-07 requires that the facility
                       conform to applicable federal, state, and/or local fire safety codes, and that the
                       authority having jurisdiction document compliance. A fire alarm and automatic
                       detection system are required (or there is a plan for addressing these or other
                       deficiencies within a reasonable time period), as approved by the authority
                       having jurisdiction. If the authority approves any variance, exceptions, or
                       equivalencies, they must not constitute a serious life-safety threat to the
                       occupants of the facility.)
                   •   local and national fire safety codes, and
                   •   applicable standards of the American Society for Testing and Materials,
                       American National Standards Institute, and Underwriters' Laboratories or
                       Factory Mutual Engineering Corporation.
            New construction, alterations, and renovations, shall comply with:
               •       the latest revision or update of the International Council Codes.
               •       the Uniform Building Code; or
               •       the Standard Building Code, in accordance with 40 USC Title 619 and local law.
               If the local government does not mandate adherence to a particular code,
               construction must conform to the International Council Codes.
            In addition, the construction shall comply with the latest edition of the National Fire
            Protection Association's (NFPA) 101, Life Safety Code and National Fire Codes (NFCs).
             If the fire protection and life safety requirements of a local building code differ


     Environmental Health and Safety                     10                             December 2, 2008




                                                                                                GEO-MEN 00062941




                                                                                                    APP. 173
 Appellate Case: 22-1409               Document: 29-2      Date Filed: 01/23/2023           Page: 177
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 15 of
                                       65


        from NFPA 101 or the NFCs, the requirements of NFPA 101 and the NFCs shall take
        precedence and be recognized as equivalent to the local building code.

           B. Inspections
        A qualified departmental staff member shall conduct weekly fire and safety Inspections.
        Facility maintenance (safety) staff shall conduct monthly inspections.
        Written reports of the inspections shall be forwarded to the facility administrator for
        review and, if necessary, corrective action determinations. The Maintenance
        Supervisor shall maintain inspection reports and records of corrective action in the
        safety office. Fire safety deficiencies shall be promptly addressed.

            C. Fire Prevention, Control, and Evacuation Plan
        Every facility shall develop a fire prevention, control, and evacuation plan that includes
        the following:
            1. Control of ignition sources;
            2. Control of combustible and flammable fuel load sources;
            3. Provisions for occupant protection from fire and smoke;
            4. Inspection, testing, and maintenance offire protection equipment, in accordance
               with NFPA codes, etc.;
            5. Monthly fire inspections;
            6. Installation of fire protection equipment throughout the facility, in accordance with
               NFPA codes;
            7. Accessible, current floor plans (buildings and rooms); prominently posted
               evacuation maps/plans; exit signs and directional arrows for traffic flow; with a
               copy of each revision filed with the local fire department; and
            8. Exit diagrams that shall be conspicuously posted throughout the facility.

            D. Fire Drills
        Fire drills shall be conducted and documented at least quarterly in all facility locations
        including administrative areas.
            1. Fire drills in housing units, medical clinics, and other areas occupied or staffed
               during non-working hours shall be timed so that employees on each shift
               participate in an annual drill.
            2. Detainees shall be evacuated during fire drills, except: in areas where security
               would be jeopardized; in medical areas where patient health could be
               jeopardized; or in individual cases when evacuation of patients is logistically not
               feasible. Staff shall simulate drills in areas where detainees are not evacuated.
            3. Emergency-key drills shall be included in each fire drill, and timed. Emergency
               keys shall be drawn and used by the appropriate staff to unlock one set of
               emergency exit doors not in daily use. NFPA recommends a limit of four and
               one-half minutes for drawing keys and unlocking emergency doors. However,

     Environmental Health and Safety               11                              December 2, 2008




                                                                                           GEO-MEN 00062942




                                                                                               APP. 174
 Appellate Case: 22-1409               Document: 29-2     Date Filed: 01/23/2023          Page: 178
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 16 of
                                       65


                 when conducting fire drills emphasis will be placed on safe and orderly
                 evacuation rather than speed.

             E. Exit Diagram
         In addition to a general area diagram, the following information must be provided on
         signs:
             •   Instructions in English, Spanish and the next most prevalent language at the
                 facility;
             •   "You Are Here" markers on exit maps; and
             •   Emergency equipment locations.
         "Areas of Safe Refuge" shall be identified and explained on diagrams. Diagram posting
         will be in accordance with applicable fire safety regulations of the jurisdiction.

     VIII.   EXPECTED PRACTICES- MEDICAL OPERATIONS

             A. Needles and Other Sharp Objects
         An established uniform procedure shall be established for the safe handling and
         disposal of used needles and other potentially sharp objects (sharps) to prevent both
         mechanical injury and the percutaneous transmission of infectious disease organisms,
         such as hepatitis B virus (HBV) and human immunodeficiency virus (HIV). Sharps are
         defined as all disposable or discarded items derived from detainee care that could
         potentially transmit disease via direct subdermal inoculation. Items included are:
         hypodermic needles and syringes, scalpel blades, glass vials or ampules containing
         materials deemed to be infectious, burrs, glass cartridges, and lancets.


         Accidental injuries from sharp objects are common in health care programs; most are
         from needle sticks caused by staff attempting to recap hypodermic needles. A uniform
         procedure for used needles and other disposable sharps is necessary to reduce the
         number of such injuries by preventing the secondary handling of needles and other
         dangerous sharp objects used in the delivery of medical care.

             B. Standard Precautions (includes "Universal Precautions")


         Staff shall frequently wash their hands and routinely take precautions to prevent contact
         with blood or other body fluids.
             a. Gloves shall be worn: prior to touching blood and body fluids, mucous
             membranes, or non-intact skin of all patients; prior to handling items or surfaces
             soiled with blood or body fluids; and prior to performing venipuncture and other
             vascular access procedures.
             Gloves shall be changed after contact with each detainee.
             b. Masks and protective eye wear or face shields shall be worn during procedures
             that are likely to generate droplets of blood or other body fluids,


     Environmental Health and Safety              12                             December 2, 2008




                                                                                         GEO-MEN 00062943




                                                                                             APP. 175
 Appellate Case: 22-1409               Document: 29-2     Date Filed: 01/23/2023           Page: 179
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 17 of
                                       65


            c. Gowns or aprons shall be worn during procedures that are likely to generate
            splashes of blood or other body fluids.
            d. Hands and other skin surfaces shall be washed immediately and thoroughly if
            contaminated with blood or other body fluids. Hands shall be washed immediately
            after gloves are removed.
            e. All health-care workers shall take precautions to prevent injuries caused by
            needles, scalpels, and other sharp instruments or devices during procedures, when
            cleaning used instruments, during disposal of used needles, and when handling
            sharp instruments after procedures. Instruments and drugs will be maintained in a
            secure and sanitary condition,
            f. To prevent needle stick injuries, needles shall not be recapped, purposely bent
            or broken by hand, removed from disposable syringes, or otherwise manipulated by
            hand. After use, disposable syringes and needles, scalpel blades, and other sharp
            items shall be placed in puncture-resistant containers for disposal.
            g. Large-bore reusable needles shall be placed in a puncture resistant container for
            transport to the reprocessing area.
            h. To minimize the need for emergency mouth-to-mouth resuscitation,
            mouthpieces, resuscitation bags or other ventilation devices shall be available for
            use in areas in which the need for resuscitation is predictable.
            I. Health-care workers who have exudative lesions or weeping dermatitis shall
            refrain from all direct patient care and from handling patient care equipment until the
            condition resolves.
            j. Pregnant health-care workers shall strictly adhere to precautions to minimize the
            risk to the infant of perinatal transmission of HIV.
            k. Implementation of standard blood and body fluid precautions for all detainees
            eliminates the need for the use of isolation category of "Blood and Body Fluid
            Precautions" previously recommended by the Centers for Disease Control for
            individuals known or suspected to be infected with blood-borne pathogens. Isolation
            precautions shall be used as necessary if associated conditions, such as infectious
            diarrhea or tuberculosis, are diagnosed or suspected.
        Staff should encourage detainees to frequently wash their hands and routinely take
        precautions to prevent contact with blood or other body fluids.

            C. Accidental Needle Sticks
        Any employee or detainee who receives a needle stick or who is cut while handling
        potentially contaminated sharps shall be counseled regarding baseline testing for HBV
        and HIV and referred to their usual source of health care. If the injury also involves a
        person who is a known source of possible infection, that person shall also be tested for
        HBVand HIV. The incident shall be reported as an occupational injury and documented
        in accordance with applicable regulations for commissioned officers and civil service
        employees, respectively.
        The leading health service provider's exposure-control plan shall be followed in the
        event of a needle stick.


     Environmental Health and Safety              13                              December 2, 2008




                                                                                          GEO-MEN 00062944




                                                                                              APP. 176
 Appellate Case: 22-1409               Document: 29-2      Date Filed: 01/23/2023            Page: 180
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 18 of
                                       65


            D. Inventory
        Items that pose a security risk, such as sharp instruments, syringes, needles, and
        scissors, shall be inventoried and checked weekly by an individual designated by the
        medical facility's Health Service Administrator (HSA) or equivalent.

            E. Handling
        Without removing the needles or replacing the needle covers, staff shall place used
        (disposable) syringes in a plastic disposal box or container.
            1. Disposal Containers
            Use only commercially available, biohazardous-waste sharps containers approved
            by the National Institute of Safety and Health (for example, a "Winfield Sharps
            Container.").
            Do not use milk cartons or plastic milk jugs or other plastic containers of similar
            thickness.
            Use containers with a two-gallon capacity (approximate)
            Under no circumstances shall an item be removed from the sharps container.
            2. location
            Sharps Containers shall be located on top of counters or, if on the wall, at least five
            feet above ground. Containers shall never sit on the floor.
            3. Disposal
            When the disposal box is one-half to two-thirds full, the lid shall be closed and
            locked, and tape shall be placed over the top of the lid to indicate that it is ready for
            disposal. The container shall be labeled with the words "infectious waste" or with
            the universal biohazard symbol, and placed in the proper area for removal and
            disposal.
            Sharps are considered infectious waste, and final disposal of the container and
            contents shall be through a commercial contractor that handles disposal of infectious
            waste in accordance with all local and federal regulations.
            The HSA shall make arrangements for disposal with an approved contractor and is
            responsible for validating that the contractor's disposal methods are in accordance
            with all infectious and hazardous waste disposal laws and regulations.
            Arrangements shall be made with local hospitals, if possible, for disposal with the
            hospitals' own infectious waste.

            F. Environmental Health in Medical Operations
        While many of the following considerations, precautions, and specific procedures apply
        to situations that typically arise in medical operations, in many cases they have general
        application to all facility operations.

            1. Genera.I Housekeeping
            Environmental cleanliness will prevent, reduce and control nosocomial infections
            due to contaminated environmental surfaces. The HSA or designee is responsible


     Environmental Health and Safety               14                               December 2, 2008




                                                                                            GEO-MEN 00062945




                                                                                                APP. 177
 Appellate Case: 22-1409               Document: 29-2     Date Filed: 01/23/2023          Page: 181
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 19 of
                                       65


            for ensuring the cleanliness of the medical facility.
            Using an acceptable health agency standard as a model, the HSA shall establish:
                •   The cleaning equipment; cleansers; disinfectants and detergents to be used,
                •   The Methods of cleaning, and
                •   The frequency of cleaning and inspections.
            The HSA or designee shall make a daily visual inspection of the medical facility
            noting the condition of floors, walls, windows, horizontal surfaces, and equipment.
            All surfaces touched by detainees or staff shall be cleaned using fresh solutions of
            appropriate disinfectant products, applied with clean cloths, mops, or wipes.
            Cleaned surfaces need not be monitored microbiologically since the results of such
            tests have been shown not to correlate with infection risk. Floors, walls, beds,
            tables, and other surfaces that usually come in contact with intact skin require low-
            level disinfection.
            Horizontal surfaces in detainee care areas are cleaned on a regular basis, when
            soiling or spills occur. Additionally, short-stay units are cleaned when a detainee is
            discharged. Cleaning of walls, blinds, or curtains is required only when visibly
            soiled.
            The Chief Nurse (or equivalent) is responsible for training all staff and detainees in
            using proper housekeeping procedures and proper handling of hazardous materials
            and chemicals.

                a. General Cleaning
                    1. All horizontal surfaces shall be damp-dusted daily with an approved
                       germicidal solution.
                    2. Windows, window frames, and windowsills shall be cleaned on a regular
                       schedule, but do not require daily cleaning.
                    3. Furniture and fixtures shall be cleaned daily.
                    4. Floors shall be mopped daily and when soiled using the double-bucket
                       mopping technique. The cleaning solution shall be a hospital disinfectant-
                       detergent solution mixed according to the manufacturer's directions. A
                       clean mop head shall be used each time the floors are mopped.
                    5. Waste containers shall be lined with plastic bags and the liner shall be
                       changed daily. The container itself shall be washed at least weekly, or as
                       needed when it becomes soiled.
                    6. Cubicle curtains shall be laundered monthly or during terminal cleaning
                       following treatment of an infectious patient.

                b. Isolation Cleaning
                    1. An approved germicidal detergent solution shall be freshly prepared in
                       accordance with the manufacturer's specifications for each cleaning.



     Environmental Health and Safety              15                             December 2, 2008




                                                                                         GEO-MEN 00062946




                                                                                             APP. 178
 Appellate Case: 22-1409               Document: 29-2      Date Filed: 01/23/2023          Page: 182
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 20 of
                                       65


                    2. After cleaning the isolation room, mops and cleaning cloths shall be
                       laundered before being reused.
                    3. Dirty water and used disinfecting solutions shall be discarded and the
                       buckets and basins disinfected before being refilled. Items used in
                       cleaning a contaminated isolation room shall never be taken into another
                       area.
                    4. Linens shall be carefully removed from the bed and double bagged for
                       transport.
                    5. All waste materials shall be double bagged and disposed of as
                       contaminated waste.

                c. Terminal Cleaning
                    1. Every item in the room must be cleaned with an approved hospital
                       germicidal solution.
                    2. When applicable, linen shall be stripped from the bed, with care taken not
                       to shake the linen. Linen shall be folded away from the person and folded
                       inward into a bundle, then removed with minimal agitation.
                    3. When applicable, all reusable receptacles such as drainage bottles,
                       urinals, bedpans, water pitchers shall be emptied and rinsed with
                       germicidal solutions.
                    4. All equipment that is not to be discarded, such as IV poles, respirators
                       and suction machines, shall be washed with an approved germicidal
                       solution following manufacturer's guidelines for cleaning the specific piece
                       of equipment.
                    5. When applicable, mattresses and pillows covered with durable plastic
                       covers shall be thoroughly washed with the approved germicidal solution.
                    6. When applicable, beds shall be washed thoroughly using a small brush
                       soaked in the germicidal solution to gain access to small holes and
                       crevices, to areas between the springs, and to the casters.
                    7. All furniture shall be washed with a germicidal detergent solution. Use a
                       small brush if necessary. Outside and underside as well as legs and
                       casters must also be washed.
                    8. Wastebaskets shall be thoroughly washed with a germicidal solution after
                       trash has been removed.
                    9. Telephones shall be thoroughly cleaned with a clean cloth soaked in the
                       germicidal solution. The earpiece and mouthpiece shall be unscrewed,
                       scrubbed, dried and replaced.
                    10. Walls and ceilings need not be washed entirely, but areas that are
                        obviously soiled shall be washed with germicidal solution.




     Environmental Health and Safety               16                             December 2, 2008




                                                                                          GEO-MEN 00062947




                                                                                              APP. 179
 Appellate Case: 22-1409               Document: 29-2       Date Filed: 01/23/2023          Page: 183
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 21 of
                                       65


                d. Choice of Disinfecting Materials
                Hospital-grade disinfectant-detergent formulations registered by the
                Environmental Protection Agency may be used for environmental surface
                cleaning, but the physical removal of microorganisms by scrubbing is also as
                important as any antimicrobial effect of the cleaning agent used.
                Cost, safety, and acceptance by staff should be the criteria for selecting any
                such registered agent. The manufacturer's instructions for use shall be followed
                exactly.

            2. Blood and Body Fluid Clean-up
            Spills of blood and body fluids shall be cleaned up and the surface decontaminated
            in such a manner as to minimize the possibility of workers becoming exposed to
            infectious organisms, including HIV and HBV. A suitable cleanup kit shall be
            maintained for use in cases of spills of blood and body fluids. Cleanup kits may be
            obtained from commercial sources, or kits may be put together by ICE/DRO HSD
            staff or the designated health care provider.

                a. Making a Clean-up Kit
                To prepare a clean-up kit for blood and body fluid spills, package the following
                materials in a 12" x 15" clear" Ziploc" bag:
                      Gloves, rubber or vinyl, household type, (2 pair)
                      Clean absorbent rags (4)
                      Absorbent paper towels (15)
                      Disposable bag marked "Contaminated" size 23"x1 O"x39", minimum
                      thickness 1.5 mils.
                      Clear plastic bag 13"x10"x39", minimum thickness 1.5 mils.
                      Bottle of "hospital disinfectant" (containing quaternary ammonium chlorides in
                      at least 0.8% dilution), or a bottle of household bleach such as "Clorox" or
                      "Purex" (5.25 % sodium hypochlorite).

                b. Selection of Disinfectants
                Dilute solutions of sodium hypochlorite are reported extremely effective against
                both HIV and the Hepatitis B virus and therefore have been recommended for
                use in environmental decontamination procedures. Quaternary ammonium
                compounds are less effective against Hepatitis B. Chlorine in solution
                inactivates virus quickly and efficiently but must reach the virus particles to do
                SO.

                Proteinaceous materials may interfere with the ability of the appropriate
                disinfectant solution to reach the virus particles. Since quaternary disinfecting
                compounds may act as a detergent as well as a disinfectant, their use may help
                in the cleaning and removal of proteinaceous materials from surfaces.



     Environmental Health and Safety                17                             December 2, 2008




                                                                                           GEO-MEN 00062948




                                                                                               APP. 180
 Appellate Case: 22-1409               Document: 29-2       Date Filed: 01/23/2023           Page: 184
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 22 of
                                       65


                A facility may use one of these compounds to help clean the surface, and then
                follow with the use of chlorine solution for final disinfection. Using one
                disinfectant compound rather than two would keep the procedure as simple as
                possible. By following routine medical cleaning procedures, most blood or fluids
                would be removed from the surface before application of the disinfectant, so the
                use of sodium hypochlorite solution shall be sufficient.

                c. Selection of Gloves
                Household or industrial rubber gloves have been recommended for use rather
                than surgical rubber gloves. Surgical gloves are somewhat porous and are less
                resistant to mechanical damage and punctures during clean-up procedures.

                d. Assignment of Cleaning Duties to Detainees in Medical Facilities
                Detainee workers may be assigned duties cleaning the medical facility.
                Detainees are permitted to clean floors, walls, and to remove trash, but are not
                permitted to clean medical equipment.

                e. Instructions for Use of Clean-Up Kit
                    1. Open the bag and remove the supplies.
                    2. Depending on the type of disinfectant in the kit, take out bottle of "hospital
                       disinfectant", or prepare a dilute solution of sodium hypochlorite. To
                       prepare a 1: 10 dilution of 5.25% sodium hypochlorite, mix 1 part of 5.25
                       % sodium hypochlorite (common household bleach) with 10 parts water.
                    3. Open the large clear plastic bag and the large bag marked
                       "Contaminated". Place them next to each other.
                    4. Put on one pair of gloves.
                    5. Use paper towels to absorb as much of the fluid as possible; then place
                       paper towels in the large clear plastic bag.
                    6. Pour the solution carefully onto the spill area. Dispose of the empty bottle
                       in the large, clear plastic bag. Leave disinfectant in place for 15 minutes.
                    7. Use the rags to clean the area, and place rags in the large clear plastic
                       bag.
                    8. Tie off the clear plastic bag and place it inside the large plastic bag
                       marked "Contaminated."
                    9. Remove gloves carefully and place them in the plastic bag marked
                       "Contaminated."
                    10. Put on the second pair of gloves and tie the "Contaminated" trash bag
                        closed.
                    11. Dispose of the "Contaminated" trash bag properly in a contaminated-
                        waste receptacle.
                    12. Dispose of the second pair of gloves in the contaminated-waste


     Environmental Health and Safety                18                              December 2, 2008




                                                                                            GEO-MEN 00062949




                                                                                                APP. 181
 Appellate Case: 22-1409               Document: 29-2    Date Filed: 01/23/2023          Page: 185
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 23 of
                                       65


                        receptacle.
                    13. Wash your hands.
                    14. Prepare a new clean-up kit.
                    NOTE: Do not place linen or non-disposable articles in the "Contaminated"
                    trash bag.
            3. Hazardous and Infectious Waste Disposal
            Infectious and hazardous waste generated at a medical facility shall be stored and
            disposed of safely and in accordance with all applicable federal and state
            regulations.
            For identified wastes that represent sufficient risk of causing infection or injury
            during handling and disposal, the following precautions shall be applied.

                a. Definitions
                Hazardous or infectious waste is defined as: microbiology laboratory waste;
                human blood and blood products; sharps (as defined in Section VIII, A above);
                laboratory and other chemicals; or certain drugs such as antineoplastic.
                Miscellaneous biomedical waste is defined as waste materials that are not
                specifically defined as infectious waste. Such waste includes bandages,
                dressings, casts, catheters, and disposable pads.
                Waste from detainees in isolation is not considered to be infectious waste unless
                it falls within the specific definition of infectious waste as stated above.

                b. Collection and Storage
                Infectious waste must be separated from the general waste stream and clearly
                labeled as infectious:
                    •   Infectious waste shall be double-bagged and tied and labeled "Infectious
                        Waste."
                    •   The bags used must be impermeable, commercially supplied red bags
                        intended specifically for biohazardous waste storage.
                    •   Miscellaneous biomedical waste shall be double-bagged and tied but
                        need not be labeled as infectious.

                c. Treatment and Disposal

                Blood products and designated body fluids shall be poured slowly and carefully
                down a toilet to prevent splash. Compacting of untreated infectious waste is
                prohibited. The waste disposal contractor must meet all state or and local
                requirements for transportation and disposal.

     IX. - BARBER OPERATIONS
     Sanitation in barber operations is of the utmost concern because of the possible transfer of


     Environmental Health and Safety              19                             December 2, 2008




                                                                                        GEO-MEN 00062950




                                                                                            APP. 182
 Appellate Case: 22-1409               Document: 29-2    Date Filed: 01/23/2023          Page: 186
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 24 of
                                       65


     diseases through direct contact or by towels, combs and clippers. Towels shall not be
     reused by other detainees until sanitized. Instruments such as combs and clippers shall not
     be used successively on detainees without proper cleaning and disinfecting.
            1. For sanitation reasons, it is preferable that barbering operations be located in a
               room that is not used for any other purpose. The floors, walls, and ceilings
               should be smooth, nonabsorbent and easily cleaned. There should be sufficient
               light, and the room shall be supplied with hot and cold running water.
            2. Each barbershop should have all equipment and facilities necessary for
               maintaining sanitary procedures for hair care, including covered metal containers
               for waste, disinfectants, dispensable headrest covers, laundered towels, and
               haircloths.
            3. After each detainee visit, all hair care tools that came in contact with the
               detainee shall be cleaned and effectively disinfected. Ultraviolet lights are not
               appropriate for sterilization but may be used for maintaining tools that have
               already been properly sterilized.
            4. Detailed hair care sanitation regulations shall be conspicuously posted in each
               barbershop for the use of all hair care personnel and detainees. Cotton pads,
               absorbent cotton and other single or dispensable toilet articles may not be
               reused, and shall be placed in a proper waste receptacle immediately after use.
               The common use of brushes, neck duster, shaving mugs and shaving brushes is
               prohibited.
            5. Barbers or beauticians shall not provide service to any detainee when the skin
               of the detainee's face, neck, or scalp is inflamed, or when there is scaling, pus,
               or other skin eruptions, unless service of such detainee is performed in
               accordance with the specific authorization of the Chief Medical Officer. No
               person who is infested with head lice shall be served.


     Standard Approved:


        James T. Hayes, Jr. Isl                              121512008


     James T. Hayes, Jr.                                  Date
     Director
     Office of Detention and Removal Operations




     Environmental Health and Safety              20                            December 2, 2008




                                                                                        GEO-MEN 00062951




                                                                                            APP. 183
 Appellate Case: 22-1409               Document: 29-2    Date Filed: 01/23/2023      Page: 187
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 25 of
                                       65


                                               TABLE A
                 Common Flammable, Toxic, and Caustic Substances


            Class I liquids                                      Toxic Substances
            Gasoline                                             Ammonia
            Benzene (Petroleum ether)                            Chlorine
            Acetine                                              Antifreeze
            Hexane                                               Duplicating fluid
            Lacquer                                              Methyl alcohol
            Lacquer thinner                                      Defoliants
            Denatured alcohol                                    Herbicides
            Ethyl alcohol                                        Pesticides
            Xylene (Xylol)
            Contact cement (flammable)
            Toudi (Toluene)
            Methyl ethyl ether
            Methyl ethyl ketone
            Naphtha Y, M, and P


            Class II liquids                                     Caustic Substances
            Diesel fuel                                          Lye
            Motor fuel                                           Muriatic acid
            Kerosene                                             Caustic soda
            Cleaning solvents                                    Sulfuric acid
            Mineral spirits                                      Tannie acid
            Agitene


            Class Ill liquids
            Paint (oil base)
            Linseed oil
            Mineral oil
            Neat's-foot oil
            Sunray conditioner
            Guardian fluid




     Environmental Health and Safety              21




                                                                                     GEO-MEN 00062952




                                                                                        APP. 184
 Appellate Case: 22-1409          Document: 29-2         Date Filed: 01/23/2023          Page: 188
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 26 of
                                       65




                                SPECIAL MANAGEMENT UNITS

     I. PURPOSE AND SCOPE. This Detention Standard protects detainees, staff,
     contractors, volunteers, and the community from ha.rm by segregating certain
     detainees from the general population in Special Management Units (SM Us) with an
     Administrative Segregation section for detainees segregated for administrative
     reasons and a Disciplinary Segregation section for detainees segregated for
     disciplinary reasons.
     It applies to the following types of facilities housing ORO detainees:
            •   Service Processing Centers (SPCs);
            •   Contract Detention Facilities (CDFs); and
            •   State or local government facilities used by ORO through Intergovernmental
                Service Agreements (IGSAs) to hold detainees for more than 72 hours.
     Procedures in italics are specifically required for SPCs and CDFs. IGSAs must
     conform to these procedures or adopt, adapt or establish alternatives, provided they meet
     or exceed the intent represented by these procedures.
     Some terms used in this document may be defined in the separate Definitions Standard.

     II. EXPECTED OUTCOMES. The expected outcomes of this Detention Standard are:
        1. Each facility will have Special Management Units with an Administrative Segregation
        section for detainees segregated from the general population for administrative reasons
        and a Disciplinary Segregation section for detainees segregated from the general
        population for disciplinary reasons.
        2. Detainees housed in the general population, staff, contractors, volunteers, and the
        local community will be protected from harm by the segregation of certain detainees in
        SMUs.
        3. Any detainee who represents an immediate, significant threat to safety, security or
        good order will be immediately controlled by staff and, for cause and with supervisory
        approval, placed in Administrative Segregation.
        4. Health care personnel will be immediately informed when a detainee is admitted to
        an SMU to provide assessment and review as indicated by health care authority
        protocols.
        5. A detainee will be placed in "protective custody" status in Administrative Segregation
        only when there is documentation that it is warranted and that no reasonable
        alternatives are available.




     Special Management Units                     1                             December 2, 2008




                                                                                        GEO-MEN 00063088




                                                                                            APP. 185
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023            Page: 189
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 27 of
                                       65


        6. A detainee will be placed in Disciplinary Segregation only after a finding by a
        Disciplinary Hearing Panel that the detainee is guilty of a prohibited act or rule violation
        classified at a "Greatest", "High", or "High-Moderate" level, as defined in the Detention
        Standard on Disciplinary System, Attachment A: Prohibited Acts and Sanctions.
        7. The status of detainees in Special Management Units will be reviewed in
        accordance with required time schedules by supervisory staff and the results of those
        reviews will be documented.
        8. A detainee will remain in Disciplinary Segregation for no more than 60 days for
        violations associated with a single incident, and his or her status will be reviewed after
        the first 30 days, and each 30 days thereafter by the facility administrator and the Field
        Office Director to determine if continued detention in Disciplinary Segregation is still
        warranted.
        9. Detainees in SMUs will be afforded basic living conditions that approximate those
        provided to the general population, consistent with the safety and security
        considerations that are inherent in more controlled housing, and in consideration of the
        purpose for which each detainee is segregated.
        10. In general, when a detainee in an SMU is deprived of any usually authorized items
        or activity, a report of the action is forwarded to the facility administrator for notice and
        review.
        11. Detainees in SM Us will have regular access to supervisory, management, program,
        and health care staff.
        12. Each detainee in an SMU will be offered a minimum of one hour of recreation per
        day, five days a week, unless documented security or safety considerations dictate
        otherwise.
        13. Detainees in SMUs will be able to write and receive mail and correspondence as
        they would otherwise be able to do while detained within the general population.
        14. Detainees in SMUs will be provided opportunities for general visitation, including
        legal visitation, unless there are substantial, documented reasons for withholding those
        privileges.
        15. Detainees in SMUs will have access to personal legal materials, law library
        materials, and legal visits, in accordance with provisions in this Detention Standard.
        16. Detainees in SM Us will have access to telephones, in accordance with provisions in
        this Detention Standard.
        17. Detainees in SM Us will have access to programs and services such as commissary,
        library, religious guidance, and recreation, in accordance with provisions in this
        Detention Standard.
        18. Detailed records will be maintained on the circumstances related to a detainee's
        confinement to the SMU, through required permanent SMU logs and individual detainee
        records.
        19. The applicable contents and procedures in this Standard will be communicated to
        the detainee in a language or manner which the detainee can understand.



     Special Management Units                       2                               December 2, 2008




                                                                                            GEO-MEN 00063089




                                                                                                APP. 186
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023           Page: 190
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 28 of
                                       65


     Ill. DIRECTIVES AFFECTED. This Detention Standard replaces Special Management
     Unit (Administrative Segregation) and Special Management Unit (Disciplinary
     Segregation), both dated 9/20/2000.

     IV. REFERENCES
         American Correctional Association 4th Edition Standards for Adult Local Detention
         Facilities: 4-ALDF-2A-44 through 2A-66.
        ICE/DRO Detention Standards on:
            Correspondence and Other Mail
            Disciplinary System
            Facility Security and Control
            law libraries and legal Material
            Personal Hygiene
            Recreation
            Searches of Detainees, particularly the section on Close Observation in a "Dry
            Cell"
            Staff-Detainee Communication
            Telephone Access
            Visitation
            Hold Rooms in Detention Facilities
            Suicide Prevention and Intervention

     V. EXPECTED PRACTICES

       A. Overview
        At times, a detainee must be isolated from the general population of ICE detainees for
        the protection of the detainee, other detainees, and facility staff. Such isolation is
        generically termed "segregation" and takes two different forms, depending on its
        intended purpose:
            1. Administrative Segregation (also referred to as "Administrative Detention" by
               the Federal Bureau of Prisons), and
            2. Disciplinary Segregation (also referred to as "Disciplinary Detention" by the
               ACA Standards).
        DRO refers to each of these types of segregated housing as a "Special Management
        Unit," and in many detention facilities, there is one SMU that has two sections, one for
        each type of segregation. While many of the standards, requirements, and basic
        operational procedures are the same for both SMU types, some distinct differences
        remain and are detailed below under Basic Requirements for All Special
        Management Units.
        A detainee may be placed in Disciplinary Segregation only after being found guilty,
        through a formal disciplinary process, of a facility rule violation. Therefore, detainees in
        Disciplinary Segregation generally have fewer privileges than those in non-punitive
        Administrative Segregation. In particular, they are subject to more stringent controls,


     Special Management Units                      3                               December 2, 2008




                                                                                           GEO-MEN 00063090




                                                                                               APP. 187
 Appellate Case: 22-1409           Document: 29-2           Date Filed: 01/23/2023             Page: 191
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 29 of
                                       65


        for example, in regard to personal property and reading material. Additional limitations
        may also be imposed upon their television viewing, commissary/vending machine
        privileges, etc. Detainees in Administrative Segregation generally will be housed
        separately from those in Disciplinary Segregation
        Because of that basic difference, the procedures for placing a detainee in
        Administrative Segregation are different than those for Disciplinary Segregation, as
        are the requirements for periodic review of each detainee, as detailed below.

       B. Ba.sic Requirements for All Special Management Units
        Conditions of confinement are based on the amount of supervision required to control a
        detainee and safeguard the detainee, other detainees, and facility staff. Therefore, the
        standard SMU living conditions specified below may not be modified for either
        disciplinary or punitive purposes. Staff shall treat each detainee in an SMU in a decent
        and humane manner, regardless of the purpose for which the detainee is segregated.
        In every instance, any exceptions to these requirements shall be:
            •   Made only for the purpose of ensuring detainee and facility staff safety and
                security (i.e., not for purposes of punishment);
            •   Approved by a security supervisor (or higher official);
            •   On a temporary and situational basis, continued only for as long as it is justified
                by threat to the safety or security of the facility, its staff, or detainee population;
                and
            •   Documented in the unit log and, under circumstances specified later in this
                Detention Standard, documented in a memo which shall be placed in the
                individual detainee's detention file.
        When a detainee in an SMU is deprived of any usual authorized items or activity, a
        report of the action shall be forwarded to the facility administrator. This report shall be
        made part of the detainee's facility record or disciplinary file.
        1. Control of Contra.band and Tools. In accordance with procedures detailed in the
           Detention Standard on Facility Security and Control, each facility administrator is
           required to establish written policy and procedures to control and secure SMU
           entrances, contraband, tools, and food carts.
        2. Permanent Special Management Unit logs. The facility administrator shall ensure
           that permanent housing logs are maintained in SMUs to record specified data on
           detainees upon admission to and release from the unit. These logs shall also be
           used by supervisory staff and other officials to record their visits to the unit.
        3. Cell Occupancy. Ordinarily, the number of detainees confined to each cell or room
           may not exceed the capacity for which it was designed. Under exigent
           circumstances, before approving any additional cell occupancy on a temporary
           basis, the facility administrator shall consult with HQ DRO's Detention Management
           Division, who shall consult with OHS/ICE legal counsel. If a decision is made to
           approve such additional cell occupancy, a report of the action should be filed with
           the facility and with the ICE Field Office Director.


     Special Management Units                        4                               December 2, 2008




                                                                                              GEO-MEN 00063091




                                                                                                 APP. 188
 Appellate Case: 22-1409          Document: 29-2          Date Filed: 01/23/2023           Page: 192
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 30 of
                                       65


        4. Cell Condition. Cells and rooms used for purposes of segregation must be well
           ventilated, adequately lit, appropriately heated and maintained in a sanitary
           condition at all times.
               a. All cells must be equipped with beds that are securely fastened to the cell
               floor or wall.
               b. Conditions for close observation in a "dry cell" without water are detailed in
               the Detention Standard on Searches of Detainees.
        5. Personal Property. Each facility shall issue guidelines in accordance with this
           Standard concerning the property detainees may retain in each type of segregation.
            Generally, detainees in Disciplinary Segregation shall be subject to more
           stringent personal property restrictions and control than those in Administrative
           Segregation, given the non-punitive nature of Administrative Segregation.
        6. Privileges. Each facility shall issue guidelines in accordance with this Standard
           concerning the privileges detainees may have in each type of segregation.
              a. Administrative Segregation -- Generally, these detainees shall receive the
                  same privileges as are available to detainees in the general population,
                  depending on any safety and security considerations for detainees, facility
                  staff and security. When space and resources are available, detainees in
                  Administrative Segregation may be provided opportunities to spend time
                  outside their cells (in addition to the required recreation periods), for such
                  activities as socializing, watching TV, and playing board games and may be
                  assigned to work details (for example, as orderlies in the SMU).
               b. Disciplinary Segregation -- Generally, these detainees shall have fewer
                  privileges than other detainees in either the general population or in
                  Administrative Segregation. More specifically, they are subject to more
                  stringent personal property control including, but not limited to, limitations on
                  their reading material and television viewing (which may be completely
                  terminated), and restricted commissary or vending machine purchases.
        7. Close Supervision. Detainees in SM Us shall be personally observed at least every
        30 minutes on an irregular schedule. For cases that warrant increased observation, the
        SMU personnel will personally observe them accordingly.           (See also Suicide
        Prevention and Searches of Detainees, section on dry cells.)
        8. Supervisory and Staff Visits. In addition to the direct supervision performed by unit
        staff:
        a. The shift supervisor shall see each segregated detainee daily, including weekends
        and holidays.
        b. The facility administrator (or designee) shall visit each SMU daily.
        c. Program staff may visit a detainee upon his or her request.
        d. Field Office staff shall visit a detainee in accordance with the Detention Standard on
        Staff-Detainee Communications.
        The facility administrator may require other staff to visit each detainee daily.
        9. Health Care. A health care provider shall visit every detainee in an SMU at least

     Special Management Units                     5                               December 2, 2008




                                                                                           GEO-MEN 00063092




                                                                                              APP. 189
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023         Page: 193
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 31 of
                                       65


        once daily. Detainees shall be provided medications as prescribed for them. Detainees
        will have access to regularly scheduled sick call regardless of housing assignment.
        Any action taken shall be documented in a separate logbook, and the medical visit shall
        be recorded on the SMU Housing Record (Form 1-888) or equivalent form. A detainee's
        mental health status shall be reviewed and documented at least once every 30 days.

        10. Meals. Detainees in SMUs shall be provided three nutritionally adequate meals per
        day, according to the general population meal schedule and ordinarily from the same
        menu; however, for reasons of safety and security, detainees in SMUs shall eat with
        disposable utensils.

        11. Clothing and Personal Hygiene. In accordance with the Detention Standard on
        Personal Hygiene, detainees in SMUs may shave and shower at least three times
        weekly and receive other basic services such as laundry, hair care, barbering, clothing,
        bedding, and linen equivalent to general population detainees and consistent with safety
        and security of the facility.
        a. As needed, staff shall provide toilet tissue, a wash basin, tooth brush, and shaving
        utensils, and may issue retrievable kits of toilet articles.
        b. A detainee may be denied such items as clothing, mattress, bedding, linens, or
        pillow for medical or mental health reasons if his or her possession of such items raises
        concerns for detainee safety and/or facility security. All denials of such items shall be
        documented. If a detainee is so disturbed that he or she is likely to destroy clothing or
        bedding or create a disturbance by risking harm to self or others, the medical
        department shall be notified immediately and a regimen of treatment and control shall
        be instituted by the medical staff, as necessary. Extreme detainee behavior, such as
        destroying clothing or bedding or harmful behavior to self or others, must be
        documented, made part of the detainee's file with the facility and reported to the ICE
        Field Office Director to implement necessary efforts to protect and care for the detainee.
        12. Correspondence. In accordance with the Detention Standard on Correspondence
        and Other Mail, detainees in an SMU may write and receive letters and other
        correspondence like those housed in the facility's general population.

        13. Visitation. In accordance with the Detention Standard on Visitation, while in an
        SMU, a detainee ordinarily retains visiting privileges.
        In a facility that allows contact visits, segregated detainees may ordinarily use the
        visiting room during normal visiting hours. However, the facility may restrict or disallow
        general visits for a detainee who violates visitation rules or whose behavior otherwise
        indicates the detainee would be a threat to the security or the good order of the visiting
        room.
        a. General visitation may be restricted or disallowed when a detainee in
        Administrative Segregation is charged with, or has been found to have committed, a
        prohibited act related to visiting privileges or has otherwise acted in a way that would
        reasonably indicate that he or she would be a threat to the orderliness or security of the
        visiting room.
        b. Under no circumstances may detainees participate in general visitation while in


     Special Management Units                       6                            December 2, 2008




                                                                                         GEO-MEN 00063093




                                                                                             APP. 190
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023           Page: 194
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 32 of
                                       65


        restraints. If the detainee's behavior warrants restraints, the visit may not be granted
        under general population visiting conditions.
        In SPCs and CDFs, detainees in protective custody and violent and disruptive detainees
        shall not use the visitation room during normal visitation hours. Violent and disruptive
        detainees may be limited to non-contact visits. In extreme cases, where a visit would
        present an unreasonable security risk, even non-contact general visits may be
        disallowed for a particular detainee.

        14. Legal Visits. In accordance with the Detention Standard on Visitation, detainees in
        SMUs may not be denied legal visitation. However, the facility administrator, or
        designee, may implement whatever security precautions are necessary to protect the
        detainee and visitors and maintain good order. In such cases, staff shall advise legal
        service providers and assistants of any security concerns prior to their visits.
        15. Religious Guidance. Detainees in SM Us shall be allowed visits by members of the
        clergy, upon request, unless the supervisor determines such a visit presents a safety or
        security risk, or would interfere with the orderly operation of the facility. Violent and
        uncooperative detainees may be temporarily denied access to religious guidance. Staff
        shall advise the clergy member of the detainee's present state of behavior before he or
        she agrees to visit the detainee. Each facility will develop procedures to allow detainees
        to retain religious items within their possession consistent with good security practices
        (e.g., religious wearing apparel, religious headwear, prayer rugs, beads, prayer rocks,
        medallions).

        16. Reading Materials (Non-Legal). Detainees in SMUs shall have access to reading
        materials, including religious materials. The Recreation Specialist shall offer each
        detainee soft-bound, reading materials of this type on a rotating basis

        17. Legal Materials. Detainees in SMUs shall have access to legal materials, in
        accordance with the Detention Standard on Law Libraries and Legal Material.
        Detainees may retain a reasonable amount of personal legal material upon admittance
        to an SMU, provided such material does not create a safety, security or sanitation
        hazard.
        Detainees with a large amount of legal material may be required to place a portion with
        their stored personal property, with access permitted during scheduled hours. Requests
        for access to such legal material shall be accommodated as soon as possible, but in no
        case more than 24 hours after receipt of the initial detainee request to retrieve
        documents, except for documented security reasons.

        18. Law Library Access. In accordance with the Detention Standard on Law Libraries
        and Legal Material, detainees housed in Administrative Segregation or Disciplinary
        Segregation units shall have the same law library access as the general population,
        unless compelling security concerns require limitations.
        a. Facilities may supervise the library use by a detainee housed in an SMU as
        warranted by the individual's behavior. Detainees segregated for protection must be
        provided access to legal materials. Such detainees may be required to use the law
        library separately or, if that is not feasible, legal materials must be brought to them upon
        request

     Special Management Units                      7                               December 2, 2008




                                                                                           GEO-MEN 00063094




                                                                                               APP. 191
 Appellate Case: 22-1409          Document: 29-2          Date Filed: 01/23/2023        Page: 195
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 33 of
                                       65


        b. Violent or uncooperative detainees may be temporarily denied access to the law
        library if necessary to maintain security, until such time as their behavior warrants
        resumed access. In some circumstances, legal material may be brought to individuals
        in Disciplinary Segregation.
        c. Denial of access to the law library must be:
        •    Supported by compelling security concerns;
        •    For the shortest period required for security; and
        •    Fully documented in the SMU housing logbook.
        d. The facility administrator shall notify ICE/DRO every time access is denied, with
        documentation placed in the detention file.


        19. Recreation. Recreation for detainees housed in the SMU shall be separate from
        the general population. As necessary or advisable to prevent assaults and reduce
        management problems, recreation for some individuals will be alone and separate from
        all other detainees.
        a. The facility administrator shall develop and implement procedures to ensure that
        detainees who must be kept apart never participate in activities in the same location at
        the same time as detainees housed in the general population. For example, recreation
        for detainees in protective custody shall be separate from other detainees.
        Nevertheless, detainees in the SMU shall be offered at least one hour of recreation per
        day, scheduled at a reasonable time, at least five days per week. Where cover is not
        provided to mitigate inclement weather, detainees shall be provided weather-
        appropriate equipment and attire.
        b. The recreation privilege shall be denied or suspended only if the detainee's
        recreational activity would unreasonably endanger detainee safety or security. The case
        of a detainee denied recreation privileges shall be reviewed at least once each week, as
        part of the reviews required for all detainees in SMU status.
        11  As part of this process, the reviewer shall document whether the detainee continues
        to pose a threat to self, others, or facility security and, if so, why.
        11 The facility shall notify ICE/DRO when a detainee's denied recreation privileges
        exceeds 7 days.
        11  Such a denial of recreation privileges (for more than 7 days) requires the
        concurrence of the facility administrator and a health care professional. It is expected
        that such denials shall rarely occur, and only in extreme circumstances.
        c. Ordinarily, a detainee may be denied recreation privileges only with the facility
        administrator's written authorization, documenting why the detainee poses an
        unreasonable risk even when recreating alone. When necessary to control an
        immediate situation for reasons of safety and security, SMU staff may deny an instance
        of recreation, upon verbal approval from the shift supervisor, and document the reasons
        for that denial in the unit logbook(s). In such a case, the supervisor may also require
        additional written documentation from the SMU staff for the facility administrator. When
        a detainee in an SMU is deprived of recreation (or any other usually authorized items or


     Special Management Units                      8                            December 2, 2008




                                                                                       GEO-MEN 00063095




                                                                                           APP. 192
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023             Page: 196
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 34 of
                                       65


        activity), a report of the action shall be forwarded to the facility administrator.
        Examples of such circumstances may include, but are not limited to:
        1. A detainee segregated for specific administrative purposes,
        2. A detainee in protective custody, or
        3. A detainee whose mental and/or physical condition requires special handling and
        treatment by staff (for example, detainees who are drug or alcohol addicts or abusers,
        emotionally disturbed, mentally retarded, mentally ill, suicidal, disabled, or infirm).
        d. A detainee in Disciplinary Segregation may temporarily lose recreation privileges
        upon a disciplinary panel's written determination that he or she poses an unreasonable
        risk to the facility, him/herself, or others.
        When his or her recreation privileges are suspended, the disciplinary panel or facility
        administrator shall provide the detainee with written notification, the reason(s) for the
        suspension, the duration of the suspension, and any conditions that must be met before
        the restoration of his or her privileges provided the requisite conditions are met.
        20. Telephone Access. As detailed in the Detention Standard on Telephone Access,
        detainees in SM Us shall have access to telephones in a manner that is consistent with
        the special safety and security requirements of such units. Telephone access for legal
        calls will be provided, including calls to attorneys, other legal representatives, courts,
        government offices (including the Office of the Inspector General, Office for Civil rights,
        and Civil Liberties, OHS Joint Intake Center, and OHS Office of Internal Audit), and
        embassies or consulates, according to the facility schedule. Any denial of telephone
        access will be documented.
        In general, any detainee in an SMU may be reasonably restricted from using or having
        access to a phone if that access is used for criminal purposes or would endanger any
        person, or if the detainee damages the equipment provided. In such instances, staff
        must clearly document why such restrictions are necessary to preserve the safety,
        security, and good order of the facility.

        a. Administrative Segregation
        Ordinarily, staff shall permit detainees in Administrative Segregation to have telephone
        access similar to detainees in the general population, but in a manner consistent with
        the special security and safety requirements of detainees in these units. This
        requirement applies to a detainee in Administrative Segregation pending a hearing
        because he or she has been charged with a rule violation, as well as a detainee in
        Administrative Segregation for other than disciplinary reasons (for example, protective
        custody, suicide risk, etc.).

        b. Disciplinary Segregation
        Detainees in Disciplinary Segregation may be restricted from using telephones to make
        general calls as part of the disciplinary process; however, even in Disciplinary
        Segregation, detainees shall have some telephone access for special purposes.


     Special Management Units                      9                               December 2, 2008




                                                                                              GEO-MEN 00063096




                                                                                                 APP. 193
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023           Page: 197
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 35 of
                                       65


        Ordinarily, staff shall permit detainees in Disciplinary Segregation to make direct or free
        Consular and legal calls as described in the Detention Standard on Telephone Access,
        except for compelling and documented reasons of safety, security, and good order.
        21. Translation/Interpretation Services
        Detainees will be provided translation or interpretation services while in the Special
        Management Unit to assist with their understanding of conditions of confinement as well
        as their rights and responsibilities.
        22. Special Needs
        Detainees in the SMU will be provided appropriate accommodations and professional
        assistance such as medical, therapeutic, or mental health treatment for special needs,
        as necessary.

       C. Placement in Administrative Segregation
        Administrative Segregation status is a non-punitive status in which restricted conditions
        of confinement are required only to ensure the safety of detainees or others, the
        protection of property, or the security or good order of the facility. For matters of safety
        and security, staff may have to take immediate action to control a detainee, including
        placement in Administrative Segregation. Examples include detainees who require
        protective custody, who cannot be placed in the local population because they are en
        route to another facility ("holdovers"), who are awaiting a disciplinary hearing, or who
        require separation for medical reasons.
        Each facility shall develop and follow written procedures governing the management of
        its Administrative Segregation unit that are consistent with this Detention Standard.
        These procedures must document detailed reasons for placement of an individual in
        Administrative Segregation.       Detainees must be provided with a copy of the
        Administrative Segregation Order.
        Prior to the detainee's placement in Administrative Segregation, the facility administrator
        and security supervisor, or equivalent, shall review the case to determine whether
        Administrative Segregation is, in fact, warranted. The facility administrator may
        delegate to the security supervisor the authority to place a detainee in Administrative
        Segregation.
        1. Reasons for Placement in Administrative Segregation. A detainee may be placed
        in Administrative Segregation when the detainee's continued presence in the general
        population poses a threat to life, property, self, staff, or other detainees, for the secure
        and orderly operation of the facility, for medical reasons, or other circumstances as set
        forth below. Some examples of incidents warranting a detainee's assignment to
        Administrative Segregation include, but are not limited to, the following:
        (a) A detainee is awaiting an investigation or a hearing for a violation of facility rules.
        Pre-disciplinary hearing detention should be ordered only as necessary to prevent
        further violation of those rules or to protect the security and orderly operation of the
        facility. It is not to be used as a punitive measure.
        Time served in pre-hearing detention may be deducted from any time ordered by the


     Special Management Units                      10                              December 2, 2008




                                                                                           GEO-MEN 00063097




                                                                                               APP. 194
 Appellate Case: 22-1409          Document: 29-2         Date Filed: 01/23/2023           Page: 198
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 36 of
                                       65


        Institutional Disciplinary Panel (IDP).
        (b) A detainee is a threat to the security of the facility. The facility administrator may
        determine that a detainee's criminal record, past behavior at other institutions, behavior
        while in ICE/ORO detention, or other evidence is sufficient to warrant placement of the
        detainee in Administrative Segregation. Copies of records supporting this action shall be
        attached to the Administrative Segregation Order.
        (c) A detainee requires protection. Protective Custody may be initiated at the detainee's
        request or by whoever first ordered his or her segregation to protect the detainee from
        harm. Each facility will develop procedures to consider continued placement in
        protective custody as well as provisions for release from protective custody when
        appropriate. Frequently, the types of detainees who require this type of treatment
        include, but are not limited to:
        •   Victims of detainee assaults;
        • Detainee informants or witnesses - detainees who provide information to institutional
        staff or any law enforcement agency concerning improper or criminal activities by
        others;
        •   Sexual predators;
        • Detainees who have been pressured by other detainees to participate in sexual
        activity;
        •   Detainees who request Protective Custody;
        • Detainees who refuse to enter the general population because of alleged
        intimidation from other detainees;
        • Detainees who refuse to return to the general population, but who do not provide the
        reason for refusal;
        •   Detainees who appear to be in danger of bodily harm; or
        • Detainees who seek protection, claiming to be former law enforcement officers or to
        have held sensitive law enforcement positions, whether or not there is official
        information to verify the claim.
        (d) The IDP may order a detainee into Administrative Segregation following Disciplinary
        Segregation after determining that releasing the detainee into the general population
        would pose a threat to the security and orderly operation of the facility. A detainee
        transferred from Disciplinary Segregation to Administrative Segregation shall enjoy the
        same privileges as all other detainees in Administrative Segregation.
        (e) A medical professional who ordered a detainee removed from the general population
        shall complete and sign an Administrative Segregation Order (see below), unless the
        detainee is to stay in the medical department's isolation ward.
        (f) A detainee is scheduled for release, removal, or transfer within 24 hours. Such
        segregation may be ordered for security reasons or for the orderly operation of the
        facility.

        2. Administrative Segregation Order. A written order shall be completed and
        approved by a security supervisor before a detainee is placed in Administrative

     Special Management Units                     11                             December 2, 2008




                                                                                         GEO-MEN 00063098




                                                                                             APP. 195
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023           Page: 199
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 37 of
                                       65


        Segregation, except when exigent circumstances make this impracticable. In such
        cases, an order shall be prepared as soon as possible. A copy of the order shall be
        given to the detainee within 24 hours, unless delivery would jeopardize the safety,
        security, or orderly operation of the facility.
        a. The facility administrator or designee shall complete the Administrative Segregation
        Order (Form 1-885 or equivalent), detailing the reasons for placing a detainee in
        Administrative Segregation, before his or her actual placement.
        b. An Administrative Segregation Order is not required for a detainee awaiting removal,
        release, or transfer within 24 hours of its service.
        c. In an emergency, the detainee's placement in Administrative Segregation may
        precede the paperwork, which the facility administrator shall prepare as soon as
        possible after the detainee's placement.
        d. All memoranda, medical reports, and other relevant documents shall be attached to
        the Administrative Segregation Order.
        e. A copy of the completed Administrative Segregation Order shall be given to the
        detainee within 24 hours of placement in Administrative Segregation, unless delivery
        would jeopardize the safe, secure, or orderly operation of the facility.
        f. The order shall remain on file with the SMU until the detainee is returned to the
        general population.
        g. When the detainee is released from the SMU, the releasing officer shall indicate
        date and time of release on the Administrative Segregation Order. The completed order
        is then forwarded to the chief of security for inclusion into the detainee's detention file.
        h. If the segregation is ordered for protective custody purposes, the order shall state
        whether the detainee requested the segregation, and whether the detainee requests a
        hearing concerning the segregation.

        3. Review of Detainee Status in Administrative Segregation. All facilities shall
        implement written procedures for the regular review of all detainees held in
        Administrative Segregation, consistent with the procedures specified below.
        a. A security supervisor shall conduct a review within 72 hours of the detainee's
        placement in Administrative Segregation to determine whether segregation is still
        warranted. The review shall include an interview with the detainee. A written record
        shall be made of the decision and the justification. The Administrative Segregation
        Review (Form 1-885) shall be used for the review. If the detainee has been segregated
        for his or her own protection, but not at the detainee's request, the signature of the
        facility administrator or assistant facility administrator is required on the Form 1-885 to
        authorize the alien's continued detention.
        b. A security supervisor shall conduct the same type of review after the detainee has
        spent seven days in Administrative Segregation, and every week thereafter, for the first
        60 days and (at least) every 30 days thereafter.
        c. The review shall include an interview with the detainee, and a written record shall be
        made of the decision and its justification.
        d. When the reviewing authority concludes that the detainee should be removed from


     Special Management Units                      12                              December 2, 2008




                                                                                           GEO-MEN 00063099




                                                                                               APP. 196
 Appellate Case: 22-1409          Document: 29-2          Date Filed: 01/23/2023           Page: 200
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 38 of
                                       65


        Administrative Segregation, they shall submit that recommendation to the facility
        administrator (or designee) for approval.
        e. A copy of the decision and justification for each review shall be given to the
        detainee, unless, in exceptional circumstances, this provision would jeopardize the
        facility's security. The detainee shall also be given an opportunity to appeal a review
        decision to a higher authority within the facility.
        f. After seven consecutive days in Administrative Segregation, the detainee may
        exercise the right to appeal the conclusions and recommendations of any review
        conducted to the facility administrator. The detainee may use any standard form of
        written communication, for example, detainee request, to file the appeal.
        g. If a detainee has been in Administrative Segregation for more than 30 days and
        objects to that status, the facility administrator shall review the case to determine
        whether that status should continue. This review shall take into account the detainee's
        views and shall result in a written record of the decision and its justification. A similar
        review shall take place every 30 days and each 30 days thereafter.
        h. When a detainee has been held in Administrative Segregation for more than 30
        days, the facility administrator shall notify the Field Office Director (FOO), who shall
        notify the ICE/ORO Assistant Director, Detention Management Division in writing.
        i. When a detainee is held in Administrative Segregation for_more than 60 days, the
        FOO shall notify in writing, the Deputy Assistant Director, Detention Management
        Division. The Deputy Assistant Director shall then consider whether it would be
        appropriate to transfer the detainee to a facility wheres/he may be placed in the general
        population.

       D. Placement in Disciplinary Segregation.
        To provide detainees in the general population a safe and orderly living environment,
        facility authorities shall discipline anyone whose behavior does not comply with facility
        rules and regulations. Such discipline may involve temporary confinement in the SMU
        apart from the general population. A detainee may be placed in Disciplinary
        Segregation only by order of the Institutional Disciplinary Panel (IDP), or its equivalent,
        after a hearing in which the detainee has been found to have committed a prohibited
        act. Ultimately, the IDP may order the detainee's placement into Disciplinary
        Segregation, but only when alternative dispositions would inadequately regulate the
        detainee's behavior.




     Special Management Units                     13                              December 2, 2008




                                                                                          GEO-MEN 00063100




                                                                                              APP. 197
 Appellate Case: 22-1409          Document: 29-2          Date Filed: 01/23/2023           Page: 201
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 39 of
                                       65


        1. Duration. A maximum sanction of 60 days in Disciplinary Segregation shall apply to
        violations related to a single prohibited incident. After the first 30 days, and each 30
        days thereafter, the facility administrator shall send a written justification to the FOO,
        who may decide to transfer the detainee to a facility where security is such that he or
        she could be placed in the general population.
        2. Disciplinary Segregation Order. A written order shall be completed and signed by
        the chair of the IDP (or disciplinary hearing officer) before a detainee is placed into
        Disciplinary Segregation. A copy of the order shall be given to the detainee within 24
        hours, unless delivery would jeopardize the safety, security, or the orderly operation of
        the facility or the safety of another detainee.
        a. The IDP chairman shall prepare the Disciplinary Segregation Order (Form 1-883 or
        equivalent), detailing the reasons for placing a detainee in Disciplinary Segregation,
        before his or her actual placement. All relevant documentation must be attached to the
        order.
        b. A copy of the completed Disciplinary Segregation Order shall be given to the
        detainee within 24 hours of placement in Disciplinary Segregation, unless delivery
        would jeopardize the safe, secure, or orderly operation of the facility. The order shall be
        maintained on file in the SMU until the detainee is released from the SMU.
        When the detainee is released from the SMU, the releasing officer shall indicate date
        and time of release on the Disciplinary Segregation Order, then forward the completed
        order to the chief of security for insertion into the detainee's detention file.
        3. Review of Detainee Status in Disciplinary Segregation. All facilities shall
        implement written procedures for the regular review of all Disciplinary Segregation
        cases, consistent with the following procedures:
        a. A security supervisor, or the equivalent, shall interview the detainee and review his
        or her status in Disciplinary Segregation every seven days to determine whether the
        detainee:
        •   Abides by all rules and regulations; and,
        • Is provided showers, meals, recreation, and other basic living standards, as required
        by this Detention Standard.
        b. The security supervisor shall document his or her findings after every review, by
        completing a Disciplinary Segregation Review (Form 1-887).
        • The security supervisor may recommend the detainee's early release from the SMU
        upon finding that time in Disciplinary Segregation is no longer necessary to regulate the
        detainee's behavior.
        • An early-release recommendation must have the facility administrator's approval
        before the detainee may be returned to the general population.
        •   The security supervisor may shorten, but not extend, the original sanction.
        •   All review documents shall be placed in the detainee's detention file.
        • At each formal review, the detainee shall be given a written copy of the reviewing
        officer's decision and the basis for his or her finding, unless it would result in a
        compromise of institutional security. lffor some reason it can not be delivered, then the


     Special Management Units                     14                              December 2, 2008




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                                                                                              APP. 198
 Appellate Case: 22-1409          Document: 29-2          Date Filed: 01/23/2023           Page: 202
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 40 of
                                       65


        detainee should be advised of the decision orally and the detention file should be so
        noted and the reasons identified in writing as to why the notice could not be provided in
        writing.

       E. logs and Records
        1. Permanent SMU log. A permanent log shall be maintained in the SMU to record
        all activities concerning the SMU detainees, such as the meals served, recreational
        time, and visitors.
        In SPCs and CDFs, the SMU log shall record the detainee's name, A-number, housing
        location, date admitted, reasons for admission, tentative release date (for detainees in
        Disciplinary Segregation), the authorizing official, and date released.
        2. Visitor's log. In SPCs and CDFs, a separate log shall be maintained in the SMU of
        all persons visiting the unit. This separate record shall include notation of
        •   The time and date of the visit, and
        • Any unusual activity or behavior of an individual detainee, with a follow-up
        memorandum sent through the facility administrator to the detainee's file.

        3. Individual Special Management Housing Unit Record. In SPCs, Special
        Management Housing Unit Record, (Form 1-888) shall be prepared immediately upon
        a detainee's placement in the SMU. CDFs and !GSA facilities shall use the Form 1-888
        or comparable form for this purpose as well.
        a. The special housing unit officer shall immediately record:
        •   Whether the detainee ate, showered, recreated, and took any medication; and
        • Any additional information, such as whether the detainee has a medical condition, or
        has exhibited suicidal/assaultive behavior.
        •   The officer that conducts the activity will print his/her name and sign the record.
        b. The facility medical officer shall sign each individual's record when he or she visits a
        detainee in the SMU. The housing officer shall initial the record after the medical visits
        are completed, but no later than the end of the shift.
        c. A new Form 1-888 must be created for each week the detainee is in the SMU. The
        completed weekly forms shall be retained at the SMU until the detainee is released from
        the SMU.
        d. Upon a detainee's release from the SMU, the releasing officer shall attach the entire
        housing unit record related to that detainee to either the Administrative Segregation
        Order or Disciplinary Segregation Order and forward it to the chief of security for
        inclusion into the detainee's detention file.


     Standard Approved:


        James T. Hayes, Jr. /s/                               12/5/2008



     Special Management Units                     15                              December 2, 2008




                                                                                          GEO-MEN 00063102




                                                                                              APP. 199
 Appellate Case: 22-1409        Document: 29-2    Date Filed: 01/23/2023    Page: 203
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 41 of
                                       65


     James T. Hayes, Jr.                          Date
     Director
     Office of Detention and Removal Operations




     Special Management Units              16                       December 2, 2008




                                                                           GEO-MEN 00063103




                                                                               APP. 200
 Appellate Case: 22-1409          Document: 29-2          Date Filed: 01/23/2023           Page: 204
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 42 of
                                       65




                                   DISCIPLINARY SYSTEM

     I. PURPOSE AND SCOPE. This Detention Standard promotes a safe and orderly
     living environment for detainees by establishing a fair and equitable disciplinary
     system, requiring detainees to comply with facility rules and regulations, and
     imposing disciplinary sanctions to those who do not comply.
     It applies to the following types of facilities housing ICE/ORO detainees:
        •   Service Processing Centers (SPCs);
        •   Contract Detention Facilities (CDFs); and
        •   State or local government facilities used by ORO through Intergovernmental Service
            Agreements (IGSAs) to hold detainees for more than 72 hours.
     Procedures in italics are specifically required for SPCs and CDFs. IGSAs must
     conform to these procedures or adopt, adapt or establish alternatives, provided they meet
     or exceed the intent represented by these procedures.
     Some terms used in this document may be defined in the separate Definitions Standard.

     II. EXPECTED OUTCOMES. The expected outcomes of this Detention Standard are:
         1. Detainees will be informed of facility rules and regulations, prohibited acts,
            disciplinary sanctions that may be imposed, their rights in the disciplinary system
            and the procedure for appealing disciplinary findings.
        2. Each facility will have graduated severity scales of prohibited acts and disciplinary
           consequences.
        3. Where permitted by facility policy, staff will informally settle minor transgressions by
           mutual consent, whenever possible.
        4. Staff who witness a prohibited act that cannot or should not be resolved informally,
           or have reason to suspect that a detainee has engaged in a prohibited act, will
           prepare a clear, concise, and complete Incident Report.
        5. Each Incident Report will be objectively and impartially investigated and reported,
           ordinarily by a person of supervisory rank.
        6. When appropriate, a serious incident that may constitute a criminal act will be
           referred to the proper investigative agency, and the administrative investigation will
           be suspended, pending the outcome of that referral.
        7. At each step of the disciplinary and appeal process, the detainee will be advised of
           his or her rights in a language he or she understands, and translation or
           interpretation services will be provided as needed.
        8. A Unit Disciplinary Committee (UDC) will further investigate and adjudicate the
           incident and may impose minor sanctions or refer the matter to a higher level
           disciplinary panel.



     Disciplinary System                           1                              December 2, 2008




                                                                                          GEO-MEN 00063138




                                                                                              APP. 201
 Appellate Case: 22-1409            Document: 29-2           Date Filed: 01/23/2023            Page: 205
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 43 of
                                       65


        9. An Institution Disciplinary Panel (IDP) will conduct formal hearings on Incident
           Reports referred from UDCs and may impose higher level sanctions for "Greatest"
           and "High" level prohibited acts.
         10. Detainees before the IDP will be afforded a staff representative, upon request, or
             automatically if the detainee is illiterate, has limited English language skills or
             otherwise needs special assistance.
         11.Actions of the IDP will be reviewed by the facility administrator, who may concur with
            the findings and sanctions or modify them.
         12. At all steps in the disciplinary process, any sanctions imposed will be commensurate
             with the severity of the committed prohibited act and intended to encourage the
             detainee to conform with rules and regulations in the future.
         13. All steps of the disciplinary process will be done within the required time limits.
         14. At all steps of the disciplinary process, accurate and complete records will be
             maintained. The detainee will receive copies of all reports, exhibits, and other
             documents considered or generated in the hearing process, except insofar as the
             disclosure of such documents may pose an imminent threat to the safety and
             security of the facility staff or other detainees, or if the document or other evidence is
             otherwise protected from disclosure.
         15. If a detainee is found not guilty at any stage of the disciplinary process, the incident
             records will not be placed or retained in the detainee's file, even if they are retained
             elsewhere for statistical or historical purposes.
         16. Detainees will be able to appeal disciplinary decisions through a formal grievance
             system. No detainee will be harassed, disciplined, punished or otherwise retaliated
             against for filing a complaint or grievance.
         17. Detainees shall be afforded the following rights: the right to protection from abuse,
             the right to freedom from discrimination, the right to pursue a grievance, the right to
             correspond with persons or organizations and the right to due process.
         18. The applicable content and procedures in this standard will be communicated to the
             detainee in a language or manner which the detainee can understand.

     Ill. DIRECTIVES AFFECTED. This Detention Standard replaces Disciplinary Policy
     dated 9/20/2000.

     IV. REFERENCES
         American Correctional Association 4th Edition Standards for Adult Local Detention
         Facilities: 4-ALDF-3A-01, 3A-02, 68-05, 6C-01 through 6C-19.

     V. EXPECTED PRACTICES

        A. Guidelines
        1. Detainees will receive translation or interpretation services throughout the
        investigative, disciplinary, and appeal process, including accommodation for the hearing
        impaired.

     Disciplinary System                             2                               December 2, 2008




                                                                                              GEO-MEN 00063139




                                                                                                 APP. 202
 Appellate Case: 22-1409          Document: 29-2          Date Filed: 01/23/2023          Page: 206
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 44 of
                                       65


        2. Each facility holding ICE/ORO detainees in custody shall have a detainee
        disciplinary system with progressive levels of reviews, appeals, procedures, and
        documentation procedures. Written disciplinary policy and procedures shall clearly
        define detainee rights and responsibilities. The policy, procedures and rules shall be
        reviewed at least annually.
        3. Disciplinary action may not be capricious or retaliatory nor based on race, religion,
        national origin, sex, sexual orientation, disability, or political beliefs.
        4. Staff may not impose or allow imposition of the following sanctions: corporal
        punishment; deprivation of food services to include use of Nutraloaf or "food loaf";
        deprivation of clothing, bedding, or items of personal hygiene; deprivation of
        correspondence privileges; deprivation of legal access and legal materials; or
        deprivation of physical exercise unless such activity creates a documented unsafe
        condition.
        5. The facility shall not hold a detainee accountable for his or her conduct if a medical
        authority finds him or her mentally incompetent. For purposes of these standards, a
        mentally incompetent individual is defined as an individual who is unable to appreciate
        the difference between appropriate and inappropriate behavior, or between "right" and
        "wrong." Such an individual is not capable of acting in accordance with those norms
        and therefore, cannot be held responsible for his or her "wrongful" actions.
        Also, a person who cannot assist in his or her own defense because he or she lacks the
        ability to understand the nature of the disciplinary proceedings shall be considered
        incompetent. Disciplinary proceedings against such a detainee shall be postponed
        until such time as the detainee is able to understand the nature of the disciplinary
        proceedings and to assist in his or her own defense. If the detainee's mental status
        does not improve within a reasonable amount of time, the officer must find the detainee
        incompetent to assist in his or her own defense and note such finding on the Incident
        Report.

        B. Notice to Detainees
        The Detainee Handbook, or supplement, issued to each detainee upon admittance,
        shall provide notice of the facility's rules of conduct and prohibited acts, the sanctions
        imposed for violations of the rules, the disciplinary severity scale, the disciplinary
        process and the procedure for appealing disciplinary findings. Detainees shall have the
        following rights and shall receive notice of them in the Handbook:
            •   The right to protection from personal abuse, corporal punishment, unnecessary
                or excessive use of force, personal injury, disease, property damage, and
                harassment;
            •   The right of freedom from discrimination based on race, religion, national origin,
                sex, sexual orientation, handicap, or political beliefs;
            •   The right to pursue a grievance in accordance with procedures provided in the
                Handbook without fear of retaliation;
            •   The right to pursue a grievance in accordance with the Grievance System
                Detention Standard and procedures provided in the handbook.



     Disciplinary System                           3                              December 2, 2008




                                                                                         GEO-MEN 00063140




                                                                                             APP. 203
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023          Page: 207
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 45 of
                                       65


            •   The right to correspond with persons or organizations, consistent with safety,
                security, and the orderly operation of the facility; and
            •   The right to due process, including the prompt resolution of a disciplinary matter.
        Copies of the rules of conduct, rights, and disciplinary sanctions shall be provided to all
        detainees and posted in English, Spanish, and/or other languages spoken by significant
        numbers of detainees, as follows:

             1. Disciplinary Severity Scale
            2. Prohibited Acts
            3. Sanctions

        C. Disciplinary Severity Scale and Prohibited Acts
        All facilities shall have graduated scales of offenses and disciplinary consequences as
        provided in this section.
        SPCs and CDFs shall adopt, without alteration, the offense categories and disciplinary
        sanctions set forth in this section.
        Prohibited acts are divided into four categories: Greatest, High, Moderate, and Low
        Moderate. The sanctions authorized for each category shall be imposed only if the
        detainee is found to have committed a prohibited act. (See Attachment A -- Prohibited
        Acts and Sanctions.)
            Greatest offenses: The /DP shall impose and execute at least one sanction in the
            A through E range. Additional sanctions (A through G) may be imposed and either
            executed or suspended, at the discretion of the panel. The !DP may impose and
            execute sanctions F and G only in conjunction with sanction A, B, C, D, and/or E.
            High offenses: The /DP shall impose and execute at least one sanction in the A
            through M range. Additional sanctions (A through M) may be imposed or may be
            suspended at the discretion of the panel.
            High Moderate offenses: The !DP shall impose at least one sanction in the A
            through M range, but may suspend any or all, once imposed. Similarly, the UDC
            shall impose at least one sanction in the G through M range, but may suspend any
            or all, once imposed.
            Low Moderate offenses: The !DP shall impose at least one sanction in the E
            through M range, but may suspend any or all, once imposed. Similarly, the UDC
            shall impose at least one sanction in the G through M range, but may suspend any
            or all, once imposed.

        D. Incident Reports
        Officers who witness a prohibited act or have reason to suspect one has been
        committed shall prepare and submit an Incident Report. All Incident Reports must state
        the facts clearly, precisely, and concisely, omitting no details that could prove
        significant. Reports also shall identify the officer(s), the detainee(s), and all witnesses
        to the incident.



     Disciplinary System                           4                              December 2, 2008




                                                                                          GEO-MEN 00063141




                                                                                              APP. 204
 Appellate Case: 22-1409           Document: 29-2          Date Filed: 01/23/2023           Page: 208
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 46 of
                                       65


         ICE/ORO pre-approval is required for use of ICE Incident Report forms in CDFs and
         IGSA facilities.
        In SPCs and CDFs, minor transgressions shall be settled informally and by mutual
        consent whenever possible. If, however, the officer involved thinks an informal
        resolution is inappropriate or unattainable, he or she shall prepare an Incident Report
        and Notice of Charges and submit it to the appropriate supervisor before the end of the
        assigned shift.
        The Incident Report shall cite the relevant rule or standard without quoting it in its
        entirety. (For example, for destruction of government property, the report would cite,
        briefly, "Code 218-Destroying Government Property and specify the exact manner in
        which the detainee is alleged to have violated the cited rule or standard including all
        relevant facts as to time, dates, and places.")
        If the officer observes anything unusual in the detainee's behavior or demeanor, he or
        she shall so note in the report. The reporting officer shall also list all staff, contract
        officers or detainee witnesses to the incident, and the disposition of any physical
        evidence (weapons, property, etc.) relating to the incident. The reporting officer shall
        sign the report and include title, date and time the report was signed. The shift
        supervisor shall review all Incident Reports before going off duty.

         E. Investigations
         IGSAs shall have procedures in place to ensure that all Incident Reports are
         investigated within 24 hours of the incident.
        The investigating officer shall have supervisory rank or higher (unless prevented by
        personnel shortages) and shall have had no prior involvement in the incident, either as
        witness or officer at the scene. If an officer below supervisory rank conducts the
        investigation, the shift supervisor shall review his or her report(s) for accuracy and
        completeness and sign them.
        In SPCs and CDFs, the officer designated to investigate the incident is responsible for
        completing the necessary interviews, collecting evidence, and submitting written
        reports.
         The investigating officer shall:
                 1. Commence the investigation within 24 hours of receipt of the Incident Report.
                2. Advise the detainee of the right to remain silent at every stage of the
                   disciplinary process and ensure he or she has a complete listing of detainee
                   rights.
                3. Provide the detainee a copy of the Incident Report and notice of charges at
                   least 24 hours before the start of any disciplinary proceedings.
                4. Terminate the administrative investigation, if the incident is under
                   investigation on different grounds (that is, the prohibited act is under criminal
                   investigation), unless and until the agency with primary jurisdiction concludes
                   its investigation or indicates it will not pursue the matter.
                    Contraband that may be evidence in connection with a violation of a criminal
                    statute shall be preserved, inventoried, controlled, and stored so as to

     Disciplinary System                           5                               December 2, 2008




                                                                                           GEO-MEN 00063142




                                                                                              APP. 205
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023            Page: 209
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 47 of
                                       65


                    maintain and document the chain of custody The documentation shall be
                    reported to the appropriate law enforcement authority for action and possible
                    seizure and prosecution. See Preservation of Evidence in the Detention
                    Standard on Searches of Detainees.
                5. Advise the detainee of his or her right, if applicable, to an initial hearing
                   before the Unit Disciplinary Committee (UDC) within 24 hours of his or her
                   notification of charges.
                6. Record personal observances and other potentially material information.
                7. Prepare a factual report of the investigation, including the location or
                   disposition of any physical evidence.
                8. Forward to the UDC all reports relevant to the disciplinary hearing - but do
                   not provide a copy to the detainee at this stage of the disciplinary process,
                    except for a copy of the Incident Report as instructed in #4 above.

         F. Unit Disciplinary Committee (UDC)
        All facilities shall establish an intermediate level of investigation/adjudication process to
        adjudicate low or moderate infractions. They shall also ensure that the detainee is
        afforded all the UDC rights listed below.
        The UDC administering unit discipline shall be comprised of one to three members, at
        least one of whom is a supervisor.
        The UDC shall not include the reporting officer, the investigating officer, or an officer
        who witnessed or was directly involved in the incident. Only in the unlikely event that
        practically every available officer witnessed or was directly involved in the incident may
        an exception occur.
        The UDC shall conduct hearings and, to the best extent possible, informally resolve
        cases involving High Moderate or Low Moderate charges in accordance with the list of
        charges and related sanctions noted as Attachment A of this Standard. Unresolved
        cases and cases involving serious charges are forwarded to the Institution Disciplinary
        Panel.
        The UDC shall have authority to:
         1. Conduct hearings and resolve incidents involving High Moderate or Low Moderate
            charges.
        2. Consider written reports, statements, and physical evidence.
        3. Hear pleadings on the part of the detainee.
        4. Make findings that a detainee did or did not commit the rule violation(s) or prohibited
           act(s) as charged, based on the preponderance of evidence.
        5. Impose minor sanctions "E" through "M" in accordance with the table of prohibited
           acts and associated sanctions later in this document.

        The detainee in UDC proceedings shall have the right to:
             1. Remain silent at any stage of the disciplinary process.
            2. Due process, which includes:

     Disciplinary System                            6                               December 2, 2008




                                                                                            GEO-MEN 00063143




                                                                                                APP. 206
 Appellate Case: 22-1409            Document: 29-2         Date Filed: 01/23/2023           Page: 210
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 48 of
                                       65


                 •   Attending the entire hearing (excluding committee deliberations);
                 •   Waiving the right to appear; or
                 •   Having a UDC hearing within 24 hours after the conclusion of the
                     investigation.
                If security considerations prevent detainee attendance, the committee must
                document the security considerations and, to the extent possible, facilitate the
                detainee's participation in the process via telephonic testimony, the submission
                of documents, written statements, or questions to be asked of witnesses.

            3. Present statements and evidence, including witness testimony on his or her own
               behalf.
            4. Appeal the committee's determination through the detainee grievance process.

        The UDC shall:
             1. Advise the detainee of his or her rights at the hearing.
            2. Refer to the IDP any incident involving a serious violation associated with an A-
               through-D-range sanction. This includes code violations in the "Greatest" and
               "High" categories (1 OOs and 200s).
            3. Serve the detainee with:
               • A copy of the UDC decision which must contain the reason for the disposition
                  and sanctions imposed; or
                •    Written notification of charges and hearing before the IDP.

            4. If the detainee's case is being referred to the IDP, advise the detainee, in writing,
               of
                •    The right to call witnesses and present evidence before the IDP; and
                •    The right to a staff representative before the IDP.

        G. Staff Representation
        In SPCs and CDFs, the facility administrator shall, upon the detainee's request, assign
        a staff representative to help prepare a defense. This help shall be automatically
        provided for detainees who are illiterate, have limited English-language skills, are
        without means of collecting and presenting essential evidence, or are in administrative
        or disciplinary segregation.
            1 . A staff representative must be a full-time employee.
            2. Because of the potential conflict of interest, the facility administrator, members of
               the !DP and of the UDC initially involved in the case, eyewitnesses, the reporting
               and investigating officers, and anyone else with a stake in the outcome shall not
               act as staff representative.
            3. The detainee may select his or her staff representative, barring those identified in
               #2 above.
            4. The !DP shall arrange for the presence of the staff representative selected by the


     Disciplinary System                            7                              December 2, 2008




                                                                                           GEO-MEN 00063144




                                                                                               APP. 207
 Appellate Case: 22-1409              Document: 29-2            Date Filed: 01/23/2023     Page: 211
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 49 of
                                       65


                detainee. If that staff member declines or is unavailable, the detainee may:
                    •      Select a different representative;
                    •      Wait for the unavailable staff member to become available (within a
                           reasonable period); or,
                    •      Proceed without a staff representative.
            5. A staff member who declines to seNe must state the reason on the staff
                representative form.
            6. If several staff decline, the facility administrator shall assign one.
            7. The staff representative shall be free to speak to witnesses and to present
               evidence on the detainee's behalf, including any mitigating circumstances. The
               staff representative must act in good faith on behalf of the charged detainee, and
               inteNiew witnesses and obtain documentary evidence as is requested by the
               detainee or is otherwise reasonably seen as relevant to the defense of the
               charges or in mitigation of the charges.
            8. The !DP shall allow the staff representative enough time to speak with the
                detainee and inteNiew witnesses prior to the commencement of the proceeding.
                The /DP may grant a request for extension of time if required for an adequate
                defense.
            9. The !DP shall establish the reliability of information provided by a confidential
                source before considering it in the disciplinary proceedings.
             10. The !DP may withhold the confidential source's identity from the staff
                representative. While the staff representative may challenge the substance of
                any confidential information the !DP discloses, he or she may not question its
                reliability (which is pre-established by the !DP).
             11 . When the detainee cannot effectively present his or her own case, the facility
                  administrator shall appoint a staff representative, even if not requested by the
                detainee.

         H. Institution Disciplinary Panel
        All facilities that house ICE/ORO detainees shall have a disciplinary panel to
        adjudicate detainee Incident Reports. Only the disciplinary panel may place a
        detainee in disciplinary segregation.
        The term "Institution Disciplinary Panel" or "IDP" refers either to a three-person
        panel appointed by the facility administrator, or a one-person disciplinary
        hearing officer, depending on the practice at the facility.
        The panel may not include the reporting officer, the investigating officer, any member of
        the referring UDC, or anyone who witnessed or was directly involved in the incident.
        Exceptions may occur only if the number of officers required for the panel cannot be
        filled due their direct involvement in the incident. The IDP shall have authority to:

             1. Conduct hearings on all charges and allegations referred by the UDC.
            2. Call witnesses to testify.


     Disciplinary System                              8                            December 2, 2008




                                                                                          GEO-MEN 00063145




                                                                                              APP. 208
 Appellate Case: 22-1409             Document: 29-2          Date Filed: 01/23/2023       Page: 212
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 50 of
                                       65


            3. Consider written reports, statements, physical evidence, and oral testimony.
            4. Hear pleadings by detainee and staff representative.
            5. Make findings that the detainee did or did not commit the rule violation(s) or
               prohibited act(s) as charged, based on the preponderance of evidence.
            6. Impose sanctions as listed and authorized in each category.

        The detainee in IDP proceedings shall have the right to:
             1. Remain silent at any stage of the disciplinary process.
            2. Due process, which includes:
                     11
                           Attending the entire hearing (excluding committee deliberations);
                     11
                           Waiving the right to appear; or
                     11
                           Having an IDP hearing within 24 hours after the conclusion of the
                           investigation.
            If security considerations prevent the detainee's attendance, the committee must
            document the security considerations and, to the extent possible, facilitate the
            detainee's participation in the process by telephonic testimony, the submission of
            documents, written statements or questions to be asked of witnesses.
            3. Present statements and evidence, including witness testimony, on his or her
            behalf.
            4. Appeal the committee's determination through the detainee grievance process.

        The IDP shall:
             1. Verify that the detainee has been advised of and afforded his or her rights, as
                provided above.
            2. Remind the detainee of his or her right to a staff representative, and provide one
               if requested.
            3. Advise the detainee of his or her right to waive the hearing and admit having
               committed the offense.
            4. Conduct the hearing on the first business day after receiving the UDC referral,
               unless the detainee waives the 24-hour notification provision and requests an
               immediate hearing. In cases where a hearing is delayed, the reason(s) must be
               documented (for example, a continuing investigation of facts, unavailability of
               one or more essential witnesses, etc.) and approved by the facility administrator.
                If the detainee is being held in segregation, the delay shall not exceed 72 hours,
               barring an emergency.




     Disciplinary System                             9                            December 2, 2008




                                                                                          GEO-MEN 00063146




                                                                                               APP. 209
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023            Page: 213
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 51 of
                                       65



            5. Prepare a written record of any hearing. This record must show that the detainee
               was advised of his or her rights. It must also document the evidence considered
               by the Panel and subsequent findings and the decision and sanctions imposed,
               along with a brief explanation.
            6. Forward the entire record to the facility administrator, who may (a) concur; (b)
               terminate the proceedings; or (c) impose more severe or more lenient sanctions.
            7. Serve the detainee with written notification of the decision, which must contain
               the reason for the decision.

        I. Confidential Information
        When a decision relies on information from a confidential source, the UDC or IDP shall
        disclose as much of the confidential information as may be disclosed without jeopardizing
        the safety and security of facility staff and other persons, and shall_include in the hearing
        record the factual basis for finding the information reliable.

        J. Postponement of Disciplinary Proceedings
        All facilities shall permit hearing postponements or continuances under certain
        circumstances.
        In SPCs and CDFs, circumstances justifying the postponement or continuance of a
        hearing might include: defense preparation, physical or mental illness, security, escape,
        disciplinary transfer, deportation, or pending criminal prosecution.
        An uncooperative detainee may also cause a delay in the proceedings, either because
        of inappropriate behavior during the hearing process or a refusal to participate in a
        productive manner.

        K. Duration of Sanctions
        The duration of sanctions shall be within established limits. Neither the panel
        recommending sanctions nor the facility administrator making the final decision shall
        impose sanctions arbitrarily, beyond these limits.
             1. Sanctions range from the withholding of privilege(s) to segregation. Time in
                segregation or the withholding of privileges after a hearing shall generally not
                exceed 60 days per violation.
            2. Time served in segregation pending the outcome of the proceedings may be
               credited to the number of days to be spent in the segregation unit after an
               adverse decision is announced.
            3. The disciplinary report and accompanying documents are not placed in the file of
               a detainee who is found not guilty. The facility, however, may retain the material
               in its own files for Institution statistical or historical purposes.
            4. A detainee may be removed from segregation if a health care professional
               concludes that continued segregation is detrimental to the detainee's medical or
               mental health.


     Disciplinary System                           10                               December 2, 2008




                                                                                            GEO-MEN 00063147




                                                                                                APP. 210
 Appellate Case: 22-1409           Document: 29-2           Date Filed: 01/23/2023            Page: 214
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 52 of
                                       65


         l. Documents
        All documents relevant to the incident, subsequent investigation and hearing(s), shall be
        completed and distributed in accordance with facility procedures.
         In SPCs and CDFs, documents shall be prepared and distributed as follows:
            Incident Report/Notice of Charges
            The officer shall prepare an Incident Report and submit it to the ICE/ORO or GDF
            supervisor immediately after the incident takes place. If the incident is resolved
            informally, the officer shall so note on the original report, which shall then be forwarded
            to the chief of security.
            If the UDC is to be involved, the supervisor shall serve the detainee with a copy of the
            Notice of Charges upon completion of the investigation, no less than 24 hours before
            the UDC hearing.
             The UDC receives the original copy.
            If the UDC hears the matter, the ranking member of that committee shall serve the
            detainee with a copy of the Incident Reporl/Notice of Charges indicating their decision.
            The UDC, upon conclusion of its proceedings, shall forward the entire record to either
            the chief of security or the /DP, as appropriate.
            Investigation Report
            Original - submitted to the UDC.
            Detainee does not receive a copy
             UDC Report of Findings and Action
             Original - served on the detainee after the committee issues its findings
             Copy -to the detainee detention file (guilty finding only)
            Notice of IDP Hearing
            Original - served on detainee
            Copy - detainee detention file
            Detainee Rights at IDP Hearing
            Original - served on detainee
            Copy - facility detention file
            /DP Report
            Original -detainee detention file
            Copy - detainee


     Standard Approved:
        James T. Hayes, Jr. Isl                                  121512008


     James T. Hayes, Jr.                                     Date
     Director
     Office of Detention and Removal Operations


     Disciplinary System                            11                               December 2, 2008




                                                                                             GEO-MEN 00063148




                                                                                                 APP. 211
 Appellate Case: 22-1409           Document: 29-2           Date Filed: 01/23/2023         Page: 215
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 53 of
                                       65
                                                Attachment A
                                       Prohibited Acts and Sanctions



                             "GREATEST" OFFENSE CATEGORY


                                         PROHIBITED ACTS


     100 Killing
     101 Assaulting any person (includes sexual assault)
     102 Escape from escort; escape from a secure facility
     103 Setting a fire (charged with this act in this category only when found to pose a threat to
     life or a threat of serious bodily harm or in furtherance of a prohibited act of greatest
     severity, e.g., a riot or an escape; otherwise the charge is classified as Code 218 or 321 ).
     104 Possession or introduction of a gun, firearm, weapon, sharpened instrument, knife,
     dangerous chemical, explosive, escape tool, device, or ammunition
     105 Rioting
     106 Inciting others to riot
     107 Hostage-taking
     108 Assaulting a staff member or any law enforcement officer
     109 Threatening a staff member or any law enforcement office with bodily harm
     *198 Interfering with a staff member in the performance of duties (conduct must be of the
     greatest severity). This charge is to be used only if another charge of greatest severity is
     not applicable.
     *199 Conduct that disrupts or interferes with the security or orderly running of the facility
     (conduct must be of the greatest severity). This charge is to be used only if another charge
     of greatest severity is not applicable.


                           "GREATEST" OFFENSE CATEGORY SANCTIONS
     A Initiate criminal proceedings
     B. Disciplinary transfer (recommend)
     C. Disciplinary Segregation (up to 60 days)
     D. Make monetary restitution, if funds are available
     E. Loss of privileges, e.g., commissary, vending machines, movies, recreation, etc




     Disciplinary System                           A-1                            December 2, 2008




                                                                                          GEO-MEN 00063149




                                                                                              APP. 212
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023         Page: 216
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 54 of
                                       65
                                               Attachment A
                                      Prohibited Acts and Sanctions



                                "HIGH" OFFENSE CATEGORY


                                         PROHIBITED ACTS


     200 Escape from unescorted activities open or secure facility, proceedings without violence
     201 Fighting, boxing, wrestling, sparring, and any other form of physical encounter,
     including horseplay, that causes or could cause injury to another person; except when part
     of an approved recreational or athletic activity
     202 Possession or introduction of an unauthorized tool
     203 Loss, misplacement, or damage of any restricted tool
     204 Threatening another with bodily harm
     205 Extortion, blackmail, protection, demanding or receiving money or anything of value in
     return for protection against others, avoiding bodily harm, or avoiding a threat of being
     informed against
     206 Engaging in sexual acts
     207 Making sexual proposals or threats
     208 Wearing a disguise or mask
     209 Tampering with or blocking any lock device
     210 Adulteration of food or drink
     211 Possession, introduction, or use of narcotics, narcotic paraphernalia, or drugs not
     prescribed for the individual by the medical staff
     212 Possessing an officer's or staff member's clothing
     213 Engaging in or inciting a group demonstration
     214 Encouraging others to participate in a work stoppage or to refuse to work
     215 Refusing to provide a urine sample or otherwise cooperate in a drug test
     216 Introducing alcohol into the facility
     217 Giving or offering an official or staff member a bribe or anything of value
     218 Giving money to, or receiving money from, any person for an illegal or prohibited
     purpose, such as introducing/conveying contraband
     219 Destroying, altering, or damaging property (government or another person's) worth
     more than $100
     220 Being found guilty of any combination of three or more high moderate or low moderate
     offenses within 90 days
     221 Signing, preparing, circulating, or soliciting support for prohibited group petitions


     Disciplinary System                          A-2                             December 2, 2008




                                                                                         GEO-MEN 00063150




                                                                                             APP. 213
 Appellate Case: 22-1409           Document: 29-2           Date Filed: 01/23/2023          Page: 217
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 55 of
                                       65
                                                Attachment A
                                       Prohibited Acts and Sanctions


     222 Possessing or introducing an incendiary device, e.g., matches, a lighter, etc.
     223 Any act that could endanger person( s) and/or property
     *298 Interfering with a staff member in the performance of duties (conduct must be of
     highest severity). This charge is to be used only when no other charge of highest severity
     is applicable.
     *299 Conduct that disrupts or interferes with the security or orderly operation of the facility
     (conduct must be of highest severity). This charge is to be used only when no other charge
     of highest severity is applicable.


     *When the prohibited act is interfering with a staff member in the performance of duties
     (Code 198, 298, 398 or 498) or conduct that disrupts (Code 199, 299, 399 or 499), the
     Disciplinary Committee should specify in its findings the severity-level of the conduct, citing
     a comparable offense in that category. For example, "We find the act of to be of high
     severity, most comparable to Code 213, "engaging in a group demonstration."


                           "HIGH" OFFENSE CATEGORY SANCTIONS
     A Initiate criminal proceedings
     B. Disciplinary transfer (recommend)
     C. Disciplinary Segregation (up to 30 days)
     D. Make monetary restitution, if funds are available
     E. Loss of privileges, e.g., commissary, vending machines, movies, recreation, etc
     F. Change housing
     G Remove from program and/or group activity
     H. Loss of job
     I. Impound and store detainee's personal property
     J. Confiscate contraband
     K. Restrict to housing unit
     M. Warning




     Disciplinary System                           A-3                             December 2, 2008




                                                                                           GEO-MEN 00063151




                                                                                               APP. 214
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023         Page: 218
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 56 of
                                       65
                                               Attachment A
                                      Prohibited Acts and Sanctions



                           "HIGH MODERATE" OFFENSE CATEGORY


                                        PROHIBITED ACTS


     300 Indecent exposure
     301 Stealing (theft)
     302 Misuse of authorized medication
     303 Loss, misplacement, or damage of a less restricted tool.
     304 Lending property or other item of value for profit/increased return
     305 Possession of item(s) not authorized for receipt or retention; not issued through regular
     channels
     306 Refusal to clean assigned living area
     307 Refusing to obey the order of a staff member or officer's (may be categorized and
     charged as a greater or lesser offense, depending on the kind of disobedience: continuing
     to riot is Code 105--Rioting; continuing to fight Code 201--Fighting; refusing to provide a
     urine sample, Code 215.
     308 Insolence toward a staff member
     309 Lying or providing false statement to staff
     310 Counterfeiting, forging, or other unauthorized reproduction of money proceedings or
     other official document or item, e.g. security document, identification card, etc. (may be
     categorized as greater or lesser offense, depending on the nature and purpose of the
     reproduction, e.g., counterfeiting release papers to effect escape--Code 102 or 200).
     311 Participating in an unauthorized meeting or gathering
     312 Being in an unauthorized area
     313 Failure to stand count
     314 Interfering with count
     315 Making, possessing, or using intoxicant(s)
     316 Refusing a breathalyzer test or other test of alcohol consumption
     317 Gambling
     318 Preparing or conducting a gambling pool
     319 Possession of gambling paraphernalia
     320 Unauthorized contact with public
     321 Giving money or another item of value to, or accepting money or another item of value
     from anyone, including another detainee, without staff authorization


     Disciplinary System                          A-4                            December 2, 2008




                                                                                         GEO-MEN 00063152




                                                                                             APP. 215
 Appellate Case: 22-1409           Document: 29-2           Date Filed: 01/23/2023        Page: 219
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 57 of
                                       65
                                                Attachment A
                                       Prohibited Acts and Sanctions


     322 Destroying, altering, or damaging property (government or another person's) person's)
     worth more than $100
     *398 Interfering with a staff member in the performance of duties (offense must be of high
     moderate severity). This charge to be used only when no other charge in this category is
     applicable.
     *399 Conduct that disrupts or interferes with the security or orderly running of the facility
     (offense must be of high moderate severity). This charge is to be used only when no other
     charge in this category is applicable.
     NOTE: Any combination of high moderate and low moderate offenses during a 90-day
     period shall constitute a high offense.


                      "HIGH MODERATE" OFFENSE CATEGORY SANCTIONS
     A Initiate criminal proceedings
     B. Disciplinary transfer (recommend)
     C. Disciplinary Segregation (up to 72 hours)
     D. Make monetary restitution, if funds are available
     E. Loss of privileges, e.g. commissary, vending machines, movies, recreation, etc
     F. Change housing
     G Remove from program and/or group activity
     H. Loss of job
     I. Impound and store detainee's personal property
     J. Confiscate contraband
     K. Restrict to housing unit
     L. Reprimand
     M. Warning




     Disciplinary System                           A-5                           December 2, 2008




                                                                                         GEO-MEN 00063153




                                                                                             APP. 216
 Appellate Case: 22-1409           Document: 29-2           Date Filed: 01/23/2023          Page: 220
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 58 of
                                       65
                                                Attachment A
                                       Prohibited Acts and Sanctions



                           "LOW MODERATE" OFFENSE CATEGORY


                                         PROHIBITED ACTS


     400 Possession of property belonging to another person
     401 Possessing unauthorized clothing
     402 Malingering, feigning illness
     403 Smoking where prohibited
     404 Using abusive or obscene language
     405 Tattooing, body piercing, or self-mutilation
     406 Unauthorized use of mail or telephone (with restriction or temporary suspension of the
     abused privileges often the appropriate sanction)
     407 Conduct with a visitor in violation of rules and regulations (with restriction or temporary
     suspension of visiting privileges often the appropriate sanction)
     408 Conducting a business
     409 Possession of money or currency, unless specifically authorized
     410 Failure to follow safety or sanitation regulations
     411 Unauthorized use of equipment or machinery
     412 Using equipment or machinery contrary to posted safety standards
     413 Being unsanitary or untidy, failing to keep self and living area in accordance with
     posted standards
     498 Interfering with a staff member in the performance of duties (offense must be of low
     moderate severity). This charge is to be used only when no other charge in this category is
     applicable.
     *499 Conduct that disrupts or interferes with the security or orderly running of the facility
     (offense must be of low moderate severity). This charge is to be used only when no other
     charge in this category is applicable.




     Disciplinary System                           A-6                             December 2, 2008




                                                                                           GEO-MEN 00063154




                                                                                               APP. 217
 Appellate Case: 22-1409           Document: 29-2         Date Filed: 01/23/2023    Page: 221
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 59 of
                                       65
                                              Attachment A
                                     Prohibited Acts and Sanctions




                      "LOW MODERATE" OFFENSE CATEGORY SANCTIONS
     E. Loss of privileges, commissary, vending machines, movies, recreation, etc
     F. Change housing
     G Remove from program and/or group activity
     H. Loss of job
     I. Impound and store detainee's personal property
     J. Confiscate contraband
     K. Restrict to housing unit
     L. Reprimand
     M. Warning




     Disciplinary System                         A-7                        December 2, 2008




                                                                                    GEO-MEN 00063155




                                                                                       APP. 218
 Appellate Case: 22-1409          Document: 29-2           Date Filed: 01/23/2023            Page: 222
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 60 of
                                       65




                              VOLUNTARY WORK PROGRAM

     I. PURPOSE AND SCOPE.                  This Detention Standard provides detainees
     opportunities to work and earn money while confined, subject to the number of work
     opportunities available and within the constraints of safety, security and good order.
     While not legally required to do so, ICE/DRO affords working detainees basic Occupational
     Safety and Health Administration (OSHA) protections.
     This Detention Standard applies to the following types of facilities housing DRO detainees:
        •   Service Processing Centers (SPCs);
        •   Contract Detention Facilities (CDFs); and
        •   State or local government facilities used by DRO through Intergovernmental Service
            Agreements (IGSAs) to hold detainees for more than 72 hours.
     Procedures in italics are specifically required for SPCs and CDFs. IGSAs must
     conform to these procedures or adopt, adapt or establish alternatives, provided they meet
     or exceed the intent represented by these procedures.
     Some terms used in this document may be defined in the separate Definitions Standard.

     II. EXPECTED OUTCOMES. The expected outcomes of this Detention Standard are:
        1. Detainees may have opportunities to work and earn money while confined, subject
           to the number of work opportunities available and within the constraints of safety,
           security, and good order.
        2. Detainees will be able to volunteer for work assignments but otherwise not be
           required to work, except to do personal housekeeping.
        3. Essential operations and services will be enhanced through productivity from
           detainees.
        4. The negative impact of confinement will be reduced through less idleness, improved
           morale and fewer disciplinary incidents.
        5. Detainee working conditions will comply with all applicable federal, state, and local
           work safety laws and regulations.
        6. There will be no discrimination regarding voluntary work program access based on
           any detainee's race, religion, national origin, gender, sexual orientation, or disability.
        7. The applicable contents and procedures in this Standard will be communicated to
           the detainee in a language or manner which the detainee can understand.




     Voluntary Work Program                         1                               December 2, 2008




                                                                                            GEO-MEN 00063293




                                                                                                APP. 219
 Appellate Case: 22-1409          Document: 29-2          Date Filed: 01/23/2023          Page: 223
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 61 of
                                       65


     Ill. DIRECTIVES AFFECTED.           This Detention Standard replaces Voluntary Work
     Program dated 9/20/2000.
     This Detention Standard incorporates the requirements regarding detainees' being
     assigned to work outside of a facility's secure perimeter originally communicated via a
     memorandum to all Field Office Directors from the Acting Director of U.S. Immigration and
     Customs Enforcement (2/2/2004).

     IV. REFERENCES
         American Correctional Association 4th Edition, Standards for Adult Detention Facilities:
         4-ALDF-5C-06, 5C-08, 5C-11 (M), 6B-02.
        Environmental Health and Safety National Detention Standard
        Food Service National Detention Standard

     V. EXPECTED PRACTICES

        A. Voluntary Work Program
        Detainees who are physically and mentally able to work shall be provided the
        opportunity to participate in any voluntary work program.
        The detainee's classification level shall determine the type of work assignment for which
        he/she is eligible.
        Level 3 detainees shall not be given work opportunities outside their housing units/living
        areas.

        B. Work Outside the Secure Perimeter
        ICE detainees may not work outside the secure perimeter of local jails and facilities
        used under Intergovernmental Service Agreements.
        In SPCs and CDFs, only detainees classified as Level 1 (or the facility's equivalent
        "Low" custody designation) may work outside the secure perimeter on facility grounds.
        They must be directly supervised at a ratio of not less than one staff member to four
        detainees. The detainees shall be within sight and sound of that staff member at all
        times.

        C. Personal Housekeeping Required
        Work assignments are voluntary; however, all detainees are responsible for personal
        housekeeping.
        In SPCs and CDFs, detainees are required to maintain their immediate living areas in a
        neat and orderly manner by:
            •   Making their bunk beds daily,
            •   Stacking loose papers,
            •   Keeping the floor free of debris and dividers free of clutter, and


     Voluntary Work Program                        2                             December 2, 2008




                                                                                         GEO-MEN 00063294




                                                                                             APP. 220
 Appellate Case: 22-1409           Document: 29-2           Date Filed: 01/23/2023            Page: 224
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 62 of
                                       65


            •   Not hanging/draping clothing, pictures, keepsakes, or other objects from beds,
                overhead lighting fixtures, or other furniture.

        D. Detainee Selection
        The facility administrator shall develop site-specific rules for selecting work detail
        volunteers. These site-specific rules will be recorded in a facility procedure that will
        include a voluntary work program agreement. The voluntary work program agreement
        will document the facility's program and will be in compliance with this Detention
        Standard.
        In SPCs and CDFs, the primary factors in hiring a detainee as a worker shall be his or
        her classification level and the specific requirements of the job:
            •   Staff shall present the detainee's name and A-number to the shift supervisor or
                the requesting department head.
            •   The shift supervisor or department head shall review the detainee's classification
                and other relevant documents in the detainee's detention file and/or A-file.
            •    The shift supervisor or department head shall assess the detainee's language
                skills as it affects the detainee's ability to perform the specific requirements of the
                job under supervision. To the extent possible, work opportunities should be
                provided to detainees who are able to communicate with supervising staff
                effectively and in a manner that does not compromise safety and security.
            •   Inquiries to staff about the detainee's attitude and behavior may be used as a
                factor in the supervisor's selection.
        Staff shall explain the rules and regulations as well as privileges relating to the detainee
        worker's status. The detainee is required to sign a voluntary work program
        agreement before every new assignment. Completed agreements shall be filed in the
        detainee 's detention file

        E. Special Details
        Detainees may volunteer for temporary work details that occasionally arise. The work,
        which generally lasts from several hours to several days, may involve such tasks as
        digging trenches, removing topsoil and other labor-intensive work.

        F. Discrimination in Hiring Prohibited
        Detainees shall not be denied voluntary work opportunities on the basis of such factors
        as a detainee's race, religion, national origin, gender, sexual orientation or disability.

        G. Physically and Mentally Challenged Detainees
        While medical or mental health restrictions may prevent some physically or mentally
        challenged detainees from working, those with less severe disabilities shall have the
        opportunity to participate in the voluntary work program in appropriate work
        assignments.
            •   The selecting official must consider the precise limitations of a disabled individual
                before rejecting that individual for selected work assignments.


     Voluntary Work Program                          3                               December 2, 2008




                                                                                             GEO-MEN 00063295




                                                                                                 APP. 221
 Appellate Case: 22-1409           Document: 29-2          Date Filed: 01/23/2023           Page: 225
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 63 of
                                       65


            •   Expediency or convenience is insufficient justification to reject or "pigeonhole" a
                detainee who, with reasonable accommodation, can perform essential functions
                of the work assignment.
            •   In disputed cases, the selecting official shall consult medical personnel to
                ascertain the detainee's suitability for a given project.

        H. Hours of Work
        Detainees who participate in the volunteer work program are required to work according
        to a fixed schedule.
        In SPCs and CDFs, the normal scheduled workday for a detainee employed full time is
        a maximum of 8 hours. Detainees shall not be permitted to work in excess of 8 hours
        daily, 40 hours weekly.
        Unexcused absences from work or unsatisfactory work performance may result in
        removal from the voluntary work program.

        I. Number of Details in One Day
        The facility administrator may restrict the number of work details permitted a detainee
        during one day.
        In SPCs and CDFs, a detainee may participate in only one work detail per day.

        J. Facilities That Detain Criminal Aliens
        If the facility cannot establish the classification level in which the detainee belongs, the
        detainee shall be ineligible for the voluntary work program.

        K. Compensation
        Detainees shall receive monetary compensation for work completed in accordance with
        the facility's standard policy.
        In SPCs and CDFs, the compensation is $1.00 per day. Ordinarily, it is to be paid daily,
        unless the facility has a system in place that ensures detainees receive the pay owed
        them before being transferred or released.

        L. Removal of Detainee from Work Detail
        A detainee may be removed from a work detail for such causes as:
            •   Unsatisfactory performance;
            •   Disruptive behavior, threats to security, etc.;
            •   Physical inability to perform all functions required by the job, whether because of
                a lack of strength or a medical condition;
            •   Prevention of injuries to the detainee;
            •   A removal sanction imposed by the Institutional Disciplinary Panel for an
                infraction of a facility rule, regulation, or policy.



     Voluntary Work Program                        4                               December 2, 2008




                                                                                           GEO-MEN 00063296




                                                                                               APP. 222
 Appellate Case: 22-1409           Document: 29-2            Date Filed: 01/23/2023            Page: 226
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 64 of
                                       65


        When a detainee is removed from a work detail, the facility administrator shall place
        written documentation of the circumstances and reasons in the detainee detention file.
        M. Detainee Responsibility
        The facility administrator shall establish procedures for informing detainee volunteers
        about on-the-job responsibilities and reporting procedures.
        In SPCs and CDFs, the detainee is expected to be ready to report for work at the
        required time and may not leave an assignment without permission.
            •   The detainee shall perform all assigned tasks diligently and conscientiously.
            •   The detainee may not evade attendance and performance standards in assigned
                activities or encourage others to do so.
            •   The detainee shall exercise care in performing assigned work, using safety
                equipment and taking other precautions in accordance with the work supervisor's
                instructions.
            •   In the event of a work-related injury, the detainee shall notify the work supervisor
                who shall immediately implement injury response procedures.

        N. Detainee Training and Safety
        All detention facilities shall comply with all applicable health and safety regulations and
        standards.
        The facility administrator shall ensure that all department heads develop and institute, in
        collaboration with the facility's safety/training officer, appropriate training for all detainee
        workers.

        1. In SPCs and CDFs the voluntary work program shall operate in compliance with:
           • Occupational Safety and Health Administration (OSHA) regulations.
            •   National Fire Protection Association 101 Life Safety Code
            •   American Correctional Association Standards for Adult Local Detention Facilities,
                current edition
            •   International Council Codes (ICC)
            Each facility administrator's designee is responsible for providing every SPC and
            GDF in his or her jurisdiction access to complete and current versions of the
            documents listed above.
            The facility administrator shall ensure that the facility operates in compliance with all
            applicable standards.
        2. Upon a detainee's assignment to a job or detail, the supervisor shall provide
           thorough instructions regarding safe work methods and, if relevant, hazardous
           materials including:
                •   Safety features and practices demonstrated by the supervisor
                •   Recognition of hazards in the workplace, including the purpose for protective
                    devices and clothing provided, reporting deficiencies to their supervisors.
                    Staff and detainees that do not read English will not be authorized to work

     Voluntary Work Program                          5                                December 2, 2008




                                                                                               GEO-MEN 00063297




                                                                                                  APP. 223
 Appellate Case: 22-1409          Document: 29-2          Date Filed: 01/23/2023            Page: 227
Case 1:14-cv-02887-JLK-MEH Document 261-9 Filed 04/29/20 USDC Colorado Page 65 of
                                       65


                    with hazardous materials.
                •   A detainee shall not undertake any assignment before signing a voluntary
                    work program agreement that, among other things, confirms that the
                    detainee has received and understood training from the supervisor about the
                    work assignment.
            The voluntary work program agreement shall be placed in the detainee's detention
            file.
        3. For a food service assignment, medical staff, in conjunction with the Public Health
           Service, shall ensure that detainees are medically screened and certified before
           undertaking the assignment.
        4. The facility shall provide detainees with safety equipment that meets OSHA and
            other standards associated with the task performed.
        5. The facility administrator shall ensure that the facility operates in compliance with all
           applicable standards.

        0. Detainee Injury and Reporting Procedures
        The facility administrator shall implement procedures for immediately and appropriately
        responding to on-the-job injuries, including immediate notification of ICE/ORO.
        In SPCs and CDFs, if a detainee is injured while performing his or her work assignment:
            1. The work supervisor shall immediately notify the facility medical staff In the
               event that the accident occurs in a facility that does not provide 24-hour medical
               care, the supervisor shall contact the on-call medical officer for instructions.
            2. First aid shall be administered when necessary.
            3. Medical staff shall determine what treatment is necessary and where that
               treatment shall take place.
            4. The work supervisor shall complete a detainee accident report and submit it to
               the facility administrator for review and processing and file it in the detainee's
               detention file and A-file.


     Standard Approved:


        James T. Hayes, Jr. Isl                                121512008


     James T. Hayes, Jr.                                   Date
     Director
     Office of Detention and Removal Operations




     Voluntary Work Program                        6                               December 2, 2008




                                                                                           GEO-MEN 00063298




                                                                                              APP. 224
     Appellate Case: 22-1409   Document: 29-2   Date Filed: 01/23/2023   Page: 228




Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 1 of
                                       28




                        Exhibit W




                                                                          APP. 225
    Appellate Case: 22-1409    Document: 29-2    Date Filed: 01/23/2023   Page: 229
    Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 2 of
                                           28




                          The GEO Group, Inc.

                                  AURORAICE
                         PROCESSING CENTER


                        DETAINEE HANDBOOK
                         LOCAL SUPPLEMENT

Revised October 2013                                      Number:- - - - - - -
                                                       PL000029




                                                                                        APP. 226
 Appellate Case: 22-1409   Document: 29-2    Date Filed: 01/23/2023   Page: 230
Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 3 of
                                       28




                                                             PL000030




                                                                        APP. 227
       Appellate Case: 22-1409                            Document: 29-2   Date Filed: 01/23/2023                     Page: 231
      Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 4 of
                                             28




                            ICE Detainee Handbook                            SECTION 3-: CORRESPONDENCE (MAIL). VISITATION, A.NI! TELEI'HONE
                                                                                                      ACCESS
                           TABLE QF CONTENTI,
                                                                              A.    Correspondence {Mail)                                 8
A.   Introduction/Mission/Purpose                                             B.    Special Correspondence                                8
                                                                   2
B.   Facility Address, Telephone Number, and Directions                       C.    Indigent detainees                                    8
                                                                   2
C.   Rights and Responsibilities                                   3
                                                                              D.    Incoming Mail                                         9
                                                                              E.    Non - Legal Mail                                      9
                                                                              F.    Legal Mail                                            9
                     SECTION I - INITIAL ADMISSION
                                                                              G.    Change of Address                                     9
                                                                              H.    Limitations on Publication                            9
A.   Detainee Phone Calls - Booking                                4          I.    Outgoing Mail                                         9
B.   Booking                                                       4          1.    Visitation                                            9
C.   Classification                                                4          K.    Contact Visitation                                    10
D.   Housing and Uniforms                                          4          L.    Telephone Access                                      11
E.   Aurora Detention Center - JD                                  4          M.    Unused Phone Time                                     12
F.   Property you may Take to the Donn                             5
G.   Personal Property Storage                                     5       SECTION 4 - DETAINEE SERVICES
H.   Money!Property Release                                        5
I.   Release of Funds                                              5          A.    Recreation                                            12
J.   Filling Claims                                                5          B.    Television                                            12
K.   Property Left Upon Discharge'Transfer                         5          C.    Smoking Policy                                        13
L.   Items Left for Detainees                                      5          D.    Education                                             13
M.   Return of your Money                                          6          E.    Food Service                                          12
N.   Money Transactions                                            6          F.    Religious Diets                                       13
0.   Orientation Video                                             6          G.    Health Care                                           13
P.   Pro Bono hnmigration Law Video                                6          H.    Sick Call                                             13
Q.   Detainee Work Program {Voluntary)                             6          I.    Staff Assistance                                      14
R.   Detainee Dress Code                                           6          J.    Health Assessment                                     14
                                                                              K.    Medical Requests                                      14
      SECTION 2- ACCESS TO COURT, ICE AND LAW LIBRARY                         L.    Personal Medication                                   14
                                                                              M.    Eye Care                                              13
A.   Immigration I.aw Library Material                             6          N.    Facility Prescribed Medication                        13
B.   Hours of Access                                               7          0.    Refusing Medical Treatment                            14
C.   Replacing Damaged Materials                                   7          P.    Communicable Disease Guidelines                       15
D.   Supervision                                                   7          Q.    Medical Diets                                         15
E.   Updating Legal Materials                                      7           R.   Barbering Services                                    15
F.   Request for Additional Legal Materials                        7         . S.   Laundry Service                                       14
G.   Photocopying of Legal Documents                               7           T.   Religious Services                                    15
H.   Illiterate and Non-English Speaking Detainees                 7           U.   Detainee Library Services                             16
I.   Detainee Retention of Persom;J Legal Materials                7          V.    Commissary                                            16
J.   Law Library Access for Segregation/SMU                        7          w.    Maniage Request                                       16
K.   Attorney Visitation                                           8
L    Requests to Immigration and Courts                            8                                     SECTIONS-SANITATION
M.   Legal Communication                                           8
N.   Retaliation Prohibited                                        8          A.    Personal Hygiene                                      16
0.   Notary Public                                                 8          B.    Living Area/Bed Assignments                           16
P.   Envelopes and Stamps for Legal Documents                      8          C.    Housing Unit Sanitation                               17
                                                                              D.    Day Space                                             17

                                                                                               SECTION 6 - GRIEVANCE PROCEDURES

                                                                              A.    Filing a Grievance                                    17
                                                                                     PL000031                                                  1




                                                                                                                                        APP. 228
          Appellate Case: 22-1409                                  Document: 29-2                   Date Filed: 01/23/2023                             Page: 232
          Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 5 of
                                                 28




             SECTION 7       DETAINEE & STAFF SAFETY & SECURITY                                      A copy of this supplement will be issued to each detainee upon intake, and certain sections are
                                                                                                     posted on the bulletin boards in each housing unit. All detainees are required to acknowledge,
    A.  Personal Safety                                                                   18         by signature, receipt of this supplement.
    B.  Attempted Escapes                                                                 18
    C.  Commission of a Crime                                                             18        The infonnation contained in this supplement applies to all detainees and is intended to ensure
    D.  Destruction of Property                                                           18        your safety and the safety of staff, decent living conditions, fair treatment, and the protection of
    E.. Official Counts                                                                   19        your rights. It is the policy of this facility that no individual be discriminated against because
    F. Contraband                                                                         19        of age, sex, sexual orientation, race, color, creed, religion, physical challenges (handicap),
    G. Authorized Items                                                                   19        National origin or political beliefs.
    H. Prison Rape Elimination Video                                                      19
    I.  Sexual Assault                                                                    19         The detention staff is charged with the responsibility of maintaining your safety and security,
    J.  Report all Assaults                                                               19         to provide an appropriate professional response to your needs and to maintain the safe and
    K. Definitions of Sexual Assault Detainee on Detainee                                 20         orderly running of the facility. The stafti'detainee relationship is very important to everyone's
    L. Definitions of Sexual Assault Staff on Detainee                                    20         well being, and each detainee has an important role in maintaining and improving this
    M. Prohibited Acts                                                                    20         relationship.
    N.  Detention as a Safe Environment                                                   20
    0. Avoiding Sexual Assault                                                            20                     FAClLITY ADDRESS. TELEPHONE NUMBER & DIRECTIONS
    P. The Emotional Consequences of Sexual Assault                                       21
                                                                                                                                  AURORA DETENTION CENTER
          SECTION 8       DISCIPLINARY PROCEDURE/PROHIBITED ACTS                                                                     3130 N. OAKLAND STRET
                                                                                                                                  AURORA, COLORADO 80010-1525
     A.   Investigation                                                                    21                                       303-361-6612 or 303-739-8700
     B.   Unit Disciplinary Committee (UDC)                                                21
     C.   Institutional Disciplinary Panel (IDP)                                           22
     D.   Staff Representation                                                             22                                                ICE/ERO
     E.   Postponement of Disciplinary Proceedings                                         22                                       3130 N. OAKLAND STREET
     F.   Duration of Punishment                                                           22                                     AURORA, COLORADO 80010-1525
     G.   Documents                                                                        23
     H.   Confidi:.ntial Information                                                       23                                                 DIRECTIONS:
     I.   Disciplinary Severity Scale & Prohibited Acts                                    23
     J.   Appeal Procedures                                                                26
                                                                                                     11,e Aurora Detention Center is located 1.1 miles south of I-70 and 1.4 miles north of Colfax
     K.   Administrative Segregation Order                                                 26
                                                                                                     Avenue.

                                                                                                     Exit 1-70 onto Peoria Street, south, go approximately 1.1 miles to East 301h Avenue, tum right
                                INTRODUCTION/MISSION
                                                                                                     (west) on 301h Avenue and proceed approximately 1 block. Tum right onto North Oakland
                                                                                                     Street. The facility will be on the right side of the street. Parking for visitors (i.e. family or
The Aurora Detention Center is a private detention facility operating under a contract with the
United States Immigration and Customs Enforcement. (I.C.E). the mission of this facility is to       mends) is available on 301h Avenue orN. Oakland Avenue.
provide a safe, clean, and sanitary environment for detainees waiting processing of their
administrative hearings and the staff who work here.                                                 If traveling north on Peoria Street, go to East 301h Avenue, tum left (west), and go
                                                                                                     approximately l block. The distance from Colfax and Peoria streets is approximately 1.4
This supplement, with rules and regulations contained herein, is adopted and enacted by the          miles.
Aurora Detention Center Administration pursuant to written guidelines, laws, rules and
regulations. Please read it carefully. If you have any questions concerning any aspect of this       It is imperative that you notify your family, friends or anyone who might visit, provide you
handbook, please contact a staff member for clarification.                                           money or want to leave a telephone number message, of your name and A-number. GEO staff
                                                                                                     is not responsible for any fonn of miscommunication resulting from an incomplete detainee's
The purpose of this supplement is to explain the specific rules, regulations, policies and           name or inaccurate A-number. GEO staff cannot provide you're A# over the telephone to
procedures that must be followed by detainees while in custody at this facility. The                 those that request it.
supplement will also help provide you with a general overview of the programs, rules,
regulations, and services of the facility. You will be held accountable for your actions while in
custody at this facility. Therefore, it is each detainee's responsibility to become familiar with
the contents of this supplement.
                                                                                                               PL000032                                                                                   2




                                                                                                                                                                                              APP. 229
               Appellate Case: 22-1409                                   Document: 29-2              Date Filed: 01/23/2023                               Page: 233
              Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 6 of
                                                     28



RIGHTS AND RESPONSIBILITIES                                                                         You have the right to reading material for educational purposes and for your own enjoyment.

You have the right to expect that as a human being all personnel will treat you respectfully,       It is your responsibility to seek out and use materials for your benefit, without depriving others
impartially, fairly, and humanely.                                                                  of the same benefit.

You have the right to participate in educational classes, vocational training, and work as far as   You have the right to use the law library reference materials to help you resolve legal
resources are available and in keeping with your interests, needs, custody status, physical and     problems. You also have the right to receive help when it is available through a legal
mental health condition and abilities.                                                              assistance program.

You have the responsibility to take advantage of activities that may help you live a successful     It is your responsibility to use these resources according to the prescribed procedures and
and law-abiding life here in this facility, as well as when you return to the community. You        schedules, and to respect the rights of others to use the materials.
will be expected to follow the regulations governing these activities.
                                                                                                    You have the right to an administrative hearing before an Immigration Judge to detennine your
You have the right to be infonned of the rules, regulations, procedures and schedules of the        status in the United States.
facility that affect you.
                                                                                                    You have the responsibility to seek methods of payments for your bond.
You have a responsibility to know and abide by the rules, regulations, procedures and
schedules of the facility.                                                                          You have the right to apply for political asylum if you believe that you will be persecuted
                                                                                                    because of your race, religion, nationality, membership in a social group or political opinion.
You have the responsibility to treat others, both employees and detainees, in the same manner.
                                                                                                    You have the responsibility to prepare and submit the proper form accurately.
You have the right to freedom of religious affiliations and voluntary religious worship.
                                                                                                    You have the right to receive as correspondence any material reasonably necessary to present
You have the responsibility to recognize ,md respect the voluntary rights of others in this         your legal claim..
regard.
                                                                                                    You have the responsibility to request from the Libracy Officer all special mailing envelopes.
You have the right to health care which includes nutritious meals, proper bedding and clothing,
a laundry schedule for clean bedding and clothing, an opportunity to shower regularly, proper       You have the responsibility to prepare all special mailing envelopes accurately and keeping all
ventilation for warmth and fresh air, a regular exercise period, toilet articles, and medical and   tracking numbers and receipts.
dental treatment.
                                                                                                    You have the responsibility to inform persons dropping off legal material for use in your legal
You have the responsibility to not waste food, follow laundry and shower schedules, maintain        claim of procedures and hours.
neat and clean living quarters, keep your area free of contraband, and seek medical and dental
care as you need it.                                                                                You have the right to request voluntary departure, if statutorily eligible, prior to a hearing but if
                                                                                                    you request voluntary departure you waive the right to a hearing.
You have the right to unrestricted and confidential access to courts by correspondence.
                                                                                                    It is your responsibility to inform an Immigration Officer that you request voluntary departure.
You have the responsibility to present honesty and fairly your petitions, questions, and
problems to the courts.                                                                             You have the privilege of communication. You can communicate with the consulate or
                                                                                                    diplomatic officers of the country of your nationality in the United States.
You have the right to legal counsel from an attorney of your choice by means of interviews and
correspondence at no cost to the United States Government.                                          You shall not be harassed, disciplined, punished, or otherwise retaliated against for filing a
                                                                                                    complaint or grievance.
It is your responsibility to obtain and use services of an attorney honestly and fairly.

You have the privilege to have family and fiiends visit with you in keeping with the facility
rules and regulations.

It is your responsibility to conduct yourself properly during visits, not to accept or pass
contraband, and not violate federal, state or local laws or the policies of the Aurora Detention
Center.

                                                                                                                 PL000033                                                                             3




                                                                                                                                                                                                 APP. 230
             Appellate Case: 22-1409                                   Document: 29-2                  Date Filed: 01/23/2023                             Page: 234
            Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 7 of
                                                   28




SECTION l - INITIAL ADMISSION                                                                          Reclassification

PHONE CALLS DURING BOOKING                                                                             You may be reclassified any time and the classification level re-detennined; 111e fost re-
                                                                                                       assessment is completed 60 to 90 days after the date of the initial assessment. Subsequent
Upon your anival at the facility, while in intake, you will be issued a pin# card and will             reclassification assessments shall be completed at 90-120 day intervals. A special
receive a free 3 minute phone call. You will have 72 hours in which to use the free 3 minutes.         reassessment is completed within 24 hours before a detainee leaves disciplinary segregation
When you speak with family, mends and attorneys please advise them of your 'A' number and              and at any other time when additional relevant information becomes known. The officer
location (Aurora) as lthis will make it easier for them to locate you.                                 assigned to classification will respond to requests for reclassification within 72 hours. A Kite
                                                                                                       for reclassification consideration needs to be addressed to the Classification Officer.
BOOKING
                                                                                                       Any detainee may be reclassified to High if the behavior and threat to the facility, other
                                                                                                       detainees, and personnel is articulated.
You are required to amswer questions designed to identify individual characteristics and to aid
the facility staff in your proper classification into the institution during the booking process. In
addition, you will be photographed. Other information pertaining to you may also be gathered           Detainees classified at Medium who exhibit acceptable institutional behavior may be reviewed
during the booking process.                                                                            and reclassified to Low. (Detainee must be in custody for a minimum of 60 days before
                                                                                                       reclassification.)
You will be screened for medical problems. It is important that you answer all questions
truthfully and accurately.                                                                             Classification Appeal

During the screening process, you may sign a "Consent to Refuse Medical Treatment." as you             All new anivals classified as level two or three may appeal their classification decision through
have the right to refuse medical treatment at any time.                                                the detainee grievance system. All such appeals will be directed to, investigated, and
                                                                                                       reconsidered by Classification.
You will be infonned of the procedure to follow in order to obtain subsequent medical
attention. If you have a medical problem and do not know what the procedure is.ask a                   HOUSING AND UNIFORMS
detention officer or other staff member.
                                                                                                       You will be placed in Jiving quarters based upon your present classification. Female detainees
CLASSIFICATIOJS:                                                                                       will be detained in a housing unit separate from males.

                                                                                                       Housing units for females are dormitory style which provides separate areas for sleeping,
Classification Information
                                                                                                       activities, restrooms, and showers. Housing units for males are cells that house four or eight
                                                                                                       detainees with a sink and toilet inside each cell. A separate area for showering and activities is
Staff shall use the most reliable, objective information during the classification process.
"Objective" infonnation refers to facts, i.e.., current offense, past offenses, escapes,               available in each unit.
institutional disciplinary history, violent episodes/incidents, medical information or a history of
victimization, etc.                                                                                    Following the booking process, you will be issued clothing consisting of2 uniforms, 5 pair of
                                                                                                       undergarments, l gym shirt, I pair of shorts, I pair of shower shoes, tennis shoes, two sheets, 1
                                                                                                       pillow case, l blanket, 1 towel, I toothbrush, toothpaste, soap, hand lotion, comb, and
Classification Levels and Housing Assignments
                                                                                                       headphones for the televisions. Long sleeve shirts will be provided from October to April.
You will be housed according to your classification level.
                                                                                                        Female detainees will be provided 3 bras, and necessary feminine hygiene items in addition to
                                                                                                       the above. lt is your responsibility to wear the uniform as directed by staff, which includes
Classification Levels
                                                                                                       wearing a Wristband.
      a.    Low Custody- may include detainees with minor criminal records and nonviolent
                                                                                                       The classification process detennincs the appropriate level of custody for each detainee. Once
            felonies
                                                                                                       this is established, staff can issue the detainee clothing and wristband in the appropriate color
                                                                                                       for his or her classification period.
      b.    Medium Custody- includes detainees with criminal records violent felonies
                                                                                                        Dark Red - High Custody
      c.    High Custody- includes detainees with serious offense history, escape history,
                                                                                                        Bright Orange - Medium Custody
            pattern of assaults and/or serious institutional disciplinary convictions
                                                                                                        Dark Blue - Low Custody



                                                                                                                   PL000034                                                                               4




                                                                                                                                                                                                APP. 231
              Appellate Case: 22-1409                                  Document: 29-2              Date Filed: 01/23/2023                                Page: 235
             Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 8 of
                                                    28



AURORA DETENTION CENTER - ID                                                                       MONEY/PROPERTY RELEASE

All detainees will be issued a facility Identification Wristband. "The wristband must remain on    You may release all of your property, including your keys and/or money to someone in the
his or her wrist until removed by an officer, and that disregarding this requirement could lead    community that you designate in writing. To release your property, a Property Release Form
to disciplinary action" Your Identification Wristband provides you access to certain serv:ices,    must be filled out and signed by you. A Property Release Form may be obtained upon request
i.e.., commissary, library, medical services. Ifyou lose, damage or destroy your Identification    from the housing unit officer assigned to your housing unit.
Wristband it is your responsibility to contact a housing unit offrcer and notify them that you
need a replacemenL You may be required to pay for the replacement of your                          The person receiving your property must provide the following information: If the person
Identification Wristband.                                                                          does not have the following information, your property will not be released to them. It is your
                                                                                                   responsibility to advise the party picking up your property that this information is
PROPERTY YOU MAY TAKE TO THE HOUSING UNIT
                                                                                                   required.

The following is a list of property that you may take into the housing unit:
                                                                                                         •     Name
                                                                                                         •     Address
      •    Legal documents and papers, including property receipts
                                                                                                         •     Date of Birth
      •    Family pictures (not to exceed 10) measuring 5"x7'' or smaller                                •     Official/Valid Picture ID or verifiable identification
      •    l pair of prescription glasses -regular (no sunglasses)
           Dentures - upper, lower or both plates                                                  RELEASE OF FUNDS FOR OUTSIDE PURCHASES, FEES, AND OTHER SERVICES
      •    Personal address book or pages
      •    Wedding band- plain, no stones                                                          Detainees will use a Property Release Form in conjunction with a Detainee Request Form to
      •    Religious and secular reading material (softbound)                                      request detainee withdrawals from their account The detainee accounts clerk or designee will
      •    Small religious item, i.e. religious medallion                                          review the request for proper approval and completeness also verifying the detainee name and
           Materials authorized in writing by the Chief of Security                                A number issued. The release form must be signed by the detainee and the housing unit
                                                                                                   officer.
PERSONAL PROPERTY STORAGE
                                                                                                   PROPERTY LEFT UPON DISCHARGE/TRANSFER
To protect the property of all detainees, you are not permitted access to your stored personal
property except when your requests have been approved by the Intake Officer to obtain legal        You are required to either take your property with you or make prior arrangements for transfer
paper work only. You may have access to pictures, cards, papers, or other items approved by        or disposal of it when you discharge from this facility.
staff out of your wallet or purse, during the admission process, while in the Intake area;
however, once you sign surrendering your property to the property section, you lose this           ff you leave property, a written notice will be sent certified mail to the last known address you
option.                                                                                            provided, notifying you that your property has been considered abandoned and that you have
                                                                                                   30 days to make arrangements to contact Immigration and Customs F.nforcement to claim your
No alcoholic beverages tobacco products or perishable food items will be stored or permitted       property. If there is no claim, the property will be vested in the U.S. Government and
in this facility. For safety reasons. matches cigarette lighters tobacco products and other        Immigration and Customs Enforcement shall direct its disposal.
disposable safety hazards will not be stored in this facility. Such items will be disposed of
after you are placed into the facility population.                                                 ITEMS LEFT FOR DETAINEES

All detainee requests for property must be pre-approved by ICE. The ICE pre-approved               The Q!ll'. items that may be brought to the facility for you are:
clothing requests may be brought to the facility for detainees but the combined total weight of
what you already have in intake property storage and what is being brought/sent in cannot                     ICE pre-approved clothing request (40 lbs. total) only in the event of deportation
exceed 40 lbs. The 40 lbs. is the maximum amount of weight a detainee can have of property               •    Money for detainees will only be accepted Monday-Friday from l :30-2:30 p.m.
and clothing. All property must fit in the 14"x 14" x 19" size property box or equivalent size                Legal documents may be left for detainees, staff will inspect the documents for
suit case but nothing larger. The property being dropped off for detainees should be clothing                 contraband but will not read the documents.
only. No valuables allowed, i.e. no jewelty, computers, cell phones, etc.
We encourage family and friends to bring the property already boxed up, but not sealed, so it      Money that is received at this facility will be credited to your account. If someone leaves
can be inspected and inventoried before h's accepted, although clothing may be mailed in as        money for you at the facility, a receipt will be written and a copy given to you. No personal
well Detainee visitors may bring authorized property on Sunday, Monday, Tuesday and                checks will be accepted at the facility.
Thursday's from 09:00 a.m. to 7:00 p.m. All property must have prior approval from ICE and
the front lobby officer must have the authorization via kite before accepting any property, This   Deposits on your account must be in the form of U.S. currency, Postal or Western Union
is a one-time request only.                                                                        money orders, cashier's checks, or checks payable to you from a local, Stale or Federal agency.

                                                                                                                PL000035                                                                           5




                                                                                                                                                                                             APP. 232
              Appellate Case: 22-1409                                  Document: 29-2              Date Filed: 01/23/2023                              Page: 236
            Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 9 of
                                                   28




                                                                                                   DETAINEE WORK PROGRAM <VOLUNTARY}
RETURN OF YOUR MONEY
                                                                                                   The center utilizes detainees to perform such functions as painting, food services, laundry
Upon discharge or transfer from this facility, all money remaining on your account will be         se1vices, barbershop and sanitation.
returned to you.
                                                                                                   All work is done on a voluntary basis, except that work which is customarily required for
NOTE: lf the facility is unable to return your property to you due to loss, theft, or              cleaning yow· living area.
misplacement, and for which you have a legitimate property receipt, the facility staff will
reimburse you for the missing personal property, money and/or valuables. ln the event this         TI1e Classification Otlicer selects and assigns workers to job vacancies. Your classification
situation occurs, you must fill out a Property Claim Form and provide a copy of your receipt(s)    level, criminal history, escape history and medical status will be used to determine if you are
with.the fom1.                                                                                     eligible to work and if eligible, the type of work assignment for which you are eligible.

PROCEDURES FOR FILING A CLAIM FOR LOST OR DAMAGED PROPERTY                                         You may be removed from a work detail for such causes as:

If property is missing or damaged a Property Claim Form or 1-387 will be provided to the
detainee and will be thoroughly investigated. A detainee being transferred, released, or
                                                                                                        •     Disruptive behavior, threats to security, etc .

removed from the country with a property claim shall be allowed to initiate the claim before            •     Unsatisfactory job perfom1ance
                                                                                                              Infraction of a facility rule, regulation or policy, leading to removal from a work
leaYing the facility. The facility administrator shall forward the result of the claim to the
                                                                                                              detail as a sanction imposed by a disciplinary proceeding tlJIDugh the Institutional
claimant's forwarding address (provided upon admission or in conjunction with the claim).
                                                                                                              Disciplinary Panel (IDP) or Unit Disciplinary Committee (UDC)
                                                                                                              Physical inability to perform all functions required by the job, whether because of a
MONEY TRANSACTIONS
                                                                                                              lack of strength or a medical condition.
                                                                                                              You may be removed from a work detail to prevent future injuries.
There \\ill be no financial transaction between detainees unless approved by the Warden. You
must be a verified rrlative or spouse in order to be considered for a transfer of money between    You will receive an orientation to your job assignment by your job supervisor. You will be
detainees. If you meet the criteria, you must submit a written request to the Warden that          asked to sign a statement that you have received the orientation and that you understand the job
provides sufficient information (reason for the request and supporting information).               requirements. If you refuse to sign the statement, you will be removed from the job
                                                                                                   assignment.
You are not allowed to have any money in your possession while in the facility i.e. cash, coins,
checks or money orders.                                                                            lfyou are injured on your job assigrunent, you are to immediately report the injury to your
                                                                                                   detail supervisor.
ORIENTATION VIDEO
                                                                                                   Depending cin the jobs, you arc required to wear the proper uniform and/or safety related
The facility will show you an orientation video in the Intake area during your initial             equipment as told to you by your supervisor.
processing.
                                                                                                   DETAINEE DRESS CODE
PRO BONO IMMIGRATIONLAWVllDEO
                                                                                                   You .are required to have your full uniform on whenever you are outside your housing unit
You will be shown a legal video provided by the American Immigration Lawyers Association           when going to court, visitation, and church services etc, except to recreation at which time a
during your initial processing. In addition, you may request these immigration law materials       t-shirt and shorts will be allowed. When you are inside the housing unit, you are also required
anytime in the future, by using the packet request form available to you in tbe housing unit or    to put on your t-shirt, pants or shorts and shoes in the dayroom area.
Law Library. The list of detainees who will view the Pro Bono presentation is compiled by the
court. lfyou want to be placed on the list, submit a detainee request to the Programs              SECTION II
Coordinator.
                                                                                                   ACCESS TO COURT AND LAW LIBRARY
 A list of Pro Bono legal services is located on the bulletin board and the Talton
 Communication poster in the housing unit.                                                         IMMIGRATION LAW LIBRARY MATERIAL

                                                                                                   The Jaw library is available for detainee use. If you would like to go to the law library fill out a
                                                                                                   detainee request form (kite).

                                                                                                    In addition to the computers, detainee handbooks, law dictionaries, legal research guides and
                                                                                                    writing materials are also available. The computers are for legal work only.
                                                                                                               PL000036                                                                               6




                                                                                                                                                                                              APP. 233
               Appellate Case: 22-1409                                   Document: 29-2             Date Filed: 01/23/2023                                Page: 237
               Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 10
                                                    of 28



LOCATION AND HOURS OF ACCESS                                                                                    records and at least one copy for your personal use will determine the number of
                                                                                                                photocopies required.
The law library is located in the North West hall way of the facility.
                                                                                                    ILLITERATE AND NON-ENGLISH SPEAKING DETAINEES
The facility law library can be accessed Monday- Friday from 7:30am- lO pm with the
exception of count times and religious services. This will enable all detainees regardless of       Unrepresented illiterate and non-English speaking detainees who wish to pursue a legal claim
housing or classification to utilize.the law library on.a                                           related to their immigration proceedings or their detention will be provided with access to a set
                                                                                                    ofEnglish language law books and Language Line Service for limited English proficient
                                                                                                    detainees. Assistance will be provided as follows:                                 ·

You will not be required to lose your recreation time in ordertousethe.lawlibraty;                              Detainees will be assisted in the use of the law library and the drafting oflegal
                                                                                                                documents from other detairi~es who have appropriate language and reading/writing
REPLACJNGDAMAGED MATERIALS                                                                                      abilities.
                                                                                                          •     Assistance in contacting pro bono legal-assistance organizations from the
A list of law library holdings is posted in the library, The Law Li,brary Officer is responsible                Immigration and Customs Enforcement-provided list. TlzePro Bono list l~ posted
for the law library and will inspect the jaw Jibrary documents at least.weekly for missing or                   on the bulletin boards in all housing units.
damaged materials. You are.encouraged to report missing or damaged materials. Damaged or
missing materials will be promptly ordered and replaced.                                  ·         DETAINEE RETENTION OF PERSONAL LEGAL MATERIALS

SUPERVISION                                                                                         Detainees are permitted to retain all legal materials in both general population and
                                                                                                    Segregation!SMU provided such material does not create a safety, security or sanitation
The library staff will monitor your .use of legal materials to prevent misuse, damage or            hazard. Detainees with excess legal material will .be required to place such material in personal
destroying of legal materials and/or equipment You are not permitted to mutilate tit' destroy       property. storage. 1f you wish to access· the excess legal material, you must provide a request to
legal materials, equipment orto remove legal material or supplies :from the .law library.           the Chief6fSecuiity   fot the specific material you tieed t~ access. Your requestwill be
                                                                                                    answered within 24 hours.after tlie request is made, during designated hours, unless
UPDATING.LEGAL MATERIALS                                                                            docuinented'security concerns preclude .action within tlifa time frame.

This faciiity provides detainees with access 10 l.aw ¢aterials using Lexis~Ne.icis, a web-based     Detainees are allowed to utilize an electronic storage device provided by the library to save
research database that. provides up~to-date access to legal IJ1llterials .in.electronic fonnat.     their legal documents. It will be kept in a locked cabfoet in the libr;i.ty and they are not allowed
                                                                                                    in the·housing unit, but will be transferred to a disk given to the detainee upon his or her
                                                                                                    departure froin facility. At no time should information be saved on the library hard drive of the
This facility .subscribes to a law.Jibraiy updating service. Out-ofdate µiaterials will be
                                                                                                    computers. On a daily basis, all computers are checked and cleared of any information not
disposed of when replaced by new material. .Tmmigrati<:,n and Customs Enforcement will acid
                                                                                                    authoozed at the .closing of the libra
information on significant.statutory and regulatory changes regarding detention and
deportation or'aliens in a timely manner, and will provide initial copies to the facility.                                                                                                           J~
REQUEST FOR ADDITIONAL.LEGAL MATERIALS
                                                                                                    LAW LIBRARY ACCESS FOR SEGREGATION/SPECIAL MANAGEMENT UNlT
If you require additional legal material(s) not available.in the facility, you need to make a
request in writing to'the Program Coordinator, Requests:for copies of court decisions will
                                                                                                    Law library access for detainees housed in SEG/SMU is provided as follows:
normally be available within three{3) business days. If you are making unnecessary requests
for material not contained in the law library, the Administration will consult with Imrriigratfon        •     SMU - Detainees housed in Administrative Segregation have the same law library
and Customs Enforcement staff to determine appropriate action.                                                 access as·tbe general population, consistent with security. Detainees segregated for
                                                                                                               protection may be required to use the law library sepatatety from other detainees, or
PHOTOCOPYING OF LEGAL DOCUMENTS                                                                                where feasible, have legal materiar brought to them. The level of law library
                                                                                                               supervision provided will be based on an individual's behavior, attitude, custody
                                                                                                               level, separation needs or'other security concerns.
You can obtain photocopies oflegal materials when such copies are reasonable and necessary
for a legal proceeding. You need to request these copies using.a "kite" and state the number of          •     Disciplinary Segregation - Detainees housed in disciplinary segregaiion will be
copies you need.                                                                                               afforded the same legal access as the general population, 1mless security concerns
                                                                                                               require limitations. Access wil!be provided upon request. Violent and/or
     •     The number of copies made of documents to be filed with a particular court,                         uncooperative detainees will be temporarily denied access to the law library to
           combined by the number required for Immigration and Customs Enforcement                             maintain security, ·until sucl1 time as their behavior and attitude warrants resumed



                                                                                                                  PL000037                                                                            7




                                                                                                                                                                                                 APP. 234
               Appellate Case: 22-1409                                   Document: 29-2               Date Filed: 01/23/2023                             Page: 238
               Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 11
                                                    of 28



           access. In some circumstances, where feasible, legal material may be brought to           ENVELOPES AND STAMPS FOR LEGAL DOCUMENTS
           individuals in disciplinary segregation.
                                                                                                     If you are indigent, you may request envelopes from the officer assigned to your housing unit.
ATTORNEY VISITATION                                                                                  You may request stamps by submitting a Detainee Request Form (kite), along with the
                                                                                                     addressed, sealed envelopes to the Library/Mail Officer.
Legal assistants may meet with you during legal visitation hours provided that they produce a
letter of authorization from the legal representative under whose supervision they are working.      SECTION III
The letter must state that the named legal assistant is working on behalf of the supervising legal
representative. Pre-approved interpreters may accompany legal representatives and legal
                                                                                                     CORRESPONDENCE <MAIL), VISITATION, TELEPHONE
assistants on visits.
                                                                                                     ACCESSCORRESPONDENCE {MAlL)

Legal materials (lmµ.ted toha:{d;gppy,,_~~Jlll'!&.l.~';;p,p:~J~qpnfo;media) may be provided to you   Mail can be sent to you at this address:
during a legal visit. Staff will inspect the material for contraband, but will not read the
material.
                                                                                                     You're Name
                                                                                                     You're A Number
Legal visits authorized hours are from 8am to 9 pm, seven days per week.                             Aurora Detention Center
                                                                                                     3130 N. Oakland Street Aurora, Colorado 80010
REQUESTS FOR INFORMATION FROM IMMIGRATJlON AND CUSTOMS                                               Advise your correspondents to also address any special delivery, FedEx, UPS packets in
ENFORCEMENT OR THE COURT                                                                             this manner. If not there is a possibility that the mail could be returned due to a lack of a
                                                                                                     sufficient address or detainee Information.
If you wish to contact Immigration and Customs Enforcement or court, you will need to submit
a completed Detainee Request Form (kite) to request a service or information from the                SPECIAL CORRESPONDENCE
Immigration and Customs Enforcement. Each kite requires your name "A" number, housing
unit, the date and your signature. Print clearly on the Kite and submit one Kite for each            Special correspondence is defined as correspondence sent to or received from private attorneys
request. Questions about Court or for Immigration and Customs Enforcement should be                  and legal representatives, government attorneys, judges, courts, embassies and consulates, the
addressed to Immigration and Customs Enforcement, and1or Court, whichever is applicable, on          President and Vice President of the U.S., members of the U.S. Congress, the U.S. Department
the Kite. Place the kite in the mailbox labeled "ICE".                                               of Justice (including the Immigration and Customs Enforcement and the Office of the Inspector
                                                                                                     General), the U.S. Public Health Service, administrators of grievance systems, and
LEGAL COMMUNICATION                                                                                  representatives of the news media. Correspondence will be treated as special only: if the
                                                                                                     sender-for incoming correspondence or the addressee - for outgoing correspondence - the title
Mail service, attorney visitation and telephone calls are the primary means of access to legal       and office are CLEARLY identified on the envelope and the correspondence is labeled
representation and the courts. Interpretive services for essential communication to GEO, ICE         "Special". It is your responsibility to inform senders of special mail of this LABELING
and Courts will be provided upon request by submitting a Detainee Request Form (Kite).               REQUIREMENT.

Legal documents will be accepted seven days a week during the l1ours of I pm and 5pm.                Packages may not be sent or received without advance arrangement approved by the Warden
                                                                                                     or designee. You must submit a Detainee Request Form (kite) for approval to the Chief of
RETALIATION PROHIBITED                                                                               Security.

You have the right to present to the Court any legal issue regarding your immigration                Postage stamps may be purchased through the commissary.
proceedings, basis for your detention, or the conditions of your confmement.
                                                                                                     If you need writing implements, paper and/or envelopes, you may request these materials from
You will not be subjected to reprisals or penalties because of a decision to seek judicial relief    the officer assigned to your housing unit.
on any matter, including the legality of your confmemcnt; the legality of conditions or
treatment while under detention or an issue relating to your immigration proceedings; or an
allegation that the government is denying you rights protected by law.

NOTARY PUBLIC

A notary public is on-site for your assistance. lf you need a document notarized, submit a
Detainee Request Form (kite) to your housing unit officer. 11iere is no charge for this service.
Documents to be notarized are limited to commercial or household related matters only. The
facility has several notary publics in the facility who are available to assist you.
                                                                                                                   PL000038                                                                           8




                                                                                                                                                                                              APP. 235
                Appellate Case: 22-1409                               Document: 29-2                 Date Filed: 01/23/2023                               Page: 239
                Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 12
                                                     of 28



INDIGENT DETAINEES                                                                                   lt is your responsibility to have excess material placed into your property storage. Excess
                                                                                                     items, with the exception oflegal papers and personal coffespondence, will be confiscated as
If you are indigent ($15.00 or less consistently on your account for a period of seven (7) days      contraband and will be disposed of as the Warden deems appropriate. Legal papers and
or more), you will be permitted to mail the following:                                               personal correspondence will be placed in your locker for safe storage.

l.   An unlimited amount of special correspondence or legal mail within reason.                      Subscriptions to publications, magazines and catalogs are not allowed. The facility subscJibes
2.   Three (3) pieces for general correspondence upon request                                        to certain magazines that are available to you in the leisure library. Books must be requested in
                                                                                                     advance ,·ia a ''Request to Receive a Package or Property" form. The title(s) of the book(s)
Indigent postage in all cases is·generally limited to letters of one ow1ce or less. but.exceptions   must appear on the "Request" form. Books must come directly from the publisher or an
mav be made for mecial correspondence and may be made in compelling circumstances for                authorized bookstore/ outlet.
                                          You must submit a "kite" with the correspondence you
                                                                                                     OUTGOING MAJL

INCOMING MAIL                                                                                        All outgoing mail must be placed into ENVELOPES, SEALED, with the proper postage
                                                                                                     affixed, and placed in the designated mailboxes. All mail picked up by 9:00 a.m. will be sent
NON- LEGAL MAIL                                                                                      out the same day. If for any reason your outgoing mail is not sent, you will be informed and the
                                                                                                     reason why .it was not sent will be provided to you. There is no limit on the number of letters
All incoming mail will be opened, inspecled and/or read for .contraband. if necessary, in your       you may send out.
presence by staff. Non-legal mail will be (ead when the facility personnel have reason to
believe that said mail might present a threat to the facility's secure ororderly operation,          All outgoing mail must have a return address with your name; you're a number and the
endanger the recipient or the public or might facilitate criminal activity, such as containing       complete address of the facility clearly written on the envelope.
infom1ation related to an escape.attempt or otherUJegal activity: If, for any reason, your
con-espondence is withheld, you shall be informed in writing of thereason·such action has
been necessary. Incoming mail will be <listributed on the <lay it is delivered by the postal
service. Packages will be inventoried and inspected within 48 hours of delivery.

LEGAL MAIL

Incoming legal mail and special correspondence will be opened and inspected for contraband
                                                                                                     VISITATION
in your presence by staff unless waived in writing; however, legal mail .shall not be read or
withheld from you. This is inclusive ofletters from the. courts, counsel, officials of the
                                                                                                     Mil!i!~iai'~:65t~u~));{Jtfugf)i_"~I{tidone by unit. Visitors must have valid and verifiable
conftriing authority, othet govemmentofficials, and administrators of grievance systems and
                                                                                                     identification - a government issued photo identification card. A responsible adult must
members of the Parole Authority. It is your responsibilitv to advise thesimders, if they are
                                                                                                     accompany anyone under 18 years of age.
vour legal representatives or potential representatives. to clearly inark their mail as "Special
or legal" mail on tile envelope.                                                                     Visiting is as follows:

CHANGE OF ADDRESS                                                                                    Legal/Religious visits - authorized hours are from 8mn to 9pm, seven days per week. (Both
                                                                                                     shall provide proof of endorsement by the appropriate certifying body)
It is your responsibility to notify the postal service of your change of address should you be
transfen·ed or released. In most instances, mail received after you leave, will be returned to                  Monday         Tuesday      Wedne~day       1:hul'Sd;ty     Friday        Saturday        Sunday
sender.                                                                                                         Lwies           Martes       ~liercoles     Mien'oles       Viernes        Sab'ado       Domhiio
                                                                                                     A         None            0700l1300   None             None          0700cl300      0700-1300       None
                                                                                                     Units
LIMITATIONS ON POSSESSION OF PUBLICATIONS
                                                                                                     Bl&:2     0700-1300       None        None             0700-1300     None           None            0700-1300
                                                                                                     Uillfa
You are limited to the following number of items in your possession at any one time from the
                                                                                                     B3&4      None            1500-2100   None             1500-2100     None           None            1500-2100
leisure library:
                                                                                                     Units
                                                                                                     DUnlt     15Q0s!800       Norie       1500-1800        None          None           l800-2200       Non<l
           a.         Three (3) books- hard/soft cover
                                                                                                     SHU       None            None        0700-0900        None          1330°153()     1330-1530       None
           b.         Two (2) magazines
           c.         One Bible, Koran, or similar religious.publications
           d.         Other items approved by the Warden or designee


                                                                                                                                                                                                     9
                                                                                                                 PL000039




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               Appellate Case: 22-1409                                    Document: 29-2               Date Filed: 01/23/2023                             Page: 240
              Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 13
                                                   of 28




A detainee can only have one social v i s i t ~ for example if a detainee has a visit in               Male Visitors Age 12 and Older
the early evening, be/she cannot have another visit, later in the evening on tltat same
visiting day.                                                                                                     Shorts shall cover customarily covered areas of the anatomy, including the buttocks,
                                                                                                                  and crotch area when standing and/or sitting, Shorts no higher than mid-thigh
VISITING BETWEEN DETAINEES                                                                                        comply. Short-shorts.jogging shorts, cut-offs, and other obviously inappropriate
                                                                                                                  short garments are prolubited.
All visits between persons detained must have prior approval of both the Warden and the                           Shirts shall be worn at all times. Muscle shirts, bare midriff shirts and sleeveless
Immigration and Customs Enforcement staff. You must submit a "Kite" to the hnmigration                            shirts are prohibited.
and Customs Enforcement staff, requesting visitation and provide supporting documentation of                •     Shoes shall be worn at all times.
your relationship with the person for which the visiting has been requested. Immigration and                •     Gang ''colors: and other gang displays are prohibited.
Customs Enforcement will confer with the Warden and you will be advised of the decision in a
reasonable period of time.                                                                             CONTACT VISITS

VISITING RESTRICTIONS                                                                                  All requests for contact visits are to be submitted in writing via detainee request form.
                                                                                                       A contact visit is defined as a 30 minute visit between a detainee and any visitor, including
     •     All social visits are Non-contact visits.                                                   infants and children, where limited physical contact is allowed. Limited contact may include a
           If your visitors appear to be under the influence of alcohol/drugs, the Shift               brief embrace at the beginning, and upon completion of the visit.
           Supervisor will be notified and the visit will be tenninated.
     •     A maximum of2 visitors at a time (small children not included).                             CONDUCT DURING VISITATION
     •     All visitors are subject to search.
     •     Visitors are not allowed to pass or attempt to pass any item to you.                             a.    All conduct by both detainees and visitors shall be quiet and orderly.
           Children must be under control at all times.                                                     b.    Detainees and visitors shall remain in an upright position.
                                                                                                            c.    Detainees will be seated across from all adult visitors without physically touching
     •     Visitors are not allowed to chew gum in the facility.
                                                                                                                  their adult visitors, but may hold their own children.
     •     Visitors are not allowed to carry any items into the visiting area.
      •    If contraband is found on your visitors, such as drugs, alcohol, weapons, they will         The following conduct shall be prohibited:
           be subject to prosecution under CRS-l 8-8-20 l and 18-8-204.
                                                                                                            •    Exposure of genitals or breasts;
      •    TI1e Chief of Security must approve additional visitation time.                                  •    Lying on the floor or ground, upon seats or tables or under tables or attempting lo
                                                                                                                 conceal the visitor and/or detainee from staff;
VISITING RULES
                                                                                                            •    Touching any genital area, breast or buttocks, under or over clothing;
                                                                                                            •     Use of profanity, making loud noises, disturbing other detainees or visitors, creating
It is your responsibility to advise your visitors to follow tl1e visiting rules and all posted laws,
                                                                                                                 a mess or otheiwise being a nuisance in the visitation area;
rules, and regulations when they come to visit you. It is also your responsibility to follow all
of the visiting rules and regulations.
                                                                                                       Abuse of these privileges will not be tolernted and immediate suspension of a visit may occur
                                                                                                       for prolonged hugging and kissing, French kissing, or excessive displays of affection that
                                                                                                       disrupt the visiting envirorunent. The exposing of, or physical contact with. the clothed or
                                                                                                       unclothed sexual body parts of a detainee or a visitor will result in an immediate suspension of
Female Visitors Age 12 and Older                                                                       the visit and may result in denial of future visitation privileges.
            Shorts shall cover customarily covered areas of the anatomy, including the buttocks
            and crotch area, when standing and/or sitting. Shorts no higher than mid-thigh             Any disorderly conduct, which includes using hostile, vulgar, or profane language, unruly
            comply. Shmi:-shorts,jogging shorts, cut-offs, and other obviously inappropriate           behavior, engaging in activities that disrupt or disturb others, creating loud noises, creating
            short garments are prohibited.               ·                                             unsanitary conditions and which disrupts the orderly operation of the visiting room or offends
            Skirts and dresses shall extend to mid-thigh, seated.                                      others, is not permitted.
            Slits in skirts and dresses shall rise no higher then mid-thigh, seated.
            Sheer (see-through) clothing is prohibited.                                                Any attempt to circumvent the regulations outlined in policy statement may result in temporary
                                                                                                       or permanent suspension of visiting privileges or other administrative or legal remedy by the
            The top of clothing shall be no lower than the undcrann in front and back, bare
                                                                                                       Warden.
            midriffs and strapless tops, tube, and swimsuits are prohibited.
            Shoes shall be worn at all times.
                                                                                                       Upon completion of the visit, the detainee shall clean the area adequately.
            Gang ~colors"' and other gang displays are prohibited.
                                                                                                       Detainees will not be allowed to exchange any property with any of the visitors. Exchange of
                                                                                                       property may result in suspension or termination of family visits.

                                                                                                                   PL000040                                                                          10




                                                                                                                                                                                                APP. 237
              Appellate Case: 22-1409                                  Document: 29-2                Date Filed: 01/23/2023                               Page: 241
              Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 14
                                                   of 28




Detainees are not pennitted to take any personal items into the contact visitation room other        Detainees are personally responsible for maintaining their pin card in their locker.
than issued identification card. Legal paperwork is pennitted for contact visitation with legal
representatives.                                                                                     Phone time may be purchased based on funds available - minimum purchase is $5.00. Upon
                                                                                                     arrival, you will be given tl1e opportunity to request phone time. Phone time (based on your
Detainees needing to utilize the restroom during a visit will be escorted to the adjacent            funds) is applied to your account on the first business day following your arrival. Phone time
restroom with a pat-search being conducted prior to and after the movement.                          is not posted on weekends or holidays. You may request same day phone time up to 3:45 p.m.
                                                                                                     Monday thru Friday excluding holidays. Any time requested after 3:45 p.m. on Friday will be
                                                                                                     applied on the following business day.
DETAINEE TELEPHONE ACCESS
                                                                                                     You cannot use personal phone cards - only facility purchased time may be used.
Calls to "800," "888," "m"     and any other toll free numbers are not authorized and will not be
made. The authorized "87T'prefix is the one for contacting the Consulate office and the "800"        Your family and friends can leave you a voicemail by dialing (888) 516-0115 this will cost the
prefix DJS's OIG hotline #l-800-323-8603, or a 1-800 number that is verified by staff. in            person leaving the message $1.00 for each voiccroail.
advance of the call as legal is acceptable.
                                                                                                     Your family and mends can deposit funds on your phone account from the internet visit:
Any 1-800 number that is legal and verified as legal is acceptable.                                  www.Talton.net

No three way calling is allowed.                                                                     USING THE HOUSING UNIT PHONES

Your access to telephones will be suspended at count times, in the event of an emergency, and        Collect Calls: You need to dial (I) for English or (2) for Spanish directions followed by a (0),
when it is determined by staff to be necessary to protect the good running order and security of     then the area code and phone number of the person you wish to contact Once the number has
the facility. Telephone use time is limited to up to 20 minutes per call in order to provide         been dialed, a voice prompt will ask for your name.
telephone availability for all residents. During times of high use by housing unit residents, this
rule will be enforced.                                                                               Pre-Paid Card: For instructions in English press (I) for instructions in Spanish press (2). After
                                                                                                     pushing (1) or (2) follow the voice prompted instructions.
When you receive your pin number for the phone you must set up your voice recognition. To
do that you must do the following: State your name and GEO Aurora ICE clearly - Example:             INCOMING CALLS
John Doe at GEO you will be prompted several times to repeat this statement. You must use
the same words and tone when setting up your voice and at any time you desire to make a call.        Staff will take and deliver telephone messages to you as promptly as possible. If an emergency
                                                                                                     call is received for you, the caller's name will be taken and delivered to you as soon as
HEARING OR SPEECH IMPAIRED TELEPHONE                                                                 possible. You will be pennitted to return the emergency call as soon as reasonably possible
                                                                                                     within the constraints of security and safety. If you are indigent, staff will assist you in
A portable phone for the hearing or speech impaired that complies with the American                  returning the call.
Disabilities Act is available for use if needed. Complete a Detainee Request Form (kite) if you
require this service and send it to the Program Coordinator.                                         It is your responsibility to handle your telephone calls in a responsible· manner. If it is
                                                                                                     detennined that you are abusing this privilege, for example, having someone call in false legal
PRE-PAID PHONE TIME                                                                                  calls in order to circumvent regulations and this is discovered by staff, disciplinary action may
                                                                                                     be taken against you.
Phones are available in all living areas and Intake. These phones can be used for personal
calls. You must not interfere with another detainee's telephone privilege.                           DIRECT OR FREE CALLS

Pre-paid phone time may be ordered via 4 J l # on the housing unit phones.                           The telephone service generally available to detainees at this facility is limited to pre-paid time
                                                                                                     and collects calls. The facility shall provide detainees with the ability to make direct calls in
The phone time may be used to make national and international long distance calls in addition        the following circumstances:
to being used for all local calls.
                                                                                                          •     To consular officials.
The cost of the phone time will be deducted from your personal account Local and                                Emergency calls and other types of calls where a detainee can demonstrate a
international phone call rates are posted in your living area.                                                  compelling need to make a direct call, such as a family emergency.
                                                                                                                To the local immigration courts and the Board ofhnmigration Appeals.
Phone time cannot be turned in for money. When you leave the facility you will take your                        To Federal and State courts where the detainee is or may become involved in a legal
"Talton" pin card with you.                                                                                     proceeding.
                                                                                                          •     To a government office, to obtain documents relevant to his/her immigration case.
                                                                                                                  PL000041                                                                          11




                                                                                                                                                                                                 APP. 238
            Appellate Case: 22-1409                                  Document: 29-2                 Date Filed: 01/23/2023                             Page: 242
            Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 15
                                                 of 28




           Office of the Inspector General of the U.S. Dept. of Homeland Security at 1-800-
           323-8603                                                                                 Rules governing recreation are as follows:
           Legal representatives to obtain legal representation or for consultation when
           subjected to expedited removal.                                                                      Your housing unit will announce recreation.
     •     UN High Commissioner for Refugees (UNHCR) l-888-272-1913                                             Tennis shoes, shorts, and t-shirt must be worn.
                                                                                                                You will conduct yourself in an orderly fashion during recreation.
Detainees shall be provided with the ability to make direct or free calls to the following:                     No food or drink is permitted in the recreational areas.

I. Consulado de Mexico Denver                                                                       Detainees in Special Management Unit(SMU) for administrative or disciplinary reasons shall
2. Pro Bono Denver                                                                                  be offered at least two{2) hours of recreation or exercise opportunities per day, seven days a
3. Metro Volunteer Lawyers                                                                          week.
4. Catholic Jnunigration Services
5. Justice Information Center                                                                        TELEVISION
6. A Welcome Place (Utah only)
7. Wyoming Legal Services (Wyoming only)                                                             Detainees shall be provided a FM wireless radio and headset, and batteries for television
Providing access to a telephone that permits calls at no expense to you                              viewing. If you request a replacement radio, headphone or batteries you will be charged for it
                                                                                                     and the batteries can be purchased through commissary. Indigent detainees will be handled on
UNUSED PHONE TIME                                                                                    a case-by-case basis.

Upon departing the facility. you may have unused monies 1hat you have placed on the detainee         If you requested batteries from the business office you will have to exchange the old batteries
phone system. TALTON Communications is the company that Immigration and Customs                      for the new batteries with the housing unit officer. Exchanges are on a one for one basis and
Enforcement (lCE) has contracted with to provide service for the detainee population here.           you must tum in the same amount of batteries that you are receiving. 111e maximum amount
This company is separate and distinct from The GEO Group, and as such we have no control             that can be exchanged at any time is. two (2).
over their policies in this matter. TALTON will not consider a refund of phone monies until
you have departed the facility (release or removal). Upon departure you must call TALTON at          Television viewing hours will begin while break.fast is served. However clean up after
(866) 348-6231 and provide them with all requested information. Should the balance of your           breakfast must meet the satisfactory level of the officer to have the televisions turned on.
phone monies be less than $50.00 dollars, you will then be provided a prepaid phone card in
the ammmt owed. This prepaid phone card will be issued by TALTON in the form of a pin#               Detainees will be allowed to select the television programs they wish to watch. The housing
that you can use wherever you are located (provided you are not incarcerated). Should the            unit officer will supervise this activity to insure that it is fairly operated and not abused.
balance of your phone monies be $5().00 dollars or more, then TALTON will send you your              Abusive use will result in the housing unit officer taking action to discontinue TV viewing for
unused monies to the address you provide. The only exception to this would be if a credit card       a period of time.
was used to purchase phone time, then the refund of phone time would be credited directly to
the credit card used. Any further inquiries can be directed to TALTON through the phone              Televisions may be turned off by any staff member in conjunction with the Lieutenant at any
system by dialing 211#.                                                                              time if the detainees in the housing unit are uncooperative with regular operations which must
                                                                                                     occur in the housing unit, i.e., sanitation and maintenance work and/or if housing unit residents
 SECfIONIV         DETAINEESERVICES                                                                  become disorderly, violate security, etc., or if staff determine the need to protect the orderly
                                                                                                     and safe operation of the housing unit/facility. The television will be turned on once
The Aurora Detention Center provides various services to !he detainees that are designed to          cooperation and order is restored.
take care of basic health, religious and social needs. You will be expected to cooperate with the
staff during such times that you take advantage of these services.
                                                                                                     The televisions will be turned off at U:90 p.m. Sunday tlrrough Thursday and 12:00 a.m.
RECREATION                                                                                           Friday and Saturday. Headphones are provided to you to hear the televisions and must be
                                                                                                     tumed into your housing officer upon your release.
You will be afforded at least four-(4) hours a day, seven (7) days a week when housed in·
General Population. Recreation shall begin after morning count at 07:00 until 21 :30 pm.             All activities in the housing unit will cease when the televisions are turned off for the night.
Times are subject to change based on facility needs. You will be afforded the opportunity for        Detainees will clear the dayrooms and will go to bed. Detainees will not be permitted to sit in
recreation in the indoor/outdoor recreation areas, which is adjacent to each housing unit.           the dayroom or to walk around in the dayrooms once the televisions are turned off, thus
                                                                                                     allowing other residents the opportunity to sleep without distractions.
 A schedule of recreation activities shall be arranged to coincide with normal center operations.
 Recreational activities in the housing units are limited to television viewing, card and board      Detainees are not auth01ized television controls in any manner.
 games, reading, puzzles, self-directed activities such as drawing, limited exercise and ·
 occasionally, an event such as bingo for tb.e housing unit residents by the recreation staff.

                                                                                                               PL000042                                                                             12




                                                                                                                                                                                              APP. 239
             Appellate Case: 22-1409                                 Document: 29-2                 Date Filed: 01/23/2023                            Page: 243
            Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 16
                                                 of 28



Detainee in Administrative Segregation, not Disciplinary Segregation, will be offered                     •       Detainees will receive a medical exam (from the medical department) before
television. If a detainee is housed in Medical, a medical clearance must be given from the                        entering the kitchen to work.
medical department first. However, a detainee must have good cell sanitation to be eligible for
television viewing in the medical dayroom. There arc no food and drinks allowed in the                        Meal times are as follows:
medical dayroom while watching television.
                                                                                                              Breakfast at approx. 05:30 am
SMOKING                                                                                                       Lunch     at approx. 10:30 am
                                                                                                              Dinner at approx. 5:00 pm
This is a non-smoking facility. Tobacco products of any kind are prohibited witl1in the facility.
                                                                                                    RELIGIOUS DIETS
EDUCATION
                                                                                                    GEO facilities provide a pork-free menu which accommodates most religious dietary
If you are interested in sobriety programs or educational programs while you arc here, contact      requirements. A non-flesh (vegetarian) diet may be provided for those who are uncomfortable
the Program Coordinator to discuss your interest and sec if you are eligible.                       with or prohibited from eating from the main menu.

FOOD SERVICE                                                                                        Procedures are in place to reasonably accommodate detainees who have special religious
                                                                                                    dietary requirements. When a dctainee's religion requires special food services, either daily or
The center provides three (3) nutritionally balanced meals per day. All meals are prepared in a     during particular periods of religious fasting, praying or holiday celebration; reasonable
clean and sanitary manner, and the kitchen is operated under guidelines set down by the Health      accommodations will be made to provide meals not religiously prohibited. If you require a
Department and is periodically inspected by local health department officials. TI1e use of food,    religious diel you must submit an "Authorization for Common Fare Participation" to the
i.e. withholding of, or variation from the standard menu, as a disciplinary measure or reward is    Programs Coordinator requesting the diet. No food items can be substituted from the
prohibited. Special diets as required for medical reasons or adherence to religious dietary Jaw     "Common Fare'" menu if you are enrolled.
are provided by the Food Service Department You will be issued an appropriate eating
utensil(s) and napkin. Meal times and me.nus are posted on the bulletin board in your housing       The Chaplain or his designee may remove a detainee from the diet at the request of1l1e
unit.                                                                                               detainee or at the request of the medical department due to medical reasons consistent with
                                                                                                    maintaining safety or security operational procedures. Detainees who are removed by their
     •     All menus are screened and approved by a registered dietitian to ensure a balanced       personal request from the diet may NOT immediately re-enter the diet process.
           diet that provides the proper nutritional value for all meals served.                    The Chaplain or his designee may recommend withdrawal approval for a detainee's religious
     •     If you require a special diet for medical reasons, it will be implemented upon the       diet if the detainee is documented as being in violation of the terms ofthe religious diet
           written notification from the medical department to the kitchen supervisor.              program. If a detainee misses three consecutive common-fare meals the Chaplain or his
     •     You are not permitted to barter with food handlers for special or                        designec shall recommend in writing that the detainee be removed from the program.
           additional food.
           Conduct during meals will be orderly and courteous at all times. There will be no        HEALTHCARE
           loud talking or disruptive behavior. Stand back from the food carts to allow food to
           be served to all detainees without interference. Interference will not be tolerated at   The facility maintains qualified, licensed medical professionals to attend to health problems.
           any time.
           You will not store open containers of food in your housing unit. Open food               REQUESTS
           containers are not allowed due to safety and sanitary reasons. Food ordered from
           the Commissary in closed containers may be stored. Food served during meal               If you have a medical problem, you must fill out a Medical Request Form, which may be
           service will not be stored in abundance in your living/bed area due to sanitation and    obtained from a Detention Officer. The request will be screened and scheduled for assessment
           health hazards.                                                                          by the appropriate health professional. Medical requests shall be placed by the detainee in the
           Refusal or bartering of a special diet (religious/medical) will result in a review of    boxes labeled "Medical Requests/Grievances" that arc in the respective housing unit and
           the diet request and possible discontinuation of diet.                                   ScgregationiSMU.
           When receiving your meals you will be required to have on a minimum of shorts, t-
           shirts, shower shoes.                                                                    When there is an urgent medical request and a delay in medical care will result in a serious
           Detainees that are assigned to the food service department shall have a neat and         medical condition, you should alert a detention officer or speak with a nurse during medication
           clean appearance                                                                         rounds.
           Upon leaving the kitchen after you have completed your shift, you will be searched
           before going into your housing unit.                                                     Filling out a lqte instead of a Medical Request Fonn may cause a delay in being assessed for a
     •     All detainees working in food service areas shall use hair nets. Persons with hair       paiticular medical problem.
           that cannot be adequately covered up with a hair nets shall be prohibited from food
           services operations. Beard guards are also available.

                                                                                                                  PL000043                                                                        13




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              Appellate Case: 22-1409                                   Document: 29-2                Date Filed: 01/23/2023                             Page: 244
              Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 17
                                                   of 28



SICK CALL                                                                                             least 3 feet from the medical cart until the nurse calls you to receive your medication. TI1e
                                                                                                      nurse must have an order to give medication and only in the doses and times the doctor has
Sick call is conducted 7 days per week by a licensed nurse. If a particular medical problem           ordered. Medication rounds are performed twice a day 7 days per week, In order to receive
falls outside of the scope of practice for either a registered nurse or a licensed practical nurse,   prescription medications you must be present yourself during Medication Rounds with your
you will be referred to a medical doctor, physician's assistant or nurse practitioner according to    identification and be fully dressed. You are responsible for ensuring that you receive your
the schedule of the practitioners.                                                                    medication as it is not the responsibility of the nursing staff to locate you to take your
                                                                                                      medication. Touching or crowding U1e ca~ taking medication or other items from the cart,
Should you require emergency medical attention, you will be taken to the nearest facility             being loud, aggressive, or hindering the nurse in any way is prohibited. You are responsible to
providing emergency services.                                                                         report to the nurse to receive your medication. Your name will not be called. TI1e nurse will
                                                                                                      not come back after leaving your housing unit. You are responsible to be ready to receive your
STAFF ASSfSTANCE                                                                                      medications. No Aspirin, Tylenol or Molrin will be administered at Medication Rounds unless
                                                                                                      prescribed by a doctor or dentist However, these items are available for purchase from the
If you cannot read or write, a facility staff member may assist you or you may have another           commissary.
detainee help you complete the medical request. Another detainee may not submit a request on
your behalf.                                                                                          You will be asked to review and sign a contract ofresponsibilily for "Keep on Person"
                                                                                                      medication (as prescribed) and medical devices and/or equipment You will be asked to sign
HEALTH ASSESSMENT                                                                                     this document which also includes a waiver. You will be expected to abide by written
                                                                                                      instructions and rules associated with "Keep on Person" articles by securing them inside your
                                                                                                      personal bin under your bed. At no point in time are these articles to be lent to or borrowed out
You will receive a comprehensive health assessment including a physical exam, dental and
                                                                                                      to another detainee.
mental health screening within the first 14 days of detention and annually. Routine dental
treatment may be provided to detainees who have remained in the facility for six months
coru;ecutively. TB screening is performed for the safety and well-being of detainees as well as        REFUSING MEDICAL TREATMENT
GEO staff. You will receive a screening for Tuberculosis upon arrival regardless of your
records or status at a previous facility.                                                             You may refuse routine medical treatment, but will be administered treatment in the event of a
                                                                                                      life-threatening emergency. Do not submit a Medical Request unless you have a need for
MEDICAL REQUESTS FOR MEDICAL OR DENTAL ATIENTJON                                                      medical care. Should you refuse medical treatment after submitting a Medical Request Form,
                                                                                                      you will report sign a refusal with a medical professional witnessing your refusal. Should you
All requests for routine medical or dental attention must be submitted in writing to the medical      refuse to be seen by a physician, you will report io the medical department to sign a refusal
department on a medical request fonn. You must be fully dressed and show your Identification          with medical professional witnessing your refusal. You cannot refuse the 14-day Health
when you talk to the nurse, during housing unit medication pass, or are going to the medical          Assessment.
department for treatxnent.
                                                                                                      Jfyou do not report to the medication cart, you will be reported as a no show. You will be
PERSONAL MEDICATION                                                                                   taken to the doctor's appointment to sign a refusal in the doctor's presence.

All medications that are brought into the facility are to be smrendered to Medical staff for          The medical depattment will not approve the following:
disposition for the time you are here. Please ensure that you retrieve your personal medication
before leaving.                                                                                             •    Non-medical diets (i.e. vegetarian diets)
                                                                                                                 Extra bedding or mattresses ( unless medically related)
 EYE CARE                                                                                                        Extra or personal clothing
                                                                                                            •    Protein or herbal supplements
 Family members may bring in prescription eyeglasses with approval of the Health Services                        Any medication not ordered by the Medical Director
 Administrator if U1is is deemed necessary. Optometry referrals will be made if your visual
 acuity (after an eye exam) is worse than 20/50 in the best eye. Prescription eyeglasses are not      COMMUNICABLE DISEASE GUIDELINES
 available for detainees who have been detained less than one year. After one year, an eye
 exam will be provided and prescription glasses will be made available if justified by an eye         In order to prevent the spread of conununicable diseases, you need to follow basic ~anitation
 exam. Generic reading glasses may be offered in t11e case of eye strain after consultation with      rules and guidelines. Do not share eating utensils with other detainees. Do not share razors or
 the Health Services Administrator.                                                                   towels. TI1row used tissues in the trash. Do not spit in the sink, trashcans or on the floor.

 FACILITY PRESCRIBED MEDICATION                                                                        Cover all coughs and sneezes with a tissue. Wash your hands with soap and wam1 water each
                                                                                                       time after you use the bathroom. Avoid contact with other detainec's body fluids. Do not use
 Medications will be administered as frequently as ordered by a health professional. When the          needles or allow another detainee to tattoo or pierce you with anything, at any time. Do not
 nurses come into the housing unit to dispense medications, it is your responsibility to remain at

                                                                                                                  PL000044                                                                          14




                                                                                                                                                                                               APP. 241
               Appellate Case: 22-1409                                 Document: 29-2               Date Filed: 01/23/2023                             Page: 245
               Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 18
                                                    of 28



share combs, toothbrushes, or food with other detainees. Wear your shower shoes while taking        Blanket exchange
a shower.
                                                                                                    Blankets will be exchanged once per month on a one-for-one basis
MEDICAL DIETS
                                                                                                    All mesh bags need to be placed near the officer station no later than 0600. Medical and
Medical diets are prescribed only by Medical Staff and only addressed specific needs such as        Segregation officers will insure the respective bags are ready for pick-up.
diabetes, low salt, low fat, and certain medically proven allergies. Medical will not order a
specific food for you or restrict something that you don't like. Medical staff will not prescribe   All exchanges will be on a one-for-one basis
a vegetarian diet or any diet required by religious beliefa. 111ose requests should be addressed
to the Programs Coordinator.                                                                        All items will be washed, dried and the identical number of items returned to the housing unit.

BARBERING SERVICES                                                                                  You are not pennitted to wash clothing, bedding, linens, tennis shoes or other items in the
                                                                                                    living units and you are not permitted to hang any laundry on the walls, beds, or other areas.
The hours for the barbershop vary, depending on staff and barber availability. Only approved        You will be held accountable for clothing and bedding supplies issued to you. You are not
detainees provide haircuts. A schedule will be posted in the housing units to inform you when       authorized to alter, in any maruier, the clothing you receive.
your unit is scheduled for haircuts. The detainee cutting hair is not allowed to charge any fee,
take commissary, phone cards or anything else of value in exchange for a haircut TI1e               RELIGIOUS SERVICES AND SPIRITUAL COUNSELING
detainees cutting hair are only allowed to give regular haircuts; no fades or specialized
haircuts.                                                                                           You have the right to freedom of religious affiliation and you will have the opportunity to
                                                                                                    practice your religious faith in a manner that is deemed essential by your faith, consistent with
Hair cutting restrictions are:                                                                      the safety, security and the orderly operation of the facility. Attendance at all religious
                                                                                                    activities is voluntary and open to all. You will be expected to recognize and respect the rights
The removal or treatment of blackheads, carbuncles, infected hairs, or any sores or lesions is      of others. Opportunities for religious activities are open to the entire population, without
prohibited.                                                                                         regard to race, color, nationality, or creed.

The pulling of hair from ears, eyebrows, and moustaches is prohibited.                              Qualified volunteers offer Catholic and Protestant Services along with non-denominational
                                                                                                    services on a weekly basis. These volunteers may also provide counseling services, provided
No barbers will serve any detainee when the skin of the detainee's face, neck, or scalp is          there are available volunteers. Services may be provided to detainees who are in the
inflamed, scaling, contains pus, or is erupted, unless service of such detainee is perfonned in     SMU/Segregation Unit on an individual basis.
accordance with the specific authorization of the Health Services Administrator.
No person will be served when infested with 11ead lice.                                             Worship services are conducted on a regular basis. Bibles, religious items and literature are
                                                                                                    available from the Programs Coordinator or designee upon request. If you have a question
                                                                                                    concerning your religious activities, contact the Programs Coordinator.
LAUNDRY SERVICE
                                                                                                    TI1e observance of religious holy days is respected. TI1e Programs Coordinator will work with
Mondays and Thursdays:
                                                                                                    you to accommodate a proper observance of important religious holy days. You must submit a
                                                                                                    written request to the Program Coordinator if you wish to participate in a religious holy day
             Uniform exchange - Units A, D, Segregation and Medical
                                                                                                    observance.
      •      Undergarment exchange* - Unit B
                                                                                                    You may be allowed to wear or use personal religious items during religious services,
Tuesdays and Fridays:
                                                                                                    ceremonies or meetings in the multipurpose room unless the Warden or Programs
                                                                                                    Coordinator determines that the wearing or use of such items would threaten facility security
     •       Uniform exchange - Unit B                                                              safety or good order. Items of religious wearing includes but is not limited to:
             Undergarment exchange* - Units A, D, Segregation and Medical
                                                                                                               Prayer shawls and robes:
Wednesdays:
                                                                                                         •     Kurda or ribbon shirts;
                                                                                                               Medals and pendants;
             Linen exchange- Units A. D, Segregation and Medical
                                                                                                               Beads and various types of head wear
Thursdays:
                                                                                                    DETAINEE LIBRARY SERVICES
             Linen exchange - Unit B
                                                                                                    General library reading materials will be made available Monday through Friday, 7:30am-
                                                                                                    l 0:00 pm with !he exception of court times and religious services.
                                                                                                                 PL000045                                                                           1s




                                                                                                                                                                                              APP. 242
            Appellate Case: 22-1409                                   Document: 29-2                  Date Filed: 01/23/2023                             Page: 246
           Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 19
                                                of 28



Leisure library books will be available in each housing unit in the multipurpose room.                 PERSONAL HYGIENE

You must submit a request (kite) to go to the library. You may have in your possession a               You are required to keep your body clean and free from offensive odors, lice or ot11er parasites,
maximum of three (3) books (hard or soft cover) and (2) magazine ( other than those issued by          and you are required to be dressed in a complete uniform during normal working hours when
Religious/Educational Programs). When you are leaving the facility, you must return any                in the dayroom area or outside the housing unit i.e. shirt pants.
books and magazines belonging to the library to the housing unit officer.
                                                                                                       Personal hygiene items will be exchanged every other Monday. In order to receive a new
COMMISSARY                                                                                             bottle oflotion and/or shampoo you must exchange your empty bottles. Supplementary items
                                                                                                       are available for purchase from the commissary.
You may order commissary throughout the week utilizing the kiosk. You may add to or
subtract from your order during the week l1owever the kiosk will be locked on Timrsdays at             If you do not have money, you will be issued necessary items for the purpose of personal
12:00 noon to fmalize your purchase. Orders will be delivered weekly, usually on Fridays.              hygiene, but only the needed items in minimum quantities necessary will be provided.
Maximum purchase will be $100.00 not including clothing and headphones. Prices are subject
to change without notice as commissary costs increase. lfyou don't have enough money for               You will have the opportunity to take at least one (1) shower daily. You are highly encouraged
the entire order you placed, the commissary department will fill your order based on how much          to shower and brush your teeth daily.
money you have in your account to cover your order. Commissary items l\JUST fit in your
locker. You must present your identification and be fully dressed to receive your order.               If you think you may be infested with "crabs" or other parasites, notify a medical staff person
                                                                                                       who will take immediate steps for delousing.
If you accept your order and leave the delivery area without checking it, items shorted will not
be filled. It is your responsibility to check your order prior to leaving the delivery area.           Disposable razors will be issued on a daily basis normally around 7:30 am, and only on day
                                                                                                       shift. If a detainee requests to shave, he or she will sign up on the razor issue form. Detainees
If you are working, in visitation, court, or medical and the housing unit officer is able to verify    will have one hour to use the razor and return it to the officer. Detainees reporting to work in
that, your order will be left with the Lieutenant in a secure area and upon your return your           the kitchen on the morning shift are also afforded the opportunity to shave before reporting to
order will be given to you and a signed receipt will be given to the officer.                          work.

                                                                                                       If you will be attending a court hearing, you will be afforded the opportunity to shave before
MARRIAGE REQUESTS
                                                                                                       appearing.
The following guidelines will be used if you request permission to marry while in the custody
                                                                                                       Fingernail clippers are available for purchase through the commissary.
of the hnmigration and Customs Enforcement: The hnmigration and Customs Enforcement
will either grant or deny your permission to marry. The Warden will be advised of your request
                                                                                                       Flush the toilets after each use. Urinate and defecate in the toilets not the floors or wall. Toilet
and of the decision of the Immigration and Customs Enforcement.
                                                                                                       paper may be obtained from detention staff.
If permission is granted, you must make all arrangements for the marriage, which includes
                                                                                                       You must wear shoes or shower shoes except when in your bunk. If you have peeling skin or
taking a blood test (if applicable), obtaining a marriage license, paying for all costs associated
with the marriage and retaining an official to perform the marriage. GEO staff or the                  cracks on your feet, you should notify Medical.
Immigration and Customs Enforcement will not participate in making marriage a1Tangements.
Staff will accommodate arrangements made consistent with the safe, secure and orderly                  LIVING AREA/BED ASSIGNMENT
operation of the facility. The Warden reserves the right offmal approval concerning the day
time place and manner of all arrangements.                                                             You are required to keep your personal living area clean and sanitary. TI1is includes your bunk
Only those persons necessary to perform the ceremony will be permitted to attend. Guests will          and immediate floor area around and under your bunk, locker, and any personal items.
not ordinarily be permitted to attend. Minors under the age of 17 and under will not be
permitted to attend unless directly related-i.e., your immediate family. A detainee will not be        Cleaning supplies will be provided, usually at specific times, as needed by the detention
allowed to leave the facility for the purpose of making marriage arrangements. The detainee or         officer.
 person(s) acting on his/her behalf shall bear all expenses relating to the marriage. Marriage
ceremonies will be private, with no media publicity.                                                   Housing units and all common areas must be kept clean and should be ready for inspection ·at
                                                                                                       anytime.
 SECTION V       SANITATION
                                                                                                       You are required to keep all books, hygiene items and personal items in the storage unit
 The center will maintain the highest sanitation standards at all times in all locations without       provided.
 exception. TI1ere will be an organized, supervised and continuous program of daily cleaning
 by all detainees to maintain those standards.                                                          If you have excessive personal items in your bed area including under your mattress, you will
                                                                                                        be afforded. dwing shakedowns, the opportunity to place these items in your personal property
                                                                                                        or to dispose of the items. T11e Officers assigned to the housing unit along with the Shift
                                                                                                                 PL000046                                                                               16




                                                                                                                                                                                                APP. 243
             Appellate Case: 22-1409                                  Document: 29-2                 Date Filed: 01/23/2023                             Page: 247
             Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 20
                                                  of 28



Supervisor will decide what items are excessive. If personal items are confiscated a receipt         The day room area will be kept clean at all times. Should an office1: notice that the area is not
will be issued to you.                                                                               clean, the officer will make available necessary cleaning supplies. If the detainees in the
                                                                                                     housing unit do not clean the area after being instructed to do so, the televisions will be turned
You are required to make your bunk in a neat and orderly manner by 0730. 111is means                 oft~ and the detainees will not be permitted to participate in any activities/programs until the
that the bottom and sides will be tucked under the mattress. The sides and ends will not hang        housing unit is cleaned. Continued refusal to clean the area will result in further disciplinary
down over the edge ofthe bed.                                                                        action.          ·
                                                                                                     Walls will be kept free of newspapers, clothing, cups, bowls, and oilier objects.
You may sleep Q!l your bunk after it is made in the mornings, not under the covers/sheets. You
may request a second blanket and sleep under the second blanket on the top of your made bed,         Bulletin boards contain information beneficial to you and are not to be defaced in any manner.
not under the sheets until after the afternoon count has been completed. When you get up from        Posted material is to remain on the boards until staff removes the item(s).
your nap, you need to neatly fold your blanket and place it on your bed. Your bed is to be
made when you are not occupying it.                                                                  SECTION VI             GRIEVANCE PROCEDURES

Your towel needs to be neatly folded and hung on the hook and you may neatly hang your               A Grievance is a complaint about the substance or application of any written policy, regulation
laundry bag over the hook as well.                                                                   or rule of Aurora Detention Center or the lack of application of a policy, regulation or rule, or a
                                                                                                     complaint about any behavior or action directed toward any detainee by staff or another
You are authorized one mattress and one pillow. Excess pillows and mattresses will be                detainee, or a violation of civil rights. You have a responsibility to use the program in good
removed from your bed.                                                                               faith and in an honest and straightforward manner.

Blankets, sheets or towels arc not to be used as rugs, drapes, pillows, or tenting for purposes of   FILING A GRIEVANCE
concealment at any time.
                                                                                                     If you have a grievance, you should first try to infonnally resolve it by bringing it to the
Pictures, articles of any kind, or any other items may not be placed on the walls or other           attention of a detention officer, shift supervisor or staff member in charge of the area with
fixtures of this facility. This includes graffiti and other drawings or markings on any surface      which you have a problem. Each grievance filed must contain only one subject, or a group of
area, for example, the walls, your bed and bed area, bulletin boards, televisions, doors etc.        closely related issues, under one subject. If your grievance contains more than one subject,
                                                                                                     contains vulgar language, or is submitted as a group grievance, the Grievance Coordinator will
You will be assigned a bed and a storage unit for the storage of your personal property. Do not      reject it without review. Grievances that are medically related must be placed into the mailbox
move to another bed unless stafflzas authorized you to move. You should also use your storage        labeled "Medical Requests/Grievances~ and all other grievances must be placed into the
    to
unit store all of your personal property, including your commissary. Do not allow other              mailbox labeled "Grievances".
detainees to have access to your personal property. If you do, you increase the probability that
your personal items may be stolen. It is your responsibility to take care ofyour personal items.     You may obtain a Grievance fonn from your housing unit officer. You must fill out the fom1.,
                                                                                                     sign and date it, and explain as best you can what the problem or complaint is and what relief is
HOUSING UNIT SANITATION                                                                              sought You may obtain assistance of facility staff or another detainee in preparing your
                                                                                                     grievance. Another detainee may assist you with your grievance if you are iJJiterate or unable
Each and every detainee must participate in the facility's sanitation program. A list of             to communicate in English without charge or obligation of any kind. Another detainee cannot
detainees is developed each day by staff rnd is posted daily for viewing. During a general           submit a grievance for you or any other detainee.
cleanup all detainees must participate. The assigned Housing Unit Officer will be responsible
for assuring this general cleanup is done on a regular basis.                                        Grievances that are of an EMERGENCY nature will be responded to on an immediate basis in
                                                                                                     an effort to prevent problems that may arise due to delay. You must directly submit your
DAY SPACE                                                                                            grievance to a staff member for it to be treated as an emergency. The staff member will
                                                                                                     itnmediately contact the Shift Supervisor. If the Shift Supervisor concurs the grievance
Day rooms are open spaces in the housing units that are utilized for watching television,            represents an emergency, he.'she will submit a report to the Warden describing the problem and
playing board games, dominos or cards, as well as for socializing among detainees. Tables            it~ resolution. Emergency grievances not resolved at the Shift Supervisor's level will be sent to
with chairs are provided for your use in the dayroom.                                                the Grievance Coordinator for resolution during normal business hours.

                                                                                                     If the emergency is medical in nature, the grievance will be submitted to the Health Services
All detainees in a housing unit are required to keep clean and sanitary all commonly accessible
                                                                                                     Administrator. TI1is grievance will be reviewed within twenty-four hours of receipt. If a Shift
areas of the housing unit, including walls. floors, windows, window ledges, showers, sinks,
                                                                                                     Supervisor received the complaint during the absence of the Health Services Administrator,
toilets, tables, and chairs.
                                                                                                     he/she will be contacted and advised of the complaint. The Health Services Administrator will
Detainees will take turns cleaning the area. If a detainee feels that everyone is not doing their    advise the Shift Supervisor and the medical staff Dn the procedures to resolve the complaint.
fair share, the detainee should inform the housing unit officer of the problem. Action will be
taken to resolve this problem.


                                                                                                                PL000047                                                                            17




                                                                                                                                                                                               APP. 244
            Appellate Case: 22-1409                                  Document: 29-2                 Date Filed: 01/23/2023                             Page: 248
            Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 21
                                                 of 28



If the Warden determines that your grievance is not an emergency. you will be contacted and         You are responsible for your own behavior at all rimes and are to be courteous and respectful
advised of the non-emergency determination of the complaint and the complaint will be               toward the facility staff. You are expected to treat staff, c01rununily volunteers and other
rejected as an emergency.                                                                           detainees with respect at all times. Harassing, rude or demanding behavior and profanity
                                                                                                    toward staff or others will not be tolerated. You shall address all staff members by either their
Detainees shall place completed grievances in the locked "Grievance Drop Box" located in            rank, title, or as "Mister", "Miss", or "Officer."
each housing unit. The grievance may be placed in an envelope prior to being placed in the
locked Grievance Box.                                                                               If you have a problem such as conflicts with other detainees, personal problems (family) or
                                                                                                    questions about this facility operation. ask your housing unit officer for assistance. If you feel
Each day (excluding weekends and holid,.ys) all grievances will be collected from the               that you should be moved from your current housing unit for your safety, notify an officer
grievance drop boxes.                                                                               immediately.

If your written grievance is accepted, it will be forwarded to a department head or management      Identifications Wristbands will be worn at all times. Removal. loss, or damage of your
level employee by the Grievance Coordinator to provide review and resolution of your                Identification W1istbands may result in the loss of privileges. If you lose and/or destroy your
grievance. For example, the Food Service Manager would be assigned to provide review of a           Identification Wristbands, submit a Detainee Request form. You may be charged a
grievance in the food service area. This information will be forwarded to the Warden for final      replacement cost.
review and approval. A written response to your grievance will be given to you within 5
working days excluding weekends and holidays. If you are illiterate or non-English speaking         Do not block exit doors with beds, chairs, Jockers or other material or items that could interfere
attempts will be made to translate the findings into your language.                                 with emergency exit routes.

The detainee may appeal the Department Head's decision to the Grievance Appeal Board                When you are called for release you will come out of your living area with all of your clothing,
(GAB) designee within five working days. The GAB may call witnesses, inspect evidence or            Identification and Wristband, bedding, library books and all of your personal belongings.
otherwise gather facts essential to an impartial decision. The Board will offer the detainee the    Headphones and detainee handbooks will be given to your housing unit officer when you leave
opportunity, if determined by the Board that additional infonnation or clarification is required,   the unit or prior to leaving the unit.
to appear before the Committee to present his/her case, answer questions and respond to             The detention staff will make announcements for meals. recreation, visitation, clothing
conflicting evidence or testimony. Within five days ofreacbing a decision, the GAB will             exchange and medication pass. You are responsible for being prepared to leave the housing
pro,;de the detainee with its response to the grievance, in writing. The written response will      unit when the doors are opened. Depending on the activities, you will be moved to various
state the decision and the reason for it                                                            areas of tlie facility for court. medical appointments, visits and other functions. You are
                                                                                                    expected to walk in a quiet and orderly manner. Running inside the facility is prohibited,
A final appeal may be filed to the Warden. The form will then be forwarded to the Warden.           unless you 're in the recreation yard. You are subject to a search of your person and your
The Warden will respond to the appeal within five (5) working days for final__resolution of the     property. Normally you will not be allowed to take anything with you during your movement
grievance.                                                                                          to and from most activities. You will be allowed to take necessary legal material with you
                                                                                                    when escorted to legal visits and court.
Any detainee dissatisfied with facility response may file a grievance appeal and communicate
directly with ICE/ERO.                                                                               If you arc housed in the SMU/Segregation Unit for any reason, you will normally be moved to
                                                                                                     the law library and other areas of the facility with your hands handcuffed behind you.
No harassment, punishment or disciplinary action will result simply because you arc seeking
resolution of a complaint.                                                                           "Horseplay" or other such activities is prohibited at all times. Detainee Workers are not
                                                                                                     allowed to wear radio headsets or other devices that affect their ability to hear when working
Detainees may file a complaint about ICE officer misconduct directly with the U.S.                       to
                                                                                                     due safety reasons.
Department of Justice by calling l--800--323--8603 or by writing to:
OHS OIG Hotline                                                                                      ATTEMPTED ESCAPES
245 Murray Drive SE
Building 410                                                                                         Any attempt to escape from this facility will result in serious disciplinary consequences.
Washington, DC 20538                                                                                 Attempted escape may significantly affect your legal standing and status and you may be
                                                                                                     subjeet to criminal prosecution.
 SECTION VII SECURITY AND SAFETY-DETAINEES AND STAFF
                                                                                                     COMMISSION OF A CRIME
 PERSONAL SAFETY
                                                                                                     Crimes eommittcd by a detainee that violate local. State or Federal law, will be investigated
 You will be protected from personal abuse, corporal punishment, unnecessary or excessive use        and referred to the proper legal authority for action.
 of force, and !he right of freedom from discrimination based on sexual orientation or political
 beliefs, personal injury, disease, and damage to your property and harassment to the fullest
 extent possible.

                                                                                                               PL000048                                                                              18




                                                                                                                                                                                              APP. 245
             Appellate Case: 22-1409                                 Document: 29-2                 Date Filed: 01/23/2023                                 Page: 249
            Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 22
                                                 of 28



DESTRUCTION OF PROPERTY                                                                             GEO adheres to. a standard of zero tolerance for incidents of sexual abuse or assault that may
                                                                                                    occur in this facility. Sexual assault or abuse of detainees by other detainees, staff, volunteers,
ff you are found guilty of destroying facility property, you may be charged for both replacing      or contract personnel is prohibited and subject lo administrative disciplinary and cdminal
the item damaged or destroyed and the cost of reinstllllation as well.                              sanctions.

COUNTS                                                                                              REPOR'tAt;t:;xssAULTS
Official counts are conducted at 6:30 a.m., 2:00 p.m., 10:00 p.m., l :00 a.m ... You are required
to be on your bed, sit/lay on your bed and remain stationary whenever a count procedure is
taking place. You are also required to stand next to your bed for the 2 :00 p.m. face to photos
stand up count. You are to stay on your bed until directed by staff to restore movement You
                                                                                                                                                                            'titmm~J~fli~!~f~~:::s
are prohibited from interfering with the officer making the count. During count, all televisions,
radios, and telephones will be turned off All foot traffic will cease-detainees will not use the
showers toilets urinals. or sinks while count is in-progress.

CONTRABAND                                                                                                •                                                                                      Jioirams
Contraband is any item or material that is not approved by the facility for possession, not sold
in the commissary or not issued by staff. Some examples of contraband are:                                •       i?ii{ab_1Iifoiinaf6t,t°fimia1:irfcv:iti:~b:Ckcf8tlillg·~~;gei:i.Jy~1i;fatfifif~rn.rthe
                                                                                                                  fac;'iljly
           Unauthorized drugs
                                                                                                    Report'iotl16'1CEEieidOffi9e:
           Medication distributed by the me<lical staff not authorized for retention or
           prescribed for another detainee:
                                                                                                         •i'· '
           Chemical intoxicants
           Alcoholic beverages or any other products containing alcohol in any fonn
           Obscene picture(s) and literature.
                                                                                                         • .iiiie:U wiitten:fufufinai3P1b'imiiFie4:ii;ff6fgdcivancell1cEmilo.
           Extra food items, which are not from the Commissary or authorized by the medical
           staff.
                                                                                                    Rei1,irt.totiri.s\&1IcEtf~clcl.ufuicis:
           Money, checks, or money orders
                                                                                                         •        contactllieICE'Go1ninJnifyand Detaine'tifoilm~f~a11'l:bifo1D1IleFhotilti~· tiL1-
           Weapons or items that could be considered a weapon.                                                    sss~:i sW'4024                · · ·                   , ·      ·        ·
           Any tobacco product or matches/lighters
           Ammunition or explosives
           Combustible or flammable liquids
                                                                                                                                                           - '.ijrifosJpiiily(ofR) icrfuFllitakec6nter
                                                                                                                                                                :4sf8~5J
           Hazardous or poisonous chemicals or gases
           Too ls of any type that could aid in escape

AUTHORIZED ITEMS

You are allowed to have in your possession the following items:                                                                                           «.   -6<[i:1~~~~\!{?):,~~5am~i~}1f \~t:~1i~!e . .
                                                                                                                                                                        vesti~tetw~a.t~appeµcd,.;Staff
           Property that staff authorizes you to take to your Jiving area.
                                                                                                                                                                        f ~opfidential .ihu oil.ty:iiiscuss -fr
     •     Item(s) pre-approved by the Chief of Security that are left for you.
                                                                                                                                                               .o¥hlisTh.
     •     Facility items issued to you.
           Items purchased through the Commissary.
           Medication and materials authorized by the medical staff ( when medication is
                                                                                                    DEFINITIONS:
           authorized for retention).
                                                                                                    DETAINEE ON DETAINEE SEXUAL ABUSE/ASSAULT
PR.ISON"RA:PEELIMINAi10N...,~CT.-iPREA}~V10M


SE)(UAL ASSAULT AWARENESS
                                                                                                                                                                                                             19
                                                                                                                  PL000049




                                                                                                                                                                                                        APP. 246
          Appellate Case: 22-1409                                Document: 29-2                Date Filed: 01/23/2023                            Page: 250
          Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 23
                                               of 28



                                                                                                Do not accept an offer from another detainee to be your protector.



STAFF ON DETAIJ'<'EE SEXUAL ABUSE/ASSAULT


                                                                                                Be alert! bo not use substances such as drugs or alcohol. These can weaken your ability to
                                                                                                stay alert and make good judgments.

                                                                                                Stay in well-lit are.as of the institution.

                                                                                                Choose your associations wisely. Look for people who are involved in positive activities like
                                                                                                educational programs or religious services. Get involved in these activities your self.

                                                                                                Trust your instincts. If you sense that a situation may be dangerous, it probably is. If you fear
PROHIBI'Fifi>"''~ers                                                                            for your safety, report your concerns to staff.

                                                                                                If you become a victim:

                                                                                                            Rep01t it immediately to staff.
                                                                                                            Protection from assailants will be offered.
                                                                                                            You will be referred for a medical exam.
                                                                                                            Although you do not have to identify your assailants, the infom1ation will make it
                                                                                                            easier to protect you and others.
                                                                                                      •     Even if you do not name yow· attacker, you will continue to receive protection.
                                                                                                            His extremely imponant to see Medical before you shower, shave, wash, d1ink or
                                                                                                            cat, change clothing or usc the bathroom.
                                                                                                            Medical staff will examine you for injuries.
                                                                                                            You may also be tested for sexually transmitted diseases and evidence may be
                                                                                                            gathered.
                                                                                                            The exam will he conducted privately and professionally by a physician.

                                                                                                \\1iat will happen:

                                                                                                             An investigation will be conducted to detennine the nature and extent oftl1e
                                                                                                             misconduct.
DEFENTION 'AS!;~SAE'E,BN~iRONMEN:l!                                                                          You may be asked to give a statement.
                                                                                                             You may be asked to testify.
                                                                                                             You will be offered protection.
                                                                                                             You will receive a medical examination.
                                                                                                             You will be offered counseling by: The Mental Health staff
                                                                                                             Community re.sources if appropriate.
 AVOIDING SEXUAL ASSAULT
                                                                                                 Help Available:
Carry yourself in a confident manner at al! limes. Do not pennit your emotions to be obvious
                                                                                                             Most people need help to recover from the emotional effects of sexual assault.
                                                                                                             This is true whether il occurred recently or in the past.
                                                                                                             Mental Health staff are available.
Do not accept gifts or favors from others. Most gifts or favors come with stings attached to
them.

                                                                                                                                                                                               20
                                                                                                           PL000050




                                                                                                                                                                                       APP. 247
              Appellate Case: 22-1409                                 Document: 29-2               Date Filed: 01/23/2023                              Page: 251
              Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 24
                                                   of 28



If you feel you might hurt someone else:
                                                                                                   TI1e UDC will conduct hearings and, to the ·extent possible, informally resolve cases involving
     •     If you feel you need help to keep from sexually assaulting someone else,                "high moderate" or "low moderate" charges, in accordance with the list of charges.and related
           psychological services are avatlable to help you gain control.                          sanctions. Unresolved cases and cases involving serious charges are forwarded to the
     •     Ask Medical Staff for a referral.                                                       Institutional Disciplinary Panel (IDP).

How to report an Incident of sexual assault:                                                       The UDC shall have authority to:

           Notify any staff member immediately.                                                               'conduct hearings and infonnally resolve incidents involving High Moderate or
     •     If you do not wish to notify a staffmembcr, you may write the Warden, Assistant                     Low Moderate charges.
           Warden, or Health Services Administrator confidentially.                                           Consider written reports, statements, and physical evidence.
           You may also notify ICE according to the procedureS outlined in your detainee                      Hear pleadings on the part of the detainee.
           handbook or call the DHS/OIG hotline at l-800-323-8603.                                            Make findings that a detainee did or did not commit the rule violation(s) or
                                                                                                              prohibited act(s) as charged, based on the preponderance of evidence.
Remember:                                                                                                      Impose minor sanctions "E" through "M" in accordance with the table of prohibited
                                                                                                              acts and associated· sanctions.
           It is every staff member's responsibility to ensure your safety.
           You will receive protection.                                                            The detainee in UDC proceedings shall have the right to:
           Confidentiality will be maintained.
                                                                                                         •    Remain silent at any stage of the disciplinary process
l'lIE'EMOtIONAtJGONSEOUEN'CES~OF:lsBXU~J3(Ass~uii:r                                                      •    Due process, including a UDC hearing within 24 hours of the end of the.
                                                                                                              investigation,

                                                                                                                                a.   To attend the entire hearing (excluding committee
                                                                                                                                     deliberations); or
                                                                                                                               b.    To waive the right to appear.
                                                                                                                               c.    If security considerations prevent the detainee's attendance,
                                                                                                                                     the conunittee must document the security considerations.

                                                                                                              Present statements and evidence in histber own behalf.
                                                                                                        •     Appeal the committee's determination through the detainee appeal process.
                                                                                                   INSTITUTIONAL DISCIPLINARY PANEL (IDP)

                                                                                                   This facility has a disciplinary panel to adjudicate detainee incident repo1ts. Only the
                                                                                                   disciplinaty panel can place a detainee in disciplinary segregation.

                                                                                                   TI1e !DP refers either one to a three-person panel appointed by the Warden, or a one-person
SECTION VIII          DISCIPLINARY PROCEDURE                                                       disciplinary hearing officer.

To provide a safe and orderly living environment, facility authorities will impose disciplinaiy    TI1e panel shall not include the reporting officer, the investigating officer, and any member of
sanctions on any detainee whose behavior is not in compliance with facility mies and               the referring UDC, or anyone who witnessed or was directly involved in the incident. Only if
procedures.                                                                                        virtually every available officer witnessed or was directly involved in the incident shall an
                                                                                                   exception to U1is mle occur:
INVESTIGATION
                                                                                                   The mp shall have authority to:
When an alleged mle violation is repmted, an appropriate investigation will begin within 24
hours of the time the violation is reported and is coinpleted without unreasonable delay, unless
there are exceptional circumstances for delaying the investigation.                                     •     Conduct hearings on all charges and allegations refcITed by the UDC.
                                                                                                              Call witnesses to testify.
UNIT DISC{PLTNARY COMMITTEE {UDC)                                                                             Consider writtenreports, statements, physical evidence, and oral testimony.
                                                                                                        •     Bear pleadings by detainee and staff representative.
The UDC shall be comprised of one to three members. at least one of who is a supervisor.


                                                                                                                PL000051                                                                         21




                                                                                                                                                                                              APP. 248
                Appellate Case: 22-1409                                 Document: 29-2                Date Filed: 01/23/2023                                Page: 252
                Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 25
                                                     of 28



             Make findings that the detainee did or did not commit the rule violation(s) or                      The IDP shall allow the staff representative enough time to speak with the detainee
             prohibited act(s) as charged, based on the preponderance of evidence.                               and interview witnesses. The standard pre-hearing preparation time will suit most
             Impose sanctions as listed and authorized in each category.                                         cases. However, the !DP may grant a delay if required for an adequate defense.
                                                                                                                 The IDP shall establish the reliability of information provided by a confidential
The IDP shall:                                                                                                   informant before considering it in the disciplinary proceedings.
                                                                                                                 The !DP may withhold the confidential informant's identity from the staff
     "       Verify that the detainee has been advised of, and afforded, his/her rights, as                      representative. While the staff representative may challenge the substance of any
             provided above.                                                                                     confidential information the IDP discloses, he/she may not question its reliability
     •       Remind the detainee of his/her right to a staff representative, providing one if                    (pre-established by the IDP).
             requested.                                                                                          When the detainee cannot effectively present his/her own case, the Warden shall
             Advise the detainee of his/her right to waive the hearing and admit having                          appoint a staff representative, even if not requested by the detainee.
             committed the offense.
     •       Conduct the hearing on the first business day after receiving the UDC's referral,        POSTPONEMENT OF DISCIPLINARY PROCEEDINGS
             unless the detainee waives the 24-hour notification provision, requesting an
             immediate hearing. In cases where a hearing is delayed, the reason(s) must be            The facility shall pennit hearing postponements or continuances under certain circumstances.
             documented (e.g., a continuing investigation of facts, the unavailability of one or
                                                                                                      Circumstances justifying the postponement or continuance of a hearing might include: defense
             more essential witnesses, etc.) and approved by the Warden. If the detainee is being
                                                                                                      preparation, physical or mental illness, security, escape, disciplinary transfer, deportation, or
             held in segregation, the delay shall not exceed 72 hours, barring an emergency.
                                                                                                      pending criminal prosecution.
             Prepare a written record of its proceedings. This record must show that the detainee
             was advised of his/her rights. It must also docwnent the evidence considered by the
                                                                                                      An uncooperative detainee may also cause a delay in the proceedings, either because of
              Panel and subsequent findings; the decision and sanctions imposed, along with a
                                                                                                      inappropriate behavior during the hearing process or a refusal to participate in a productive
             brief explanation.
                                                                                                      manner.
     •       Forward the entire record to the Warden, who may (a) concur; (b) terminate the
              proceedings; or (c) impose more severe or more lenient sanctions.                       DURATION OF PUNISHMENT
     •        Serve the detainee with written notification of the decision.
                                                                                                      TI1e duration of punishment shall be within established limits. Neither the panel
STAFF REPRESENTATION                                                                                  recommending sanctions nor the Warden making the fmal decision shall impose sanctions
                                                                                                      arbitrarily, outside these limits.
The Warden or designee shall, upon the detainee's request, assign a staff representative to help
                                                                                                      1.   Punishments range from the withholding ofprivilege(s) to segregation. Time in
prepare a defense. This help will be automatically provided for illiterate detainees, detainees
                                                                                                      segregation after a hearing will generally not exceed 60 days.
with limited English-language skills; detainees witllout means of collecting and presenting
essential evidence and detainees in administrative or disciplinary segregation.
                                                                                                      2.   Time served in segregation pending 1he outcome of the proceedings may be credited to
                                                                                                      the number of days to be spent in the segregation unit after the decision is announced.
     •       A staff representative must be a full-time employee.
     •       Because of the potential conflict of interest, the Warden, members of the IDP and of
                                                                                                      3.    The disciplinary repo11 and accompanying documents are not placed in the file of a
             the UDC initially involved in the case, eyewitnesses, the reporting and investigating
                                                                                                      detainee who is found not guilty. However, the facility may retain the material in its own files
             officers, and anyone else with a stake in the outcome shall not act as staff
                                                                                                      for institutional uses (statistical, historical, etc.).
             representative.
      •      The detainee may select his/her staff representative, barring anyone identified in #2,
                                                                                                      4.   A detainee may be removed from segregation if a healthcare professional concludes that
             above.
                                                                                                      continued segregation is detrimental to the detainee's medical or mental healtb.
      •      The IDP shall arrange for the presence of the staff representative selected by the
             detainee. If that staff member declines or is unavailable, the detainee has three
             choices. He/she may select a different representative; wait for the unavailable staff    DOCUMENTS
             member to become available (within a reasonable period); or proceed without a
             staff representative.                                                                    All documents relevant to the incident, subsequent investigation, hearing(s), etc., will be completed
         •   A staff member declining to serve as a detainee's representative must state the          and distributed in accordance with· facility procedures.
             reason on the staff representative form.
              If several officers decline, the Warden shall assign a staff member to serve as that    Incident Report/Notice of Charges
             detainee's staff representative.
         •   The staff representative shall be free to speak to witnesses and to present evidence     TI1e officer shall prepare a repmt and submit it to the Warden immediately after the incident takes
              in the detainee's behalf, including any mitigating circumstances.                       place. If the incident is resolved infonnally, the officer will so note on the original rcpo1t, which
                                                                                                      will then be forwarded to the Chief of Security via the shift supervisor.
                                                                                                                   PL000052                                                                               22




                                                                                                                                                                                                    APP. 249
                Appellate Case: 22-1409                                    Document: 29-2              Date Filed: 01/23/2023                         Page: 253
               Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 26
                                                    of 28



If the UDC is to be involved, the supervisor shall sei,,e the detainee with a copy of the Notice of   108    Assaulting a staff member or any law enforcement officer
Charges upon completion of the investigation, no less than 24 hours before the UDC hearing.           109    Tirreatening a staff member or any law enforcement oflicial with bodily harm
                                                                                                      198    Interfering with a staff member in the performance of duties (conduct must be of
The UOC receives the original copy.                                                                          the Greatest Severity nature). This charge is to be used only if another charge of
                                                                                                             Greatest Severity is not applicable
lfthe UDC hears the matter, the ranking member of that committee shall serve the detainee with a      199    Conduct that disrupts or interferes with the security or orderly running of the
copy of the Incident Report/Notice of Charges indicating their de,;;ision. The UDC, upon                     facility (conduct must be of the Greatest Severity nature). This charge is to be used
conclusion of its proceedings, will forward the entire record to Classification.                             only if another charge of greatest severity is not applicable

CONFIDENTIAL INFORMATION                                                                              SANCTIONS
                                                                                                      A.     Initiate criminal proceedings
When a decision relies on infomiation from a confidential infomian~ the UOC or IDP shall include      B.     Disciplinary transfer (recommend)
in the hearing record the fuctual basis for finding the infomiation reliable.                         C.     Disciplinary segregation (up to 60 days)
                                                                                                      D.     Make monetary restitution, if funds arc available
Prohibited acts are divided into four categories: "Greatest", "High", "Moderate", and "Low
Moderate". The sanctions authorized for each category will be imposed only if the detainee is
                                                                                                      E.     Loss of privileges, i.e. commissary, etc.
                                                                                                      F.     Change housing
found to have committed a prolu"bited act
                                                                                                      G.     Remov~ from program and/or group activity
"Greatest" offenses: The IDP shall impose and execute at least one sanction in the A through
                                                                                                      CODE: "HIGH" OFFENSE CATEGORY
E range. Additional sanctions (A through G) may be imposed and either executed or
suspended, at the discretion of the panel. The IDP may impose and execute sanctions F and G
                                                                                                      200   Escape from unescorted activities, open or secure facility, without violence
only in conjunction with sanction A, B, C, D, and/or E.
                                                                                                      201   Fighting, boxing, wrestling, sparring, and any other form of physical encounter,
                                                                                                            including horseplay that causes or could cause injury to another person; except
"High" offenses: The IDP shall impose and execute at least one sanction in the A through M                  when part of an approved recreational or athletic activity
range. Additional sanctions (A through M) may be imposed, and either executed or suspended,           202   Possession or introduction of an unauthorized tool
at the discretion of the panel.                                                                       203   Loss, misplacement, or damage of any restricted tool
                                                                                                      204   Threatening another with bodily harm
"High Moderate" offenses: The IDP shall impose at least one sanction in the A through M               205   Extortion, blackmail, protection: demanding or receiving money or anything of
range, but may suspend any or all, once imposed. Similarly, the UDC shall impose at least one               value in return for protection against others, avoiding bodily harm, or avoiding a
sanction in the G through M range, but may suspend any or all, once imposed.                                threat of being informed against
                                                                                                      206   Engaging in sexual acts
"Low Moderate" offenses: The IDP shall impose at least one sanction in the E through M                207   Making sexual proposals or threats to another
range, but may suspend any or all, once imposed. Similarly, the UDC shall impose at least one         208   Wearing a disguise or mask
sanction in the G through M range, but may suspend any or all, once imposed.                          209   Tampering with or blocking any lock device, includes keys
                                                                                                      210   Adulteration. of food or drink
DISCIPLINARY SEVERITY SCALE AND PROHIBITED ACTS                                                       211   Possession, introduction, or use of narcotics, narcotic paraphernalia, or drugs not
                                                                                                            prescribed for the individual by the medical staff
CODE: "GREATEST" OFFENSE CATEGORY                                                                     212   Possessing any officer's or staff clothing
                                                                                                      213   Engaging in, or inciting a group demonstration
                                                                                                      214   Encouraging others to participate in a work stoppage or refusing to work
100        Killing
                                                                                                      215   Refusing to provide a urine sample or otherwise cooperate in a drug test
10 I       Assaulting any person (includes sexual assault)
                                                                                                      216   Introducing alcohol into the facility
I 02       Escape from escort; escape from a secure facility
                                                                                                      217   Giving or offering an official or staff member a bribe or anything of value
103        Setting a fire (charged with this act in this category only when found to
                                                                                                      218   Giving money to, or receiving money from, any person for an illegal or prohibited
           threat to life or a threat of serious bodily harm or in furtherance of a prohibited act
                                                                                                            purpose, or introducing/conveying contraband
           of Greatest Severity, i.e. a riot or an escape; .otherwise the charge is classified as
                                                                                                      219   Destroying, altering, or damaging property (facility or another person's) worth
           Code 218 or 321)
                                                                                                            more than $100, or destroying altering, or damaging life-safety devices, i.e. fire
l 04       Possession or introduction of a gun, frrearm, weapon, sharpened instrument, knife.
                                                                                                            alarm, regardless of financial value
           dangerous commissary, movies, chemical, explosive, escape tool, device or
                                                                                                      220   Being found guilty of any .combination of three or more high moderate or low
           ammunition
                                                                                                            moderate offenses within 90 days
105        Rioting
                                                                                                      221   Signing, preparing, circulating, or soliciting suppo1t for prohibited group petitions
106        Inciting others to riot
                                                                                                      222   Possessing or introducing an incendiary device, i.e. matches, lighter, etc.
107        Takinghostage(s)
                                                                                                               PL000053                                                                        23




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             Appellate Case: 22-1409                                 Document: 29-2                 Date Filed: 01/23/2023                          Page: 254
             Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 27
                                                  of 28



223       Any act that could endanger p•!rson(s) and/or property                                    313      Failure to stand count
*298      interfering with a staff member in the perfonnance of duties (conduct must be of          314      Interfering with count
          highest severity). This charge is to be used only when no other charge of highest         315      Making, possessing, or using intoxicant(s)
          severity is applicable.                                                                   316      Refusing a breathalyzer test or other test of alcohol consumption
*299      Conduct that disrupts or interferes with the security or orderly operation of the         317      Gambling
          facility (conduct must be of highest severity). This charge is to be used only when       318      Preparing or conducting a gambling pool
          no other charge of highest severity is applicable.                                        319      Possession of gambling paraphernalia
                                                                                                    320      Unauth01ized contact with public
                                                                                                    321      Giving money or another item of value to, or accepting money or another item of
*W11en the prohibited act is interfering with a staff member in the                                          value from anyone
Peiformance of duties (Code 198,298, 398, or 498) or conduct that disrupts                          322      Destroying, altering, or damaging facility or another person's property worth less
(Code 199,299,399, or499), the Disciplinary Committee should specify in                                      than $100
Its findings the severity-level of the conduct, citing a comparable offense in that category.       *398     interfering with a staff member in the performance of duties (offense must be of
For example, "We find the act to be of high severity, most comparable to Code 213, "engaging                 high moderate severity). This charge is to be used only when no other charge in
In a group demonstration".                                                                                   this category is applicable.
                                                                                                    "'399    Conduct that disrupts or interferes with the security or orderly operation of the
SANCTIONS                                                                                                    facility (offense must be of high moderate severity). This change is to be used only
A.     Initiate criminal proceedings                                                                         when no other charge in this category is applicable.
B.     Disciplinary transfer (recommend)
C.     Disciplinary segregation (up to 30 days)                                                     Note:     Any combination of high moderate and low moderate offenses during a 90-day
D.     Make monetary restitution, if funds are available                                                      period shall constitute a high offense.
E.     Loss of privileges: commissary, etc.
F.     Change housing
G.     Remove from program and/or group activity                                                    SANCTIONS
H.     Loss of job                                                                                  A.     Initiate criminal proceedings
I.     Impound and store detainee's personal property                                               B.     Disciplinary transfer (recommend)
J.     Confiscate contraband                                                                        C.     Disciplinary segregation (up to 72 hours)
K.     Restrict to housing unit                                                                     D.     Make monetary restitution, if funds are available
L      Reprimand                                                                                    E.     Loss of privileges: commissary, etc.
M.     Warning                                                                                      F.     Change housing
                                                                                                    G.     Remove from program and/or group activity
CODE: "HIGH MODERATE" OFFENSE CATEGORY                                                              H.     Loss of job
                                                                                                    I.     Impound and store dctainee's personal property
300        Indecent exposure                                                                        J.     Confiscate contraband
301        Stealing (thelt)                                                                         K.     Restrict to housing unit
302        Misuse of authorized medication                                                          L.     Reprimand
303        Loss, misplacement, or damage of a less restricted tool                                  M.     Warning
304        Lending property or other item of value for profiu'increased return
305        Possession of item(s) not authorized for receipt or retention; not issued through
           regular channels
 306       Refusal to clean assigned living area
 307       Refusing to obey a staff member/officer's order (may be categorized and charged as
           a greater or lesser offense, depending on the kind of disobedience: continuing to
           riot is Code 105-Rioting; continuing to fight is Code201-Fighting; refusing to
           provide a urine sample-Code 215)
 308       Insolence toward a staff member
 309       Lying or providing a false statement
 310        Counterfeiting, forging, or other w1authorized reproduction of money or other
            official document, or item, i.e. security document, identification card, etc. (may be
            categorized as greater or lesser offense, depending on the nature and purpose of the
            reproduction, i.e. counterfeiting release papers to effect escape-Code I 02 or 200)
 3 11       Participating in an unauthorized meeting or gathering
 312        Being in an unauthorized area

                                                                                                               PL000054                                                                        24




                                                                                                                                                                                          APP. 251
             Appellate Case: 22-1409                                Document: 29-2                  Date Filed: 01/23/2023                             Page: 255
             Case 1:14-cv-02887-JLK-MEH Document 261-17 Filed 04/29/20 USDC Colorado Page 28
                                                  of 28
                                                                                                                                                                                                          'I   •




CODE: "LOW MOD ERATE" OFFENSE CATEGORY                                                              The Warden will review the final appeal as soon as possible, but no later than live (5) days,
                                                                                                    including weekends and holidays, after the final appeal has been received. TI1e Warden will
400       Possession of property belonging to another person                                        notify the detainee in writing of his decision.
401       Possessing llllauthorizcd clothing
402       Malingering, feigning illness                                                             ADMINISTRATIVE SEGREGATION ORDER
403       Smoking where prohibited
404       Using abusive language or obscene language                                                A written.order shall be completed and approved by a supervisory officer before a detainee is
405       Tattooing, body piercing, or self-mutilation                                              placed in administrative segregation, except when exigent circumstances make this
406       Unauthorized use of mail or telephone ( with restrictions or tempora:ty suspension of     impracticable. In such cases, an order shall be prepared as soon as possible. A copy of the
          the abused privileges often the appropriate sanction)                                     order shall be given to the detainee within 24 hours, unless delivery would jeopardize the
407       Conduct with a visitor in violation of rules and regulations (with restriction or         safety, security, or orderly operation of the facility. No Administrative Segregation Order is
          temporary suspension of visiting privileges often the appropriate sanction)               required for a detainee awaiting removal, release, or transfer within 24 hours.
408       Conducting a business
409       Possession of money or currency, unless specifically authorized                           Reviewed        .----7
410       Failure to follow safety or sanitation regulations
411       Unauthorized use of equipment or machinery                                                      (.--cc/ /~
                                                                                                                   ~ -.- ·                                 Warden    /0--77-/3.
                                                                                                                                                                          · ' - Date
412       Using equipment of machinery contrary to posted safety standards                             /.,,,.-·'
413       Being unsanitary or untidy, failing to keep self and living area in accordance with
          posted standards                                                                          ,//
"'498     interfering with a staff member in the performance of duties (offense must be of
           low moderate severity). This charge is to be used only when no other charge in this
           category is applicable.
*499       Conduct that disrupts or interferes with the security or orderly operation of the
           facility (offense must be of low moderate severity). This charge is to be used only
           when no other category is applicable.


SANCTIONS
A          Make monetary restitution
B.         Loss of privileges i.e. commissary
C.         Change housing
D.         Remove from program and'or group activity
E.         U>SS ofjob
F.         Impound and store detainee's personal property
G.         Confiscate contraband
H.         Restrict to housing unit
I.         Reprimand
J.         Warning


APPEAL PROCEDURE
A detainee who has been found guilty of a rules violation of1his facility shall have the right to
appeal his or her case to the Warden. Detainees are advised of their right to appeal decisions of
the disciplinary hearing officer at the time they are provided the decision.

 If a detainee wishes to appeal his/her case, he/she must so indicate by signing the Appeal Fonn
 (on the back of a grievance form) in the appropriate space and submit written reason (s) for
 his/her appeal.

 The sanctions imposed by the hearing officer will remain in effect pending the outcome of the
 appeal.


                                                                                                                   PL000055                                                                          25




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